Case 1:03-md-01570-GBD-SN   Document 10594-3   Filed 12/09/24   Page 1 of 397




                              Exhibit 3
Plaintiffs’ Corrected Averment of Jurisdictional Facts and Evidence
      and/or Statement of Facts as to Defendant Al Rajhi Bank
                       Pursuant to Rule 56.1
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains        Filed 12/09/24 Material
                                                             Page 2 of 397


    1               UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK
    2
         IN RE: TERRORIST ATTACKS ON                 )
    3    SEPTEMBER 11, 2001                          )
         _______________________________             )
    4    Underwriting Members of Lloyd’s             )
         Syndicate 2, et al., v.                     )
    5    Al Rajhi Bank, et al.,                      ) 03 MDL 1570
         No. 16-cv-07853                             ) (GBD) (SN)
    6                                                )
         Addesso, et al. v. Kingdom of               ) ECF Case
    7    Saudi Arabia, et al.,                       )
         No. 16-cv-09937                             )
    8                                                )
         Aguilar, et al. v. Kingdom of               )
    9    Saudi Arabia, et al.,                       )
         No. 16-cv-09663                             )
   10                                                )
         Hodges, et al. v. Kingdom of                )
   11    Saudi Arabia, et al.,                       )
         No. 17-cv-00117                             )
   12                                                )
         Aiken, et al. v. Kingdom of                 )
   13    Saudi Arabia, et al.,                       )
         No. 17-cv-00450                             )
   14                                                )
         Charter Oak Fire Insurance Co.,             )
   15    et al. v. Al Rajhi Bank, et                 )
         al., No. 17-cv-02651                        )
   16                                                )
         Abarca, et al. v. Kingdom of                )
   17    Saudi Arabia, et al.,                       )
         No. 17-cv-03887                             )
   18                                                )
         Arrowood Indemnity Co., et al.              )
   19    v. Kingdom of Saudi Arabia, et              )
         al., No. 17-cv-03908                        )
   20                                                )
         Abedhajajreh, et al. v. Kingdom             )
   21    of Saudi Arabia, et al.,                    )
         No. 17-cv-06123                             )
   22                                                )
         Muenchener                                  )
   23    Rueckversicherungs-Gesellschaft             )
         Aktiengesellschaft in Muenchen,             )
   24    et al. v. Kingdom of Saudi                  )
         Arabia, et al.,                             )
   25    Case No. 17-cv-07914                        )


  Golkow Litigation Services                                            Page 1
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains        Filed 12/09/24 Material
                                                             Page 3 of 397


    1    Abbate, et al. v. Kingdom of                )
         Saudi Arabia, et al.,                       )
    2    No. 17-cv-08617                             )
    3

                        THURSDAY, MAY 11, 2023
    4
    5     THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL
    6                               – – –
    7                  Remote videotaped deposition of
    8     30(b)(6) Al Rajhi Bank Designee James
    9     Galloway, held at the location of the witness
   10     in Saudi Arabia, commencing at 2:31 p.m.
   11     Arabia Standard Time, on the above date,
   12     before Carrie A. Campbell, Registered
   13     Diplomate Reporter, Certified Realtime
   14     Reporter, Illinois, California & Texas
   15     Certified Shorthand Reporter, Missouri,
   16     Kansas, Louisiana & New Jersey Certified
   17     Court Reporter.
   18                               – – –
   19

                      GOLKOW LITIGATION SERVICES
   20                           877.370.DEPS
                              deps@golkow.com
   21
   22
   23
   24
   25




  Golkow Litigation Services                                            Page 2
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains        Filed 12/09/24 Material
                                                             Page 4 of 397


    1         R E M O T E        A P P E A R A N C E S :
    2
    3
               COZEN O'CONNOR P.C.
    4          BY: SEAN P. CARTER
                    Scarter1@cozen.com
    5               SCOTT TARBUTTON
                    starbutton@cozen.com
    6          1650 Market Street, Suite 2800
               Philadelphia, Pennsylvania 19103
    7          (215) 665-2000
               Counsel for Lloyd’s Syndicate 2 and
    8          Muenchener Plaintiffs
    9
   10          SHEPS LAW GROUP
               BY: ROBERT SHEPS
   11          2 Bucknell Drive
               Plainview, New York 11803
   12          (516) 909-1228
               Counsel for Charter Oak Plaintiff
   13
   14
               WHITE & CASE LLP
   15          BY: CHRISTOPHER M. CURRAN
                    ccurran@whitecase.com
   16               ANWAR AKROUK
                    anwar.akrouk@whitecase.com
   17               NICOLE ERB
                    nerb@whitecase.com
   18               MICHAEL MAHAFFEY
                    michael.mahaffey@whitecase.com
   19               REUBEN SEQUEIRA
                    rsequeira@whitecase.com
   20          701 Thirteenth Street, NW
               Washington, DC 20005-3807
   21          (202) 626-3600
               Counsel for Al Rajhi Bank
   22
   23
   24
   25



  Golkow Litigation Services                                            Page 3
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains        Filed 12/09/24 Material
                                                             Page 5 of 397


    1          JONES DAY
               BY: GABRIELLE E. PRITSKER
    2               gpritsker@jonesday.com
                    STEVEN T. COTTREAU
    3               scottreau@jonesday.com
               51 Louisiana Avenue, N.W.
    4          Washington, D.C. 20001-2113
               (202) 879-3939
    5          Counsel for Dubai Islamic Bank
    6
    7          LEWIS BAACH KAUFMANN MIDDLEMISS PLLC
               BY: AISHA E.R. BEMBRY
    8               aisha.bembry@lbkmlaw.com
                    SUMAYYA KHATIB
    9               sumayya.khatib@lbkmlaw.com
               1101 New York Avenue, NW, Suite 1000
   10          Washington, D.C. 20005
               (202) 833-8900
   11          Counsel for The Muslim World League,
               the International Islamic Relief
   12          Organization
   13
   14          THE LAW FIRM OF OMAR T. MOHAMMEDI, LLC
               BY: AHSEN JANJUA
   15                ajanjua@otmlaw.com
                     FATEMA ZOHNY
   16                fzohny@otmlaw.com
               233 Broadway, Suite 801
   17          New York, New York 10279
               (212) 725-3846
   18          Counsel for World Assembly of Muslim
               Youth
   19
   20
   21     ALSO PRESENT:
   22         MARK ADLER, paralegal, Cozen
              O'Connor
   23
               ABDULRAHMAN AL MUSSAED, Al Rajhi
   24          Bank
   25          JASMERE COUSIN


  Golkow Litigation Services                                            Page 4
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains        Filed 12/09/24 Material
                                                             Page 6 of 397


    1     TRIAL TECHNICIAN:
                  GINA VELDMAN, Precision Trial Services
    2
    3

          VIDEOGRAPHER:
    4             ZACH HONE,
                  Golkow Litigation Services
    5

                                    – – –
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25




  Golkow Litigation Services                                            Page 5
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains        Filed 12/09/24 Material
                                                             Page 7 of 397


    1                               INDEX
    2                                               PAGE
    3       APPEARANCES..................................    3
    4       EXAMINATIONS
    5        BY MR. CARTER.............................. 11
    6        BY MR. CURRAN.............................. 335
    7
    8                          EXHIBITS
    9        No.       Description                                  Page
   10     ARB 1        Second Revised Notice of Oral                  18
                       Deposition of Defendant al Rajhi
   11                  Bank Pursuant to Fed. R. Civ.
                       P.30(b)(6)
   12
          ARB 2        Al Haramain Islamic Foundation                  78
   13                  Accounts at Al Rajhi Bank
   14     ARB 3        International Islamic Relief                    86
                       Organization Accounts at Al
   15                  Rajhi Bank
   16     ARB 4        Al Rajhi Banking & Investment                  115
                       Corp., No. 633/SH.Q./2004 Date:
   17                  05/01/1425 AH – February 25,
                       2004 AD,
   18                  ARB-00039945 - ARB-00039947
   19     ARB 5        The Al-Haramain Islamic                        141
                       Foundation’s Account Numbers
   20                  with the Al Rajhi Banking &
                       Investment Corp,
   21                  ARB-00038116
   22     ARB 6        Muslim World League                            149
                       International Islamic Relief
   23                  Organization, The Kingdom of
                       Saudi Arabia, No. T467 Date:
   24                  15/10/1423 AH (December 19, 2002
                       AD),
   25                  ARB-00040258



  Golkow Litigation Services                                            Page 6
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains        Filed 12/09/24 Material
                                                             Page 8 of 397


    1     ARB 7        Kingdom of Saudi Arabia Ministry               154
                       of Islamic Affairs, Endowments,
    2                  Da’wah, and Guidance Deputy
                       Minister’s Office, No. 1545/18/2
    3                  Date: 16/06/1418 AH,
                       ARB-00038201
    4
          ARB 8        Kingdom of Saudi Arabia                        166
    5                  Al-Haramain Islamic Foundation
                       General Supervisor’s Office, No.
    6                  200/19/2Date: 06/06/1419 AH
                       (September 26, 1998 AD),
    7                  ARB-00038200
    8     ARB 9        Kingdom of Saudi Arabia Ministry               170
                       of Islamic Affairs, Endowments,
    9                  Da’wah, and Guidance Deputy
                       Minister’s Office, No. 422/2/1
   10                  Date: 20/09/1417 AH, (January
                       29, 1997 AD),
   11                  ARB-00038573
   12     ARB 10       Kingdom of Saudi Arabia                        172
                       Al-Haramain Islamic Foundation
   13                  General Supervisor’s Office, No.
                       200/19/2 Date: 06/06/1419 AH
   14                  (September 26, 1998 AD),
                       ARB-00038214 - ARB-00038215
   15
          ARB 11       General Administration Banking                 176
   16                  Group Branches Administration
                       2611-2612 October 08, 1998 AD,
   17                  ARB-00038920
   18     ARB 12       General Administration Legal                   183
                       Affairs Administration 1432 1451
   19                  01/06/1420 AH September 01, 1999
                       AD,
   20                  ARB-00038885
   21     ARB 13       Al Arbaeen Street Branch Jeddah                191
                       Tel. 6792244 November 13, 1999
   22                  AD,
                       ARB-00039001
   23
   24
   25



  Golkow Litigation Services                                            Page 7
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains        Filed 12/09/24 Material
                                                             Page 9 of 397


    1     ARB 14       Regional Administration of                     201
                       Western Region Legal Affairs
    2                  Section 08/08/1420 AH November
                       16, 1999 AD,
    3                  ARB-00038996
    4     ARB 15       Al Arbaeen Street Branch Jeddah                205
                       Tel. 6792244 November 23, 1999
    5                  AD,
                       ARB-00038978
    6
          ARB 16       Al-Haramain Islamic Foundation                 207
    7                  Jeddah Office, Date: 12/10/1420
                       AH (January 19, 2000 AD),
    8                  ARB-00038979
    9     ARB 17       Al-Haramain Islamic Foundation                 208
                       Head Office – Riyadh General
   10                  Manager Office No. 3522/22/17
                       Date: 18/05/1422 AH (August 08,
   11                  2001 AD),
                       ARB-00038486
   12
          ARB 18       Memo from asapra@anb.com.sa,                   213
   13                  March 7, 2002, at 11:42 am,
                       ARB-00014382 - ARB-00014385
   14
          ARB 19       Saudi Arabian Monetary Authority               233
   15                  SAMA [Currently: Saudi Central
                       Bank] Head Office Banking
   16                  Inspection Division No.
                       M.A.T./6998, Date: 02/06/1425 AH
   17                  Attachments: 3, Corresponding
                       to: July 19, 2004 AD,
   18                  ARB-00017377 - ARB-00017380
   19     ARB 20       December 30, 1998 AD – December                257
                       30, 1998 AD Sulaiman Bin
   20                  Abdulaziz Al Rajhi Charitable
                       Foundation,
   21                  ARB-00038079 - ARB-00039959
   22     ARB 21       Summary of transaction data,                   274
                       ARB00039960
   23
          ARB 22       Memo from Abdullah Sulaiman al                 283
   24                  Rajhi to mym@mar-jac.com,
                       NL 0015578- various
   25



  Golkow Litigation Services                                            Page 8
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 10 of 397


     1     ARB 23      Check to Khaled bin Ibrahim                  297
                       Al-Swailem,
     2                 NL 0010485
     3     ARB 24      October 04, 1998 AD letter to                310
                       Honorable Dr. Abdullah bin Saleh
     4                 al Obaid Secretary General of
                       the Muslim World League Chairman
     5                 of the Board of Directors of the
                       International Islamic Relief
     6                 Organization,
                       ARB-00039593 - ARB-00039604
     7
           ARB 25      Federal Bureau of Investigation              315
     8                 document dated 9/27/2001,
                       EO14040-002857 - EO14040-002863
     9
    10        (Exhibits attached to the deposition.)
    11
    12       CERTIFICATE..................................362
    13       ACKNOWLEDGMENT OF DEPONENT...................364
    14       ERRATA.......................................365
    15       LAWYER'S NOTES...............................366
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25



   Golkow Litigation Services                                         Page 9
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 11 of 397


     1                     VIDEOGRAPHER:      We are now on
     2            the record.     My name is Zach Hone.
     3            I'm a videographer for Golkow
     4            Litigation Services.
     5                     Today's date is May 11, 2023,
     6            and the time is 2:31 p.m.
     7                     This remote video deposition is
     8            being held in the matter of In Re:
     9            Terrorist Attacks on September 11,
    10            2001, MDL 1570.
    11                     The deponent is James Galloway.
    12                     All parties to this deposition
    13            are appearing remotely and have agreed
    14            to the witness being sworn in
    15            remotely.
    16                     Due to the nature of remote
    17            reporting, please pause briefly before
    18            speaking to ensure all parties are
    19            heard completely.
    20                     Counsels' appearances will be
    21            noted on the stenographic record.
    22                     The court reporter will now
    23            swear in the witness.
    24

    25




   Golkow Litigation Services                                        Page 10
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 12 of 397


     1                       JAMES GALLOWAY,
     2     of lawful age, having been first duly sworn
     3     to tell the truth, the whole truth and
     4     nothing but the truth, deposes and says on
     5     behalf of the Plaintiffs, as follows:
     6

     7                     DIRECT EXAMINATION
     8     QUESTIONS BY MR. CARTER:
     9            Q.       Good morning, Mr. Galloway.
    10                     How are you?
    11            A.       Good morning, Mr. Carter.         I'm
    12     very well.     Thank you.
    13                     And you also, I hope?
    14            Q.       I am, thank you.
    15                     Just by way of introduction, as
    16     you know, my name is Sean Carter.          I'm an
    17     attorney with Cozen O'Connor, and I represent
    18     plaintiffs in this lawsuit against Al Rajhi
    19     Bank arising from the terrorist attacks of
    20     September 11, 2001.
    21                     Do you understand all of that?
    22            A.       I do.
    23                     MR. CURRAN:     Hey, Sean, I don't
    24            mean to interrupt right off the bat,
    25            but shouldn't we be identifying people



   Golkow Litigation Services                                        Page 11
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 13 of 397


     1            who are on the call?
     2                     I do want to ensure that we
     3            have only people who are subject to
     4            the protective order on this -- on
     5            this video deposition.
     6                     MR. CARTER:     Yeah, no, I agree.
     7            I didn't see anyone else so was not
     8            clear that anyone who hadn't been
     9            identified might be on.
    10                     Carrie, can we go through and
    11            ask everyone to identify themselves?
    12                     Obviously for our part at Cozen
    13            O'Connor, you have Sean Carter and
    14            Scott Tarbutton in the room, and ask
    15            other plaintiffs on the line to
    16            identify themselves.
    17                     MR. SHEPS:     This is Robert
    18            Sheps from the Sheps Law Group on
    19            behalf of another plaintiff.
    20                     MR. ADLER:     This is Mark Adler,
    21            Cozen O'Connor, a paralegal working on
    22            the case.
    23                     MR. CURRAN:     Okay.    And for
    24            defendants other than Al Rajhi Bank,
    25            who do we have?



   Golkow Litigation Services                                        Page 12
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 14 of 397


     1                     MS. BEMBRY:     Good morning.
     2            This is Aisha Bembry from Lewis Baach
     3            Kaufmann Middlemiss representing MWL
     4            and IIRO.     I also have my colleague
     5            Sumayya Khatib on the line.
     6                     MR. JANJUA:     This is Ahsen
     7            Janjua from the law firm Omar
     8            Mohammedi representing the World
     9            Assembly of Muslim Youth.
    10                     MS. ZOHNY:     Good morning.      This
    11            is Fatema Zohny on behalf of WAMY as
    12            well, and I am with Omar Mohammedi.
    13                     MR. CURRAN:     Okay.    And on
    14            behalf of Al Rajhi Bank, I'm
    15            Christopher Curran of White & Case.
    16            I'm representing both Al Rajhi Bank
    17            and the witness today.
    18                     In the room with me are three
    19            of my law firm colleagues:         Nicole
    20            Erb, Reuben Sequeira, and Anwar
    21            Akrouk -- excuse me, Akrouk,
    22            A-k-r-o-u-k.
    23                     And also we have a client
    24            representative present, Abdulrahman al
    25            Mussaed.     The last name is spelled a-l



   Golkow Litigation Services                                        Page 13
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 15 of 397


     1            M-u-s-s-a-e-d, and he is with Al Rajhi
     2            Bank legal department.
     3                     I do expect this deposition to
     4            elicit confidential information of Al
     5            Rajhi Bank and its customers and
     6            perhaps others, and I do intend to
     7            designate the deposition as
     8            confidential under the protective
     9            order, certainly for the initial
    10            30 days and then thereafter.
    11                     And finally, I ask anyone who
    12            is on the video call who is not
    13            subject to the protective order to
    14            identify themselves now, please.
    15                     Okay.    Mr. Carter, thank you
    16            for your patience.       Please.
    17                     MR. CARTER:     Thank you, Chris.
    18                     One other administrative issue.
    19                     Carrie, our realtime doesn't
    20            appear to be working.        I don't know if
    21            that's a problem others are
    22            encountering.
    23                     MR. CURRAN:     I haven't tried
    24            myself, Mr. Carter.
    25                     (Discussion off the record.)



   Golkow Litigation Services                                        Page 14
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 16 of 397


     1     QUESTIONS BY MR. CARTER:
     2            Q.       And thanks for your patience,
     3     Mr. Galloway, as we work through some of the
     4     logistic issues here.
     5                     As I was saying, I represent
     6     plaintiffs in this lawsuit against Al Rajhi
     7     Bank arising from the September 11th attacks.
     8                     You're here today to testify on
     9     behalf of Al Rajhi Bank.
    10                     Do you understand that?
    11            A.       I do.
    12            Q.       And, Mr. Galloway, have you
    13     ever been deposed before?
    14            A.       No, I have not.
    15            Q.       And have you ever testified in
    16     court before?
    17            A.       No, I have not.
    18            Q.       Have you ever submitted an
    19     affidavit or declaration for a judicial
    20     proceeding before?
    21            A.       No, I have not.
    22            Q.       Just to go over some of the
    23     ground rules for today's session.
    24                     The court reporter will be
    25     taking down my questions to you and your



   Golkow Litigation Services                                        Page 15
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 17 of 397


     1     answers to my questions in a transcript.             And
     2     to enable her to do that in an efficient way,
     3     it's important for you to wait until I finish
     4     my questions before answering, and for me to
     5     wait until you finish your answers before
     6     beginning another question.
     7                     Does that sound fair?
     8            A.       That does sound fair.        Thank
     9     you.
    10            Q.       And the court reporter cannot
    11     take down nods of the head or other gestures
    12     in response to questions, so it's important
    13     that you articulate verbally all of your
    14     answers.
    15                     Is that okay?
    16            A.       Thank you, yes.      I understand.
    17     That's okay.
    18            Q.       To the extent you understand my
    19     question, you're required to answer it
    20     completely.
    21                     Do you understand that?
    22            A.       Yes, I do understand that.
    23            Q.       And if your counsel raises an
    24     objection, you can proceed to answer unless
    25     there's an indication that counsel needs to



   Golkow Litigation Services                                         Page 16
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 18 of 397


     1     discuss the objection with me.
     2                     Is that okay?
     3            A.       That is okay.      I understand
     4     you.
     5            Q.       During the course of the day --
     6                     MR. CURRAN:     Sean, we've
     7            discussed that if privilege issues
     8            arise, I may give an instruction not
     9            to answer.     So that might be a
    10            qualification on your statement.
    11                     MR. CARTER:     Yeah, and that's
    12            what I meant when I indicated to the
    13            witness that if there's an indication,
    14            counsel need to discuss the issue
    15            before answering.       So I appreciate
    16            that clarification.
    17     QUESTIONS BY MR. CARTER:
    18            Q.       Mr. Galloway, over the course
    19     of the day, we'll be here for a bit and going
    20     through some documents.        If at any point you
    21     need to take a break, just let us know.
    22     You're perfectly entitled to do that.
    23            A.       Thank you very much.       I will.
    24            Q.       Mr. Galloway, do you have a
    25     current curriculum vitae?



   Golkow Litigation Services                                        Page 17
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 19 of 397


     1            A.       I do.
     2                     If by that you mean a very
     3     long, detailed one, the answer is no, but I
     4     have some bullet points to let you know my
     5     work history.
     6            Q.       You don't have a written
     7     document with you today concerning your work
     8     history and educational background?
     9            A.       I have a very short document
    10     that does that.
    11                     MR. CARTER:     And, Chris, are
    12            you able to share that document with
    13            us so that we can mark it?
    14                     MR. CURRAN:     Yeah, I've got no
    15            problem with that.       It's brief.     You
    16            could cover it in three minutes, I
    17            think, but --
    18                     MR. CARTER:     Well, why don't we
    19            do that.     Let's begin by first marking
    20            as Exhibit ARB 1 the deposition notice
    21            that is at Tab 1 in the exhibit
    22            folder.
    23                     (Al Rajhi Bank 30(b)(6) Exhibit
    24            ARB 1 marked for identification.)
    25




   Golkow Litigation Services                                        Page 18
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 20 of 397


     1     QUESTIONS BY MR. CARTER:
     2            Q.       Mr. Galloway, are you able to
     3     see Exhibit 1?
     4            A.       Yes, I can.
     5            Q.       And this is the second revised
     6     notice of oral deposition of defendant Al
     7     Rajhi Bank pursuant to Federal Rule of Civil
     8     Procedure 30(b)(6).
     9                     Have you seen this document
    10     before?
    11            A.       Yes, I have.
    12            Q.       And have you had an opportunity
    13     to review this document?
    14            A.       I've seen the first page, as
    15     Mr. Curran indicates, and I have read the
    16     first page.
    17                     MR. CURRAN:     Well, I was just
    18            clarifying that he's got the first
    19            page on the screen.       If you need to
    20            look at the full document, you have a
    21            copy, and you can also bring it up on
    22            the computer, I think.
    23                     I'm sorry, Mr. Carter.        Please
    24            continue.
    25




   Golkow Litigation Services                                        Page 19
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 21 of 397


     1     QUESTIONS BY MR. CARTER:
     2            Q.       Yeah, my apologies.
     3                     You should be able to scroll
     4     through the document as it's shared in the
     5     computer.     And so if you can take a moment to
     6     look at the document that's been marked as
     7     ARB Exhibit 1, and let me know if you've had
     8     a chance to review that document in full in
     9     preparation for your deposition today.
    10            A.       If you can stand by, we're just
    11     getting that working on this side.
    12            Q.       Sure.
    13                     GINA VELDMAN:      I put the link
    14            in the chat, if you didn't already
    15            have it.
    16                     MR. CURRAN:     Okay.
    17                     GINA VELDMAN:      If you just
    18            click on it, it should go right to a
    19            folder, and there should be Exhibit 1
    20            in there.
    21                     THE WITNESS:     Thank you for
    22            your patience.      I'm just looking at it
    23            now.
    24                     Thank you, Mr. Carter.        I can
    25            confirm I've read the document.          I



   Golkow Litigation Services                                        Page 20
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 22 of 397


     1            have seen it before.
     2     QUESTIONS BY MR. CARTER:
     3            Q.       Thank you, Mr. Galloway.
     4                     And do you understand that you
     5     are here today to testify on behalf of Al
     6     Rajhi Bank pursuant to this second revised
     7     notice of deposition?
     8            A.       Yes, I do understand that.
     9            Q.       And beginning on page 3 of the
    10     document, there's an identification of areas
    11     of inquiry for today's deposition.
    12                     Do you see that?
    13            A.       Yes, I do.
    14            Q.       And below that, there are
    15     identified 45 areas of inquiry, some of which
    16     include subparts, correct?
    17            A.       That is correct.
    18            Q.       And you understand you're here
    19     today to testify on behalf of Al Rajhi Bank
    20     concerning its knowledge relating to those
    21     areas of inquiry?
    22            A.       Yes, I do.
    23            Q.       And are there any areas of
    24     inquiry identified in the second notice of
    25     deposition that you are unprepared to address



   Golkow Litigation Services                                        Page 21
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 23 of 397


     1     today?
     2                     MR. CURRAN:     Objection.     Vague
     3            and overbroad.
     4                     You may answer.
     5                     THE WITNESS:     I've prepared
     6            responses to your questions.
     7     QUESTIONS BY MR. CARTER:
     8            Q.       I'm sorry, can you repeat that
     9     answer?
    10            A.       I have prepared responses to
    11     your questions, and I have a response for
    12     each of them.
    13            Q.       Mr. Galloway, are you currently
    14     employed by Al Rajhi Bank?
    15            A.       Yes, I am.
    16            Q.       And when did you begin working
    17     for Al Rajhi Bank?
    18            A.       In October of 2018.
    19            Q.       And what is your current role?
    20            A.       I am the chief strategy officer
    21     for the bank.     Chief strategy officer is my
    22     title.
    23            Q.       And generally, what are your
    24     responsibilities in that role?
    25            A.       You know, it's to help author



   Golkow Litigation Services                                        Page 22
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 24 of 397


     1     and design the strategy for the bank and to
     2     assist with the framing up of the
     3     implementation of that for the benefit of the
     4     bank.
     5             Q.      And is that the position you
     6     held when you joined the bank in 2018?
     7             A.      There was a short time when I
     8     was the general manager of marketing, and
     9     then within six months I was in the role I'm
    10     in today.
    11             Q.      And can you provide me with a
    12     brief background concerning your educational
    13     history?
    14             A.      Yeah.    I have a bachelor of
    15     economics from the Australian National
    16     University.     I have a graduate diploma in
    17     applied finance from the Securities Institute
    18     of Australia.     And I have a master's in
    19     business with a major in marketing from the
    20     Royal Melbourne Institute of Technology in
    21     Australia.
    22             Q.      And were you born in Australia?
    23             A.      Yeah, that's right.
    24             Q.      Are you an Australian citizen?
    25             A.      I am.



   Golkow Litigation Services                                        Page 23
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 25 of 397


     1            Q.       Do you hold citizenship with
     2     any other country?
     3            A.       I do not.
     4            Q.       Do you speak Arabic?
     5            A.       I do not.
     6            Q.       Do you read Arabic?
     7            A.       I do not.
     8            Q.       Prior to joining Al Rajhi Bank,
     9     where were you employed?
    10            A.       Prior to joining Al Rajhi Bank,
    11     I was working at HSBC Bank in London.
    12            Q.       And what was the tenure of your
    13     employment with HSBC in London?
    14            A.       I was there for five years,
    15     from August '14 until August 2018.
    16            Q.       And what was your role at HSBC?
    17            A.       I was the group head of
    18     strategy for the retail bank.
    19                     Sorry, correct that.       I was the
    20     group head of distribution, which involved
    21     the distribution strategy, but the group head
    22     of distribution was my title.
    23            Q.       And can you provide me with a
    24     brief summary of your work history leading up
    25     to your employment with HSBC?



   Golkow Litigation Services                                        Page 24
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 26 of 397


     1             A.      Yeah, no problem.
     2                     I worked before HSBC with
     3     Standard Chartered Bank in Singapore, and
     4     that was for a four-year period from
     5     September 2010 to July 2014.
     6                     Prior to working for Standard
     7     Chartered Bank, I worked for Westpac Bank in
     8     Australia for a seven-year period from
     9     October of 2003 to July 2010.
    10                     Prior to that, I worked for
    11     Coles Myer Limited, which is a large retail
    12     group in Australia, and that was for four and
    13     a half years from January 2018 {sic} until
    14     June 2002.
    15                     And prior to that, I worked for
    16     GE Capital, which was part of the GE
    17     Corporation, for three years from 1996 until
    18     1998.
    19             Q.      Mr. Galloway, the transcript
    20     reflects that in relation to your employment
    21     at Coles Myer you indicated that you began
    22     there in 2018, and I think that was an
    23     inadvertent statement.
    24             A.      I mis -- sorry, I misspoke.
    25                     MR. CURRAN:     You have to wait



   Golkow Litigation Services                                        Page 25
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 27 of 397


     1            until he's done talking.
     2     QUESTIONS BY MR. CARTER:
     3            Q.       Yeah.    Can you clarify the
     4     tenure of your employment with Coles Myer?
     5            A.       Yes.    I was -- Mr. Carter, I
     6     might have misspoke.
     7                     It was 1998 until 2002.
     8            Q.       And what was your role or roles
     9     at Standard Chartered?
    10            A.       At Standard Chartered it was a
    11     distribution role, was my last role there.
    12                     Prior to that, I worked in
    13     marketing and customer experience-type roles
    14     for them, as well as a role reporting to the
    15     head of the retail bank at the time.
    16            Q.       I have limited knowledge of the
    17     banking industry.
    18                     Can you tell me what you mean
    19     by the distribution --
    20            A.       Yeah.
    21            Q.       -- segment of Standard
    22     Chartered?
    23            A.       Yeah, they have -- Standard
    24     Chartered operate in Asia, Africa and Middle
    25     East, so the role involved making sure that



   Golkow Litigation Services                                        Page 26
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 28 of 397


     1     we had the right distribution assets.           By
     2     that I mean the right types of sales
     3     configuration, whether the employees worked
     4     for the company, whether they had different
     5     agents working on their behalf, the sales
     6     efficiency, the sales productivity, those
     7     sorts of things.
     8            Q.       And what were your positions at
     9     Westpac?
    10            A.       Westpac I joined as the head of
    11     marketing and customer -- what we would call
    12     today customer experience, customer
    13     satisfaction, if you want to call it that.
    14                     And then I moved on to a role
    15     running all of the retail product suite, the
    16     mortgages, the credit cards, current accounts
    17     and so forth.     And for that I was responsible
    18     for the sales and P&L and the product design
    19     issues associated within that.
    20            Q.       And how about with Coles Myer?
    21            A.       Yeah, in Coles Myer I worked in
    22     the department store group initially in a
    23     marketing role.      I was then the head of
    24     business services, which involved finance and
    25     IT.   And then I was -- finally, my last role



   Golkow Litigation Services                                        Page 27
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 29 of 397


     1     there was the managing director of a
     2     business, a big box market retail business,
     3     they called Mega Mart at the time, which
     4     sold -- I guess it's like a Best Buy in US
     5     terms.    Perhaps you'd be familiar with it.
     6            Q.       Sure.
     7                     And how about GE Capital?
     8            A.       Yeah, that was a partnership
     9     between Coles Myer group and GE Capital.            GE
    10     bought store card portfolios from retailers,
    11     and then GE's value-add was to offer not only
    12     the management of the credit facilities but
    13     marketing insights based on customer behavior
    14     and trying to help the retailer boost their
    15     sales by having a credit product.
    16            Q.       In relation to any of the
    17     positions you've held that we've just
    18     discussed, did you have responsibilities for
    19     any money laundering procedures and
    20     protocols?
    21            A.       Not direct responsibilities,
    22     no.   I was aware of them, but I was not the
    23     officer responsible for writing them.
    24                     My job was more about sales
    25     performance, sales management, the design of



   Golkow Litigation Services                                        Page 28
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 30 of 397


     1     the sales models rather than the operational
     2     management.     That was done in GE and HSBC by
     3     the local management in country.
     4                     I was a group involved in
     5     Singapore, and in HSBC in London, my job was
     6     really to help them drive the sales
     7     performance rather than be managing the
     8     operational detail in country.
     9            Q.       And are you familiar with the
    10     use of the term "AML" to refer to any money
    11     laundering procedures?
    12            A.       Yes, I am.
    13            Q.       And if I use that term, will
    14     you understand what I'm talking about?
    15            A.       Yes, I will.
    16            Q.       And do you consider yourself an
    17     expert in any money laundering requirements
    18     or procedures?
    19                     MR. CURRAN:     Objection as to
    20            form.
    21                     You may answer.
    22                     THE WITNESS:     I would consider
    23            myself knowledgeable.        I don't think I
    24            would be considered an expert, per se.
    25




   Golkow Litigation Services                                        Page 29
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 31 of 397


     1     QUESTIONS BY MR. CARTER:
     2             Q.      And in relation to the
     3     employment history you've described, have you
     4     had any responsibility for counterterrorism
     5     financing strategy or policies?
     6             A.      Not direct.     It would be the
     7     same as the response I just gave you on the
     8     AML side.
     9             Q.      And have you heard the acronym
    10     CTF used for counterterror financing?
    11             A.      I have.
    12             Q.      And so if I use that acronym,
    13     you'll understand what I'm saying?
    14             A.      I will.
    15             Q.      And in any of your employment
    16     capacities that you've described, have you
    17     been responsible for know your customer
    18     policies and protocols at any of those
    19     institutions?
    20             A.      It would be the same response
    21     as the last two questions.         I'm familiar with
    22     them.    I understand customer onboarding, et
    23     cetera, but I have not been ever designated
    24     as the officer responsible for or the expert
    25     in.   But I'm aware of the practices, and I



   Golkow Litigation Services                                        Page 30
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 32 of 397


     1     understand what happens.
     2            Q.       And are you familiar with the
     3     use of the acronym KYC to refer to know your
     4     customer protocols?
     5            A.       I am.
     6            Q.       And again, if I use that
     7     acronym over the course of the day, you'll
     8     understand what I'm talking about?
     9            A.       Yes, I will.
    10            Q.       In any of the capacities you've
    11     described, have you been directly involved in
    12     an investigation into the possible use of
    13     bank's facilities to support terrorist
    14     activity?
    15            A.       No, I've never been directly
    16     involved in any of those investigations.
    17            Q.       Generally speaking, in
    18     preparation for your deposition today, can
    19     you tell me what you did?
    20                     And to the extent you've spoken
    21     with counsel, don't tell me anything you've
    22     discussed with counsel, but you can tell me
    23     whether or not you had conversations with
    24     counsel as part of your preparations.
    25            A.       I was notified on the 30th of



   Golkow Litigation Services                                        Page 31
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 33 of 397


     1     April that I would be the company's 30(b)(6)
     2     respondent.     So since that time, I've been
     3     diligently preparing.       I would have spent
     4     well north of 100 hours of preparation work.
     5                     I've interviewed members of
     6     staff in relation to the 45 topics in your
     7     questions and the multiple subtopics,
     8     numbering in some cases, I think, up to a
     9     dozen subtopics on the different categories.
    10                     I've been full-time on this and
    11     have suspended my normal responsibilities in
    12     order to dedicate myself to it.
    13                     The people that I have met
    14     across the organization are varied, and in
    15     total involve some 28 people.         And those
    16     interviews have been conducted by me and in
    17     some cases have required follow-up as well.
    18                     I've taken the documents that
    19     have been presented and also read all of
    20     those as part of my preparation.
    21                     And then with that knowledge,
    22     I've then synthesized all that into a form
    23     that hopefully will respond to your questions
    24     and give you the kind of responses you're
    25     looking for from the bank.



   Golkow Litigation Services                                        Page 32
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 34 of 397


     1            Q.       Thank you for that summary,
     2     Mr. Galloway.
     3                     You mentioned that you read
     4     documents that were presented.          Can you tell
     5     me generally what documents you're referring
     6     to?
     7            A.       I've read the documents --
     8                     MR. CURRAN:     Hold on.
     9                     THE WITNESS:     I'm sorry.
    10                     MR. CURRAN:     I'm going to
    11            object and instruct the witness not to
    12            answer on the basis of attorney-client
    13            privilege and work product.
    14                     To the extent he refers to
    15            documents or relies on documents in
    16            answering substantive questions, I
    17            have no problem with the witness
    18            identifying those documents.          So --
    19                     MR. CARTER:     Chris, I don't
    20            think the documents that he reviewed
    21            for purposes of testifying as to the
    22            bank's knowledge is a privileged
    23            matter in this setting at all.          So I
    24            think he is required to tell me what
    25            documents he reviewed and provide a



   Golkow Litigation Services                                        Page 33
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 35 of 397


     1            description so I can understand the
     2            basis of his knowledge to testify for
     3            the bank.
     4                     MR. CURRAN:     Well, I guess it
     5            depends on the level of specificity
     6            you're looking for, because the
     7            selection of documents presented to
     8            the witness reflects attorney work
     9            product, attorney mental processes and
    10            analysis.
    11                     So I know you disagree with my
    12            assertion of the privilege.         I didn't
    13            hear you say anything about work
    14            product.
    15                     But -- my objection stands.
    16            But, again -- and my instruction
    17            stands.    But, again, the witness will
    18            identify any documents that he's
    19            relied upon in formulating his answers
    20            to your questions.
    21                     MR. CARTER:     Well, I think the
    22            documents he's relied upon is
    23            different from an understanding of
    24            what he's reviewed and whether or not
    25            that review has been sufficient to



   Golkow Litigation Services                                        Page 34
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 36 of 397


     1            fulfill his obligations, which is part
     2            of what we need to assess today.
     3                     But let me try to get at it a
     4            different way, and we'll see if we can
     5            get past this.
     6     QUESTIONS BY MR. CARTER:
     7            Q.       Mr. Galloway, are you aware
     8     that Al Rajhi Bank has produced documents to
     9     the plaintiffs in this litigation?
    10                     MR. CURRAN:     You may answer.
    11                     THE WITNESS:     Yes, I am.
    12     QUESTIONS BY MR. CARTER:
    13            Q.       And have you reviewed all of
    14     those documents?
    15                     MR. CURRAN:     You may answer.
    16                     THE WITNESS:     Yeah, I have.
    17            Yep, I have.
    18                     MR. CURRAN:     He's asking if you
    19            reviewed --
    20                     THE WITNESS:     Well, I -- can I
    21            clarify, please?
    22                     When you say "all those
    23            documents produced," I've reviewed
    24            some -- I've reviewed a number of
    25            documents.     I can't really understand



   Golkow Litigation Services                                        Page 35
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 37 of 397


     1            the universe of documents you're
     2            referring to easily.
     3     QUESTIONS BY MR. CARTER:
     4            Q.       Okay.    Well, Al Rajhi Bank has
     5     produced in excess of 40,000 pages of
     6     documents to plaintiffs in the litigation.
     7                     Have you, in preparation for
     8     today, reviewed the full compendium of about
     9     40,000 pages Al Rajhi Bank produced?
    10                     MR. CURRAN:     You may answer
    11            that.    It's a yes or no question.
    12                     THE WITNESS:     I believe not if
    13            it's 40,000.      I don't believe I've
    14            read 40,000 pages.
    15     QUESTIONS BY MR. CARTER:
    16            Q.       And so what you have read are
    17     some selection of documents that were given
    18     to you by counsel, correct?
    19                     MR. CURRAN:     You may answer
    20            that.
    21                     THE WITNESS:     That is correct.
    22     QUESTIONS BY MR. CARTER:
    23            Q.       And did you request as part of
    24     your preparation that the bank search for any
    25     additional documents to enable you to testify



   Golkow Litigation Services                                        Page 36
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 38 of 397


     1     today?
     2                     MR. CURRAN:     You may answer.
     3                     THE WITNESS:     Yes.
     4     QUESTIONS BY MR. CARTER:
     5            Q.       What documents did you ask the
     6     bank to search for in order to prepare
     7     yourself to testify today?
     8            A.       I asked some follow-up
     9     questions on various documents, including
    10     looking at the branch policy manual from the
    11     period.
    12            Q.       What branch policy manual are
    13     you referring to?
    14            A.       It's the branch manual
    15     August 1997 document, is the best way I can
    16     use to identify it for you.
    17            Q.       And what is the Bates number
    18     for that document?       There is a label
    19     designation.
    20            A.       Yeah, it's ARB00000164.        These
    21     are on the cover page.
    22            Q.       And what prompted you to
    23     request additional document searches in
    24     relation to that document?
    25            A.       To understand the customer



   Golkow Litigation Services                                        Page 37
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 39 of 397


     1     onboarding process that is -- processes on
     2     foot at the time.
     3            Q.       And did someone at the bank
     4     provide you with additional information on
     5     that issue?
     6            A.       I made inquiries about that and
     7     the order process and other matters with the
     8     interviews that were conducted.
     9            Q.       Did anyone provide you any
    10     additional documents on that issue?
    11            A.       Not to the best of my
    12     knowledge, no.
    13            Q.       Am I correct that you didn't
    14     believe the information that you had from the
    15     documents provided a complete picture of
    16     those matters?
    17            A.       No.
    18                     MR. CURRAN:     Objection as to
    19            form.    Argumentative.
    20                     You may answer.
    21                     THE WITNESS:     No, that's not
    22            correct.
    23                     I've been trying to make sure
    24            that I -- if I have a question I can
    25            validate that in multiple sources and



   Golkow Litigation Services                                        Page 38
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 40 of 397


     1            just make sure I get the picture
     2            together.
     3                     It's been a lot of ground to
     4            cover in two weeks, so I've done my
     5            best to understand events of 25 years
     6            past and try and know what was
     7            happening at the time and satisfy
     8            myself by a combination of reading and
     9            questioning to make sure I understood
    10            the situation to represent it
    11            correctly.
    12     QUESTIONS BY MR. CARTER:
    13            Q.       Did you interview any former Al
    14     Rajhi Bank employees?
    15            A.       No, I did not.
    16            Q.       Did you attempt to?
    17            A.       No, I did not.
    18            Q.       Given that the inquiries
    19     concerned matters that occurred many years
    20     ago, did you consider trying to identify
    21     former employees who would have had personal
    22     and direct knowledge of those matters for
    23     purposes of conducting interviews?
    24                     MR. CURRAN:     Objection as to
    25            form.    And I instruct the witness not



   Golkow Litigation Services                                        Page 39
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 41 of 397


     1            to answer that to the extent it
     2            reflects communications with counsel.
     3                     Otherwise, you may answer.
     4                     THE WITNESS:     I did not, as per
     5            advice from my -- I did not attempt to
     6            contact anybody.
     7     QUESTIONS BY MR. CARTER:
     8            Q.       Do you have a list of the 28
     9     employees whom you interviewed?
    10            A.       Yes, I do.     I have it in front
    11     of me.
    12            Q.       Did you at any point interview
    13     the bank's CEO, Abdullah al Rajhi?
    14            A.       Yes, I did.
    15            Q.       Do you know when --
    16            A.       Mr. Carter, can I --
    17     Mr. Carter, sorry, can I correct that?
    18                     He's -- not in his capacity as
    19     the CEO.    In his capacity currently as
    20     chairman, I interviewed him, to be clear.
    21                     MR. CURRAN:     Objection.     Lack
    22            of foundation.
    23                     MR. CARTER:     My apologies.
    24     QUESTIONS BY MR. CARTER:
    25            Q.       You interviewed Abdullah al



   Golkow Litigation Services                                        Page 40
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 42 of 397


     1     Rajhi at some point?
     2             A.      That's correct.
     3             Q.      But when did you interview him?
     4             A.      The day before yesterday.
     5             Q.      And how long did that interview
     6     last?
     7             A.      Two-plus hours, two and a half
     8     hours, something like that.
     9             Q.      And where was that conducted?
    10             A.      In the offices of Al Rajhi Bank
    11     in Riyadh.
    12             Q.      And did you conduct the
    13     interview yourself?
    14                     MR. CURRAN:     Objection.     Vague.
    15                     You may answer, but in doing
    16             so, do not reveal attorney-client
    17             communications.
    18                     THE WITNESS:     I asked questions
    19             of the chairman.      He responded to
    20             those questions.
    21     QUESTIONS BY MR. CARTER:
    22             Q.      Was counsel present during the
    23     interview?
    24                     MR. CURRAN:     You may answer
    25             that yes or no.



   Golkow Litigation Services                                        Page 41
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 43 of 397


     1                     THE WITNESS:     Yes.
     2     QUESTIONS BY MR. CARTER:
     3            Q.       Did counsel ask questions
     4     during the interview?
     5                     MR. CURRAN:     You may answer
     6            that yes or no.
     7                     THE WITNESS:     Yes.
     8     QUESTIONS BY MR. CARTER:
     9            Q.       And are you prepared to testify
    10     today concerning all of the information that
    11     was exchanged during that interview?
    12                     MR. CURRAN:     You may answer.
    13                     THE WITNESS:     Yes.
    14     QUESTIONS BY MR. CARTER:
    15            Q.       Can you tell me who the other
    16     28 employees were, and in relation to each,
    17     if you can, tell me what their position is?
    18            A.       I can.
    19                     Are you asking me to read every
    20     name on the list and their title?
    21            Q.       If you have it, or you can
    22     provide me the list.
    23            A.       I can read it to you.
    24            Q.       Sure.
    25            A.       In the compliance department,



   Golkow Litigation Services                                        Page 42
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 44 of 397


     1     with respect to the chief compliance officer,
     2     Hamad Alwashmi.
     3                     Would the stenographer like me
     4     to spell each name?
     5                     (Discussion off the record.)
     6                     MR. CARTER:     I think in the
     7            interest of time, maybe we can clear
     8            this up off the record.         So go ahead
     9            and continue.
    10                     MR. CURRAN:     No need to spell.
    11                     THE WITNESS:     Okay.
    12                     The compliance department was
    13            the chief compliance officer.
    14                     In the compliance department,
    15            there was the assistant general
    16            manager.
    17                     In the HR department, there was
    18            a senior director of HR
    19            administration.
    20     QUESTIONS BY MR. CARTER:
    21            Q.       I'm sorry, Mr. Galloway, we
    22     still need the names.
    23            A.       Oh, okay.     Sorry.
    24            Q.       So why don't we start from the
    25     top, as they say.



   Golkow Litigation Services                                        Page 43
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 45 of 397


     1            A.       In the compliance department,
     2     chief compliance officer, Hamad Alwashmi.
     3                     In the compliance department,
     4     assistant general manager, Naif Al Dahmashi.
     5                     In the HR department, the
     6     senior director of HR administration,
     7     Abdullah Al-Subail.
     8                     In the HR department, the
     9     senior director of HR information systems,
    10     Dhaher A. Al-Enazi.
    11                     In the shared services
    12     operations area, the senior director of core
    13     banking and enterprise application support,
    14     Turki M. Al-Dalilah.
    15                     In the shared services IT
    16     operations area, the executive general
    17     manager of IT core banking application
    18     support, Osama Anis.
    19                     In the shared services IT
    20     operations, another manager by the name of
    21     Hammad H. Mohammad.
    22                     In the shared services
    23     operations, the executive manager IT core
    24     infrastructure storage support, Haitham M.
    25     Al-Behairy.



   Golkow Litigation Services                                        Page 44
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 46 of 397


     1                     In the shared services IT
     2     governance and control, the senior director
     3     of governance and control, Sami S. Alahmadi.
     4                     Excuse me for a moment.
     5                     In the retail banking branch
     6     operations control and development, the
     7     director of branch operations control and
     8     development, Naif Al-Qahtani.
     9                     The manager -- in the core
    10     infrastructure and computer platform support,
    11     I spoke to the manager of IT core operations,
    12     computers and platform support, Khalifey
    13     Tajammul.
    14                     In the retail -- excuse me one
    15     second.
    16                     In the retail banking services,
    17     I spoke to the AGM of retail banking
    18     services, Mohammed Aloud.
    19                     In the MD and CEO's office, I
    20     spoke to the senior office manager for the MD
    21     and CEO office, Fahad M. Al Njrani.
    22                     In the retail banking charity
    23     relations department -- excuse me -- I spoke
    24     to the senior relationship manager nonprofit
    25     sector, Tareq Almoteriy.



   Golkow Litigation Services                                        Page 45
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 47 of 397


     1                     In the marketing and customer
     2     experience relations department, I spoke to
     3     the senior officer of media relations, Saud
     4     Al Muzayrie.
     5                     In the marketing and customer
     6     experience media relations department, I
     7     spoke to -- sorry.       In the title of corporate
     8     and social responsibilities, I spoke to
     9     AbdulAziz Al-Sheryan.
    10                     In the financial institutions
    11     department, I spoke to the director of
    12     financial institutions, Abdulrahman
    13     Al-Ghofaily.
    14                     In the Sharia department, I
    15     spoke with the AGM of Sharia counsel, Faisal
    16     Al-Shareef.
    17                     In the Sharia department, the
    18     AGM of Sharia control, Abdulmajeed Al-Dulymi.
    19                     In the archive center, the
    20     executive manager of documentation
    21     operations, Mansour S. Alshuaibi.
    22                     The executive manager of
    23     foreign litigation, Abulrhman Almussaed.
    24                     In internal audit, to the chief
    25     internal auditor, Dhary Alshammry.



   Golkow Litigation Services                                        Page 46
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 48 of 397


     1                     In internal audit, the
     2     executive audit manager, retail banking,
     3     Ibraheem Al-Alzuair.
     4                     In the finance department, the
     5     senior director of financial governance and
     6     quality assurance, Ahmed L. Alawassi.
     7                     Can I correct that, please?
     8     Ahmed S. Alawassi.
     9                     In the shared services business
    10     continuity and crisis management department,
    11     I spoke to the director of business
    12     continuity and crisis management, Khaled A.
    13     Altawily.
    14                     In the board secretariat
    15     office, I spoke to the manager of the board
    16     secretariat, Amin Osman Awad.
    17                     And in the board office for the
    18     chairman, spoke to Abdul Rahman al Rajhi.
    19                     Is that right?      That can't be
    20     right.    No, that's -- can I correct the
    21     record, please?
    22            Q.       You can.
    23            A.       I spoke to the chair -- to the
    24     chairman, Abdul Rahman al Rajhi, not working
    25     in the office.      I'm sorry, Abdullah al Rajhi.



   Golkow Litigation Services                                        Page 47
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 49 of 397


     1                     Sorry.    For some reason I've
     2     got an error on my sheet, so apologies for
     3     that.
     4             Q.      That's okay.
     5                     But are we correct that
     6     Abdullah al Rajhi and Abdul Rahman al Rajhi
     7     are different people?
     8             A.      We are clear on that, yes.
     9             Q.      Thank you.
    10                     And you identified the
    11     departments in which all of those people
    12     worked.
    13                     Were all of those departments
    14     in existence in the 1998 through 2001 time
    15     period?
    16             A.      The organization or structure
    17     changed slightly during that period, but we
    18     have tracked back for the source against the
    19     likely repository for documents or the area
    20     of expertise in -- that was in operation at
    21     the time of the inquiries, if that helps.
    22             Q.      Sure, it helps.      But just to be
    23     clear, let me give you an example.
    24                     I think you referred to a
    25     charity relations department, correct?



   Golkow Litigation Services                                        Page 48
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 50 of 397


     1            A.       That's correct.
     2            Q.       Was there a charity relations
     3     department in the 1998 through 2001 time
     4     period?
     5            A.       I do not know the answer to
     6     that because I was speaking to people who are
     7     in the current structure.
     8            Q.       And you mentioned as well the
     9     Sharia department.
    10                     Do you happen to know whether
    11     there was a distinct Sharia department in the
    12     '98 through 2001 time period?
    13            A.       Yes, there was.
    14            Q.       And do you happen to know who
    15     was responsible for charity relations
    16     management during the 1998 through 2001 time
    17     period?
    18            A.       No, I do not.
    19            Q.       With the exception of Abdullah
    20     al Rajhi, were any of the people you
    21     interviewed in preparation for your
    22     deposition employed with the bank in the 1998
    23     through 2001 time period?
    24            A.       There were some, yes.
    25            Q.       Are you able to identify the



   Golkow Litigation Services                                        Page 49
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 51 of 397


     1     individuals with whom you spoke who were
     2     employed with the bank during that time
     3     period?
     4            A.       Can I answer?
     5                     MR. CURRAN:     Yeah, you may
     6            answer.
     7                     THE WITNESS:     Would you like me
     8            to identify them now?        Is that what
     9            you're asking?
    10     QUESTIONS BY MR. CARTER:
    11            Q.       Yeah.    Which of the people you
    12     just identified were employed with the bank
    13     in 1998 through 2001 time period, and if you
    14     know their roles at that time, please tell us
    15     that as well.
    16            A.       I do not have that information
    17     on the dates in front of me, and so I don't
    18     want to give you an inaccurate response right
    19     now.   But I do know -- I do know some -- for
    20     instance, one of the gentlemen in e-mail
    21     archiving was there around the time of the
    22     issues that are mentioned in your
    23     questioning.
    24                     And the branch auditor that I
    25     spoke to was also with the bank at that time.



   Golkow Litigation Services                                        Page 50
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 52 of 397


     1            Q.       And you referred to something
     2     you described as the MD and CEO department or
     3     group.
     4                     Does the MD refer to managing
     5     director or something of that sort?
     6            A.       That's correct.
     7            Q.       Turning back to the second
     8     notice of deposition that we've identified as
     9     Exhibit 1, if you can pull that up.
    10            A.       Could you stand by for one
    11     moment?
    12            Q.       Sure.
    13                     MR. CURRAN:     Here is a hard
    14            copy, if it helps.
    15                     THE WITNESS:     Yeah, I have that
    16            in front of me.      Thank you,
    17            Mr. Carter.
    18     QUESTIONS BY MR. CARTER:
    19            Q.       And turning to area of inquiry
    20     number 1, which concerns relationships with
    21     certain Da`wah organizations and their
    22     principles.
    23                     Do you see those topics?
    24            A.       Yes, I do.
    25            Q.       And are you familiar with the



   Golkow Litigation Services                                        Page 51
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 53 of 397


     1     term "Da`wah"?
     2             A.      Only from reading this
     3     document, but I don't know it as a prescribed
     4     term.
     5             Q.      It's not a term that you've
     6     become familiar with in your work at Al Rajhi
     7     Bank?
     8             A.      It's a term that I've become
     9     aware of as a result of reading this
    10     document, but it's not a term that's used in
    11     the bank, to the best of my knowledge, or not
    12     in interactions that I've ever had with
    13     anyone.
    14             Q.      What is your understanding of
    15     the meaning of the term "Da`wah" as it's
    16     being used in this litigation?
    17             A.      My understanding --
    18                     MR. CURRAN:     Objection.
    19             Overbroad.
    20                     You may answer.
    21                     THE WITNESS:     My understanding
    22             is it refers to three specific
    23             charitable organizations:        Al
    24             Haramain, Muwaffaq, and the Islamic
    25             International, or International



   Golkow Litigation Services                                        Page 52
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 54 of 397


     1            Islamic, Relief Organization,
     2            otherwise referred to as IIRO.
     3     QUESTIONS BY MR. CARTER:
     4            Q.       You're not, as I understand it,
     5     then familiar with the Arabic term "Da`wah"
     6     and its meaning to call to Islam?
     7            A.       No, I'm not.     I'm not an Arabic
     8     speaker, sir, as I said.
     9            Q.       And just to touch a few points
    10     with regard to your preparations for this
    11     area of inquiry, the term "Da`wah principles"
    12     is identified and defined on pages 2 and 3 to
    13     refer to a number of specific individuals.
    14                     Do you see that?
    15                     MR. CURRAN:     May I point it --
    16                     MR. CARTER:     Yeah, sure.
    17                     MR. CURRAN:     Point it out?
    18                     MS. BEMBRY:     Sean, this is
    19            Aisha Bembry.      Please note my
    20            objection to the definition that
    21            you've identified in the deposition
    22            notice.
    23                     MR. CURRAN:     The witness has
    24            pages 2 and 3 in front of him.
    25




   Golkow Litigation Services                                        Page 53
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 55 of 397


     1     QUESTIONS BY MR. CARTER:
     2            Q.       Okay.    Mr. Galloway, and do you
     3     see that there's an individual listed under
     4     the IIRO heading named Prince Turki bin Fahd
     5     bin Jalawi Al Saud?
     6            A.       On page 3 at the top?        Are you
     7     referring to that?
     8            Q.       I am.
     9            A.       Yes, I can see that name.
    10            Q.       And for purposes of testifying
    11     today concerning Al Rajhi Bank's knowledge of
    12     its relationship with Prince Turki bin Fahd
    13     bin Jalawi Al Saud, did you ask the bank to
    14     retrieve any documents that had not been
    15     produced to plaintiffs?
    16                     MR. CURRAN:     Objection as to
    17            form.
    18                     You may answer.
    19                     THE WITNESS:     Could you repeat
    20            your question one more time, please?
    21     QUESTIONS BY MR. CARTER:
    22            Q.       Sure.
    23                     For purposes of testifying
    24     today concerning Al Rajhi Bank's knowledge of
    25     its relationship with Prince Turki bin Fahd



   Golkow Litigation Services                                        Page 54
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 56 of 397


     1     bin Jalawi Al Saud, did you ask the bank to
     2     retrieve any documents that had not been
     3     produced to plaintiffs?
     4            A.       I did not.
     5            Q.       Do you -- did you review any
     6     account statements for accounts held by
     7     Prince Turki bin Fahd bin Jalawi Al Saud?
     8            A.       I did not.
     9            Q.       Do you know whether Al Rajhi
    10     Bank maintained accounts during the 1998
    11     through 2002 time period for Prince Turki bin
    12     Fahd bin Jalawi al Saud?
    13            A.       I did not.
    14            Q.       For purposes of testifying
    15     today about Al Rajhi Bank's knowledge of its
    16     relationship with Prince Turki bin Fahd bin
    17     Jalawi al Saud, what did you do to prepare
    18     yourself and ensure that you had all
    19     information available to the bank?
    20                     MR. CURRAN:     Objection as to
    21            form.    We -- the banks stands by its
    22            objection as to the principles as
    23            identified in the deposition notice.
    24                     But you may answer.
    25                     THE WITNESS:     Could you repeat



   Golkow Litigation Services                                        Page 55
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 57 of 397


     1            the question, please?
     2                     MR. CARTER:     Sure.
     3                     How about if the court reporter
     4            can just read it back for us?
     5                     (Court Reporter read back
     6            question.)
     7                     THE WITNESS:     The preparation
     8            included the questions relating to any
     9            transactions with IIRO officials.
    10     QUESTIONS BY MR. CARTER:
    11            Q.       Well, do you know whether
    12     Prince Turki bin Fahd bin Jalawi al Saud had
    13     accounts at Al Rajhi Bank during the 1998
    14     through 2002 time period?
    15            A.       I do not know that he had -- as
    16     far as I know, he did not.         I don't know the
    17     answer to that.
    18            Q.       Well, can you clarify?        Did he
    19     not have accounts, or do you not know whether
    20     he had accounts?
    21            A.       He --
    22                     MR. CURRAN:     Objection.     Vague
    23            as to whether you're asking about
    24            personal accounts or accounts on
    25            behalf of IIRO.



   Golkow Litigation Services                                        Page 56
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 58 of 397


     1                     You may answer.
     2                     THE WITNESS:     The questions
     3             that I believe you've been asking were
     4             related to the accounts of principles
     5             of IIRO; is that correct?
     6     QUESTIONS BY MR. CARTER:
     7             Q.      Let me clarify my question.
     8                     Do you know one way or the
     9     other, sitting here today, whether Prince
    10     Turki bin Fahd bin Jalawi al Saud held
    11     accounts in his name at Al Rajhi Bank during
    12     the 1998 through 2002 time period?
    13             A.      I do not know the answer to
    14     that.
    15             Q.      And in this area of inquiry,
    16     topics also include ARB's knowledge
    17     concerning its relationship with an
    18     individual named Abdul Rahman Al Rajhi.
    19                     Do you see that?
    20                     MR. CURRAN:     Objection as to
    21             form.   That's a vague identification
    22             of a name.
    23                     The witness may answer.
    24                     THE WITNESS:     You are referring
    25             to 2A, correct?     2B, et cetera; is



   Golkow Litigation Services                                        Page 57
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 59 of 397


     1            that correct?
     2     QUESTIONS BY MR. CARTER:
     3            Q.       I'm referring to, in the
     4     initial question here, Topic 1, and that
     5     would include 1A and 1(b).
     6                     MR. CURRAN:     I'm going to point
     7            to the witness' document because the
     8            video pictures are obscuring the
     9            document on the screen there.
    10                     He's asking about Abdul Rahman
    11            Al Rajhi, I think, in this -- we call
    12            it a -- the top part of the --
    13                     THE WITNESS:     Yes.
    14                     So your question again was, do
    15            I recognize the name?        Is that what
    16            you're asking me?
    17     QUESTIONS BY MR. CARTER:
    18            Q.       No, I'm asking whether you see
    19     where I'm pointing to --
    20            A.       Yes.
    21            Q.       -- the notice area of inquiry
    22     that concerns ARB's knowledge of ARB's
    23     relationship with Abdul Rahman al Rajhi and
    24     the subparts to that.
    25                     Do you see that section?



   Golkow Litigation Services                                        Page 58
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 60 of 397


     1            A.       I see that.
     2            Q.       And for purposes of testifying
     3     today about ARB's relationship with Abdul
     4     Rahman al Rajhi, what did you do?
     5            A.       Well, to the extent to which
     6     the person you're referring to is Abdul
     7     Rahman al Rajhi, we think you mean Abdul
     8     Rahman Abdul al Rajhi -- it's not clear from
     9     the way it's presented here -- and that
    10     person never had any role at the bank.
    11            Q.       And what is the source of your
    12     knowledge that that person never had any role
    13     with the bank?
    14            A.       First, in the HR records, and
    15     also I asked that of the chairman when I met
    16     with him.
    17            Q.       And during your interview with
    18     the chairman, did he tell you who Abdul
    19     Rahman Abdul al Rajhi was?
    20                     MR. CURRAN:     Objection to form.
    21                     You may answer.
    22                     THE WITNESS:     The chairman
    23            identified that there's a number of
    24            family members with that or a similar
    25            name.



   Golkow Litigation Services                                        Page 59
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 61 of 397


     1     QUESTIONS BY MR. CARTER:
     2            Q.       And did he indicate that one of
     3     those family members with that similar name
     4     worked for the Sulaiman al Rajhi Foundation
     5     in Saudi Arabia?
     6            A.       He did not identify that
     7     directly, no.
     8            Q.       Did you ask him whether there
     9     was a person with that name working at the
    10     Sulaiman al Rajhi Foundation in Saudi Arabia
    11     during the relevant time period, 1998
    12     through 2002?
    13            A.       Yes, I did.
    14            Q.       And what was his answer?
    15            A.       He said that he worked in the
    16     charity.    He had no idea what his role was,
    17     and he didn't have a start or end date or
    18     know anything about the involvement in the
    19     charity.    But he did confirm that he worked
    20     for the charity.
    21            Q.       Was he able to tell you what
    22     that person's relationship was, family
    23     relationship was, with Sulaiman al Rajhi, the
    24     bank's founder?
    25                     MR. CURRAN:     Objection.     Lack



   Golkow Litigation Services                                        Page 60
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 62 of 397


     1            of foundation.
     2                     You may answer.
     3                     THE WITNESS:     No, I didn't get
     4            a specific understanding of the family
     5            tree.    I think there's some
     6            relationship between the half-sister
     7            of his and the gentleman that you're
     8            referring to as Abdul Rahman al Rajhi.
     9     QUESTIONS BY MR. CARTER:
    10            Q.       When you say "half-sister of
    11     his," who is the "his" you're referring to?
    12            A.       Of the chairman, Mr. Abdul al
    13     Rajhi.
    14                     Again, he wasn't specific.         I'd
    15     just like to note that.
    16            Q.       Did you request that Al Rajhi
    17     Bank conduct an inquiry to determine whether
    18     or not it held accounts in the name of Abdul
    19     Rahman Abdul al Rajhi during the relevant
    20     time period?
    21            A.       No, I did not.
    22            Q.       And so I take it from that
    23     answer that you did not review account
    24     statements for any accounts Abdul Rahman
    25     Abdul al Rajhi may have held at Al Rajhi Bank



   Golkow Litigation Services                                        Page 61
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 63 of 397


     1     during the relative time period?
     2            A.       That's correct.
     3            Q.       And so did you request
     4     information concerning whether or not Al
     5     Rajhi Bank had carried out any transfers of
     6     funds to Abdul Rahman Abdul al Rajhi during
     7     the relative time period?
     8                     MR. CURRAN:     Objection as to
     9            form.
    10                     You may answer.
    11                     THE WITNESS:     Can you repeat
    12            the question, please?        Sorry.
    13     QUESTIONS BY MR. CARTER:
    14            Q.       Did you conduct an inquiry to
    15     determine whether Al Rajhi Bank had carried
    16     out any transfers of funds to Abdul Rahman
    17     Abdul al Rajhi during the 1998 through 2002
    18     time period?
    19                     MR. CURRAN:     Mr. Carter, which
    20            area of inquiry are you under now?
    21            Because I'm not seeing a reference to
    22            transactions involving --
    23                     MR. CARTER:     Yeah, so financial
    24            contributions provided to the Da`wah
    25            organizations and their principles by



   Golkow Litigation Services                                        Page 62
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 64 of 397


     1            ARB, Sulaiman and Abdul Rahman al
     2            Rajhi.
     3                     MR. CURRAN:     Objection.
     4            Objection as to form.        I think that's
     5            kind of a convoluted area of inquiry.
     6                     The witness may answer.
     7                     THE WITNESS:     And could you
     8            repeat your question, please,
     9            Mr. Carter?
    10     QUESTIONS BY MR. CARTER:
    11            Q.       Yeah.    I'm just asking whether
    12     or not you conducted an inquiry to identify
    13     any transactions carried out by Al Rajhi Bank
    14     for the benefit of Abdul Rahman Abdul al
    15     Rajhi.
    16                     MR. CURRAN:     Same objection.
    17            That's not actually within the area of
    18            inquiry 1(b).
    19                     You may answer.
    20                     MR. CARTER:     I disagree with
    21            that.    It's in -- it's within area 1,
    22            but go ahead.
    23                     THE WITNESS:     I did not conduct
    24            inquiries on his account, no.
    25




   Golkow Litigation Services                                        Page 63
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 65 of 397


     1     QUESTIONS BY MR. CARTER:
     2            Q.       With regard to Topic 1(d), what
     3     did you do to gather information concerning
     4     Sulaiman al Rajhi's membership or service on
     5     any boards, councils, committees or governing
     6     bodies of the IIRO?
     7                     MS. BEMBRY:     Note my objection
     8            as to form.
     9                     MR. CURRAN:     You may answer.
    10                     THE WITNESS:     I did a search of
    11            the bank archives, both your -- the
    12            chairman's office, the board office,
    13            also their general archives of the
    14            bank.
    15                     And in any other archive
    16            search, we also looked in legal and
    17            internal audit as well as the bank's
    18            central archive.
    19     QUESTIONS BY MR. CARTER:
    20            Q.       Let's break that down a bit.
    21                     You did a search of the bank
    22     archives, including the chairman's office,
    23     correct?
    24            A.       That's correct.
    25            Q.       Did that involve a



   Golkow Litigation Services                                        Page 64
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 66 of 397


     1     comprehensive review of the archives of the
     2     chairman's office?
     3                     MR. CURRAN:     Objection as to
     4            form.
     5                     You may answer.
     6                     THE WITNESS:     For the subject
     7            period, yes.
     8     QUESTIONS BY MR. CARTER:
     9            Q.       So any and all documents within
    10     the chairman's office for the years '98
    11     through 2002 were reviewed?
    12            A.       That's correct.
    13            Q.       And was any review conducted
    14     for earlier periods?
    15            A.       No, it was not.
    16            Q.       And are there archives for
    17     earlier periods of the chairman's office?
    18            A.       I don't have knowledge of that.
    19     I just searched for the relevant period.
    20                     MR. CURRAN:     Objection.
    21            Exceeds the scope of the deposition
    22            notice.
    23                     MR. CARTER:     Okay.    Well, I'm
    24            not sure asking him questions about
    25            the searches that were conducted



   Golkow Litigation Services                                        Page 65
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 67 of 397


     1            exceeds the notice, but --
     2                     MR. CURRAN:     Well, when you're
     3            asking about searches conducted of
     4            periods outside the relevant period, I
     5            think it does.      That's why I objected.
     6                     MR. CARTER:     Yeah.
     7     QUESTIONS BY MR. CARTER:
     8            Q.       Where were the archives of the
     9     chairman's office that you reviewed
    10     maintained?
    11            A.       In the office of the chairman.
    12            Q.       And those were not, therefore,
    13     in the general archives of the bank?
    14            A.       Some may have been, and to the
    15     extent they were, we searched the main
    16     archive of the bank.       But some documents are
    17     retained also in the chairman's office.            We
    18     searched in both places.
    19            Q.       And how did you go about
    20     searching in the main archives for the
    21     archives of the chairman's office?           In other
    22     words, were they in an identifiable location?
    23            A.       They were.     I've got some --
    24     quite some detail, if you would like to -- if
    25     you could just point me to the area on the



   Golkow Litigation Services                                        Page 66
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 68 of 397


     1     conversation sheet here that can help me
     2     understand that question number, I've got
     3     some notes I can refer to to help me with
     4     that.
     5             Q.      Sure, we'll get to that in a
     6     minute.      I just wanted to see if, you know,
     7     as part of the dialogue right now you had it
     8     on the top of your head.        But we'll get to it
     9     later if you need to refer to your notes.
    10                     In connection with your
    11     preparations to testify concerning Al Rajhi
    12     Bank's relationships with the Al Haramain
    13     Islamic Foundation and International Islamic
    14     Relief Organization, did you review account
    15     statements for those entities?
    16             A.      Yes, we did.
    17             Q.      And did you familiarize
    18     yourself with any accounts in general that Al
    19     Rajhi Bank maintained for those entities
    20     during the 1998 through 2002 time period?
    21                     MR. CURRAN:     2002?    Yeah, okay.
    22                     Go ahead.
    23                     THE WITNESS:     Yeah, we searched
    24             for any accounts the bank had with
    25             those organizations.



   Golkow Litigation Services                                        Page 67
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 69 of 397


     1     QUESTIONS BY MR. CARTER:
     2            Q.       And so sitting here today, you
     3     have a general familiarity with the -- the
     4     scope of Al Rajhi Bank's account
     5     relationships with those entities, correct?
     6            A.       That's correct.
     7            Q.       And are you aware that Al Rajhi
     8     Bank has produced account statements relating
     9     to those entities to plaintiffs in this
    10     litigation?
    11            A.       Yes, I am.
    12            Q.       And have you had a chance to
    13     look at any of those account statements?
    14            A.       I've -- not in detail for every
    15     entry, if that's what you're going to ask me.
    16            Q.       No, I'm just asking whether
    17     you've had a chance to look at any of them.
    18            A.       I've cited some.
    19            Q.       And do you know how those
    20     account statements were retrieved?
    21            A.       They were retrieved from the
    22     core banking system.
    23            Q.       What is the core banking system
    24     as you understand it?
    25            A.       In -- I can give you a short



   Golkow Litigation Services                                        Page 68
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 70 of 397


     1     answer or a longer answer.
     2                     The short answer is it's the
     3     central repository for all the customer
     4     account information and product information
     5     related to the bank.       We have multiple parts
     6     of the architecture, but basically any
     7     current account information and the
     8     transactions on that are held in the core
     9     banking system.
    10            Q.       And when did the core banking
    11     system come into existence?
    12            A.       If you'll allow me, I'll just
    13     refer to the -- my notes.
    14                     Could you just direct me to the
    15     place on the areas of inquiry that that
    16     question relates to, please?
    17                     MR. CURRAN:     The first one 41A.
    18                     MR. CARTER:     Yeah.
    19                     THE WITNESS:     I do not have a
    20            commencement date for the core banking
    21            system in my notes.
    22     QUESTIONS BY MR. CARTER:
    23            Q.       Is it your understanding that
    24     the core banking system captures account and
    25     transaction information going back to the



   Golkow Litigation Services                                        Page 69
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 71 of 397


     1     1998 through 2002 time period?
     2            A.       Yes, it is.     That is correct.
     3            Q.       And it should capture all
     4     account and transaction information for that
     5     time period, correct?
     6            A.       That's correct.
     7            Q.       And does the core banking
     8     system have fields that are electronically
     9     searchable?
    10            A.       Yes, it does.
    11            Q.       Do you know what those fields
    12     are?
    13            A.       I don't have that information.
    14            Q.       Do you know how Al Rajhi Bank
    15     conducted its search of the core banking
    16     system to identify accounts it held for Al
    17     Haramain and International Islamic Relief
    18     Organization?
    19            A.       Yes, it was done in sort of a
    20     four-part process, which I can describe to
    21     you.
    22            Q.       Sure.
    23            A.       The first was to take the names
    24     that were provided, and given the potential
    25     ambiguity with Islamic names and the variety



   Golkow Litigation Services                                        Page 70
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 72 of 397


     1     of spelling, both in the form as well as the
     2     number of names, applied a -- you could call
     3     it a fuzzy logic or a string search-type
     4     approach that used every know common
     5     combination of middle names and family names,
     6     order of spelling, et cetera.
     7                     So as it relates to individual
     8     accounts, we had to try to narrow down the
     9     actual account holder from the potential
    10     names that might have been similar but not
    11     the same person.
    12                     And the second step was we used
    13     additional resources like OFAC and the
    14     World-Check or Google, et cetera, to try to
    15     identify with more precision the person and
    16     names and things like the date of birth and
    17     nationality, et cetera.
    18                     And then there was a third
    19     stage which then out of the probable
    20     customers that met the name that we were
    21     given, we then narrowed down on their
    22     customer file, any national ID, photo ID, et
    23     cetera, national ID number.         And we did that
    24     in both English and Arabic.
    25            Q.       And so that was the process for



   Golkow Litigation Services                                        Page 71
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 73 of 397


     1     identifying account holders, correct?
     2            A.       That's correct.
     3            Q.       And is the core banking system
     4     capable of searching for and identifying all
     5     transactions that are credited to a
     6     particular entity?       For instance, here the Al
     7     Haramain Islamic Foundation or the IIRO?
     8                     MR. CURRAN:     Objection.     Vague.
     9                     You may answer.
    10                     THE WITNESS:     Yeah, amounts
    11            credited can be -- can be identified
    12            on the system.      It just depends on
    13            whether the annotation on the credit
    14            is clear or complete.
    15     QUESTIONS BY MR. CARTER:
    16            Q.       All right.     So we'll discuss
    17     that a little bit later.
    18                     But just to stay on this topic
    19     for a moment.     Can you tell me what the
    20     general ledger is at Al Rajhi Bank?
    21            A.       Yeah, the general ledger is the
    22     core accounting system for the bank which
    23     keeps the bank's own internal financial
    24     records, the debits and credits, if you like.
    25            Q.       And what is the O'Neil system?



   Golkow Litigation Services                                        Page 72
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 74 of 397


     1            A.       Yeah, the -- the O'Neil system
     2     is a system to track the movement of hardcopy
     3     documents from branches or the headquarters
     4     to the archive center, and also to help
     5     identify the location of documents within the
     6     archive center.
     7                     So if you want an example, if
     8     you had multiple accounts under a single
     9     account number, it would be able to tell you
    10     where the various files related to that
    11     overall CIC, or customer identification code,
    12     number were.
    13            Q.       And the last system identified
    14     under this heading is the FileNet system.
    15                     What is that?
    16            A.       Yeah, the FileNet system?         It's
    17     the -- the bank sub -- it's the -- it's
    18     the -- FileNet is the way you find out the
    19     information that's in the archive, and it has
    20     metadata appended to that over time.
    21                     So if you wanted to search for
    22     a particular CIC number, for example, you
    23     would use the FileNet system.         So it's a
    24     system for searching the documents.           The
    25     O'Neil tracks the document movement, and



   Golkow Litigation Services                                        Page 73
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 75 of 397


     1     FileNet lets you search for the individual
     2     documents.
     3            Q.       Mr. Galloway, have you ever
     4     yourself conducted searches in any of those
     5     four systems?
     6            A.       I have not.
     7            Q.       We've discussed a bit of the
     8     account statements that Al Rajhi Bank has
     9     produced for the Al Haramain Islamic
    10     Foundation and International Islamic Relief
    11     Organization.
    12                     Are you aware that Al Rajhi
    13     Bank has also produced certain know your
    14     customer information relating to those
    15     accounts?
    16            A.       Yes.
    17            Q.       And do you know where that know
    18     your customer information was retrieved?
    19            A.       I believe it would have been
    20     retrieved from the central archive.
    21            Q.       Are you familiar with something
    22     known as the customer information files?
    23            A.       Yes, I am.
    24            Q.       And what are the customer
    25     information files?



   Golkow Litigation Services                                        Page 74
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 76 of 397


     1            A.       Customer information files are
     2     the additional information we would hold on
     3     the customer.
     4            Q.       And would the customer
     5     information files include all know your
     6     customer information concerning the client?
     7            A.       Yes, they should.
     8            Q.       And is it your understanding
     9     that Al Rajhi Bank has produced to plaintiffs
    10     all know your customer information relating
    11     to the Al Haramain and IIRO accounts that it
    12     has identified?
    13                     MR. CURRAN:     Objection.     Lack
    14            of foundation.
    15                     You may answer.
    16                     THE WITNESS:     I believe so.
    17     QUESTIONS BY MR. CARTER:
    18            Q.       Did you undertake as part of
    19     your preparations to determine whether Al
    20     Rajhi Bank had provided all know your
    21     customer information for the Al Haramain
    22     Islamic Foundation and International Islamic
    23     Relief Organization accounts it had
    24     identified?
    25                     MR. CURRAN:     Objection.



   Golkow Litigation Services                                        Page 75
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 77 of 397


     1                     Mr. Carter, what category or
     2            area of inquiry is this?
     3                     So the question is about the
     4            witness' knowledge of what's been
     5            produced in the litigation?
     6                     MR. CARTER:     Well, the topic
     7            concerns the bank's relationships with
     8            these entities, and the relationships
     9            with these entities are significantly
    10            informed by the know your customer
    11            information.
    12                     So I'm asking whether or not he
    13            has an understanding of whether or not
    14            the know your customer information has
    15            been provided.
    16                     MR. CURRAN:     Yeah, I think
    17            that's beyond the designated area of
    18            inquiry.
    19                     You can ask him about the
    20            bank's knowledge of the subjects, but
    21            I don't see an area of inquiry for
    22            this witness where he's supposed to
    23            know everything that's been produced
    24            in the litigation.
    25                     You may answer.



   Golkow Litigation Services                                        Page 76
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 78 of 397


     1                     THE WITNESS:     Could you repeat
     2             the question just so I can understand
     3             what you want to know?
     4                     MR. CARTER:     Sure.    The court
     5             reporter can reread it.
     6                     (Court Reporter read back
     7             question.)
     8                     THE WITNESS:     The bank -- the
     9             bank had no accounts -- so just -- can
    10             I just take a moment, please?
    11     QUESTIONS BY MR. CARTER:
    12             Q.      Sure.
    13             A.      The bank held accounts for Al
    14     Haramain KSA and IIRO KSA, so to that extent,
    15     I believe that the documents have been handed
    16     over.    We did not hold any accounts for
    17     Muwaffaq, or Muwaffaq.
    18             Q.      And Topic 1(a) in the second
    19     notice of deposition we marked as Exhibit 1
    20     refers to ARB accounts established or held in
    21     the name of, among others, Al Haramain and
    22     IIRO, correct?
    23             A.      That's what it asks for, yes.
    24             Q.      And the know your customer
    25     information would be part of the information



   Golkow Litigation Services                                        Page 77
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 79 of 397


     1     relating to the accounts ARB, or Al Rajhi
     2     Bank, maintained for those entities, right?
     3            A.       I believe --
     4                     MR. CURRAN:     Objection to the
     5            form.
     6                     You may answer.
     7                     THE WITNESS:     I believe so.
     8     QUESTIONS BY MR. CARTER:
     9            Q.       Do you know whether the
    10     customer information files would include any
    11     information concerning any money laundering
    12     or counterterrorism financing inquiry
    13     initiated in relation to an account holder?
    14            A.       An inquiry, did you say?
    15            Q.       Yeah.
    16            A.       I mean, I -- you're meaning
    17     after the fact of the account being opened?
    18     Is that what you mean?
    19            Q.       Correct.
    20            A.       I do not know the answer to
    21     that, but anything like that would be found
    22     as part of internal audit.
    23                     (Al Rajhi Bank 30(b)(6) Exhibit
    24            ARB 2 marked for identification.)
    25




   Golkow Litigation Services                                        Page 78
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 80 of 397


     1     QUESTIONS BY MR. CARTER:
     2            Q.       Can we mark as Exhibit ARB 2
     3     the document at Tab 2?
     4                     Mr. Galloway, this is a summary
     5     document that the plaintiffs have prepared
     6     identifying the separate accounts they have
     7     identified in Al Rajhi Bank's production
     8     relating to Al Haramain Islamic Foundation.
     9            A.       Okay.
    10            Q.       And based on our review, we've
    11     identified 94 separate accounts maintained by
    12     Al Rajhi Bank for Al Haramain.
    13                     Is that consistent with what
    14     you understand based on your preparations
    15     concerning the scope of the bank's
    16     relationship with Al Haramain?
    17                     MR. CURRAN:     Objection as to
    18            form.
    19                     I believe this summary document
    20            was not attached to the deposition
    21            notice, and it's improper to foist
    22            this upon the witness in this context.
    23                     You may answer.
    24                     THE WITNESS:     I'm aware that
    25            there were multiple Al Haramain



   Golkow Litigation Services                                        Page 79
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 81 of 397


     1            accounts with the bank.
     2     QUESTIONS BY MR. CARTER:
     3            Q.       And as part of your
     4     preparations, did you determine how many
     5     separate Al Haramain accounts Al Rajhi Bank
     6     was maintaining during the 1998 through 2002
     7     time period?
     8            A.       Yes, I did.
     9            Q.       How many did you identify?
    10            A.       I had an item count of 95.
    11            Q.       So your count is one greater
    12     than the plaintiffs' count, correct?
    13            A.       I have not counted the number
    14     of entries on the screen you're showing me,
    15     but if yours is 94, that's one item
    16     difference.
    17            Q.       Okay.    And did you undertake to
    18     determine the specific name designation for
    19     each of the Al Haramain accounts?
    20                     MR. CURRAN:     Objection as to
    21            form.
    22                     You may answer.
    23                     THE WITNESS:     Could you clarify
    24            what you mean by that?
    25




   Golkow Litigation Services                                        Page 80
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 82 of 397


     1     QUESTIONS BY MR. CARTER:
     2            Q.       Did the Al Haramain accounts
     3     have, at least in certain cases, distinct
     4     name designations?
     5            A.       I'm sorry, sir, I still don't
     6     understand what you mean by "name
     7     designation."     I'm not quite sure the point
     8     you're trying to get to.
     9            Q.       Okay.    Well, looking at our
    10     chart, we had identified some accounts that
    11     were held in the name simply of Al Haramain
    12     Islamic Foundation and in other cases
    13     accounts that included additional information
    14     like the women's committee.
    15                     Do you see that on our
    16     document?
    17            A.       I can.
    18            Q.       And as part of your
    19     preparation, did you review the names of the
    20     different accounts maintained by Al Rajhi
    21     Bank for Al Haramain?
    22            A.       If by your question you mean do
    23     we understand the reason why the accounts had
    24     different names, the answer is yes.
    25            Q.       Okay.    What is the reason for



   Golkow Litigation Services                                        Page 81
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 83 of 397


     1     that?
     2             A.      My understanding is that the
     3     accounts were created for different
     4     charitable acts by Al Haramain.          In other
     5     words, different projects or different
     6     activities would have a different name on the
     7     account in order to keep the funds and the
     8     activities separate by project.
     9             Q.      And what is the basis of that
    10     understanding?
    11             A.      That's what I have been told by
    12     my internal inquiries.        I don't have the
    13     direct source with me now.         But in the core
    14     banking system we extracted the records, but
    15     I can't give you the source for the person
    16     who told me that specifically.
    17             Q.      Do you know whether every Al
    18     Haramain account includes a particular
    19     designation for the specific charitable
    20     activity it was created to carry out?
    21                     MR. CURRAN:     Objection as to
    22             form.   Vague.
    23                     You may answer.
    24                     THE WITNESS:     What I can tell
    25             you is that I understand the reason



   Golkow Litigation Services                                        Page 82
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 84 of 397


     1            the -- there are multiple accounts is
     2            because they relate to multiple
     3            projects, but I can't tell you more
     4            specifics beyond that.
     5     QUESTIONS BY MR. CARTER:
     6            Q.       And again, what is the source
     7     of that understanding?        Is it something
     8     someone told you?
     9                     MR. CURRAN:     Objection as to
    10            form.
    11                     You may answer.
    12                     THE WITNESS:     It's something
    13            that in the inquiries when I asked how
    14            many accounts there were and saw the
    15            relatively large number, my question
    16            was why were there so many accounts.
    17     QUESTIONS BY MR. CARTER:
    18            Q.       And do you recall who provided
    19     the explanation that you're testifying to
    20     today?
    21            A.       Yeah.    I can get you a name.
    22                     Yeah, it would have been
    23     Abulrhman Almussaed.
    24            Q.       And what was Abulrhman
    25     Almussaed's position with the bank?



   Golkow Litigation Services                                        Page 83
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 85 of 397


     1            A.       Executive manager of foreign
     2     litigation.
     3            Q.       And was he employed with the
     4     bank during the 1998 through 2002 time
     5     period?
     6            A.       No.
     7            Q.       And do you know how he came to
     8     his understanding that he conveyed to you
     9     that the separate accounts were created to
    10     carry out distinct charitable purposes?
    11            A.       No, I do not.
    12            Q.       On the list that plaintiffs
    13     have prepared, you'll see that many of the
    14     accounts are simply identified as Al Haramain
    15     Islamic Foundation, and that's our
    16     understanding based on the information
    17     provided to us.
    18                     Do you know whether or not
    19     there is additional information in the bank's
    20     systems relating to the accounts that are
    21     simply identified as Al Haramain Islamic
    22     Foundation describing some more particular
    23     purpose?
    24            A.       I do not have direct knowledge
    25     of that, no.



   Golkow Litigation Services                                        Page 84
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 86 of 397


     1            Q.       With regard to the account
     2     statements that have been produced by Al
     3     Rajhi Bank to the plaintiffs for Al Haramain
     4     and the IIRO, are those authentic business
     5     records of the bank?
     6            A.       Yes, they are.      And let me just
     7     refer to my notes, if you don't mind.
     8                     Yeah, they're authentic
     9     business records, and I can give you some
    10     additional detail.
    11            Q.       Sure.
    12            A.       I can't find the reference, but
    13     I understand that they're the original
    14     statements as opposed to a replicate
    15     statement.     So it has the authentic data in
    16     it.
    17            Q.       And so the data reflected in
    18     the account statements was created at or near
    19     the time of the events that are reflected in
    20     the statements?
    21            A.       That is my understanding.
    22            Q.       And I take it that given that
    23     Al Rajhi Bank is in the banking business, the
    24     practice of creating and maintaining account
    25     statements is something it does in the



   Golkow Litigation Services                                        Page 85
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 87 of 397


     1     ordinary course of its business?
     2            A.       That's correct.
     3            Q.       And aside from the information
     4     you already provided concerning your
     5     understanding that the accounts were created
     6     to support different charitable purposes, do
     7     you have any additional information
     8     concerning why there were this number of Al
     9     Haramain accounts in existence at this time?
    10            A.       I do not.
    11            Q.       Do you know whether the number
    12     of accounts being maintained by Al Haramain
    13     ever prompted any money laundering or
    14     terrorism financing concerns in the 1998
    15     through 2002 time period?
    16                     MR. CURRAN:     Objection.     Lack
    17            of foundation.
    18                     You may answer.
    19                     THE WITNESS:     I have no direct
    20            knowledge of that.
    21                     (Al Rajhi Bank 30(b)(6) Exhibit
    22            ARB 3 marked for identification.)
    23     QUESTIONS BY MR. CARTER:
    24            Q.       Can we mark as Exhibit ARB 3
    25     the document at Tab 3 in the folder?



   Golkow Litigation Services                                        Page 86
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 88 of 397


     1                     Mr. Galloway, this is a summary
     2     chart that plaintiffs have prepared based on
     3     the account statements produced by Al Rajhi
     4     Bank of the distinct International Islamic
     5     Relief Organization, or IIRO, accounts at Al
     6     Rajhi Bank.
     7                     In preparation for your
     8     deposition today, did you undertake to
     9     determine how many accounts Al Rajhi Bank
    10     maintained for the IIRO in the 1998
    11     through 2002 time period?
    12                     MS. BEMBRY:     Objection as to
    13            form.
    14     QUESTIONS BY MR. CARTER:
    15            Q.       You can answer.
    16                     MR. CURRAN:     I think you did
    17            answer.    You can say it again.
    18                     THE WITNESS:     Yes, I did do
    19            that.
    20     QUESTIONS BY MR. CARTER:
    21            Q.       And based on your inquiry, how
    22     many accounts did you determine that the bank
    23     was maintaining for the International Islamic
    24     Relief Organization during the relevant time
    25     period?



   Golkow Litigation Services                                        Page 87
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 89 of 397


     1            A.       During the relevant time
     2     period, the number is 308.
     3            Q.       So your inquiry determined that
     4     there were 308 accounts at Al Rajhi Bank
     5     during the 1998 through 2002 time period for
     6     the IIRO?
     7            A.       That is correct.      IIRO KSA, to
     8     be clear.
     9            Q.       All right.     When you say "IIRO
    10     KSA," you're referring to the Saudi
    11     International Islamic Relief Organization?
    12            A.       Yes.
    13                     MS. BEMBRY:     Objection as to
    14            form.
    15     QUESTIONS BY MR. CARTER:
    16            Q.       And did you undertake to
    17     determine why the IIRO had 308 separate
    18     accounts at Al Rajhi Bank during the time
    19     period?
    20                     MS. BEMBRY:     Objection as to
    21            form.
    22                     MR. CURRAN:     You may answer.
    23                     THE WITNESS:     Okay.    I made
    24            several inquiries, as we've just
    25            discussed, for Al Haramain and was



   Golkow Litigation Services                                        Page 88
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 90 of 397


     1            told for similar reasons that new
     2            accounts were opened every time there
     3            was a new project over that period.
     4                     And I think the names appear to
     5            reflect that.
     6     QUESTIONS BY MR. CARTER:
     7            Q.       Who provided that information
     8     to you?
     9            A.       Again, the same.      Abulrhman
    10     Almussaed.
    11            Q.       And do you know how he came to
    12     that determination?
    13            A.       No, I do not.
    14            Q.       And do you know whether or not
    15     he based that on any particular documents?
    16                     MS. BEMBRY:     Objection as to
    17            form.
    18                     MR. CURRAN:     You may answer.
    19            Unless there's an instruction not to
    20            answer, you just go ahead.
    21                     THE WITNESS:     Okay.
    22                     No, I do not have direct
    23            knowledge of that.
    24     QUESTIONS BY MR. CARTER:
    25            Q.       And just looking at the first



   Golkow Litigation Services                                        Page 89
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 91 of 397


     1     page, the sixth en -- or seventh entry down
     2     refers to the Islamic Relief
     3     Organization/Jeddah.
     4                     Do you see that?
     5            A.       Yes, I do.
     6            Q.       And three below that refers to
     7     International Islamic Relief
     8     Organization/Jeddah.
     9                     Do you see that as well?
    10            A.       Yes, I do.
    11            Q.       If each of the accounts was
    12     established for a separate purpose, do you
    13     understand why there would be multiple
    14     accounts with the same name?
    15                     MS. BEMBRY:     Objection as to
    16            form.
    17                     MR. CURRAN:     I join in that
    18            objection.
    19                     You may answer.
    20                     THE WITNESS:     No, I do not.
    21     QUESTIONS BY MR. CARTER:
    22            Q.       And turning to page 3 of this
    23     exhibit, you'll see a number of accounts that
    24     are designated as IIRO - general donations.
    25                     Do you see that?



   Golkow Litigation Services                                        Page 90
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 92 of 397


     1                     MS. BEMBRY:     Sean, just note a
     2            standing objection to the use of this
     3            summary document.
     4                     THE WITNESS:     If the question,
     5            Mr. Carter, is do I see the items
     6            you've highlighted, the answer is yes.
     7     QUESTIONS BY MR. CARTER:
     8            Q.       And do you have any
     9     understanding of what the purpose of those
    10     accounts was?
    11                     MS. BEMBRY:     Objection as to
    12            form.
    13                     MR. CURRAN:     Same objection.      I
    14            join in the standing objection as to
    15            the use of the summary exhibit.
    16                     You may answer.
    17                     THE WITNESS:     I have no direct
    18            understanding.
    19     QUESTIONS BY MR. CARTER:
    20            Q.       You testified earlier that your
    21     review of the account information prompted
    22     you to make inquiry concerning why there were
    23     this number of accounts for -- in the case of
    24     Al Haramain, correct?
    25                     MS. BEMBRY:     Objection as to



   Golkow Litigation Services                                        Page 91
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 93 of 397


     1            form.
     2                     MR. CURRAN:     I join in that
     3            objection.
     4                     You may answer.
     5                     THE WITNESS:     That is correct,
     6            I did ask why there were so many
     7            accounts.
     8     QUESTIONS BY MR. CARTER:
     9            Q.       And as part of that, did you
    10     ask whether there were multiple accounts with
    11     the same name?
    12                     MS. BEMBRY:     Objection as to
    13            form.
    14                     THE WITNESS:     I did not ask
    15            that question.
    16     QUESTIONS BY MR. CARTER:
    17            Q.       And in reviewing the documents
    18     that you looked at in preparation, did you
    19     see account statements for Al Haramain
    20     Islamic Foundation that shared common names?
    21            A.       I do not recall seeing anything
    22     like that.
    23            Q.       Do you know one way or the
    24     other?
    25                     MR. CURRAN:     Objection as to



   Golkow Litigation Services                                        Page 92
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 94 of 397


     1            form.
     2                     And now we're talking about Al
     3            Haramain, I think, right?
     4                     THE WITNESS:     I do not recall
     5            seeing Al Haramain accounts with the
     6            same names, no, if that's your
     7            question.
     8     QUESTIONS BY MR. CARTER:
     9            Q.       Do you recall that every Al
    10     Haramain account you looked at had a distinct
    11     name designation?
    12            A.       No, I do not.
    13            Q.       And the reason I pivoted to Al
    14     Haramain is because we hadn't discussed what
    15     prompted you to make inquiry concerning the
    16     purpose of the IIRO accounts.
    17                     What -- why did you do that?
    18                     MS. BEMBRY:     Objection as to
    19            form.
    20                     THE WITNESS:     My awareness of
    21            the number of the accounts.
    22     QUESTIONS BY MR. CARTER:
    23            Q.       And in reviewing the documents
    24     relating to the IIRO accounts, did you notice
    25     that any of the distinct accounts shared



   Golkow Litigation Services                                        Page 93
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 95 of 397


     1     common name designations?
     2            A.       No, I did not.
     3            Q.       Do you know whether some of
     4     them shared common name designations one way
     5     or the other?
     6            A.       No, I do not.
     7            Q.       In preparation for testifying
     8     today, did you attempt to assess the volume
     9     of funds that were moved through the Al
    10     Haramain accounts during the period of 1998
    11     through 2002?
    12                     MR. CURRAN:     Objection to form.
    13                     And this is limited to Al
    14            Haramain KSA, I assume.
    15                     You may answer.
    16                     MR. CARTER:     Well, it's limited
    17            to the Al Haramain accounts at the
    18            bank.
    19                     MR. CURRAN:     You may answer.
    20                     THE WITNESS:     No, Mr. Carter, I
    21            didn't go down to the total, look
    22            through the accounts or to the
    23            individual accounts.
    24     QUESTIONS BY MR. CARTER:
    25            Q.       But you agree that the account



   Golkow Litigation Services                                        Page 94
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 96 of 397


     1     statements themselves would accurately
     2     reflect the amount of funds that were moving
     3     through those accounts during the relevant
     4     time period?
     5            A.       Yes, it should.
     6            Q.       And is the same true for the
     7     IIRO account statements?
     8                     MS. BEMBRY:     Objection as to
     9            form.
    10                     THE WITNESS:     Yes, the same is
    11            true.
    12     QUESTIONS BY MR. CARTER:
    13            Q.       And to the extent that
    14     transactions are reflected on Al Rajhi Bank's
    15     account statements for the Al Haramain
    16     Islamic Foundation, those would be
    17     transactions that were carried out through Al
    18     Rajhi Bank, correct?
    19                     MR. CURRAN:     Objection as to
    20            form.
    21                     You may answer.
    22                     THE WITNESS:     That should be
    23            correct, yes.
    24     QUESTIONS BY MR. CARTER:
    25            Q.       And is the same true with



   Golkow Litigation Services                                        Page 95
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 97 of 397


     1     respect to the IIRO account statements?
     2                     MS. BEMBRY:     Objection to the
     3            form.
     4                     THE WITNESS:     That should also
     5            be correct.
     6     QUESTIONS BY MR. CARTER:
     7            Q.       With respect to the individual
     8     transactions reflected in the Al Haramain
     9     account statements at Al Rajhi Bank, have you
    10     seen any information reflecting that a
    11     particular transfer was earmarked for a
    12     particular purpose?
    13                     MR. CURRAN:     Objection as to
    14            form.
    15                     You may answer.
    16                     THE WITNESS:     Can you clarify
    17            your question, please?
    18     QUESTIONS BY MR. CARTER:
    19            Q.       The account statements for Al
    20     Haramain reflect individual transactions in
    21     the form of both credits and debits, correct?
    22            A.       That's correct.
    23            Q.       And have you seen information
    24     for any of those credits and debits
    25     reflecting that a particular transaction was



   Golkow Litigation Services                                        Page 96
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 98 of 397


     1     earmarked for a particular purpose?
     2            A.       The payment itself would have
     3     an annotation on it, if that's what you're
     4     asking me.
     5            Q.       In every case?
     6            A.       In -- unless there was some
     7     data missing for some reason.
     8            Q.       Where would that data be
     9     maintained?
    10            A.       The data that's annotated to
    11     the account, you're asking me?
    12            Q.       Yes.
    13            A.       It should be in the core
    14     banking record.
    15            Q.       In what field?
    16            A.       There would be a transaction
    17     field.    I don't know the fields with intimate
    18     detail, but there is a field --
    19            Q.       Okay.
    20            A.       -- that would be -- have the
    21     detail of the transaction.
    22            Q.       And did you review any of that
    23     detail with respect to the Al Haramain
    24     transactions?
    25            A.       Directly myself, no, I did not.



   Golkow Litigation Services                                        Page 97
Case 1:03-md-01570-GBD-SN
           This TranscriptDocument 10594-3Confidential
                             Contains       Filed 12/09/24 Material
                                                           Page 99 of 397


     1            Q.       And to the extent that an
     2     individual came to an Al Rajhi Bank branch
     3     during this time period and made a donation
     4     into an Al Haramain account, is it your
     5     understanding that there should be some
     6     indication in the system concerning the
     7     purpose of that donation?
     8                     MR. CURRAN:     Objection as to
     9            form.
    10                     You may answer.
    11                     THE WITNESS:     For transactions
    12            made to an account, you would be
    13            adding the -- you would able to
    14            identify the amount.        But the -- any
    15            purpose of that, not necessarily.
    16     QUESTIONS BY MR. CARTER:
    17            Q.       And in preparation for the
    18     deposition today, did you review any
    19     individual transaction information relating
    20     to the purpose of transactions?
    21            A.       No, I did not.
    22            Q.       And is that true for both the
    23     Al Haramain and IIRO accounts?
    24            A.       Yeah, that is true.
    25                     There was review to say whether



   Golkow Litigation Services                                        Page 98
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 100 of 397
                                                            Material

     1     transactions had gone to the accounts from
     2     the bank, if there had been any donations
     3     made, those sorts of things, as per your
     4     question.     So I'm a little unsure what you're
     5     trying to ask me, to be honest.
     6             Q.       Well, we'll look at some
     7     documents in a minute.         I was just asking a
     8     general question.
     9                      MR. CARTER:     Can we take a
    10             two-minute break?
    11                      MR. CURRAN:     Yeah, we probably
    12             better make it five.
    13                      VIDEOGRAPHER:      Off record.     The
    14             time is 4:17.
    15              (Off the record at 4:17 p.m.)
    16                      VIDEOGRAPHER:      Back on record.
    17             Time is 4:26.
    18     QUESTIONS BY MR. CARTER:
    19             Q.       Mr. Galloway, as part of your
    20     preparations concerning Al Rajhi Bank's
    21     relationship with Al Haramain Islamic
    22     Foundation during the 1998 through 2002 time
    23     period, did you conduct inquiry to determine
    24     what the bank knew about the nature of Al
    25     Haramain and what it was doing?



   Golkow Litigation Services                                          Page 99
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 101 of 397
                                                            Material

     1             A.       The onboarding of any
     2     charitable entity has a due diligence
     3     process, as you're probably aware, that
     4     included making sure that the charitable
     5     entity was not only following the KYC
     6     process, but there was also a copy provided
     7     of the relevant permission or license to
     8     operate by the relevant government authority.
     9                      And in addition to that for
    10     onboarding, we need to get details of the
    11     directors of the charity as well.
    12             Q.       When did the protocols you just
    13     described come into being?
    14             A.       I mentioned the branch manual
    15     to you earlier, so it's as per the 1997
    16     manual.      I haven't gone back further than
    17     that because it was outside the relevant
    18     period.
    19             Q.       Based on the know your customer
    20     information that has been provided, do you
    21     know whether Al Haramain was onboarded before
    22     or after 1997?
    23                      MR. CURRAN:     Objection as to
    24             form.    Outside the scope of the
    25             relevant time period.



   Golkow Litigation Services                                        Page 100
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 102 of 397
                                                            Material

     1                      You may answer.
     2                      THE WITNESS:     I don't have
     3             direct knowledge of the account
     4             opening date of every account, but the
     5             account -- {audio interruption}
     6                      MR. CARTER:     Chris, he just
     7             froze, and we can't hear him.
     8                      THE WITNESS:     Can you see us?
     9                      MR. CURRAN:     Are we back?
    10                      THE WITNESS:     Hello.
    11                      MR. CARTER:     I cannot see the
    12             witness right now.       Not sure what
    13             happened.
    14                      VIDEOGRAPHER:      Want to go off
    15             the record?
    16                      THE WITNESS:     Are we back?
    17             Hello.    Hi.   Can you hear us?
    18                      MR. CARTER:     We can hear you,
    19             yes.
    20                      THE WITNESS:     Can you hear --
    21             can you hear me and see me?
    22                      MR. CARTER:     Yes.
    23                      THE WITNESS:     I can hear you
    24             and see you.
    25                      MR. CURRAN:     We don't know what



   Golkow Litigation Services                                        Page 101
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 103 of 397
                                                            Material

     1             happened either, but it was just the
     2             witness' and not mine.
     3                      Okay.    I think there was a
     4             question pending or -- do you want to
     5             answer it?
     6                      THE WITNESS:     Yeah, perhaps you
     7             could bring me back to where we were,
     8             Mr. Carter.
     9                      MR. CARTER:     Carrie, can you
    10             read where we were?
    11                      (Court Reporter read back
    12             question and partial answer.)
    13                      THE WITNESS:     Yeah, the account
    14             numbers that we discussed earlier for
    15             Al Haramain being the 95, I know those
    16             were accounts that were on foot during
    17             the 1998 to 2002 period, but I don't
    18             have the specific details of the
    19             account onboarding dates, as I
    20             mentioned.
    21     QUESTIONS BY MR. CARTER:
    22             Q.       And with regard to the manual
    23     you just described, to the extent that there
    24     were changes in the procedures implemented
    25     subsequent to the creation of the accounts



   Golkow Litigation Services                                        Page 102
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 104 of 397
                                                            Material

     1     and during the relevant period, do you know
     2     whether there would have been steps taken to
     3     update the onboarding information to comply
     4     with the new procedures?
     5             A.       Can you hear me?
     6                      MR. CURRAN:     Did you hear that,
     7             Mr. Carter?
     8                      MR. CARTER:     I couldn't hear an
     9             answer, no.
    10                      THE WITNESS:     I'm sorry.      Can
    11             you hear me now?
    12     QUESTIONS BY MR. CARTER:
    13             Q.       I can.
    14             A.       Okay.    Could you clarify for my
    15     knowledge what you mean by "changes" to the
    16     account?
    17             Q.       Sure.
    18                      So you mentioned earlier that
    19     you are familiar with the concept of know
    20     your customer processes, correct?
    21             A.       That's correct.
    22             Q.       And based on your experience in
    23     the banking industry, is it fair to say that
    24     they have evolved over time?
    25             A.       They have.



   Golkow Litigation Services                                        Page 103
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 105 of 397
                                                            Material

     1             Q.       And do you know whether or not
     2     the know your customer onboarding policies at
     3     Al Rajhi Bank have changed over time?
     4             A.       Over the subject period you're
     5     referring to or at any time?
     6             Q.       Over the -- over the subject
     7     period.
     8             A.       There was some additional
     9     measures made.       You had one question about
    10     that.    If you don't mind directing me to
    11     that, I can refer to my notes.           I might be
    12     able to help you better.
    13             Q.       I think it's encompassed by a
    14     few of them.      There's inquiry number 6.
    15     Inquiry number 5.       Number 8.     I think all --
    16             A.       Yeah, perhaps -- thank you very
    17     much.    That's helpful.
    18                      Your inquiry 6, I think, is
    19     probably the one that helps us.
    20                      The first thing I'd like to say
    21     is that the -- if you read the manual, the
    22     controls Al Rajhi Bank had in place were
    23     already quite strong even by modern
    24     standards, at least at a policy level.
    25                      And I had a discussion with the



   Golkow Litigation Services                                        Page 104
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 106 of 397
                                                            Material

     1     chairman, Mr. Abdullah al Rajhi, about that,
     2     and he made it clear to me that one of the
     3     core sort of beliefs of the bank has been to
     4     ensure that risk was well-managed.
     5                      I think you see that today in
     6     our -- in our approach, our earn/loss ratios,
     7     et cetera, as well as our performance with
     8     the regulator and our orders, et cetera.
     9                      So having a strong, robust,
    10     well-managed and inspected risk framework is
    11     something that the bank has held dear as a --
    12     as a core tenet.
    13                      In 1998, I'd like to just point
    14     to the fact that a new AML policy was issued,
    15     and that was in relation to SAMA's guide on
    16     annual procedures, and that was implemented
    17     at the bank.
    18                      And we also have a regular
    19     process of branch audits, and that involves
    20     inspecting for adherence to the policy and
    21     the controls contained in that.
    22                      We have a zero appetite or zero
    23     tolerance for any deviations from that, and
    24     any accounts that are found to have deviated
    25     are immediately reported.         And the branch has



   Golkow Litigation Services                                        Page 105
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 107 of 397
                                                            Material

     1     to take corrective action, and then the issue
     2     is reported as closed once that's been done.
     3     There's a time-bound window to do that in.
     4             Q.       You mentioned an update to the
     5     manual in 1998, correct?
     6             A.       That's correct.      It was an AML
     7     policy was issued with a guide to AML
     8     procedures, and it was as a result of a 1996
     9     SAMA circular.
    10                      I can give you the reference
    11     number in the documents you have, if you wish
    12     to look at it.
    13             Q.       Sure.
    14             A.       Yeah, it's ARB 738.       73 --
    15     again, ARB 735.       Correction, 735.
    16             Q.       And with regard to the update
    17     of AML procedures in 1998, did that change
    18     include any additional onboarding
    19     requirements?
    20             A.       I am not aware of any specific
    21     additional onboarding requirements, but
    22     whenever an account, particularly a
    23     charitable entity, was onboarded, there was
    24     already a specific and different process with
    25     additional controls for charities.



   Golkow Litigation Services                                        Page 106
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 108 of 397
                                                            Material

     1             Q.       What control and process are
     2     you referring to?
     3             A.       Yes.   So, excuse me, it's just
     4     very dry here.       One moment.
     5                      With respect to onboarding a
     6     charity, the requirement is that you need to
     7     have the appropriate authority or
     8     registration from the government entity that
     9     controls that charity.         And those government
    10     entities control different charities, and you
    11     would need to have a list of the directors
    12     and the signatories for the account before it
    13     could be opened.
    14                      And I believe, and I'm working
    15     from memory, there was also a -- at a high
    16     level of -- make a check a second level
    17     authorization required to open those
    18     accounts.
    19             Q.       And do you know when that
    20     procedure that you just described was
    21     implemented?
    22             A.       That was contained in the
    23     branch manual I've referred to.
    24             Q.       And that's the 1997 branch
    25     manual?



   Golkow Litigation Services                                        Page 107
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 109 of 397
                                                            Material

     1             A.       That's correct.
     2             Q.       And to the extent that accounts
     3     were established prior to the creation of
     4     that 1997 manual, would it have been
     5     necessary to go back and request updated
     6     information from charity account holders?
     7                      MR. CURRAN:     Objection.     Vague
     8             as to which accounts you're talking
     9             about.
    10                      But the witness can answer.
    11                      THE WITNESS:     I've looked at
    12             the relevant period, and as you know,
    13             the branch manual preceded that.           I
    14             haven't gone and done a lookback to
    15             see versions of the policy prior, so I
    16             can't answer that question.
    17     QUESTIONS BY MR. CARTER:
    18             Q.       Okay.    Well, we can review some
    19     of the documents, but Al Rajhi Bank has
    20     produced documents indicating that there were
    21     Al Haramain accounts in existence at least as
    22     of 1994.
    23                      Have you seen those documents?
    24                      MR. CURRAN:     Objection as to
    25             form.



   Golkow Litigation Services                                        Page 108
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 110 of 397
                                                            Material

     1                      You may answer.
     2                      THE WITNESS:     I haven't seen
     3             those specific documents.
     4     QUESTIONS BY MR. CARTER:
     5             Q.       And do you know one way or
     6     another whether, to the extent the Al
     7     Haramain accounts existed before 1997, there
     8     would have been a requirement to review those
     9     accounts and update them to conform to the
    10     1997 manual requirements?         If they were any
    11     different.
    12             A.       Yeah, I think there --
    13                      MR. CURRAN:     Objection to the
    14             form.
    15                      You may answer.
    16                      THE WITNESS:     Yeah, and there
    17             seems to be an assumption there that
    18             they are different.       I don't know
    19             that.
    20                      But what I can tell you is
    21             that, A, we would follow the policy;
    22             B, that it's inspected by the branch
    23             audit team; and then C, the SAMA also
    24             does thematic audits on occasion.           And
    25             then if there was any major issue, it



   Golkow Litigation Services                                        Page 109
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 111 of 397
                                                            Material

     1             would also be picked up by external
     2             auditors.
     3                      So we had multiple levels of
     4             assurance against the adherence to the
     5             policy.
     6     QUESTIONS BY MR. CARTER:
     7             Q.       And have you seen as part of
     8     your preparations any audit documents that
     9     encompassed any of the Al Haramain accounts?
    10             A.       I have not seen specific
    11     documents, but I've spoken to internal audit.
    12             Q.       Okay.    And in your
    13     conversations with internal audit, did they
    14     identify any audits that encompassed the Al
    15     Haramain accounts during the '98 through 2002
    16     time period?
    17             A.       Not on those specific accounts,
    18     but I wasn't asking about Al Haramain
    19     specifically.      I was asking about their
    20     process to inspect and assure that the
    21     policies were applied, and that was some of
    22     the content that I just gave you in my
    23     previous answer.
    24             Q.       Do you know one way or another
    25     whether audits conducted for compliance



   Golkow Litigation Services                                        Page 110
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 112 of 397
                                                            Material

     1     purposes between '98 and 2002 encompassed any
     2     of the Al Haramain accounts?
     3             A.       I don't know that definitively,
     4     no.
     5             Q.       And same question for IIRO.
     6             A.       No, I don't know that
     7     definitively either.
     8                      But I can tell you as I
     9     mentioned earlier, that if anything is found
    10     as a result of the audit, there's a
    11     time-bound process to ensure that those
    12     accounts or issues are dealt with and closed,
    13     and that has to be reported as same.
    14             Q.       And would that information be
    15     included in the customer information file?
    16             A.       It will certainly be in the
    17     audit report.      And any update to the customer
    18     information, I assume, must be put back into
    19     the customer information file.
    20             Q.       And the audits are conducted at
    21     the branch level, correct?
    22             A.       That's correct.      We have around
    23     600 branches, and they were initially on an
    24     annual basis at each branch.          And then as we
    25     got more branches, it was more based on a



   Golkow Litigation Services                                        Page 111
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 113 of 397
                                                            Material

     1     risk approach.
     2                      But every branch is audited
     3     regularly, together with SAMA doing thematic
     4     audits.      And as I said, A, an external
     5     auditor as well.
     6             Q.       And with regard to the branch
     7     audits during the time period 1998
     8     through 2002, do those still exist, the
     9     reports?
    10             A.       We have a no destruction policy
    11     on document retention, so they should be
    12     there.
    13             Q.       And where are those located?
    14             A.       They will be in a central
    15     archive, and we'll be able to search them
    16     using the tools we described earlier.             And
    17     they're also being used as the basis to find
    18     the information you've been provided with.
    19             Q.       And to the extent that any of
    20     those audits encompassed accounts of Al
    21     Haramain and/or IIRO, would you be able to
    22     identify that fact?
    23                      MR. CURRAN:     Objection as to
    24             form.
    25                      You may answer.



   Golkow Litigation Services                                        Page 112
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 114 of 397
                                                            Material

     1                      THE WITNESS:     I can assume so.
     2             I can't tell you definitively, but I
     3             would assume, yes, because we could
     4             tell at least what had been audited.
     5                      I don't know how easy it would
     6             be to go and see the individual
     7             accounts.     I can't answer that
     8             question for you at the level you're
     9             asking.
    10     QUESTIONS BY MR. CARTER:
    11             Q.       And you mentioned something
    12     about thematic audits?
    13             A.       Yeah.    SAMA comes and does
    14     reviews of banks.        This is what I meant.
    15                      MR. CURRAN:     He was just
    16             making -- he decided to comment.           I'm
    17             sorry.
    18     QUESTIONS BY MR. CARTER:
    19             Q.       Yeah.
    20                      And the question is, can you
    21     explain to me what a thematic audit by SAMA
    22     is?
    23                      MR. CURRAN:     So you guessed
    24             right.
    25                      THE WITNESS:     So SAMA would



   Golkow Litigation Services                                        Page 113
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 115 of 397
                                                            Material

     1             choose a particular area of interest,
     2             and they might come and do audits
     3             about that particular area of
     4             interest.
     5     QUESTIONS BY MR. CARTER:
     6             Q.       Do you know whether SAMA
     7     conducted any thematic audits between 1998
     8     and 2004 relating to charitable
     9     organizations?
    10             A.       I do not know that.
    11             Q.       With regard to the bank's
    12     knowledge of the activities of Al Haramain, I
    13     believe you testified that the bank was aware
    14     that it at least purported to conduct
    15     charitable activities, correct?
    16             A.       If they were a licensed
    17     charity, that's correct.
    18             Q.       And when you say they were a
    19     licensed charity, is there a document
    20     reflecting that license that you're aware of?
    21             A.       Yeah.    Can you just direct me
    22     to the area in your question guide, please?
    23             Q.       In candor in this case,
    24     Mr. Galloway, I'm responding to your
    25     statement, and so I'm not exactly sure where



   Golkow Litigation Services                                        Page 114
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 116 of 397
                                                            Material

     1     it would appear in your outline.
     2             A.       Okay.    So could the
     3     stenographer please read back the question to
     4     me?
     5                      (Court Reporter read back
     6             question.)
     7                      THE WITNESS:     Yeah, there would
     8             be a document in the customer
     9             information file.
    10     QUESTIONS BY MR. CARTER:
    11             Q.       And do you recall having
    12     reviewed that document in preparation for the
    13     deposition today?
    14             A.       I believe -- I've had
    15     discussions about it, and I'm just trying to
    16     find a note, if I have it.          But I established
    17     that we had that information when I looked.
    18                      (Al Rajhi Bank 30(b)(6) Exhibit
    19             ARB 4 marked for identification.)
    20     QUESTIONS BY MR. CARTER:
    21             Q.       Okay.    Can we mark as the next
    22     exhibit the document at Tab 34?
    23             A.       Mr. Carter, while I'm doing
    24     that, I'll just remind that we needed that to
    25     open the accounts.



   Golkow Litigation Services                                        Page 115
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 117 of 397
                                                            Material

     1             Q.       You needed a license to open
     2     the accounts in the first instance?
     3             A.       Correct.    Based on the policy I
     4     was describing to you.
     5             Q.       And the policy you were
     6     describing to me, was that applicable to each
     7     account that was opened?
     8             A.       Yes, it should be true.
     9             Q.       Okay.    So every time a customer
    10     wants to open a new account, there should
    11     have been the same opening process conducted,
    12     correct?
    13                      MR. CURRAN:     Objection as to
    14             form.
    15                      You may answer.
    16                      THE WITNESS:     Yeah, that's
    17             correct.     If the -- if they're all
    18             clustered under one CIC, that may not
    19             have been necessary because there
    20             would have been accounts under that.
    21                      For sure if they're a
    22             standalone account, that was required.
    23     QUESTIONS BY MR. CARTER:
    24             Q.       When you say "clustered" under
    25     the same -- I'm sorry, I didn't hear what you



   Golkow Litigation Services                                        Page 116
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 118 of 397
                                                            Material

     1     said.
     2             A.       So if you have individual
     3     accounts, they can be standing alone.             Or you
     4     can have a parent CIC, and the accounts can
     5     be put under the parent CIC.
     6             Q.       And what is a CIC?
     7             A.       Customer information code.
     8     It's an identifying number.
     9             Q.       And how does the bank -- how
    10     did the bank determine whether a new account
    11     is clustered under the same CIC or separate?
    12             A.       Well, an individual account is
    13     an individual account, but there may be
    14     customers who want multiple accounts with one
    15     identifier number.
    16             Q.       And when you say "one
    17     identifier number," is that a customer
    18     number?
    19             A.       Yeah, this is a CIC number I've
    20     referred to.      So you would have a CIC, and
    21     then you would have account numbers under the
    22     CIC.
    23             Q.       And do you happen to know
    24     whether the Al Haramain accounts were
    25     clustered under a common CIC?



   Golkow Litigation Services                                         Page 117
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 119 of 397
                                                            Material

     1             A.       Yeah, if you give me a moment.
     2                      There was a -- your question is
     3     relating to pre-9/11 or at any time?
     4             Q.       Pre-9/11.
     5             A.       I don't know that specifically
     6     for pre-9/11.
     7             Q.       So focusing on the period from
     8     1998 through 2002, do you know whether the
     9     procedures would have required independent
    10     customer-opening protocols for each account,
    11     or could they have been clustered under the
    12     same CIC?
    13             A.       I would have to read the branch
    14     manual, but if it was an individual account,
    15     they would have had to have had the
    16     registration for the charity.
    17                      And then in the individual
    18     accounts, when they would work together under
    19     a CIC, as long as they were associated with
    20     the parent, I assume that the CIC label
    21     identification would be sufficient.            But
    22     I'm -- I don't have a document to be able to
    23     verify that.
    24             Q.       Do you know during the period
    25     1998 through 2002 whether the opening of a



   Golkow Litigation Services                                        Page 118
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 120 of 397
                                                            Material

     1     new account by Al Haramain for a different
     2     charitable purpose would have required it to
     3     provide information concerning the reason for
     4     that account and the activity it was being
     5     created to support?
     6                      MR. CURRAN:     Objection to form.
     7                      You may answer.
     8                      THE WITNESS:     What I can tell
     9             you, on the 30th of April 2003,
    10             they -- there was correspondence where
    11             we noted that we consolidated all Al
    12             Haramain accounts according to a SAMA
    13             directive under a single CIC.
    14                      So this was correspondence 30th
    15             of April, and you're right, it is with
    16             the manager of the head office branch
    17             right to the SAMA deputy government to
    18             confirm actions required to
    19             consolidate all Al Haramain accounts,
    20             according to SAMA directive, had been
    21             completed.
    22     QUESTIONS BY MR. CARTER:
    23             Q.       And what is the -- sorry.         You
    24     may finish.      I'm sorry.
    25             A.       At the same time, the branches



   Golkow Litigation Services                                        Page 119
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 121 of 397
                                                            Material

     1     was also instructed not to make international
     2     transfers from Al Haramain KSA accounts and
     3     make sure that all checks on Al Haramain were
     4     crossed.     And that means that they were
     5     account paying, not bearer checks.
     6                      So there were additional
     7     activities undertaken to do that.
     8             Q.       Those were new instructions
     9     from SAMA in that time period?
    10             A.       That's right.
    11             Q.       Do you know why SAMA issued
    12     those instructions?
    13             A.       These would have been
    14     activities that SAMA directed as a result of
    15     the bank's self supervisory committee, I
    16     believe, which was formed after 9/11.
    17             Q.       Do you know whether they were
    18     prompted by any counterterrorism financing
    19     considerations?
    20                      MR. CURRAN:     Objection.     Vague.
    21                      You may answer.
    22                      THE WITNESS:     I know that after
    23             9/11, the response of SAMA was to call
    24             a bank self supervisory committee
    25             which was made up of all of the banks.



   Golkow Litigation Services                                        Page 120
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 122 of 397
                                                            Material

     1             And at the time they were operating in
     2             order to try to understand the actions
     3             that might need to be taken to either
     4             constrict accounts of people that are
     5             now known to be bad actors or make
     6             other changes in controls consistent
     7             with SAMA directives.
     8     QUESTIONS BY MR. CARTER:
     9             Q.       And do you know whether any
    10     actions were undertaken with regard to the
    11     IIRO accounts in response to those
    12     directives?
    13                      MS. BEMBRY:     Objection to form.
    14                      MR. CARTER:     Aisha, what's the
    15             objection?
    16                      MS. BEMBRY:     Foundation.
    17                      MR. CARTER:     I'm asking him if
    18             he knows.
    19                      Go ahead.
    20                      MS. BEMBRY:     Foundation
    21             objection.
    22                      THE WITNESS:     Yeah.    On May 23,
    23             2003, there was a SAMA circular.           It
    24             was addressed to all banks relating to
    25             charity accounts, and it required



   Golkow Litigation Services                                        Page 121
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 123 of 397
                                                            Material

     1             charities to consolidate all accounts
     2             under a single master account with
     3             subaccounts.      This is the structure I
     4             was describing to you.
     5                      It also, in the SAMA circular,
     6             required withdrawals only from the
     7             master account, not the subaccounts.
     8             No withdrawals by cash and ATM cards,
     9             and all depositors must identify
    10             themselves and match details on the
    11             deposit slips with their ID.          And
    12             checks drawn on the charity master
    13             account can only be deposited in KSA
    14             domiciled accounts.
    15                      That was all in the SAMA
    16             directive.     I can give you the
    17             reference if that's --
    18     QUESTIONS BY MR. CARTER:
    19             Q.       Yeah, what's the Bates number?
    20     I'm sorry.
    21             A.       ARB 14531.
    22             Q.       Going back to our discussion
    23     earlier, I believe you testified that based
    24     on your review, you identified 95 Al Haramain
    25     accounts at Al Rajhi Bank in the 1998



   Golkow Litigation Services                                        Page 122
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 124 of 397
                                                            Material

     1     through 2002 time period, correct?
     2             A.       95 on Al Haramain, that's
     3     correct.     Al Haramain KSA.       I'd like to make
     4     that clear, please.
     5             Q.       And when you say "Al Haramain
     6     KSA," what is the basis of your understanding
     7     that those were all Al Haramain KSA?
     8             A.       That's my understanding from
     9     the checks that have been done at the bank.
    10             Q.       And who provided that
    11     information to you?
    12             A.       Abulrhman Almussaed.
    13             Q.       And we'll get to that in a
    14     second.
    15                      With regard to the 95 accounts
    16     that you identified in your preparations for
    17     Al Haramain, do you know whether they were
    18     opened under a common CIC?
    19             A.       I do not know that directly,
    20     no.
    21             Q.       And I believe that with regard
    22     to the IIRO, your review indicated that there
    23     were 308 accounts at Al Rajhi Bank in the
    24     1998 through 2002 time period, correct?
    25             A.       That's correct.



   Golkow Litigation Services                                        Page 123
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 125 of 397
                                                            Material

     1             Q.       And did you undertake inquiry
     2     to determine whether those accounts were
     3     opened under a common CIC?
     4                      MR. CURRAN:     Objection.     Vague.
     5                      You may answer.
     6                      THE WITNESS:     I did not make
     7             that direct inquiry, no.
     8     QUESTIONS BY MR. CARTER:
     9             Q.       Do you know one way or the
    10     other whether those accounts were opened
    11     under a common CIC?
    12             A.       I --
    13                      MR. CURRAN:     Objection.     Vague.
    14                      You may answer.
    15                      THE WITNESS:     I do not know the
    16             answer to that.
    17     QUESTIONS BY MR. CARTER:
    18             Q.       We had marked an exhibit before
    19     we briefly got sidetracked.          And I apologize.
    20     What number is this?
    21                      GINA VELDMAN:      It's number 4,
    22             and it was Tab 34.
    23                      MR. CARTER:     Thank you, Carrie
    24             {sic}.
    25




   Golkow Litigation Services                                        Page 124
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 126 of 397
                                                            Material

     1     QUESTIONS BY MR. CARTER:
     2             Q.       Mr. Galloway, just ask you to
     3     take a moment to review the document that has
     4     been marked as Exhibit 4, and we have -- it's
     5     a three-page document, ARB 39945
     6     through 39947, and the exhibit includes the
     7     English translation and the original Arabic
     8     versions.
     9             A.       Yeah, I have the document.         I
    10     can see it's a multipage document.
    11             Q.       And have you seen this document
    12     previously?
    13             A.       I believe I have.
    14             Q.       Okay.    And based on the
    15     content, I understand this to be a letter
    16     from Abdullah Bin Sulaiman Al Rajhi dated
    17     February 25, 2004, to the Minister of Islamic
    18     Affairs, Sheikh Saleh bin Abdel Aziz bin
    19     Mohamed Al ash-Sheikh.
    20                      Is that correct?
    21             A.       That appears to be the case
    22     based on the document you have on the screen,
    23     yes.
    24             Q.       Okay.    And the first paragraph
    25     references a SAMA circular dated May 14,



   Golkow Litigation Services                                        Page 125
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 127 of 397
                                                            Material

     1     2002, mandating that it's not permissible to
     2     open any account for any charity entity
     3     before obtaining a permit.
     4                      Do you see that?
     5             A.       Yes, I do see that.
     6             Q.       And am I correct in
     7     understanding your earlier testimony that
     8     that was the internal protocol at Al Rajhi
     9     Bank, at least as of 1997?
    10             A.       Yes, that's true.
    11             Q.       And in the second paragraph,
    12     Mr. Al Rajhi advises the Minister of Islamic
    13     Affairs that "Since there is no permit from
    14     the competent agencies for the Al Haramain
    15     Islamic Foundation to operate the charity
    16     work according to the documents provided by
    17     the Al Haramain Islamic Foundation to the
    18     company when opening its accounts, please
    19     authorize your competent agency to issue the
    20     required permit."
    21                      Do you see that?
    22             A.       Yes, I do see that.
    23             Q.       And so to the extent that there
    24     was no permit provided to Al Rajhi Bank in
    25     relation to the opening of its accounts prior



   Golkow Litigation Services                                        Page 126
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 128 of 397
                                                            Material

     1     to this point in time, would that have been a
     2     violation of Al Rajhi Bank's own protocols --
     3             A.       I --
     4                      MR. CURRAN:     Objection.     Sorry.
     5     QUESTIONS BY MR. CARTER:
     6             Q.       -- at least as of 1997?
     7             A.       No.
     8                      MR. CURRAN:     Objection.     Lack
     9             of foundation.      Vague.
    10                      You may answer.
    11                      THE WITNESS:     I do have some
    12             information on this matter, if you can
    13             just give me a few moments.
    14     QUESTIONS BY MR. CARTER:
    15             Q.       Sure.
    16                      MR. CURRAN:     Mr. Carter, are
    17             you asking questions under Section 3H
    18             now of your notice?
    19                      MR. CARTER:     Chris, I'll have
    20             to look, but I'm asking questions
    21             primarily in response to testimony the
    22             witness has volunteered.
    23                      MR. CURRAN:     All right.     But
    24             I -- you're still bound by the scope
    25             of your deposition notice, so I just



   Golkow Litigation Services                                        Page 127
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 129 of 397
                                                            Material

     1             want to get clarification on that.
     2                      MR. CARTER:     I'm not sure that
     3             the -- that I'm bound by the notice
     4             and restricted from asking the
     5             questions of the witness about
     6             information he volunteers.
     7                      MR. CURRAN:     Well, put it this
     8             way.   His authorization to speak on
     9             behalf of Al Rajhi Bank is limited by
    10             the topics in your notice, so to the
    11             extent you exceed those topics, you
    12             may not attribute the testimony to Al
    13             Rajhi Bank.
    14                      MR. CARTER:     And so I gather
    15             then that to the extent the witness
    16             volunteers information beyond the
    17             topics, you would agree that he's not
    18             testifying for the bank?
    19                      MR. CURRAN:     Well, I do agree
    20             with that, sure.
    21                      Anyway, I just wanted to
    22             confirm which category this fell
    23             under.    But anyway, please proceed.
    24                      Is there a question pending?
    25




   Golkow Litigation Services                                        Page 128
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 130 of 397
                                                            Material

     1     QUESTIONS BY MR. CARTER:
     2             Q.       Sure.    Why don't we start a new
     3     one.
     4                      Mr. Galloway, during your
     5     earlier testimony, you told me that one of
     6     the requirements of Al Rajhi Bank, at least
     7     as of 1997, was that an account could not be
     8     opened for a charitable organization without
     9     a permit or license to do the charitable
    10     work.
    11                      Is that what you told me?
    12             A.       Yes, that's right.
    13                      There was -- your letter is
    14     dated February 25, 2004, correct?
    15             Q.       It is.    It's not my letter.
    16                      MR. CURRAN:     The letter that
    17             Mr. Carter has put on the screen.
    18     QUESTIONS BY MR. CARTER:
    19             Q.       Mr. Galloway, do you --
    20             A.       This -- yeah, the -- on January
    21     the 4th, there was a letter by the bank to
    22     SAMA to request clarity on future dealings
    23     with some charity, including IIRO and Al
    24     Haramain.     But predating this letter that's
    25     on the screen.



   Golkow Litigation Services                                        Page 129
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 131 of 397
                                                            Material

     1                      And Mr. Abdullah al Rajhi notes
     2     that Al Haramain Islamic Foundation is
     3     already licensed.
     4             Q.       Mr. Galloway, this is the
     5     Abdullah al Rajhi who is the chairman whom
     6     you interviewed?
     7             A.       That's right.
     8             Q.       And in preparation for your
     9     deposition today, did you seek to ascertain
    10     whether or not there was, in fact, a permit
    11     or a license for Al Haramain on file at the
    12     time of the opening of its accounts?
    13                      MR. CURRAN:     Objection.     Vague
    14             and overbroad.      Encompassing all
    15             accounts, apparently.
    16                      The witness may answer.
    17                      THE WITNESS:     Yeah, there was a
    18             sequence of events that came off the
    19             back of this letter.        So February 25,
    20             2004, which I believe is the letter
    21             that you have on the screen, there was
    22             a letter from the bank to the Ministry
    23             of Islamic Affairs requesting
    24             confirmation that all Al Haramain
    25             charitable foundations have a license



   Golkow Litigation Services                                        Page 130
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 132 of 397
                                                            Material

     1             from the competent authority to carry
     2             out charitable work.
     3                      And there was a March 13, 2004
     4             letter from Ministry of Islamic
     5             Affairs stating that Al Haramain is
     6             authorized to carry out charitable
     7             work.
     8                      And then there was a 10
     9             March 2021 -- sorry, March 21, 2004,
    10             the Ministry of Justice stated that Al
    11             Haramain, IIRO and others -- other
    12             organizations were legally established
    13             and permitted to operate under the law
    14             in KSA.
    15                      So to me, that shows quite some
    16             diligence to try and ensure that we
    17             were compliant.
    18     QUESTIONS BY MR. CARTER:
    19             Q.       And that diligence occurred in
    20     2004, correct?
    21             A.       The last -- yeah, the 2004.
    22     March 21 is the date of the last letter.
    23             Q.       Do you know, based on your
    24     preparations for the deposition, whether the
    25     statement in this letter indicating that



   Golkow Litigation Services                                        Page 131
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 133 of 397
                                                            Material

     1     there is no permit from the competent
     2     agencies for the Al Haramain Islamic
     3     Foundation to operate the charity work
     4     according to the documents provided by the Al
     5     Haramain Islamic Foundation to the company
     6     when opening its accounts, was true as of the
     7     date this letter was authored?
     8                      MR. CURRAN:     Objection.     Lack
     9             of foundation.      Vague and overbroad as
    10             to "accounts."
    11                      The witness may answer.
    12                      THE WITNESS:     This was
    13             post-9/11/2001, and there was a SAMA
    14             instruction that banks weren't to
    15             close any accounts immediately after.
    16                      So what I believe this letter
    17             was trying to do was to establish who
    18             the competent authority was and ensure
    19             that we did get a license.         And that
    20             set of steps that we took as a bank, I
    21             think, were designed to do that and
    22             succeeded in doing that.
    23     QUESTIONS BY MR. CARTER:
    24             Q.       Mr. Galloway, that's not the
    25     question I asked.       I just asked whether or



   Golkow Litigation Services                                        Page 132
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 134 of 397
                                                            Material

     1     not you know whether the statement in this
     2     letter in the section paragraph, based on
     3     your preparations, is true or not.
     4                      MR. CURRAN:     Objection.     Vague.
     5             Overbroad.      Lacks foundation.
     6                      You may answer.
     7                      THE WITNESS:     I don't know that
     8             that's true because subsequently the
     9             correspondence found out that it was
    10             licensed.     So I think this is
    11             reflecting an uncertainty that might
    12             have led to the chain of events that
    13             I've described.
    14     QUESTIONS BY MR. CARTER:
    15             Q.       Well, the letter actually says
    16     affirmatively that there is no permit from
    17     the competent agencies, according to the
    18     documents provided to the company when
    19     opening its accounts.
    20             A.       Yes.
    21                      MR. CURRAN:     Objection.
    22     QUESTIONS BY MR. CARTER:
    23             Q.       So the question is, is that --
    24     do you know, based on your preparations,
    25     whether that is an accurate statement at the



   Golkow Litigation Services                                        Page 133
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 135 of 397
                                                            Material

     1     time it was made?
     2                      MR. CURRAN:     At the time it was
     3             made.
     4                      The witness may answer.
     5                      THE WITNESS:     To me, it
     6             indicates more of a lack of certainty
     7             about whether there was -- it was
     8             licensed.
     9                      I think it's -- it appears to
    10             be noting the requirement, and that
    11             led then for -- the requirement for a
    12             license.     And that led to a series of
    13             correspondence following that to
    14             ensure it was.      And ultimately, it was
    15             confirmed that it was.
    16     QUESTIONS BY MR. CARTER:
    17             Q.       Okay.    I don't want to circle
    18     around this endlessly.         The letter indicates
    19     that there is no permit on file.
    20                      Do you know whether or not that
    21     is true?
    22                      MR. CURRAN:     Objection.
    23             Misstates the letter.        Lack of
    24             foundation.      Vague and overbroad.
    25                      You may answer.



   Golkow Litigation Services                                        Page 134
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 136 of 397
                                                            Material

     1                      THE WITNESS:     I do not know
     2             that that is true.
     3     QUESTIONS BY MR. CARTER:
     4             Q.       And you agree with me that the
     5     Al Rajhi Bank official who authored this
     6     letter and provided the information to the
     7     Minister of Islamic Affairs was the current
     8     chairman, Abdullah al Rajhi?
     9             A.       I agree that his name is on the
    10     bottom of the letter, but as I've said a
    11     number of times, the bank took steps to
    12     contact multiple government departments to
    13     confirm whether it was in compliance with Al
    14     Haramain.
    15                      And I can point you to a letter
    16     on the 14th of May where there was a SAMA
    17     circular saying that a license from the
    18     Ministry of Labor or the Ministry of Islamic
    19     Affairs required to practice activity for the
    20     account opening purpose.
    21                      And then on the 30th of --
    22     sorry, 20th of April, SAMA instructed banks
    23     to consolidate.
    24                      My apologies.      I think that was
    25     in relation to your earlier question.



   Golkow Litigation Services                                        Page 135
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 137 of 397
                                                            Material

     1                      Could you read back the
     2     question, please?
     3                      MR. CURRAN:     I think he's
     4             asking whether Al Haramain was
     5             licensed at the time the accounts were
     6             opened by the bank previously.
     7                      Isn't that right, Mr. Carter?
     8                      MR. CARTER:     No.    I'm asking
     9             whether he knows one way or another
    10             whether the statement in this document
    11             that no permanent from the -- no
    12             permit from the competent agencies for
    13             Al Haramain Islamic Foundation to
    14             operate the charity work was provided
    15             by Al Haramain to Al Rajhi Bank when
    16             opening its accounts.
    17                      MR. CURRAN:     Well, which
    18             accounts are you referring to?
    19                      MR. CARTER:     I'm referring to
    20             the letter.     It's Al Rajhi Bank's
    21             business record.       It includes a
    22             statement, and I'm asking the witness
    23             whether or not in his preparations he
    24             ascertained whether or not that
    25             information was correct.



   Golkow Litigation Services                                        Page 136
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 138 of 397
                                                            Material

     1                      MR. CURRAN:     Same objection.
     2                      The witness may answer.
     3                      THE WITNESS:     Well, what I can
     4             say, Mr. Carter, is there was a series
     5             of inquiries to ensure that we were in
     6             compliance.
     7     QUESTIONS BY MR. CARTER:
     8             Q.       And, Mr. Galloway, I have
     9     limited time, and I've asked a specific
    10     question many times now.         And I'm just simply
    11     asking whether you know, based on your
    12     preparations, one way or the other, whether
    13     the statement in the second paragraph of this
    14     letter is accurate.
    15             A.       I think it is saying that we
    16     wanted to get certainty that it was licensed,
    17     I believe, and that led to a sequence of
    18     correspondence that resulted in the bank
    19     confirming that it was.
    20                      MR. CURRAN:     You've got your
    21             answer, Mr. Carter.
    22                      MR. CARTER:     I'm not sure I do,
    23             but we can address that in another
    24             way.
    25




   Golkow Litigation Services                                        Page 137
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 139 of 397
                                                            Material

     1     QUESTIONS BY MR. CARTER:
     2             Q.       Going back to the bank's
     3     understanding of Al Haramain Islamic
     4     Foundation's activities, was Al Rajhi Bank --
     5     were you able to determine what knowledge Al
     6     Rajhi Bank had concerning the locations where
     7     Al Haramain was carrying out charity work?
     8             A.       Can you clarify the question?
     9                      Do you mean the -- locations
    10     meaning in KSA versus out of KSA?            Is that
    11     what you're asking?
    12             Q.       Yes.
    13             A.       Yeah, they were KSA accounts.
    14     Al Haramain KSA.
    15             Q.       Do you happen to know whether
    16     any of those accounts were created to support
    17     charitable activities being carried out
    18     outside of The Kingdom?
    19             A.       To the best of my knowledge,
    20     they weren't.
    21             Q.       Would that have been relevant
    22     information the bank would have wanted to
    23     know in opening those accounts?
    24                      MR. CURRAN:     Objection.     Vague
    25             and overbroad.



   Golkow Litigation Services                                        Page 138
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 140 of 397
                                                            Material

     1     QUESTIONS BY MR. CARTER:
     2             Q.       Sorry, is there an answer?
     3             A.       What I can tell you is that on
     4     the Octo -- October 17, 1997, Al Haramain KSA
     5     was properly licensed and authorized to
     6     operate.     And the source of that is the
     7     Ministry of Islamic Affairs letter of
     8     October 17, 1997, that Al Haramain was acting
     9     under the Ministry's supervision.            And the
    10     reference to that is 38901.
    11             Q.       We'll get to that, but I don't
    12     think it responds to the question I asked.
    13             A.       Well, it predates the date of
    14     this letter.
    15                      MR. CARTER:     Can you read back
    16             the question I asked last?
    17                      (Court Reporter read back
    18             question.)
    19                      MR. CURRAN:     You may answer.
    20                      But, Mr. Carter, I note that
    21             your letter is still on the screen in
    22             front of the witness, and he's trying
    23             to be responsive.
    24     QUESTIONS BY MR. CARTER:
    25             Q.       Sorry, I'm not in control of



   Golkow Litigation Services                                        Page 139
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 141 of 397
                                                            Material

     1     taking it down.       So we should take it down.
     2                      MR. CURRAN:     Do you understand
     3             the question?
     4                      THE WITNESS:     No, I don't.
     5     QUESTIONS BY MR. CARTER:
     6             Q.       Mr. Galloway, based on your
     7     preparation, do you know whether any of the
     8     Al Haramain accounts at Al Rajhi Bank were
     9     established to support Al Haramain activities
    10     outside of The Kingdom?
    11             A.       No, not to the best of my
    12     knowledge.
    13             Q.       Can we -- and for purposes of
    14     opening accounts under the bank's own
    15     procedures during 1998 through 2002, would it
    16     have been relevant to ascertain whether an
    17     account was being opened for purposes of
    18     activities carried out outside of The
    19     Kingdom?
    20                      MR. CURRAN:     Objection.     Vague
    21             and overbroad.
    22                      You may answer.
    23                      THE WITNESS:     To the best of my
    24             knowledge, we didn't open accounts for
    25             charitable work overseas.



   Golkow Litigation Services                                        Page 140
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 142 of 397
                                                            Material

     1                      (Al Rajhi Bank 30(b)(6) Exhibit
     2             ARB 5 marked for identification.)
     3     QUESTIONS BY MR. CARTER:
     4             Q.       Can we mark as Exhibit 5 the
     5     document at Tab 73?
     6                      Mr. Galloway, this is a
     7     document produced by Al Rajhi Bank at
     8     Bates 38116.
     9                      Have you seen this document in
    10     preparation for your deposition?
    11             A.       No, I have not seen this
    12     document.
    13             Q.       Okay.    And based on the
    14     content, it -- the heading is that this is
    15     the Al Haramain Islamic Foundation's account
    16     numbers with the Al Rajhi Banking &
    17     Investment Corp.
    18                      Do you see that?
    19             A.       I can see the highlighted
    20     section, yes.
    21             Q.       Okay.    And turning to the
    22     second account identified, do you see that it
    23     refers to the Asia committee?
    24             A.       Yes, I can see that.
    25             Q.       Okay.    And then in the



   Golkow Litigation Services                                        Page 141
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 143 of 397
                                                            Material

     1     description of the account across from that,
     2     do you see that it refers to Palestine and
     3     Chechnya?
     4             A.       I can see that.
     5             Q.       Do you happen to know whether
     6     or not this account was created to support Al
     7     Haramain activities in Palestine and
     8     Chechnya?
     9             A.       I do not know that.
    10             Q.       To the extent that it was
    11     created to support Al Haramain activities in
    12     Palestine and Chechnya, would that
    13     information have been relevant for know your
    14     customer purposes when opening this account?
    15                      MR. CURRAN:     Objection.     Vague
    16             and overbroad.
    17                      You may answer.
    18                      THE WITNESS:     Well, the
    19             requirements for opening the account
    20             were as I described to you earlier.
    21             You had to know the charity, you had
    22             to know it was registered, and you had
    23             to know the directors and the
    24             signatures.     And then you had to
    25             ensure that there was appropriate



   Golkow Litigation Services                                        Page 142
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 144 of 397
                                                            Material

     1             level of authority granted to open the
     2             account.
     3     QUESTIONS BY MR. CARTER:
     4             Q.       Okay.    And moving down, you see
     5     that there's an account described as the
     6     Africa committee?        Correct?
     7             A.       I don't see that.       Oh, yeah, I
     8     do now see it.
     9             Q.       And there's another for the
    10     Europe committee.
    11                      Do you see that?
    12             A.       No, I do not.      Oh --
    13             Q.       It's at number 5.
    14             A.       Yeah.
    15             Q.       Do you see that?
    16             A.       Yes, I do.
    17             Q.       And across from that, do you
    18     agree that it refers to Albania, Bosnia and
    19     Kosovo?
    20             A.       I see those words on the
    21     screen.
    22             Q.       And number 7 refers to the
    23     Zakat committee, correct?
    24             A.       That's what it says on the
    25     screen.



   Golkow Litigation Services                                        Page 143
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 145 of 397
                                                            Material

     1             Q.       And then the description of it
     2     is Zakat outside of the Saudi Kingdom,
     3     correct?
     4             A.       That is also what it says on
     5     the screen.
     6             Q.       So based on this description of
     7     the accounts, do you know one way or another
     8     whether Al Rajhi Bank's accounts for Al
     9     Haramain included accounts for activities
    10     being carried out outside of The Kingdom?
    11                      MR. CURRAN:     Objection.     Vague
    12             as to time frame.
    13                      You may answer.
    14                      THE WITNESS:     Can you repeat
    15             again, please?
    16     QUESTIONS BY MR. CARTER:
    17             Q.       Well, you testified earlier
    18     that it was your understanding that the
    19     accounts that Al Rajhi Bank opened for Al
    20     Haramain were solely for purposes of
    21     activities in The Kingdom.
    22                      Is that correct?
    23             A.       That was my understanding.
    24             Q.       And I'm now showing you this
    25     document, and I'm asking whether or not based



   Golkow Litigation Services                                        Page 144
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 146 of 397
                                                            Material

     1     on this document you still believe that to be
     2     the case.
     3                      MR. CURRAN:     Same objection.
     4                      You may answer.
     5                      THE WITNESS:     It's an Al
     6             Haramain document, not an Al Rajhi
     7             document.     I'm not sure.
     8     QUESTIONS BY MR. CARTER:
     9             Q.       Okay.    So it was provided to
    10     us, the plaintiffs, by Al Rajhi Bank from its
    11     files.
    12                      So this is -- you would agree
    13     with me that this is information that was
    14     available to Al Rajhi Bank, correct?
    15                      MR. CURRAN:     Objection as to
    16             form with respect to time frame.
    17                      You may answer.
    18                      THE WITNESS:     If provided by Al
    19             Rajhi Bank, I would assume that's
    20             correct, yes.
    21     QUESTIONS BY MR. CARTER:
    22             Q.       And going down to the notation
    23     below the chart itself, it says, "Please
    24     deposit the donations allocated to a specific
    25     country to the account of the concerned



   Golkow Litigation Services                                        Page 145
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 147 of 397
                                                            Material

     1     committees - Asia committee, Europe
     2     committee, Africa committee."
     3                      Do you see that as well?
     4             A.       Yes, I do.
     5             Q.       And do you agree that's
     6     referencing donations for countries that are
     7     outside of Saudi Arabia?
     8             A.       Well, it would be -- it would
     9     be to accounts inside Saudi Arabia.
    10             Q.       It refers to where the
    11     donations are being allocated.
    12             A.       Yes.    But the accounts were
    13     held in Saudi Arabia, no?
    14             Q.       Okay.    But the line of
    15     questioning that we're involved in right now
    16     is whether or not certain of the accounts in
    17     Saudi Arabia were established to support
    18     activities conducted outside of The Kingdom.
    19                      Do you recall that that's what
    20     we were discussing?
    21                      MR. CURRAN:     Objection.     Lack
    22             of foundation.
    23                      You may answer.
    24                      THE WITNESS:     I can't be sure
    25             from what's written here, no.



   Golkow Litigation Services                                        Page 146
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 148 of 397
                                                            Material

     1     QUESTIONS BY MR. CARTER:
     2             Q.       The last sentence of that
     3     statement, or note, beneath the chart says,
     4     "The deposit notice, together with the
     5     purpose of the donation, shall be sent to fax
     6     number 4623306."
     7                      Do you see that?
     8             A.       Yeah, I do.
     9             Q.       In your preparations, did you
    10     obtain any information about a procedure
    11     under which the bank would fax a deposit
    12     notice and a purpose of the donation to Al
    13     Haramain?
    14             A.       I have no direct knowledge of
    15     that, no.
    16             Q.       And do you have any
    17     understanding where a fax like that to Al
    18     Haramain would have been filed?
    19                      MR. CURRAN:     Objection.     Lack
    20             of foundation.
    21                      You may answer.
    22                      THE WITNESS:     You're saying
    23             that's an Al Rajhi fax number?
    24     QUESTIONS BY MR. CARTER:
    25             Q.       No.   I'm not -- I'm not saying



   Golkow Litigation Services                                        Page 147
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 149 of 397
                                                            Material

     1     that at all.      I don't know whose fax number
     2     it is.
     3             A.       So what -- could you repeat the
     4     question then so I can understand what you
     5     wanted me to answer?
     6             Q.       My reading of the sentence is
     7     that it is requesting that Al Rajhi Bank send
     8     the deposit notice, together with the purpose
     9     of the donation, to a particular fax number.
    10                      Do you -- did you, in your
    11     preparations, come across any information
    12     about such a procedure relating to the Al
    13     Haramain accounts?
    14             A.       I'm not aware of that
    15     procedure, no.
    16             Q.       And do you have any idea where
    17     communications of that nature would be
    18     archived based on your preparations for the
    19     deposition?
    20             A.       I could assume they might be in
    21     the customer information file, but I don't
    22     know that definitively.
    23             Q.       And with regard to the customer
    24     information file, would there be any
    25     individual customer information files at each



   Golkow Litigation Services                                        Page 148
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 150 of 397
                                                            Material

     1     of the branches where accounts were
     2     maintained?
     3             A.       Initially, and then now they're
     4     being consolidated to central archive, I
     5     recall, from around 2002.
     6                      (Al Rajhi Bank 30(b)(6) Exhibit
     7             ARB 6 marked for identification.)
     8     QUESTIONS BY MR. CARTER:
     9             Q.       Can we mark as the next exhibit
    10     the document at Tab 39?
    11                      Take a moment and review that
    12     document, Mr. Galloway.
    13             A.       Yeah, I've read it.
    14             Q.       Okay.    This is a document
    15     produced by Al Rajhi Bank at 40258, and on
    16     its face it appears to be a letter on Muslim
    17     World League International Islamic Relief
    18     Organization Saudi Arabia letterhead to the
    19     director of Al Rajhi Banking & Investment
    20     Corp., Al Sharafeyah branch; is that correct?
    21             A.       It appears to be so.
    22             Q.       And have you had occasion to
    23     review this document prior to this morning?
    24     Or today?     Sorry.
    25             A.       No, I have not reviewed this



   Golkow Litigation Services                                        Page 149
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 151 of 397
                                                            Material

     1     particular document.
     2             Q.       Okay.    In the first paragraph
     3     of the letter, it refers to an earlier letter
     4     dated September 24, 2002, about assigning
     5     responsibility to send a circular to all
     6     local branches about not transferring any
     7     amounts to a combined account.
     8                      Do you see that?
     9             A.       I do see that.
    10             Q.       And in your preparations for
    11     today's deposition relating to the bank's
    12     relationship with the IIRO, did you have
    13     occasion to conduct an inquiry to find out
    14     what that was about?
    15                      MS. BEMBRY:     Objection.     Vague.
    16                      THE WITNESS:     No, I did not.
    17     QUESTIONS BY MR. CARTER:
    18             Q.       Beneath that, it talks about
    19     balances being transferred to our following
    20     accounts.     And the second to last account
    21     referenced is Martyrs of Al Aqsa Orphans.
    22                      Do you see that?
    23             A.       Yes, I do see that.
    24             Q.       And do you know what Martyrs of
    25     Al Aqsa Orphans refers to?



   Golkow Litigation Services                                        Page 150
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 152 of 397
                                                            Material

     1                      MS. BEMBRY:     Objection.     Lack
     2             of foundation.
     3                      MR. CURRAN:     Same objection.
     4                      You may answer.
     5                      THE WITNESS:     I have no direct
     6             knowledge of that.
     7     QUESTIONS BY MR. CARTER:
     8             Q.       And in your preparations for
     9     today's deposition, did you come across
    10     information indicating that Al Rajhi Bank
    11     maintained an account for the International
    12     Islamic Relief Organization in the name
    13     Martyrs of Al Aqsa Orphans?
    14                      MR. CURRAN:     Objection.     Lack
    15             of foundation.
    16                      You may answer.
    17                      MS. BEMBRY:     Same objection.
    18                      THE WITNESS:     No, I did not.
    19             No, I did not.
    20     QUESTIONS BY MR. CARTER:
    21             Q.       You did not?
    22                      Do you know whether Martyrs of
    23     Al Aqsa Orphans refers to activities in The
    24     Kingdom or outside?
    25                      MS. BEMBRY:     Objection to form.



   Golkow Litigation Services                                        Page 151
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 153 of 397
                                                            Material

     1                      THE WITNESS:     No, I do not.
     2     QUESTIONS BY MR. CARTER:
     3             Q.       And do you know -- did you see
     4     any documents in your preparations concerning
     5     any review of the purpose of this account?
     6                      MS. BEMBRY:     Objection.     Vague.
     7     QUESTIONS BY MR. CARTER:
     8             Q.       By Al Rajhi Bank?
     9             A.       No, I did not.
    10                      And I didn't see anything in
    11     the -- in the guide that was delivered to
    12     help prepare for this that would have led me
    13     to believe you wanted such a specific
    14     response.
    15             Q.       Mr. Galloway, in preparing for
    16     the deposition concerning Al Rajhi Bank's
    17     relationships with Al Haramain Islamic
    18     Foundation, did you take any steps to
    19     determine whether or not Al Haramain's
    20     accounts at Al Rajhi Bank were being used to
    21     send money overseas?
    22                      Strike that.
    23                      Did you undertake any inquiry
    24     to determine whether the Al Haramain accounts
    25     at Al Rajhi Bank during 1998 through 2002



   Golkow Litigation Services                                        Page 152
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 154 of 397
                                                            Material

     1     were being used to send funds outside of
     2     Saudi Arabia?
     3                      MR. CURRAN:     Objection as to
     4             form.    I think it's beyond the scope
     5             of any of the designated areas of
     6             inquiry.
     7                      You may answer.
     8                      THE WITNESS:     Yeah, I did not
     9             directly, no.
    10     QUESTIONS BY MR. CARTER:
    11             Q.       Do you know one way or another
    12     whether the accounts were used to send money
    13     outside of The Kingdom?
    14                      MR. CURRAN:     Same objections.
    15                      You may answer.
    16                      THE WITNESS:     No, I have no
    17             specific knowledge of that.
    18     QUESTIONS BY MR. CARTER:
    19             Q.       And what about with regard to
    20     the IIRO accounts?        Did you come across any
    21     information that would indicate whether those
    22     accounts were being used to send money
    23     outside of The Kingdom?
    24                      MR. CURRAN:     Same objection.
    25                      You may answer.



   Golkow Litigation Services                                        Page 153
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 155 of 397
                                                            Material

     1                      THE WITNESS:     No, I did not.
     2     QUESTIONS BY MR. CARTER:
     3             Q.       And I take it that you don't
     4     know one way or the other whether they were?
     5             A.       That's correct.
     6                      MR. CURRAN:     Same objection.
     7                      THE WITNESS:     I did not have
     8             any inquiry about IIRO's transactions
     9             specifically.
    10                      (Al Rajhi Bank 30(b)(6) Exhibit
    11             ARB 7 marked for identification.)
    12     QUESTIONS BY MR. CARTER:
    13             Q.       You had earlier mentioned a
    14     1997 letter from the Ministry of Islamic
    15     Affairs produced at ARB 38201.           And that
    16     letter is at Tab 27, and I'd like to mark it
    17     as the next exhibit.
    18             A.       Could you please direct me to
    19     the general area you're asking the questions
    20     about now, please?
    21             Q.       Well, you brought it up earlier
    22     in your testimony about the licensing
    23     requirements for the charities.           And from my
    24     perspective, it would be relevant to the
    25     inquiries concern -- I'm sorry, concerning



   Golkow Litigation Services                                        Page 154
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 156 of 397
                                                            Material

     1     both category number 1, relating to the
     2     bank's relationship with these entities, as
     3     well as various topics under category 2,
     4     including 2(d).
     5             A.       Yeah.
     6             Q.       2(d).
     7                      MR. CURRAN:     Is this a one-page
     8             document, Mr. Carter?
     9                      MR. CARTER:     It is.
    10                      MR. CURRAN:     Thank you.
    11                      THE WITNESS:     Go ahead.
    12     QUESTIONS BY MR. CARTER:
    13             Q.       Okay.    And, Mr. Galloway, is
    14     this the 1997 letter you referenced in your
    15     testimony earlier?
    16             A.       The October 17 is the date?
    17     16th of June, it says.         17 October, yeah,
    18     thank you.
    19             Q.       Okay.    And did you review this
    20     document in preparation for your deposition
    21     today?
    22             A.       I have read that document, yes.
    23             Q.       And is it your understanding
    24     that this is a document that was sent from
    25     The Kingdom's Ministry of Islamic Affairs and



   Golkow Litigation Services                                        Page 155
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 157 of 397
                                                            Material

     1     at some point received by Al Rajhi Bank?
     2             A.       That is my understanding, yes.
     3             Q.       The document, as you noted, is
     4     dated October 17, 1997, correct?
     5             A.       Yeah, that's correct.
     6             Q.       And --
     7             A.       The Gregorian equivalent of the
     8     Hijri date, yeah.
     9             Q.       Yeah, I'm sorry, I should have
    10     mentioned that.
    11                      And is this document addressed
    12     to Al Rajhi Bank?
    13                      MR. CURRAN:     Objection as to
    14             form.
    15                      You may answer.
    16                      THE WITNESS:     I don't see
    17             any direct reference to Al Rajhi Bank
    18             on the letter.
    19     QUESTIONS BY MR. CARTER:
    20             Q.       On its face, it appears that
    21     it's directed to His Excellency, director of
    22     Riyadh Passports Administration.
    23                      Do you agree with that?
    24             A.       I agree that's what's written
    25     there.



   Golkow Litigation Services                                        Page 156
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 158 of 397
                                                            Material

     1             Q.       And is the -- is His
     2     Excellency, the director of Riyadh Passports
     3     Administration, a position at Al Rajhi Bank
     4     that you're aware of?
     5             A.       No, it's not, but I wouldn't
     6     see this as evidence that they're licensed to
     7     operate.     The fact that it's an official
     8     document says that they're operating under
     9     the Ministry's supervision.          But I don't
    10     see -- I don't see the addressee is
    11     necessarily critical.
    12             Q.       Okay.    Well --
    13             A.       The facts --
    14             Q.       The document on its face
    15     reflects that it was sent on October 17,
    16     1997, from the Ministry to the director of
    17     Riyadh Passports Administration, correct?
    18             A.       That appears to be so.
    19             Q.       And it doesn't include any cc
    20     to Al Rajhi Bank, does it?
    21             A.       I can't see that on the sheet,
    22     no.
    23             Q.       And is there any indication in
    24     the document when it was actually received by
    25     Al Rajhi Bank?



   Golkow Litigation Services                                        Page 157
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 159 of 397
                                                            Material

     1                      MR. CURRAN:     Objection to form.
     2                      The witness may answer.
     3                      The witness is trying to look
     4             at the document on his computer there.
     5                      THE WITNESS:     There appears to
     6             be a stamp on the Arabic translation
     7             below, but I'm not able to see if
     8             that's an Al Rajhi stamp or whether
     9             it's received by Al Rajhi Bank.
    10     QUESTIONS BY MR. CARTER:
    11             Q.       You don't know what that stamp
    12     is because it's in Arabic, right?
    13             A.       That's correct.
    14             Q.       Yeah.    And the translation we
    15     have of the seal is Kingdom of Saudi Arabia,
    16     Ministry of Islamic Affairs, Endowments,
    17     Da`wah and Guidance, Deputy Minister's
    18     Office.
    19                      And I know that you said you
    20     reviewed this document in preparation for
    21     your deposition.
    22                      Do you have information that's
    23     different from that translation of the seal?
    24             A.       No, I don't, but I would agree
    25     that the contents of this letter says that



   Golkow Litigation Services                                        Page 158
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 160 of 397
                                                            Material

     1     they're licensed to operate, or their
     2     operating under the supervision of the
     3     relevant authority.        That's what I --
     4             Q.       The document we have here does
     5     not indicate when it was actually sent to Al
     6     Rajhi Bank?
     7             A.       Yeah, I can't see anything on
     8     the letter that says the date it sent.
     9     That's correct.
    10             Q.       And do you know whether Al
    11     Rajhi Bank had preexisting accounts opened in
    12     favor of Al Haramain prior to this 1997 date?
    13                      MR. CURRAN:     Objection.     Beyond
    14             the scope of this limited
    15             jurisdictional discovery.
    16                      The witness may --
    17                      MR. CARTER:     Chris, in response
    18             to that, the scope issues and timeline
    19             issues for jurisdictional discovery
    20             had much to do with the burden
    21             considerations relating to document
    22             production, and we don't necessarily
    23             view them as applicable to questioning
    24             of a witness who's had the opportunity
    25             to interview people.



   Golkow Litigation Services                                        Page 159
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 161 of 397
                                                            Material

     1                      But we can proceed on that
     2             basis.
     3                      MR. CURRAN:     We disagree with
     4             that analysis.      We think the time --
     5             the designated time period is what it
     6             is.
     7                      But the witness may answer.
     8                      THE WITNESS:     I haven't done a
     9             direct match between the dates and the
    10             account opening dates, but this --
    11             this letter was sought in order to
    12             verify that the accounts were under
    13             the supervision of the relevant
    14             authority.
    15     QUESTIONS BY MR. CARTER:
    16             Q.       What information do you have
    17     that this letter was sought for that purpose?
    18             A.       Now I've had a glance at that,
    19     I don't have any -- at this time I can't
    20     answer that.
    21             Q.       Based on the content of this
    22     document from Al Rajhi Bank's files, was it
    23     Al Rajhi Bank's understanding that Al
    24     Haramain Islamic Foundation was working under
    25     the supervision of the Ministry of Islamic



   Golkow Litigation Services                                        Page 160
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 162 of 397
                                                            Material

     1     Affairs?
     2             A.       At the time -- say the question
     3     again, please?
     4                      Could you repeat -- could you
     5     repeat the question, please?
     6             Q.       Was it Al Rajhi Bank's
     7     understanding based on your preparations
     8     during the period 1998 through 2002 that Al
     9     Haramain Islamic Foundation was operating
    10     under the supervision of the Ministry of
    11     Islamic Affairs of Saudi Arabia?
    12             A.       Yes, it was.
    13             Q.       And on its face, that's what
    14     this October 1997 letter says, correct?
    15                      MR. CURRAN:     Objection to form.
    16             Lack of foundation.
    17                      You may answer.
    18                      THE WITNESS:     Yes, it says --
    19             the words say the Al Haramain Islamic
    20             Foundation's working under our
    21             supervision.
    22     QUESTIONS BY MR. CARTER:
    23             Q.       And the letter is signed by
    24     Saleh bin Abdel Aziz bin Mohamed Al
    25     ash-Sheikh, correct?



   Golkow Litigation Services                                        Page 161
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 163 of 397
                                                            Material

     1             A.       Yes, it is.
     2             Q.       And as part of your
     3     preparations, did you determine who he was
     4     during this period of time?
     5             A.       Yes, I did.
     6             Q.       Okay.    And what is Al Rajhi
     7     Bank's understanding of who Saleh bin Abdel
     8     Aziz bin Mohamed Al ash-Sheikh was during
     9     this period of time?
    10             A.       He was on the charity board, if
    11     I'm not mistaken.
    12             Q.       Is it possible you're referring
    13     to a different person?
    14             A.       Yes, it could be.
    15                      Would you mind if I have a
    16     short break?
    17                      MR. CARTER:     No.    As a
    18             matter -- let's -- yeah, let's do the
    19             short break.      I think there's
    20             technically a question pending, but
    21             that's fine.      We can take a break and
    22             restart.
    23                      VIDEOGRAPHER:      Off record.     The
    24             time is 5:49.
    25              (Off the record at 5:49 p.m.)



   Golkow Litigation Services                                        Page 162
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 164 of 397
                                                            Material

     1                      VIDEOGRAPHER:      Back on record.
     2             The time is 6:03.
     3     QUESTIONS BY MR. CARTER:
     4             Q.       Mr. Galloway, before we took
     5     the short break, we were discussing Saleh bin
     6     Abdel Aziz bin Mohamed Al ash-Sheikh.
     7                      Do you recall that?
     8             A.       Yes, I do.
     9             Q.       And I was about to say, I think
    10     there might have been some confusion in
    11     regards to one of your remarks.
    12                      Do you want to clarify
    13     something about this individual?
    14             A.       Thank you.     Yes, I would.
    15                      I understand the gentlemen
    16     Saleh bin Abdel Aziz bin Mohamed Al
    17     ash-Sheikh had a role as Deputy Minister of
    18     Islamic Affairs and also had a secondary role
    19     as the superintendent general of Al Haramain,
    20     KSA.
    21             Q.       And I take it from that that he
    22     was not involved in any Sharia committee at
    23     Al Rajhi Bank that you're aware of?
    24             A.       That's also correct.        That was
    25     my error.



   Golkow Litigation Services                                        Page 163
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 165 of 397
                                                            Material

     1             Q.       And just to pick up on what you
     2     just said, the letter that we're discussing
     3     right now identifies Saleh bin Abdel Aziz bin
     4     Mohamed Al ash-Sheikh as both Deputy Minister
     5     of Islamic Affairs and general supervisor of
     6     Al Haramain, correct?
     7             A.       Yes, it does, and that was
     8     something I inquired about, and including
     9     asking the chairman.
    10                      And firstly, I would say it's
    11     really not for the bank to decide how many or
    12     which roles he has.        But for people in senior
    13     government departments, it's not unusual for
    14     the -- in Saudi to also have charitable
    15     associations.      So this was not considered
    16     anything unusual outside of context.
    17             Q.       But it was the bank's
    18     understanding that he was serving in both
    19     those capacities during this time period?
    20             A.       That letter indicates that.
    21             Q.       And did the bank's chairman
    22     have any information on that issue?
    23             A.       No.   I asked him, and he did --
    24     I didn't ask about the specific letter, but I
    25     asked him why would it be that he seems to



   Golkow Litigation Services                                        Page 164
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 166 of 397
                                                            Material

     1     have dual roles, and he said it wasn't
     2     considered unusual with other senior figures
     3     in Saudi Arabia.
     4                      And I guess in a western
     5     context, it's not unusual for senior
     6     distinguished figures to also serve on
     7     charitable organizations, in my experience.
     8             Q.       Do you happen to know from your
     9     conversation with the chairman whether he had
    10     any direct dealings with Saleh bin Abdel Aziz
    11     bin Mohamed Al ash-Sheikh?
    12             A.       No --
    13                      MR. CURRAN:     Objection.     Vague.
    14                      You may answer.
    15                      THE WITNESS:     No, I don't know
    16             that directly.      But he knew of him,
    17             and he certainly is a respected figure
    18             here in The Kingdom of Saudi Arabia.
    19     QUESTIONS BY MR. CARTER:
    20             Q.       And we spent a bit of time
    21     earlier discussing the letter from Abdullah
    22     al Rajhi that was marked -- sorry.
    23                      Do you recall which exhibit
    24     number that was?       It's a prior exhibit.
    25                      GINA VELDMAN:      It was the



   Golkow Litigation Services                                        Page 165
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 167 of 397
                                                            Material

     1             exhibit before this?
     2                      MR. CARTER:     Yes.
     3                      GINA VELDMAN:      That would be
     4             Tab -- that would be Tab 39.
     5                      MR. CARTER:     Yeah.    Can we put
     6             that back up?
     7                      GINA VELDMAN:      Do you want both
     8             or just one?
     9                      MR. CARTER:     I'm sorry, that's
    10             not the one.
    11                      GINA VELDMAN:      Okay.    Maybe
    12             this one?
    13                      MR. CARTER:     Yes.    Which was
    14             Tab 34 in Exhibit 4.
    15     QUESTIONS BY MR. CARTER:
    16             Q.       Okay, yeah, Exhibit 4.
    17                      And this, as we discussed
    18     previously, is a letter from the now
    19     chairman, then director general, Abdullah al
    20     Rajhi, to the same minister, Saleh bin Saleh
    21     bin Abdel Aziz bin Mohamed Al ash-Sheikh,
    22     correct?
    23             A.       It appears to be.
    24                      (Al Rajhi Bank 30(b)(6) Exhibit
    25             ARB 8 marked for identification.)



   Golkow Litigation Services                                        Page 166
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 168 of 397
                                                            Material

     1     QUESTIONS BY MR. CARTER:
     2             Q.       Can we mark as the next exhibit
     3     the document at Tab 30?
     4                      GINA VELDMAN:      This is
     5             Exhibit 8.
     6     QUESTIONS BY MR. CARTER:
     7             Q.       Mr. Galloway, take a second to
     8     review that document, and let me know if
     9     you've read it in preparation for your
    10     deposition today.
    11             A.       Yes, I'm aware of this.
    12             Q.       And this is a document produced
    13     by Al Rajhi Bank dated September 26, 1998, in
    14     the Gregorian calendar, from the Al Haramain
    15     Islamic Foundation's general supervisor's
    16     officer to Al Rajhi Bank, correct?
    17             A.       That appears to be true, yeah.
    18             Q.       And it's addressed to His
    19     Excellency, director general of Al Rajhi
    20     Banking & Investment Corp.
    21                      Do you know who held that
    22     position in September of 1998?
    23             A.       No, I don't.
    24             Q.       Do you happen to know whether
    25     that would have been Abdullah al Rajhi?



   Golkow Litigation Services                                        Page 167
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 169 of 397
                                                            Material

     1             A.       I don't know that with the
     2     material I have with me.
     3             Q.       And in the letter, the minister
     4     requests that the bank transfer nine accounts
     5     into the name of Al Haramain Islamic
     6     Foundation, correct?
     7             A.       Yes, that's what it says.
     8             Q.       And the minister also --
     9                      MR. CURRAN:     I'm sorry, are you
    10             on 2(e) now?      Is that the inquiry?
    11                      MR. CARTER:     It would be 2(d),
    12             2(e), 2(c), all of those.
    13                      MR. CURRAN:     Okay.    Thank you.
    14     QUESTIONS BY MR. CARTER:
    15             Q.       Mr. Galloway, am I correct that
    16     this letter is a request from Saleh bin Abdel
    17     Aziz bin Mohamed Al ash-Sheikh to Al Rajhi
    18     Bank to transfer nine accounts into the name
    19     of Al Haramain Islamic Foundation?
    20             A.       Yes, that's what it says.
    21             Q.       Okay.    And in the letter, Saleh
    22     bin Abdel Aziz bin Mohamed Al ash-Sheikh also
    23     provides instructions concerning the
    24     individual who should have signatory
    25     authority for the combined account, correct?



   Golkow Litigation Services                                        Page 168
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 170 of 397
                                                            Material

     1             A.       Yeah, they provided a list of
     2     them.
     3             Q.       And in this letter, the --
     4     well, in this letter it says that the
     5     signatory should be limited to persons
     6     identified by Al Haramain's director general,
     7     Sheik Aqil bin Abdel Aziz al Aqil, correct?
     8             A.       The pictures for the video are
     9     over some of the text that you're referring
    10     to.
    11             Q.       Oh, sorry.
    12             A.       I've got a copy here.        It's
    13     okay.    Okay.
    14                      To persons authorized by --
    15     yes, I agree with that.
    16             Q.       And during this time period,
    17     was it Al Rajhi Bank's understanding that
    18     Deputy Minister of Islamic Affairs, Saleh bin
    19     Abdel Aziz bin Mohamed Al ash-Sheikh, had
    20     authority to make a request of this nature
    21     concerning the Al Haramain accounts?
    22             A.       Well, he couldn't have acted on
    23     this naturally.       If he was writing it, any
    24     consolidation would have been subject to
    25     controls.



   Golkow Litigation Services                                        Page 169
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 171 of 397
                                                            Material

     1             Q.       Yeah, I'm not asking whether or
     2     not he had authority to direct whether Al
     3     Rajhi Bank complied with the request, but was
     4     it Al Rajhi Bank's understanding that Deputy
     5     Minister Al ash-Sheikh had authority to make
     6     requests on behalf of Al Haramain concerning
     7     its accounts?
     8             A.       Yes, I believe so.
     9                      (Al Rajhi Bank 30(b)(6) Exhibit
    10             ARB 9 marked for identification.)
    11     QUESTIONS BY MR. CARTER:
    12             Q.       And if we can mark as the next
    13     exhibit the document at Tab 32.
    14                      Mr. Galloway, have you seen
    15     this document in preparation for your
    16     deposition today?
    17             A.       That specific document I don't
    18     recall.
    19             Q.       Okay.    It was produced by Al
    20     Rajhi Bank at 38573.        And, again, on its face
    21     it appears to be a letter from the Deputy
    22     Minister's Office at the Ministry of Islamic
    23     Affairs to the director general of Al Rajhi
    24     Banking & Investment Corp.
    25                      Do you agree with that?



   Golkow Litigation Services                                        Page 170
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 172 of 397
                                                            Material

     1             A.       Yes, it appears to be the case.
     2             Q.       Okay.    And it's dated
     3     January 29, 1997, right?
     4             A.       That's the Gregorian date.
     5             Q.       Yeah.
     6                      And the letter indicates that
     7     it is fine to keep Al Haramain Islamic
     8     Foundation's account number, redacted, 55 at
     9     your branch number, also redacted.
    10                      Do you see that?
    11             A.       I see that.
    12             Q.       Okay.    And again, based on your
    13     preparations, is it your understanding that
    14     Al Rajhi Bank understood that the deputy
    15     minister, Saleh bin Abdel Aziz bin Mohamed Al
    16     ash-Sheikh, had authority to make this type
    17     of request for Al Haramain during this time
    18     period?
    19             A.       Yes, it is my belief that he
    20     was authorized.       Although I would note that
    21     that falls outside the relevant period.
    22                      MR. CURRAN:     You're doing my
    23             job.
    24     QUESTIONS BY MR. CARTER:
    25             Q.       Correct.



   Golkow Litigation Services                                        Page 171
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 173 of 397
                                                            Material

     1                      But would inform -- would
     2     inform the bank's understanding during the
     3     relevant period of his authority, correct?
     4                      MR. CURRAN:     Same objection.
     5                      You may answer.
     6                      THE WITNESS:     That's possible.
     7                      (Al Rajhi Bank 30(b)(6) Exhibit
     8             ARB 10 marked for identification.)
     9     QUESTIONS BY MR. CARTER:
    10             Q.       Can we mark as the next exhibit
    11     the documents at Tab 14?
    12                      Mr. Galloway, have you had a
    13     chance to look at these documents?
    14                      MR. CURRAN:     Is there more than
    15             one?
    16                      MR. CARTER:     Yeah.    Chris,
    17             this includes an additional
    18             attachment.
    19                      MR. CURRAN:     Okay.    Gotcha.
    20                      MR. CARTER:     It was produced by
    21             the bank twice, the cover page, I
    22             think, and we're going to go over that
    23             very quickly.
    24                      THE WITNESS:     Yeah, I'm
    25             familiar with the request.



   Golkow Litigation Services                                        Page 172
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 174 of 397
                                                            Material

     1     QUESTIONS BY MR. CARTER:
     2             Q.       And the first page of this
     3     exhibit appears to be identical to the letter
     4     we marked as Exhibit Number 8 that was
     5     separately produced at ARB 38200.
     6                      Do you agree?
     7             A.       Can you say that again?        I
     8     missed what you said.
     9             Q.       Okay.    The first page of this
    10     exhibit that we've just marked --
    11             A.       Yeah.
    12             Q.       -- appears to be --
    13             A.       Sorry.
    14             Q.       Yeah, it's identical to the
    15     document we previously reviewed that was
    16     marked as Exhibit 8, right?
    17                      MR. CURRAN:     It was Exhibit 8
    18             or 9.    You saw that.
    19                      THE WITNESS:     Yeah, that's
    20             correct.
    21     QUESTIONS BY MR. CARTER:
    22             Q.       Okay.    And this version
    23     includes a second page that appears to
    24     identify the nine accounts that are subject
    25     of Deputy Minister Al ash-Sheikh's requests,



   Golkow Litigation Services                                        Page 173
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 175 of 397
                                                            Material

     1     correct?
     2             A.       Yeah, that's right.
     3             Q.       And it also identifies the
     4     individuals who will have signatory authority
     5     for the accounts?
     6             A.       Yeah.    The four on the bottom
     7     is what you're referring to there.
     8             Q.       Yeah.
     9                      And do you know under what name
    10     those accounts were established and held as
    11     of the date of this letter?
    12             A.       Prior to being shifted to Al
    13     Haramain, is that what you're saying?
    14             Q.       Yes.
    15             A.       I do not know that directly,
    16     no.
    17                      I believe they were under
    18     individual accounts and then consolidated to
    19     Al Haramain, but I don't know the specific
    20     names of the individual accounts.
    21             Q.       So your belief is that --
    22             A.       Sorry.    Go ahead.
    23             Q.       Your understanding is that the
    24     accounts had been opened under the names of
    25     individual natural persons?



   Golkow Litigation Services                                        Page 174
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 176 of 397
                                                            Material

     1                      MR. CURRAN:     Objection.     Vague.
     2                      You may answer.
     3                      THE WITNESS:     These were
     4             existing accounts that they were
     5             asking to have consolidated into -- or
     6             shifted into the name of the charity.
     7     QUESTIONS BY MR. CARTER:
     8             Q.       And do you know whose names
     9     those nine accounts were under at the time --
    10             A.       No.
    11             Q.       -- the request was made to
    12     shift them?
    13             A.       I believe the list was supplied
    14     with the nine names, which is the -- I
    15     believe there was a list that included the
    16     names, was my understanding.
    17             Q.       That -- the nine names would be
    18     information that Al Rajhi Bank would have
    19     available to it?
    20             A.       I would need to check that.
    21             Q.       But the core banking system
    22     should be able to go back to September 26,
    23     1998, and look at these accounts and see
    24     whose names they were under?
    25             A.       Yeah, that's possible.



   Golkow Litigation Services                                        Page 175
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 177 of 397
                                                            Material

     1                      (Al Rajhi Bank 30(b)(6) Exhibit
     2             ARB 11 marked for identification.)
     3     QUESTIONS BY MR. CARTER:
     4             Q.       And if we can mark next the
     5     document at Tab 15.
     6             A.       Just a moment, please.        We're
     7     just getting it on the screen.
     8                      I've read that.
     9             Q.       Okay.    And this communication
    10     also concerns the request to change the
    11     accounts, the nine accounts, into the name of
    12     Al Haramain, correct?
    13             A.       Yes.
    14             Q.       And this is an internal Al
    15     Rajhi Bank document?
    16             A.       That's right.      And it was
    17     triggered in order to make sure the process
    18     was robust and people were clear what had to
    19     be done.
    20             Q.       Right.
    21                      And the author of this is
    22     identified as Azzam al Abdullah Aba al Khail,
    23     the deputy director general for the banking
    24     group.
    25                      Do you see his name?



   Golkow Litigation Services                                        Page 176
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 178 of 397
                                                            Material

     1             A.       Yes, I do.
     2             Q.       Do you know him?
     3             A.       Not personally, no, I don't
     4     know him.
     5             Q.       Is he still at the bank?
     6             A.       I have not checked that.
     7             Q.       Are you familiar with his name?
     8             A.       Not familiar with his name as a
     9     result of working the bank; only as a result
    10     of reading it on the page here.
    11             Q.       Do you know what his role was
    12     as deputy director general for the banking
    13     group?
    14             A.       I don't know specifically, but
    15     it was a senior role, based on the title.
    16             Q.       And do you know whether or not
    17     in that senior role he reported to Abdullah
    18     al Rajhi?
    19             A.       I do not know that.
    20             Q.       And do you agree that Azzam al
    21     Abdullah Aba al Khail indicates that the
    22     request made by the deputy minister to
    23     transfer the accounts should be carried out?
    24             A.       Well, it was with additional
    25     controls.     There were -- this is a process



   Golkow Litigation Services                                        Page 177
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 179 of 397
                                                            Material

     1     that was followed to allow the individual
     2     names to be moved into the Al Haramain
     3     account names, but there were additional
     4     specific controls outlined by the bank to
     5     ensure that that was done.          And there was a
     6     high-level signoff which included the
     7     signature of the gentleman on this letter.
     8                      So this was a process we had,
     9     but to do such a change was a process that
    10     had additional controls and measures around
    11     it for protection of the customer as well as
    12     the protection of the bank.
    13             Q.       Okay.    And what were those
    14     controls trying to protect?
    15             A.       They were trying to make sure,
    16     firstly, that the accounts obviously were
    17     opened in the name of the charity, but
    18     that -- when you're moving, normally you
    19     would close an account and open an new
    20     account.     This was taking the account number
    21     and changing the name on it.
    22                      So for that, they needed to
    23     ensure that the -- the identification of the
    24     new party was now on, that any old checkbooks
    25     and things for the old accounts were



   Golkow Litigation Services                                        Page 178
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 180 of 397
                                                            Material

     1     recovered and that the account balance was
     2     agreed.
     3                      And then because it was a
     4     charity account, there were additional checks
     5     and controls which we've discussed earlier,
     6     and then there was a higher-level signing
     7     authority.
     8                      There was a very clear process
     9     laid out to make sure that this was done well
    10     and done properly.
    11             Q.       Okay.    Where in this letter
    12     does it refer to an additional level of
    13     controls to be reviewed relating to charity
    14     accounts?
    15             A.       Yeah, there was --
    16                      MR. CURRAN:     Object as to form.
    17             Lack of foundation.
    18                      You may answer.
    19                      THE WITNESS:     Yeah, the --
    20             there was a -- let me -- just a
    21             moment.    I'll just go to my notes,
    22             please.
    23                      Yeah, there was an internal
    24             document created -- I don't have a
    25             reference for it here, but which I've



   Golkow Litigation Services                                        Page 179
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 181 of 397
                                                            Material

     1             cited, that made clear the processes
     2             to be followed.      And that was to be
     3             read in conjunction with the branch
     4             manual that I've spoken to you about
     5             before, the manual 1997 edition.           And
     6             these processes were followed.
     7                      And the head of internal audit
     8             and the branch manual where the
     9             process is today were the sources that
    10             I referenced for that.
    11     QUESTIONS BY MR. CARTER:
    12             Q.       Based on your understanding of
    13     the branch manual and the procedures
    14     reflected therein, would it have been
    15     appropriate for Al Haramain to have accounts
    16     opened that were not in its name during this
    17     time period?
    18                      MR. CURRAN:     Objection as to
    19             form.
    20                      You may answer.
    21                      THE WITNESS:     If accounts were
    22             opened in a personal name, they would
    23             have been subject to personal
    24             onboarding.
    25                      Accounts opened in a charity



   Golkow Litigation Services                                        Page 180
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 182 of 397
                                                            Material

     1             name, I think it was a -- for -- this
     2             is -- what's the date of this?
     3     QUESTIONS BY MR. CARTER:
     4             Q.       1998.
     5             A.       Yeah, I -- the -- there was
     6     accounts opened, clearly.         Would those
     7     accounts have conducted charitable
     8     activities?      There was nothing potentially
     9     preventing that, I don't believe.
    10             Q.       Let me ask the question this
    11     way.
    12                      Were the procedures for
    13     onboarding a personal account different from
    14     those applicable to a charity account in this
    15     time period?
    16                      MR. CURRAN:     Objection.     Vague.
    17                      You may answer.
    18                      THE WITNESS:     As of the 1997
    19             document, that is -- the branch manual
    20             document, that's true.
    21     QUESTIONS BY MR. CARTER:
    22             Q.       And during this time period,
    23     1998, would it have been appropriate for Al
    24     Haramain to have had individual officials
    25     open accounts in their names for purposes of



   Golkow Litigation Services                                        Page 181
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 183 of 397
                                                            Material

     1     Al Haramain's operations?
     2                      MR. CURRAN:     Objection.     Vague.
     3                      You may answer.
     4                      THE WITNESS:     By "appropriate,"
     5             I'm not sure what you mean by that.
     6     QUESTIONS BY MR. CARTER:
     7             Q.       Well, you have some familiarity
     8     with know your customer procedures, correct?
     9             A.       Yes, I do.
    10             Q.       And are those designed to make
    11     sure that the bank knows who the real owner
    12     of a bank account is?
    13             A.       That's correct, but these
    14     were -- these were accounts opened by
    15     individuals, and they would have been the
    16     real owner of the account.
    17             Q.       Okay.    Would they be a real
    18     owner of the account if the account was being
    19     used for purposes of Al Haramain's
    20     activities?
    21                      MR. CURRAN:     Objection as to
    22             form.
    23                      You may answer.
    24                      THE WITNESS:     We would have
    25             verified the identity of the person



   Golkow Litigation Services                                        Page 182
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 184 of 397
                                                            Material

     1             opening the account when it was done.
     2     QUESTIONS BY MR. CARTER:
     3             Q.       Would you have required that
     4     person to show that he and his account were
     5     licensed to carry out charitable activities?
     6                      MR. CURRAN:     Again, objection
     7             as to the form of the question.           These
     8             are framed as hypotheticals.
     9                      You may answer.
    10                      THE WITNESS:     Yeah, I can't
    11             answer a hypothetical because the
    12             purpose of the account was not -- I
    13             don't have any knowledge of any
    14             conversation around the purpose of the
    15             account at the time it was opened.
    16                      (Al Rajhi Bank 30(b)(6) Exhibit
    17             ARB 12 marked for identification.)
    18     QUESTIONS BY MR. CARTER:
    19             Q.       Let's mark as the next exhibit
    20     the document at Tab 16.
    21                      Mr. Galloway, have you had a
    22     chance to review this document?
    23             A.       Yeah.    I'm almost finished.
    24     Thank you.
    25                      Yes, I've read the document.



   Golkow Litigation Services                                        Page 183
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 185 of 397
                                                            Material

     1             Q.       Okay.    And this is an internal
     2     Al Rajhi Bank document dated to 1999,
     3     correct?
     4             A.       On the Gregorian date, that's
     5     correct.
     6             Q.       Yeah.
     7                      And this is another request to
     8     transfer an Al Rajhi Bank account from the
     9     name of an individual account holder into the
    10     name of Al Haramain Islamic Foundation,
    11     correct?
    12                      MR. CURRAN:     Objection.     Vague.
    13                      You may answer.
    14                      THE WITNESS:     Well, any
    15             transfer from an individual name to
    16             a charity -- so you said is this?           Did
    17             you?   Can I clarify?
    18                      You were asking me to
    19             clarify --
    20     QUESTIONS BY MR. CARTER:
    21             Q.       What is the subject matter of
    22     this document?       What is being requested?
    23             A.       To change the account name.
    24             Q.       And the account at issue at the
    25     time of this letter was held in the name of



   Golkow Litigation Services                                        Page 184
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 186 of 397
                                                            Material

     1     an individual named Zayd Attia al Harithi,
     2     correct?
     3             A.       That's --
     4             Q.       Harithi something Saad,
     5     correct?
     6             A.       That is correct.
     7             Q.       Okay.    And the request is to
     8     change that account from the name of that
     9     individual into an account in the name of Al
    10     Haramain, correct?
    11             A.       Yes.
    12                      And doing so would only have
    13     increased the level of scrutiny on the
    14     account.
    15             Q.       Why?
    16             A.       Because it would have been
    17     subject to additional new information because
    18     they were changing the account from the
    19     individual to the charity.
    20             Q.       And what concerns does that
    21     raise?
    22                      MR. CURRAN:     Objection.     Vague.
    23             Lack of foundation.
    24                      You may answer.
    25                      THE WITNESS:     It -- I would



   Golkow Litigation Services                                        Page 185
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 187 of 397
                                                            Material

     1             interpret this as they were trying to
     2             tidy up and put the accounts under the
     3             charity in order to make sure that the
     4             purpose and the controls -- purpose is
     5             clear and the controls were in place.
     6             It feels like a positive move.
     7     QUESTIONS BY MR. CARTER:
     8             Q.       And do you know who initiated
     9     it?
    10             A.       I don't know that specifically,
    11     no.
    12             Q.       And based on this -- the
    13     document indicates in the third bullet point
    14     down that the account belongs to Al Haramain
    15     Islamic Foundation in fact.
    16                      Do you see that?
    17             A.       I see what's written.
    18             Q.       Okay.    And based on that, does
    19     that mean that the bank {sic} held in the
    20     name of the individual actually belonged to
    21     the Al Haramain Islamic Foundation?
    22             A.       I can't be sure of that.
    23             Q.       And to the extent that Al Rajhi
    24     Bank found out that Al Haramain was operating
    25     an account in the name of an individual



   Golkow Litigation Services                                        Page 186
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 188 of 397
                                                            Material

     1     person during this time period for Al
     2     Haramain's purposes, would that have
     3     triggered any additional know your customer
     4     requirements on the manual you have
     5     referenced?
     6                      MR. CURRAN:     Objection to form.
     7             Hypothetical.
     8                      You may answer.
     9                      THE WITNESS:     At the point in
    10             which the account was moved from an
    11             individual to a charity, it would have
    12             then been subject to additional
    13             scrutiny.
    14     QUESTIONS BY MR. CARTER:
    15             Q.       Again, under the bank's
    16     procedures, would it have been appropriate
    17     during this time period for Al Haramain to
    18     have opened an account for its operational
    19     purposes in the name of an individual person?
    20             A.       Well, I think what it's showing
    21     is that there was an awareness to try and
    22     tidy things up and to make sure that there
    23     were more scrutiny and that it was in the
    24     name of the charity.        And I didn't read it as
    25     being anything more than that.



   Golkow Litigation Services                                        Page 187
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 189 of 397
                                                            Material

     1             Q.       That's not what I asked.
     2                      I asked, would it have been
     3     appropriate during this time period, under
     4     the bank's own protocols, for Al Haramain to
     5     have opened an account for its operational
     6     purposes in the name of an individual person?
     7                      MR. CURRAN:     Objection to the
     8             form of the question.        Hypothetical.
     9                      You may answer.
    10                      THE WITNESS:     I'd be
    11             speculating.      I didn't understand
    12             the -- the issue that is more that
    13             they were seeking to put additional
    14             controls on the accounts, and that
    15             seems to be directionally a good thing
    16             to do.
    17     QUESTIONS BY MR. CARTER:
    18             Q.       Sure.
    19                      But if Al Haramain wanted to
    20     open an account at Al Rajhi Bank in the 1998
    21     through 2000 time period, Al Rajhi Bank had
    22     protocols in place that would apply to such a
    23     request, right?
    24             A.       That's correct.      But you're
    25     speculating as to whether the intent at the



   Golkow Litigation Services                                        Page 188
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 190 of 397
                                                            Material

     1     time the account was opened was for
     2     charitable purposes or not, and I can't
     3     answer that.
     4             Q.       Well, the document says that
     5     the account belongs to Al Haramain Islamic
     6     Foundation in fact.
     7                      MR. CURRAN:     Objection to the
     8             form of the question.
     9                      You may answer.
    10                      THE WITNESS:     That doesn't
    11             relate to the time period in which the
    12             account was opened.
    13     QUESTIONS BY MR. CARTER:
    14             Q.       Well, do you happen to know
    15     whether this document requesting the transfer
    16     of an account from the name of an individual
    17     into Al Haramain's name prompted any inquiry
    18     as to whether it was improperly opened?
    19             A.       Yeah, the bank did -- the bank
    20     searched and didn't find any review by the
    21     bank relating to instructions received by --
    22     just one second.
    23                      You're on 2F, correct?
    24             Q.       Among others.
    25             A.       The processes as laid out were



   Golkow Litigation Services                                        Page 189
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 191 of 397
                                                            Material

     1     followed.     That therefore didn't prompt any
     2     inquiry or follow-up or additional action.
     3                      There were processes outlined
     4     to make the transition from the individual
     5     name to the charity name.         Those processes
     6     were followed in full, and therefore there
     7     was no need for inquiry, follow-up or
     8     inspection.
     9             Q.       So from the bank's perspective,
    10     there was nothing problematic about the
    11     situation described in this letter?
    12             A.       Well, moving it into a charity
    13     and tidying it up and putting the controls
    14     associated with it seems to me like good
    15     housekeeping and a sensible thing to do, and
    16     would only add to the level of protection and
    17     scrutiny around the account, would it not?
    18             Q.       Well, doesn't it prompt also a
    19     need to look backwards to determine whether
    20     or not there was a problem with the opening
    21     of the account?
    22                      MR. CURRAN:     Objection as to
    23             form.
    24                      You may answer.
    25                      THE WITNESS:     I don't have



   Golkow Litigation Services                                        Page 190
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 192 of 397
                                                            Material

     1             knowledge of whether that -- whether
     2             that would have -- would have
     3             triggered anything.
     4     QUESTIONS BY MR. CARTER:
     5             Q.       And do you happen to know
     6     whether discovery of information that an
     7     organization, and in particular a charity,
     8     was operating accounts for its own purposes
     9     in the name of individuals would have been a
    10     know your customer concern for Al Rajhi Bank
    11     at this time?
    12                      MR. CURRAN:     Objection to form.
    13             Lack of foundation.       Hypothetical.
    14                      You may answer.
    15                      THE WITNESS:     I don't have
    16             specific knowledge of that in relation
    17             to this issue.
    18                      (Al Rajhi Bank 30(b)(6) Exhibit
    19             ARB 13 marked for identification.)
    20     QUESTIONS BY MR. CARTER:
    21             Q.       Can we mark as the next exhibit
    22     the document at Tab 18?
    23             A.       I read that, Mr. Carter.
    24             Q.       And this is another internal
    25     document dated November 13, 1999, in the



   Golkow Litigation Services                                        Page 191
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 193 of 397
                                                            Material

     1     Gregorian calendar concerning transferring
     2     another account from the name of individuals
     3     to Al Haramain, correct?
     4             A.       Yeah, that's cor -- seems to be
     5     correct.
     6             Q.       And the account, as it existed
     7     as of the time of this letter, was held in
     8     the name of three individuals:           Mohamed
     9     Marzouk al Harithi, Faisal Fayez al Ahmadi,
    10     and Hussain Abdullah al Yami, correct?
    11             A.       Yeah, that appears to be
    12     correct.
    13             Q.       And they're asking -- or they
    14     made a request to change it into the name of
    15     Al Haramain, correct?
    16             A.       Yeah, that seems to be correct
    17     also.
    18             Q.       And they're also asking that
    19     they be permitted to retain the same account
    20     number, correct?
    21             A.       Yes, that is correct.
    22             Q.       And the reason they're asking
    23     to retain the same account number is because
    24     donors who make deposits to it directly
    25     throughout the Saudi Kingdom already know the



   Golkow Litigation Services                                        Page 192
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 194 of 397
                                                            Material

     1     number, right?
     2             A.       That's what it says on the
     3     letter.
     4             Q.       Okay.    And so based on that, Al
     5     Rajhi Bank had information that the account
     6     in the name of these individuals was being
     7     used to receive donations, correct?
     8             A.       Well, Al Rajhi Bank also has a
     9     request to make sure that it's formalized as
    10     a charitable account.
    11             Q.       Mr. Galloway, can you answer
    12     the question I asked?
    13                      MR. CURRAN:     Objection as to
    14             form.
    15                      MR. CARTER:     Can you read it
    16             back so Mr. Galloway can answer the
    17             question that was presented?
    18                      (Court Reporter read back
    19             question.)
    20                      THE WITNESS:     Well, the letter
    21             says that.
    22     QUESTIONS BY MR. CARTER:
    23             Q.       And the letter is drafted by Al
    24     Rajhi Bank, right?
    25                      MR. CURRAN:     Objection as to



   Golkow Litigation Services                                        Page 193
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 195 of 397
                                                            Material

     1             form.
     2                      You may answer.
     3                      THE WITNESS:     The letter says
     4             donors who used to make deposits
     5             directly through The Kingdom -- the
     6             Saudi Kingdom, and it's -- and it's Al
     7             Rajhi Bank correspondence, right?
     8             That's correct.
     9     QUESTIONS BY MR. CARTER:
    10             Q.       And it -- according to the
    11     document, it was written by Hamad Mohamed al
    12     Harbi, the director of the Al Arbaeen Street
    13     branch, right?
    14             A.       That's what it says.
    15             Q.       And he's seeking an opinion
    16     from the legal department about this request,
    17     correct?
    18             A.       I think he's seeking to try to
    19     put them into good order and make them
    20     charity accounts.
    21             Q.       Well, that would suggest that
    22     he initiated this request.
    23                      Do you know whether he
    24     initiated this request or Al Haramain did?
    25             A.       I have no knowledge of that.



   Golkow Litigation Services                                        Page 194
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 196 of 397
                                                            Material

     1             Q.       Okay.
     2             A.       But whether it was Al Haramain
     3     or the bank, I would suggest that either
     4     party is trying to put this into good order
     5     and make sure that they're properly
     6     registered as charity accounts, and they're
     7     subject to control scrutiny and licensing
     8     that comes with that.
     9             Q.       And that's because prior of
    10     this point in time, they weren't in good
    11     order, and they weren't registered as charity
    12     accounts, correct?
    13                      MR. CURRAN:     Objection to form.
    14             Argumentative.
    15                      THE WITNESS:     I can't comment
    16             whether they're in good order or not.
    17             I can only say that it's better that
    18             their accounts are put under the
    19             charity name if they're going to be
    20             used for a primary charitable purpose.
    21                      But I don't know the provenance
    22             of these accounts when they were
    23             opened and whether they were
    24             originally opened as individual
    25             accounts or not.       I haven't got



   Golkow Litigation Services                                        Page 195
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 197 of 397
                                                            Material

     1             information in front of me that
     2             answers that.
     3     QUESTIONS BY MR. CARTER:
     4             Q.       Well, you do know that they
     5     were being held in the name of individuals
     6     and not in the name of Al Haramain, correct?
     7                      MR. CURRAN:     Objection.     Vague.
     8                      You may answer.
     9                      THE WITNESS:     That's correct,
    10             based on what you're showing me here.
    11                      MR. CURRAN:     "They" being the
    12             single account you're referring to,
    13             Mr. Carter?
    14                      MR. CARTER:     It's the account
    15             referenced in this document.
    16                      MR. CURRAN:     Yeah, okay.
    17             That's singular.
    18                      MR. CARTER:     Joint account
    19             number blank/7000.
    20                      MR. CURRAN:     Correct.     You say
    21             "they," meaning multiple accounts.
    22             It's a singular account --
    23                      MR. CARTER:     No, it's a joint
    24             account in the name of three people.
    25                      MR. CURRAN:     Yeah, okay, a



   Golkow Litigation Services                                        Page 196
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 198 of 397
                                                            Material

     1             single account.
     2                      MR. CARTER:     Can you read back
     3             the question, Carrie?
     4                      (Court Reporter read back
     5             question.)
     6                      MR. CARTER:     Okay.    Let me
     7             amend that.
     8     QUESTIONS BY MR. CARTER:
     9             Q.       The bank did know that this
    10     joint account was held in the name of three
    11     individuals and not in the name of Al
    12     Haramain, correct?
    13             A.       That's what the letter says.
    14             Q.       And, again, should an account
    15     used for purposes of Al Haramain's activities
    16     have been opened in the name of individual
    17     people?
    18                      MR. CURRAN:     Objection.     Vague.
    19             Lack of foundation.
    20                      You may answer.
    21                      THE WITNESS:     I don't know what
    22             was -- what was the use of the account
    23             at the time it was opened.
    24                      All I can tell you is at this
    25             point in time, there's a request to



   Golkow Litigation Services                                        Page 197
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 199 of 397
                                                            Material

     1             move it into the name of the charity.
     2             I can't tell you the provenance of the
     3             account at the time of opening.
     4     QUESTIONS BY MR. CARTER:
     5             Q.       And you haven't seen any
     6     documents making inquiry into the provenance
     7     of the account in response to this request,
     8     have you?
     9             A.       I have not, no.
    10             Q.       Do you know whether this
    11     request or any of the other requests --
    12                      COURT REPORTER:      You're muted,
    13             Sean.    We can't hear you.       I don't
    14             know.
    15                      MR. CURRAN:     Actually, I can.
    16                      MR. CARTER:     Can you hear me
    17             now?
    18                      MR. CURRAN:     Yes.    Well, the
    19             witness -- we can hear you.
    20                      MR. JANJUA:     We can hear you
    21             too.
    22                      MR. CARTER:     Okay.    Who can't
    23             hear me?
    24                      MR. CURRAN:     That's a trick
    25             question.     I think Carrie can't.



   Golkow Litigation Services                                        Page 198
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 200 of 397
                                                            Material

     1                      COURT REPORTER:      Can we go off?
     2             For some reason I can't hear everyone?
     3                      MR. CARTER:     Yeah.
     4                      VIDEOGRAPHER:      Off the record.
     5             Our time is 6:48.
     6              (Off the record at 6:48 p.m.)
     7                      VIDEOGRAPHER:      Back on the
     8             record.    The time is 6:50.
     9     QUESTIONS BY MR. CARTER:
    10             Q.       Mr. Galloway, turning your
    11     attention back to this exhibit, just see if
    12     we can agree about a few things.
    13                      As of the date of this letter
    14     in November of 1999, there was a joint
    15     account in the name of three individuals:
    16     Mohamed Marzouk al Harithi, Faisal Fayez al
    17     Ahmadi, and Hussain Abdullah al Yami,
    18     correct?
    19             A.       That's what the letter says.
    20             Q.       Okay.    And the letter indicates
    21     that the account was used to receive
    22     donations throughout the Saudi Kingdom,
    23     correct?
    24             A.       The letter indicates that they
    25     would like to move it into an account name



   Golkow Litigation Services                                        Page 199
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 201 of 397
                                                            Material

     1     for the charity.       And it does say that
     2     they're deposited directly throughout The
     3     Kingdom, that is correct.
     4             Q.       Yeah.    And so as of the date of
     5     this letter, what it's saying is that the
     6     account in the name of these three
     7     individuals had, up to that point, been used
     8     to receive donations throughout The Kingdom,
     9     correct?
    10                      MR. CURRAN:     Object --
    11             objection, vague, as to "these three
    12             individuals."
    13                      You may answer.
    14                      THE WITNESS:     I have no idea at
    15             what point or when or if the deposits
    16             were made for charity, and I have no
    17             idea about the representations made at
    18             the time the account was opened.
    19     QUESTIONS BY MR. CARTER:
    20             Q.       Well, what does Al Rajhi Bank
    21     know?    Because someone at Al Rajhi Bank wrote
    22     this document and had information.
    23                      MR. CURRAN:     Objection as to
    24             form.    Lack of foundation as to when
    25             the documents were opened -- when the



   Golkow Litigation Services                                        Page 200
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 202 of 397
                                                            Material

     1             accounts were opened, and likely
     2             outside the time frame.
     3                      You may answer.
     4                      THE WITNESS:     Yeah, I don't
     5             have anything to add.        I think I've
     6             said this two or three times now.
     7     QUESTIONS BY MR. CARTER:
     8             Q.       Okay.    And with regard to this
     9     request, do you agree that the Al Rajhi Bank
    10     employee who authored the document, Hamad
    11     Mohamed al Harbi, makes a point of noting to
    12     the legal department that these clients are
    13     recognized for their charity work and
    14     commitment and that Al Haramain Islamic
    15     Foundation is a distinguished client to the
    16     company's branch number 161 in Riyadh?
    17             A.       That's what the letter says.
    18                      MR. CURRAN:     Objection to the
    19             form.
    20                      You may answer.
    21                      THE WITNESS:     Sorry, that's
    22             what the letter appears to say.
    23                      (Al Rajhi Bank 30(b)(6) Exhibit
    24             ARB 14 marked for identification.)
    25




   Golkow Litigation Services                                        Page 201
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 203 of 397
                                                            Material

     1     QUESTIONS BY MR. CARTER:
     2             Q.       And if we can mark as the next
     3     exhibit the document at Tab 19.
     4             A.       One moment, please.       We're just
     5     finding it.
     6                      Thank you.     I have it now.
     7                      I'll just read it.
     8                      Thank you.     I've read it.
     9             Q.       And am I correct that this is
    10     the legal department's response to Hamad
    11     Mohamed al Harbi's request that we just
    12     discussed?
    13             A.       It appears to come from the
    14     regional administration.         Western region,
    15     legal affairs section, is what it says.
    16             Q.       And it also concerns the
    17     request to transfer the joint account in the
    18     name of these three individuals to Al
    19     Haramain, correct?
    20                      MR. CURRAN:     Objection.     Vague.
    21                      You may answer.
    22                      THE WITNESS:     The subject
    23             header has the names of those
    24             individuals in there, and they -- and
    25             some subject matter about transferring



   Golkow Litigation Services                                        Page 202
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 204 of 397
                                                            Material

     1             to the name of the Al Haramain Islamic
     2             Foundation.      So I can agree with that.
     3     QUESTIONS BY MR. CARTER:
     4             Q.       Okay.    And the prior exhibit
     5     that we discussed was a letter from Hamad
     6     Mohamed al Harbi to the head of legal
     7     affairs, seeking an opinion concerning the
     8     request to transfer the joint account in the
     9     name of al Harithi, al Ahmadi and al Yami to
    10     Al Haramain Islamic Foundation's name,
    11     correct?
    12             A.       Yeah, that's correct.
    13             Q.       And this next document is a
    14     letter from the head of the legal affairs
    15     section to the director of the Al Arbaeen
    16     Street branch, who during this time was Hamad
    17     al Harbi, concerning that same subject,
    18     right?
    19             A.       Yeah, that appears to be true.
    20             Q.       Okay.    And does this appear to
    21     be the legal section's response to al Harbi's
    22     letter?
    23             A.       Yes, it does.
    24             Q.       And in this letter from the
    25     head of legal affairs section, Sulaiman bin



   Golkow Litigation Services                                        Page 203
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 205 of 397
                                                            Material

     1     Mohamed al Rishan, he describes the normal
     2     procedure for changing the account name from
     3     a personal account to a legal entities
     4     account, correct?
     5             A.       Yes.
     6             Q.       Okay.    And the normal procedure
     7     is that the individual account should be
     8     closed and a new account should be opened in
     9     the name of the entity, correct?
    10             A.       Yes, that's what it says.
    11             Q.       And in the second paragraph, he
    12     then says that if the clients insist on their
    13     request to transfer the existing account into
    14     the name of Al Haramain, and if refusing
    15     their request may disturb the relationship
    16     between the company and Al Haramain Islamic
    17     Foundation, you may report to the authorized
    18     person, the honorable deputy director general
    19     of the banking group, to obtain the approval
    20     for this change.
    21                      Correct?
    22             A.       Yeah, I think what this is
    23     saying is that there was a process to retain
    24     the account number and change the names, but
    25     it required a higher level signoff.            That's



   Golkow Litigation Services                                        Page 204
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 206 of 397
                                                            Material

     1     what it's saying.
     2             Q.       And then the head of the legal
     3     affairs section identifies three requirements
     4     in the event that the approval is granted,
     5     correct?
     6             A.       Yeah.    And these were
     7     requirements to protect the customer and
     8     protect the bank.
     9             Q.       Okay.    And does the head of the
    10     legal affairs section raise anywhere in this
    11     letter the need to conduct due diligence
    12     concerning the circumstances surrounding the
    13     original opening of these accounts and
    14     whether those were appropriate?
    15                      MR. CURRAN:     Objection as to
    16             form.    Lack of foundation.
    17                      You may answer.
    18                      THE WITNESS:     I can't see
    19             anything in the letter that indicates
    20             that directly.
    21                      (Al Rajhi Bank 30(b)(6) Exhibit
    22             ARB 15 marked for identification.)
    23     QUESTIONS BY MR. CARTER:
    24             Q.       And if we can mark as the next
    25     exhibit the document at Tab 20.



   Golkow Litigation Services                                        Page 205
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 207 of 397
                                                            Material

     1             A.       Apologies.     It's just loading.
     2     Just a moment.
     3             Q.       Okay.
     4             A.       I have it on the screen.         I'll
     5     just read it if you'll wait a moment, please.
     6                      Thank you.     I've had a chance
     7     to read the letter.
     8             Q.       The -- sorry.      You agree with
     9     me that this is a further letter from Hamad
    10     Mohamed al Harbi, the director of the Al
    11     Arbaeen Street branch, this time to the
    12     director general of the banking group
    13     concerning the same request to transfer the
    14     account from the names of al Ahmadi, al
    15     Harithi and al Yami to the Al Haramain
    16     Islamic Foundation?
    17             A.       Well, despite the redaction,
    18     the 7000 number matches, so I think that is
    19     true.
    20             Q.       Yeah.
    21                      And in the letter, Hamad
    22     Mohamed al Harbi again notes that Al Haramain
    23     is a distinguished client to the company at
    24     our Al Olaya branch, correct?
    25             A.       That is what it says.



   Golkow Litigation Services                                        Page 206
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 208 of 397
                                                            Material

     1                      (Al Rajhi Bank 30(b)(6) Exhibit
     2             ARB 16 marked for identification.)
     3     QUESTIONS BY MR. CARTER:
     4             Q.       And can we next mark the
     5     document at Tab 21?
     6             A.       Apologies.     We'll just load
     7     this.
     8                      Okay.    I have it on the screen.
     9     If you give me a moment, I'll read it.
    10             Q.       Sure.
    11             A.       Yeah, I've read it.       Thank you
    12     very much.
    13             Q.       Okay.    And am I correct that
    14     this appears to be a letter from Al Haramain
    15     Islamic Foundation indicating that the
    16     request to transfer the joint account in the
    17     name of al Harithi, al Yami, al Ahmadi, was
    18     ultimately approved?
    19             A.       Yeah, the redaction doesn't
    20     make that absolutely certain, does it?
    21                      Yeah.    From the redaction, I
    22     can't be positive.        The 7000 number is not
    23     there.
    24             Q.       So the redaction is interfering
    25     with your ability to understand the document?



   Golkow Litigation Services                                        Page 207
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 209 of 397
                                                            Material

     1             A.       No, I understand the flow of
     2     what you're suggesting, but I can't verify
     3     any particulars from the earlier document on
     4     the account number, is what I'm trying to
     5     tell you.
     6             Q.       Right.    Because it's redacted.
     7             A.       Correct.
     8                      (Al Rajhi Bank 30(b)(6) Exhibit
     9             ARB 17 marked for identification.)
    10     QUESTIONS BY MR. CARTER:
    11             Q.       And if we can mark next the
    12     document at Tab 66?
    13             A.       Thank you.     I'm sorry about the
    14     delay, but I have it now.
    15             Q.       It's okay.
    16             A.       Yeah, please go ahead.
    17             Q.       And am I correct that this is
    18     another request from Al Haramain, this time
    19     in August of 2001, to transfer an account
    20     from the name of an individual into Al
    21     Haramain's name?
    22             A.       That's what it appears to be
    23     asking for.
    24             Q.       And it includes a handwritten
    25     notation.     And based on the translation, I



   Golkow Litigation Services                                        Page 208
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 210 of 397
                                                            Material

     1     understand that the handwritten notation was
     2     included by the director of the Al Olaya
     3     Street general branch, Abdullah bin Mohamad
     4     Aba al Khail, correct?
     5             A.       From what you're showing me,
     6     that also appears to be correct, yes.
     7             Q.       Okay.    And he's seeking
     8     direction from the director of company's
     9     branches in the central region?
    10                      MR. CURRAN:     Objection as to
    11             form.    Lack of foundation.
    12                      You may answer.
    13                      THE WITNESS:     That appears to
    14             be so.
    15     QUESTIONS BY MR. CARTER:
    16             Q.       Do you know who that was in
    17     2001, the director of company's branches in
    18     the central region?
    19             A.       No.   Given the scope of what I
    20     prepared for, that was not part of my
    21     inquiry, so it's a level of detail that I
    22     didn't uncover, that I didn't ask for.
    23             Q.       And do you know who Abdullah
    24     bin Aba al Khail is?
    25                      MR. CURRAN:     Objection to form.



   Golkow Litigation Services                                        Page 209
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 211 of 397
                                                            Material

     1                      You may answer.
     2                      THE WITNESS:     Are you asking if
     3             I know him personally or --
     4     QUESTIONS BY MR. CARTER:
     5             Q.       Do you know who he is?
     6             A.       I can only --
     7             Q.       Is the name familiar to you?
     8             A.       I can only go on the title on
     9     the letter here.
    10             Q.       Yeah, I'm wondering whether or
    11     not he's someone who still works at the bank.
    12                      Do you know?
    13             A.       I have no knowledge of that.          I
    14     haven't met him.
    15             Q.       Okay.    And his notation
    16     indicates that the bank's client, Sheikh Aqil
    17     bin Abdel Aziz al Aqil, wants to transfer an
    18     account from his name into the name of Al
    19     Haramain, correct?
    20             A.       That appears to be correct
    21     based on the letter.        Then I would assume in
    22     order to do the same administrative tidying
    23     up as everybody else is trying to do here,
    24     which is to put them into charity accounts.
    25             Q.       The administrative tidying up,



   Golkow Litigation Services                                         Page 210
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 212 of 397
                                                            Material

     1     as you referred to it, based on these
     2     documents, would appear to be ongoing for
     3     several years, correct?
     4                      MR. CURRAN:     Objection as to
     5             form.    Lack of foundation.
     6                      You may answer.
     7                      THE WITNESS:     Yeah, based on
     8             the dates of this correspondence,
     9             that's true.
    10     QUESTIONS BY MR. CARTER:
    11             Q.       The correspondence that we've
    12     reviewed relating to the transfer of accounts
    13     from the names of individuals to the names of
    14     Al Haramain span at least September 1998
    15     through this correspondence in August
    16     of 2001, correct?
    17             A.       Yes.
    18             Q.       And they encompass multiple
    19     requests to transfer accounts from the name
    20     of individuals into Al Haramain, correct?
    21             A.       That appears to be correct.
    22             Q.       And again, do you know whether
    23     these requests prompted any know your
    24     customer concerns within Al Rajhi Bank?
    25                      MR. CURRAN:     Objection as to



   Golkow Litigation Services                                        Page 211
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 213 of 397
                                                            Material

     1             form.    Lack of foundation.
     2                      You may answer.
     3                      THE WITNESS:     I'm not aware if
     4             they did.
     5     QUESTIONS BY MR. CARTER:
     6             Q.       Do you know whether or not
     7     anyone raised any red flags based on any of
     8     these requests?
     9                      MR. CURRAN:     Objection as to
    10             form.
    11                      You may answer.
    12                      THE WITNESS:     I'm not aware if
    13             they did.
    14                      MR. CARTER:     Chris, I don't
    15             know what your preferred timing is.
    16             Did you want to stop for something to
    17             eat, or do you want to just keep
    18             pushing through?
    19                      MR. CURRAN:     Keep pushing
    20             through as long as the witness is
    21             comfortable, and we'll grab a quick
    22             bite on a ten-minute break.          But let's
    23             push on through.
    24                      MR. CARTER:     Okay.    That's
    25             fine.



   Golkow Litigation Services                                        Page 212
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 214 of 397
                                                            Material

     1                      MR. CURRAN:     We'll leave it to
     2             the witness to tell us if he needs a
     3             break.    And, Sean, if you at some
     4             point really need a break, just say
     5             so.
     6                      MR. CARTER:     Yeah, that's fine.
     7                      THE WITNESS:     If we can tick on
     8             for a little longer, Mr. Carter,
     9             that's fine with me.
    10                      MR. CARTER:     Okay.    Great.
    11     QUESTIONS BY MR. CARTER:
    12             Q.       I'd like to turn our attention
    13     a bit to issues relating to actions taken
    14     after 9/11 with regard to any of these
    15     accounts in the name of Al Haramain and IIRO.
    16             A.       Would that be correct to say
    17     that's 3F?
    18                      (Al Rajhi Bank 30(b)(6) Exhibit
    19             ARB 18 marked for identification.)
    20     QUESTIONS BY MR. CARTER:
    21             Q.       I believe that that's correct,
    22     but let me -- yes, and likely encompassing
    23     some of the other topics in this section.
    24                      And if we can mark as the next
    25     exhibit the document at Tab 76 -- and,



   Golkow Litigation Services                                        Page 213
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 215 of 397
                                                            Material

     1     Carrie, if you don't mind, can you tell me
     2     what exhibit number we're at?
     3                      GINA VELDMAN:      We are on 18.
     4                      MR. CARTER:     Great.
     5                      THE WITNESS:     Just a moment,
     6             please.    Apologies.     We're just having
     7             a little trouble getting it to load.
     8                      Okay.    I have it on the screen.
     9             If you give me a moment, I'll read it.
    10             Thank you.     I'm reading the second
    11             page now.
    12                      Thank you, Mr. Carter.        Go
    13             ahead.
    14     QUESTIONS BY MR. CARTER:
    15             Q.       Sure.
    16                      Mr. Galloway, have you reviewed
    17     these documents in preparation for your
    18     deposition today?
    19             A.       I'm aware of this issue.         I
    20     can't recall reading this specific document,
    21     but I'm aware of it.
    22             Q.       Okay.    And if I'm correct, the
    23     document that was produced at 14382 and the
    24     document at 14384, so the first and third
    25     pages of this exhibit, appear to include



   Golkow Litigation Services                                        Page 214
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 216 of 397
                                                            Material

     1     similar text?
     2             A.       Could you explain what you mean
     3     by that?
     4             Q.       Okay.    The document at 14382
     5     appears to be an e-mail version of the
     6     document apparently sent by fax at 14384.
     7             A.       I see what you're saying.
     8                      MR. CURRAN:     They're different
     9             recipients, huh?       Or different
    10             addresses.
    11                      MR. CARTER:     Okay.    Well, let's
    12             ask that.     Let me -- let me go back.
    13     QUESTIONS BY MR. CARTER:
    14             Q.       The page at 14382 includes an
    15     e-mail field, correct?
    16             A.       14382, you're meaning that
    17     there are e-mail addresses in the top header?
    18     Is that what you're referring to?
    19             Q.       Yeah.
    20                      MR. CURRAN:     It's on the
    21             screen.
    22                      THE WITNESS:     Got it.     Thank
    23             you, yeah.     Got it.
    24                      Excuse me.     Yes, there appears
    25             to be e-mail addresses in the header.



   Golkow Litigation Services                                        Page 215
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 217 of 397
                                                            Material

     1     QUESTIONS BY MR. CARTER:
     2             Q.       And it indicates that it was
     3     sent on March 7, 2002, correct?
     4             A.       Gregorian dates, correct.
     5             Q.       Yeah.    And the subject is
     6     Banks' SSC.
     7                      Do you know what that refers
     8     to?
     9             A.       I believe it would be referring
    10     to SAMA's bank self supervisory committee
    11     that was created after the events of 9/11 for
    12     the banks to work together through action
    13     requests from SAMA related to that matter.
    14             Q.       And did Al Rajhi Bank have a
    15     representative on the self supervisory
    16     committee at this time?
    17             A.       Yes, they did.
    18             Q.       Do you know who that was?
    19             A.       Yes.    It was the head of legal
    20     affairs at the time.        And --
    21             Q.       And do you see that person
    22     identified in the e-mail addressee field?
    23             A.       This is -- I don't -- do not
    24     see his address there, unless you can point
    25     it out to me.



   Golkow Litigation Services                                        Page 216
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 218 of 397
                                                            Material

     1             Q.       Okay.    No, but this document
     2     was produced by Al Rajhi Bank, so at some
     3     point it obviously came into Al Rajhi Bank's
     4     control, correct?
     5             A.       Yes.    If it's in Al Rajhi's
     6     files, that seems reasonable.
     7             Q.       And the content of the document
     8     communicates that "Further to our previous
     9     fax letter dated 6 March 2002 on the above
    10     subject containing three names received from
    11     SAMA, we have received instructions from SAMA
    12     that in addition to the account freeze, any
    13     financial transactions and transfers to or
    14     from the listed names should be immediately
    15     blocked and reported to SAMA."
    16                      Do you see that?
    17                      MR. CURRAN:     I think the
    18             highlighting might be in the wrong
    19             place.
    20                      MR. CARTER:     Yeah.    It's under
    21             the Urgent and Confidential section.
    22                      THE WITNESS:     Yeah, I see where
    23             that's written.
    24     QUESTIONS BY MR. CARTER:
    25             Q.       And the next page of this



   Golkow Litigation Services                                        Page 217
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 219 of 397
                                                            Material

     1     document identifies three entities:
     2     International Islamic Relief Organization's
     3     branch in Albania, Al Haramain Islamic
     4     Foundation's branch in Bosnia, and Al
     5     Haramain Islamic Foundation's branch in
     6     Somalia.
     7                      Do you see that?
     8             A.       Yes, I do.
     9             Q.       Do you know whether those are
    10     the three entities that are being referenced
    11     in the prior page?
    12             A.       I'm not sure I understand your
    13     question.
    14             Q.       The first page of the document
    15     refers to three names received from SAMA, and
    16     the second page identifies three entities.
    17                      Do you understand those to be
    18     the three names that the first page of the
    19     document is referencing?
    20                      MS. BEMBRY:     Objection to form.
    21                      THE WITNESS:     If they are two
    22             pages from the same document, that's
    23             probably a reasonable conclusion.
    24                      MS. KHATIB:     Sean, I'd also
    25             like to object on the name for the



   Golkow Litigation Services                                        Page 218
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 220 of 397
                                                            Material

     1             organization.      In the Arabic document
     2             on page 8, they use a different name
     3             for IIRO.     It's not using the same --
     4             the same term for what IIRO uses in
     5             its Arabic name.       So I just wanted to
     6             note that.
     7                      MR. CARTER:     I don't know who's
     8             speaking.
     9                      MS. KHATIB:     Sumayya.     Sorry.
    10             Sumayya Khatib on behalf of IIRO.
    11                      MR. CARTER:     Okay.
    12     QUESTIONS BY MR. CARTER:
    13             Q.       Okay.    Turning to the next two
    14     pages of this document --
    15                      MR. CURRAN:     Sean, I'm going to
    16             insert an objection here.         You're
    17             referring to this as a document, when
    18             I think it's apparent that it's not a
    19             single document, and the pages might
    20             be out of order and so forth.
    21                      So I'll just lodge an objection
    22             to the characterization of this as a
    23             single document.
    24                      MS. BEMBRY:     Join in this
    25             objection.



   Golkow Litigation Services                                        Page 219
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 221 of 397
                                                            Material

     1                      MR. CARTER:     Part of this is
     2             what we're trying to ascertain.
     3     QUESTIONS BY MR. CARTER:
     4             Q.       Let's turn to the -- let's turn
     5     to the document produced at 14384, which is
     6     the third page.
     7                      And, Mr. Galloway, do you agree
     8     that this appears to be a document that was
     9     sent by fax?
    10                      MS. BEMBRY:     Objection to form.
    11                      THE WITNESS:     I can see there
    12             are fax numbers on it.        I can see some
    13             printing on the top of it.         I don't
    14             have any definitive way to determine
    15             that that was a fax.
    16     QUESTIONS BY MR. CARTER:
    17             Q.       Okay.    And the addressee field
    18     of the document identifies a number of
    19     individuals, and that includes their fax
    20     numbers?
    21             A.       That is correct.
    22             Q.       Okay.    And it does include a
    23     representative of Al Rajhi Bank, correct?
    24                      MR. CURRAN:     Not there.     Thank
    25             you.



   Golkow Litigation Services                                        Page 220
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 222 of 397
                                                            Material

     1                      THE WITNESS:     Yeah, Saleh
     2             Al-Jarbou.     Correct?
     3     QUESTIONS BY MR. CARTER:
     4             Q.       And during this time period,
     5     was Saleh M. Al-Jarbou the Al Rajhi Bank
     6     representative to the bank's self supervisory
     7     committee?
     8             A.       That's correct.      And he was
     9     there because SAMA wanted cross-business as
    10     well as cross-functional representation.             So
    11     I believe they had two legal people from the
    12     bank.    They had a couple of people from
    13     operations, a couple from marketing, et
    14     cetera.
    15                      So he was there in that
    16     capacity as Al Rajhi Bank's representative,
    17     and they asked for Al Rajhi Bank to provide a
    18     legal representative.        That's the basis of
    19     his appointment.
    20             Q.       Okay.    And the -- what looks
    21     like the -- a fax transmission detail at the
    22     top of this page reflects a Gregorian date of
    23     7 March 2002 at 11:39, correct?
    24             A.       That's what it says.
    25             Q.       Okay.    And turning to the prior



   Golkow Litigation Services                                        Page 221
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 223 of 397
                                                            Material

     1     page of this exhibit, ARB 14383.
     2             A.       Yeah, I'm not 100 percent sure
     3     that that is the prior page of the same
     4     document.
     5             Q.       No, no, no, it's the prior page
     6     of the exhibit as we've marked it.            And we'll
     7     get to the issue you're addressing.
     8                      So the page at 14383 also
     9     includes what appears to be a fax detail,
    10     correct?
    11             A.       To the extent to which the
    12     first one was a fax detail, they look
    13     similar.
    14             Q.       Okay.    And like the page at
    15     14384, it indicates a date of 7 March 2002 at
    16     11:39, correct?
    17             A.       That's what the stamp says.
    18             Q.       And do you know whether the
    19     three entities referenced in the text of the
    20     document at 14384 are the three entities
    21     identified on 14383?
    22                      MS. BEMBRY:     Objection to form.
    23                      THE WITNESS:     To the extent to
    24             which you might say the two documents
    25             are connected and part of the same,



   Golkow Litigation Services                                        Page 222
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 224 of 397
                                                            Material

     1             there's the first page references
     2             three organizations, the second page
     3             has three lists, but I can't be sure
     4             they're the same document other than
     5             the stamps.
     6     QUESTIONS BY MR. CARTER:
     7             Q.       Okay.    One of the issues that
     8     we're here to discuss today and that you're
     9     here to testify about is the bank's knowledge
    10     concerning any instructions that were
    11     received from SAMA with regard to accounts
    12     for Al Haramain and IIRO branch offices, and
    13     that's at 3(g).
    14                      Do you see that topic?
    15             A.       Yes, I do.
    16             Q.       And based on your preparation
    17     to testify as to that topic, do you know
    18     whether Al Rajhi Bank received instructions
    19     in March of 2002 pertaining to the
    20     International Islamic Relief Organization's
    21     branch in Albania, Al Haramain Islamic
    22     Foundation's branch in Bosnia, and Al
    23     Haramain Islamic Foundation's branch in
    24     Somalia?
    25                      MS. BEMBRY:     Note my objection



   Golkow Litigation Services                                        Page 223
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 225 of 397
                                                            Material

     1             to -- the reference to the
     2             International Islamic Relief
     3             Organization branch in Albania, based
     4             on the notation made by my colleague
     5             and in the translation of that
     6             document.
     7                      Also object to lack of
     8             foundation.
     9                      MR. CARTER:     Yeah, you can just
    10             state your objection, because the
    11             document we're talking about is an
    12             English document.
    13                      MS. BEMBRY:     And it's based on
    14             an Arabic doc -- the translation of an
    15             Arabic document.
    16                      Is that the case or no?
    17                      MR. CARTER:     It's not our
    18             translation.      It's a document produced
    19             in English by Al Rajhi Bank.
    20                      MS. BEMBRY:     I'll note my
    21             objection.     Objection to the form and
    22             objection noted as to translation.
    23                      MR. CARTER:     Okay.    And again,
    24             just clarifying that this is a
    25             document produced to us in English.



   Golkow Litigation Services                                        Page 224
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 226 of 397
                                                            Material

     1                      And so my question remains, if
     2             Carrie could read -- reread it.
     3                      (Court Reporter read back
     4             question.)
     5                      MS. BEMBRY:     Same objections.
     6                      MR. CURRAN:     You may answer.
     7                      THE WITNESS:     It's my belief we
     8             did receive instruction.
     9                      MR. CARTER:     I'm sorry, Carrie,
    10             can you read that back?
    11                      (Court Reporter read back
    12             answer.)
    13     QUESTIONS BY MR. CARTER:
    14             Q.       It's your understanding that
    15     you did receive instruction regarding the
    16     three entities identified on the page
    17     produced at 14383; is that correct?
    18                      MS. BEMBRY:     Objection to form.
    19                      MR. CURRAN:     The witness may
    20             answer.
    21                      THE WITNESS:     That's correct.
    22                      I'd also note that Al Rajhi
    23             Bank only had accounts with the local
    24             KSA entities about Al Haramain and
    25             IIRO.    And someone did not instruct



   Golkow Litigation Services                                        Page 225
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 227 of 397
                                                            Material

     1             ARB to block IIRO KSA or Al Haramain
     2             KSA -- sorry, I said KSA.         Sorry.
     3             Again, not to block the IIRO KSA or
     4             the Al Haramain KSA entity accounts.
     5                      So there was no instruction to
     6             block the accounts that Al Rajhi had
     7             with those entities.
     8     QUESTIONS BY MR. CARTER:
     9             Q.       And have you seen any documents
    10     reflecting actions undertaken by Al Rajhi in
    11     response to this directive?
    12                      MR. CURRAN:     Objection as to
    13             form.    Lack of foundation.
    14                      You may answer.
    15                      THE WITNESS:     Al Rajhi Bank had
    16             no accounts with those entities.
    17     QUESTIONS BY MR. CARTER:
    18             Q.       What steps do you understand
    19     the bank took to verify that it didn't have
    20     any accounts for those entities?
    21             A.       I don't have that in front of
    22     me, but I know that all of the SAMA self
    23     supervisory committee instructions as
    24     received were all actioned promptly and
    25     diligently, and that I also know that we, as



   Golkow Litigation Services                                        Page 226
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 228 of 397
                                                            Material

     1     a bank, maintained we had no relationship
     2     with those entities outside The Kingdom.
     3             Q.       And one of the entities that is
     4     on this list is Al Haramain Bosnia, correct?
     5             A.       That appears to be true.
     6             Q.       Okay.    And do you recall
     7     earlier that we discussed a document listing
     8     various Al Haramain accounts that was
     9     produced at ARB 38116 that included an
    10     account for the Europe committee?
    11             A.       Would you show me the document
    12     again, please?
    13             Q.       Sure.
    14                      MR. CARTER:     Scott, do you
    15             know -- it was the document at Tab 73,
    16             and I don't have the exhibit number.
    17             Give us one second.
    18                      GINA VELDMAN:      It's Exhibit 5.
    19     QUESTIONS BY MR. CARTER:
    20             Q.       Okay.    Exhibit 5.
    21             A.       Perhaps, Mr. Carter, while
    22     you're just getting that on the screen, I
    23     would note that --
    24                      MR. CURRAN:     Well,
    25             the document -- I forget if there's a



   Golkow Litigation Services                                        Page 227
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 229 of 397
                                                            Material

     1             question pending.
     2                      MR. CARTER:      We were just
     3             asking to get the -- whether he
     4             recalls discussing the document that
     5             was marked as Exhibit 5.
     6                      THE WITNESS:      Yeah.   And you
     7             had a particular point on that
     8             document you wanted to show me, right?
     9     QUESTIONS BY MR. CARTER:
    10             Q.       Yeah.    So --
    11             A.       Exhibit 5?
    12             Q.       That document indicates that Al
    13     Rajhi Bank had an account for an Al Haramain
    14     Europe committee, and that's under Section 5.
    15     And across from that, there's an indication
    16     that that account concerned Bosnia.
    17             A.       Yeah, I would note at the same
    18     time also that Abdullah al Rajhi directed the
    19     Ministry of Islamic Affairs to ask if the
    20     bank should be taking any action on our Al
    21     Haramain accounts.
    22                      And the Ministry of Islamic
    23     Affairs said that all of them were authorized
    24     in KSA to operate.        All the KSA accounts were
    25     authorized to operate.



   Golkow Litigation Services                                        Page 228
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 230 of 397
                                                            Material

     1             Q.       What is the date of that letter
     2     that you're referring to?
     3             A.       This is 2004.
     4             Q.       Okay.    Well, we're talking
     5     about the 2002 period and what Al Rajhi Bank
     6     did in response to the instruction that you
     7     understand it had received in 2002 that
     8     concerned, among others, Al Haramain's branch
     9     in Bosnia.
    10                      So with regard to this 2002
    11     request, do you agree with me that your
    12     understanding is that it concerned Al
    13     Haramain Islamic Foundation's branch in
    14     Bosnia, correct?
    15             A.       That appears to be the case.
    16             Q.       And the document that we
    17     previously marked as Exhibit 5 indicates that
    18     Al Rajhi Bank had an account for Al
    19     Haramain's Europe committee that included in
    20     its description Bosnia, correct?
    21             A.       That's what it says on the
    22     document.
    23             Q.       And so what steps did Al Rajhi
    24     Bank take in 2002 to ascertain whether any of
    25     the Al Haramain accounts it was maintaining



   Golkow Litigation Services                                        Page 229
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 231 of 397
                                                            Material

     1     were being operated for the benefit of the Al
     2     Haramain Bosnia branch?
     3             A.       I don't have the specific
     4     answer to that.
     5             Q.       Okay.    We reviewed earlier the
     6     names of the 95 accounts reflected in the
     7     account statements that we've received, and
     8     many of them designate the count merely as Al
     9     Haramain Islamic Foundation.
    10                      What did Al Rajhi Bank do in
    11     2002 to determine whether any of those
    12     accounts were operated for the benefit of the
    13     Bosnia branch of Al Haramain?
    14             A.       I do know that after SAMA
    15     guidance was received generally in relation
    16     to the bank's self supervisory committee,
    17     that the general manager instructed all of
    18     management to follow SAMA's instructions and
    19     to use regular audits to ensure we were
    20     compliant.
    21             Q.       Okay.    But what steps are you
    22     aware of, sitting here today, that Al Rajhi
    23     Bank took in this 2002 time period to
    24     determine whether any of its accounts for Al
    25     Haramain were being operated for the benefit



   Golkow Litigation Services                                        Page 230
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 232 of 397
                                                            Material

     1     of Al Haramain Islamic Foundation's branch in
     2     Bosnia?
     3                      MR. CURRAN:     Objection as to
     4             form.    Lack of foundation.
     5                      You may answer.
     6                      THE WITNESS:     I don't have any
     7             specific information to answer that.
     8     QUESTIONS BY MR. CARTER:
     9             Q.       And what steps are you aware
    10     of, sitting here today, based on your
    11     preparation for the deposition, that Al Rajhi
    12     Bank took in 2002 in response to this
    13     directive to determine whether any of its
    14     accounts on behalf of Al Haramain Islamic
    15     Foundation were being operated for the
    16     benefit of Al Haramain's branch in Somalia?
    17             A.       I would just say as I did
    18     earlier, that there was a process in place to
    19     follow up on all SAMA's directives and to
    20     ensure that we were auditing for same.
    21                      With respect to these
    22     particular activities, I don't have anything
    23     at hand to answer that question.
    24             Q.       And what information, if any,
    25     do you have concerning steps that were taken



   Golkow Litigation Services                                        Page 231
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 233 of 397
                                                            Material

     1     in response to this directive to ascertain
     2     whether any of the IIRO accounts maintained
     3     at Al Rajhi Bank were being operated for the
     4     benefit of the entity identified on the
     5     Document 14385 as International Islamic
     6     Relief Organization's branch in Albania?
     7                      MS. BEMBRY:     Objection to form
     8             and to the identification of that
     9             branch.
    10                      MR. CURRAN:     Objection as to
    11             form and lack of foundation.
    12                      You may answer.
    13                      THE WITNESS:     I'd offer my same
    14             answer I gave to the earlier question,
    15             that we had a diligent and applied
    16             process to action in a timely manner,
    17             and it was followed up by internal --
    18             internal auditors as an assurance
    19             function.
    20     QUESTIONS BY MR. CARTER:
    21             Q.       But, again, what steps, if any,
    22     are you aware of that were undertaken to
    23     determine whether any of the Al Rajhi bank
    24     accounts in the name of the IIRO were being
    25     operated for the benefit of the International



   Golkow Litigation Services                                        Page 232
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 234 of 397
                                                            Material

     1     Islamic Relief Organization's branch in
     2     Albania as identified in 14385?
     3                      MS. BEMBRY:     Same objections.
     4                      MR. CURRAN:     Same objections,
     5             and asked and answered.
     6                      But you may answer.
     7                      THE WITNESS:     I don't have any
     8             specific information to answer that.
     9                      (Al Rajhi Bank 30(b)(6) Exhibit
    10             ARB 19 marked for identification.)
    11     QUESTIONS BY MR. CARTER:
    12             Q.       If we can mark as the next
    13     exhibit the document at Tab 77.
    14             A.       Apologies for the delay.         We're
    15     just loading it.
    16                      MR. CURRAN:     This is a
    17             multipage document?
    18                      MR. CARTER:     It's a multipage
    19             document, and we'll ask him whether or
    20             not it was part of the same issue.
    21                      MR. CURRAN:     Okay.    Just took a
    22             long time for it to load, but he has
    23             it.
    24                      THE WITNESS:     I have it.
    25                      MR. CARTER:     Yeah, there's -- I



   Golkow Litigation Services                                        Page 233
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 235 of 397
                                                            Material

     1             think the Arabic documents slow it
     2             down.
     3                      THE WITNESS:     If you would give
     4             me a moment, I'll read it.
     5                      Okay.    I've read it.      Thank
     6             you.
     7     QUESTIONS BY MR. CARTER:
     8             Q.       And, Mr. Galloway, the first
     9     page of this document appears to be a
    10     correspondence from the Saudi Arabian
    11     monetary authority to representatives of the
    12     self supervisory committee, correct?
    13             A.       Sorry, Mr. Carter, we're on
    14     number -- on your sheet at the moment?             Item
    15     number what?
    16             Q.       It's -- 17377 is the Bates
    17     number.
    18             A.       No, I apologize.       I'm meaning
    19     in relation to your discussion guide for
    20     today.
    21             Q.       Oh.
    22                      MR. CURRAN:     It might be 4(a),
    23             but Mr. Carter --
    24                      MR. CARTER:     I think it's --
    25             well, I think it's going to be



   Golkow Litigation Services                                        Page 234
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 236 of 397
                                                            Material

     1             encompassed by 3(f).        Probably 4(a).
     2                      THE WITNESS:     Yeah, fine.
     3             Thank you.     Please go ahead.
     4     QUESTIONS BY MR. CARTER:
     5             Q.       Okay.    The first page of this
     6     exhibit appears to be a communication from
     7     the Saudi Arabian Monetary Authority to
     8     representatives of the self supervisory
     9     committee, correct?
    10             A.       I would agree with that.
    11             Q.       And you understand that this
    12     was a document that was received by Al Rajhi
    13     Bank from the Saudi Arabian Monetary
    14     Authority in 2004?
    15             A.       Yeah, July 19, and I can see
    16     the Al Rajhi reference number on the bottom
    17     of the page.
    18             Q.       Okay.    And it refers to a
    19     number 100 of the tasks implemented by the
    20     Saudi Arabian Monetary Authority?
    21             A.       Yes, I can see --
    22             Q.       In the first paragraph?
    23             A.       I can see that.      Thank you.
    24             Q.       Are you familiar with that
    25     terminology, "tasks implemented by the Saudi



   Golkow Litigation Services                                        Page 235
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 237 of 397
                                                            Material

     1     Arabian Monetary Authority"?
     2             A.       I'm familiar SAMA was issuing a
     3     variety of lists over a period of time that
     4     asked the banks to do certain things.
     5             Q.       Okay.    So the tasks are
     6     directives from SAMA to the banks?
     7             A.       That's as I understand it, or
     8     they could be inquiries.
     9             Q.       And the next page of the
    10     exhibit, 17378 Bates number --
    11             A.       Yes.
    12             Q.       -- again bears the heading of
    13     SAMA, and there's a header below that
    14     indicating that it concerns task number 100
    15     required to be implemented by SAMA, correct?
    16             A.       Sorry, Mr. Carter.       I'm
    17     struggling a little bit because the video is
    18     over the top of the document.
    19                      So task 100, I've got you now.
    20     Thank you very much.        I've read it.
    21             Q.       So you agree that the prior
    22     page referred to SAMA's task number 100, and
    23     this page also refers to task number 100?
    24             A.       They appear to be connected,
    25     yes.



   Golkow Litigation Services                                        Page 236
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 238 of 397
                                                            Material

     1             Q.       Okay.    And the second page, at
     2     17378, indicates that it includes a list with
     3     14 names, correct?
     4             A.       On a separate page.       14?    I can
     5     get 7 --
     6             Q.       Well, just under the box, it
     7     says, "A list with 14 names is enclosed."
     8                      Correct?
     9             A.       It says that, and I can see 14
    10     names in the document you sent.
    11             Q.       And just to follow up on what
    12     you just said, then the pages at 17379 and
    13     17380 include 14 names, correct?
    14             A.       That is correct.
    15             Q.       And do you agree that this
    16     collection of documents concerns an
    17     instruction from SAMA concerning those 14
    18     names?
    19             A.       It's a collection of 14 names.
    20     I can agree that.
    21             Q.       And going back to 17378.
    22             A.       One moment, please.
    23             Q.       The particular action SAMA is
    24     requesting with regard to those is disclosing
    25     and seizing accounts and remittances,



   Golkow Litigation Services                                        Page 237
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 239 of 397
                                                            Material

     1     correct?
     2             A.       That's what it says.
     3             Q.       And do you therefore understand
     4     SAMA to have been directing Al Rajhi Bank and
     5     others to take action to disclose and seize
     6     accounts and remittances associated with the
     7     14 names included in this exhibit?
     8             A.       It appears to indicate that.
     9             Q.       And then turning to the third
    10     page at 17379.
    11             A.       One moment, please.       Yeah.
    12             Q.       There are handwritten
    13     notations, numbers, next to several of the
    14     entities.
    15                      Do you see those?
    16             A.       I can see faded numbers next to
    17     them.    I don't know if they relate to the
    18     entries themselves or not.
    19             Q.       Do you know what they concern
    20     at all?
    21             A.       I have no idea.
    22             Q.       Let's turn to the last page of
    23     the exhibit.
    24                      And entities 8 through 12 on
    25     that list are all branches of Al Haramain,



   Golkow Litigation Services                                        Page 238
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 240 of 397
                                                            Material

     1     correct?
     2             A.       That's what it says.
     3             Q.       And next to each of those,
     4     there's a handwritten notation with numbers
     5     next to it.
     6                      Do you see those?
     7                      MR. CURRAN:     Objection as to
     8             form.
     9                      Isn't number 10 missing a
    10             number?
    11                      Anyway, you may answer.
    12     QUESTIONS BY MR. CARTER:
    13             Q.       Sorry.    Yeah.    I'm sorry, it's
    14     a -- faded.
    15                      Next to numbers 8, 9, 11 and
    16     12, there are handwritten notations of
    17     numbers, correct?
    18             A.       Well, there are handwritten --
    19     appear to be handwritten notations in the
    20     margin.      I don't know if they relate to the
    21     entries on the left side of the page.
    22             Q.       Do you have any idea what those
    23     handwritten entries indicate?
    24             A.       No, I'm afraid I do not.
    25             Q.       Do you know whether they have



   Golkow Litigation Services                                        Page 239
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 241 of 397
                                                            Material

     1     anything to do with any diligence conducted
     2     by Al Rajhi Bank concerning those entities?
     3             A.       I've seen nothing to indicate
     4     that.
     5             Q.       Do you know whether or not
     6     those were included on the document by
     7     someone at Al Rajhi Bank?
     8             A.       I can't comment on that.         I
     9     don't know.
    10             Q.       Did you, as part of your
    11     preparations, make any inquiry at Al Rajhi
    12     Bank to try to determine what those
    13     handwritten notations may concern?
    14                      MR. CURRAN:     Objection as to
    15             form.
    16                      You may answer.
    17                      THE WITNESS:     I am prepared to
    18             respond to the 45 questions and
    19             subsections you had, Mr. Carter.           I
    20             haven't prepared myself to respond to
    21             notes that may or may not relate in
    22             the margin to a document amongst all
    23             the thousands that I reviewed.
    24     QUESTIONS BY MR. CARTER:
    25             Q.       Well, we understand this



   Golkow Litigation Services                                        Page 240
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 242 of 397
                                                            Material

     1     document to have been produced in response to
     2     discovery requests concerning instructions
     3     that Al Rajhi Bank received relating to Al
     4     Haramain -- or Aqeel Al-Aqil and -- in
     5     relation to the actions Al Rajhi Bank took in
     6     response to such notifications.
     7                      And I'm just trying to find out
     8     whether or not the handwritten notations are
     9     in some way relevant to Al Rajhi Bank's
    10     response to SAMA's instruction with regard to
    11     these entities.
    12                      MR. CURRAN:     Objection as to
    13             form.    The deposition notice could
    14             have specified this particular
    15             document in that inquiry and did not.
    16                      You may answer.
    17                      THE WITNESS:     What I know from
    18             my inquiries is Al Rajhi Bank didn't
    19             have any accounts with any of these Al
    20             Haramain entities, and that the KSA
    21             entity accounts of Al Haramain were
    22             not required to be blocked by SAMA.            I
    23             know that seems to be true.
    24     QUESTIONS BY MR. CARTER:
    25             Q.       And related to the discussion



   Golkow Litigation Services                                         Page 241
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 243 of 397
                                                            Material

     1     we had earlier, as you sit here today, did
     2     you conduct an inquiry to determine what due
     3     diligence Al Rajhi Bank undertook in response
     4     to this instruction to determine whether any
     5     of its Al Haramain accounts were being
     6     operated for the benefit of the Al Haramain
     7     Netherlands branch?
     8             A.       As I responded earlier, we have
     9     no entity accounts outside of KSA.
    10             Q.       Well, I'm asking whether or not
    11     Al Rajhi Bank took steps to test that
    12     principle by conducting an inquiry to
    13     determine whether or not any of the accounts
    14     it had were being operated for the benefit of
    15     Al Haramain Netherlands branch.
    16             A.       Well, what I can say,
    17     Mr. Carter, is we took all of the SAMA
    18     instructions, and then as he says, this is
    19     list 100.     Those were all being actioned
    20     diligently.      And to the best of my knowledge,
    21     Al Rajhi Bank did that and, as a result of
    22     doing that, also was auditing the same.
    23                      So the KSA accounts, to the
    24     best of my knowledge, were not required by
    25     SAMA to be blocked.        And to the best of our



   Golkow Litigation Services                                        Page 242
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 244 of 397
                                                            Material

     1     knowledge, we did not have any KSA -- any
     2     accounts outside of KSA.
     3             Q.       So as long as the account was
     4     opened in The Kingdom of Saudi Arabia, Al
     5     Rajhi's view was that it was not required to
     6     take any further action; is that correct?
     7             A.       That's not what I've said.
     8                      MR. CURRAN:     Objection as to
     9             form.
    10                      You may answer.
    11                      THE WITNESS:     That's not what
    12             I've said.     I said we know where the
    13             account's allocated, and we actioned
    14             all of the SAMA instructions, and we
    15             ordered the same.       I don't have any
    16             particular detail on the inquiry
    17             making with respect to one specific
    18             account or one specific action in the
    19             many hundreds that the bank took.
    20     QUESTIONS BY MR. CARTER:
    21             Q.       And we've discussed this
    22     already, but just to revisit the issue of it.
    23                      You've acknowledged that there
    24     were 95 accounts during the relevant time
    25     period at Al Rajhi Bank for Al Haramain,



   Golkow Litigation Services                                        Page 243
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 245 of 397
                                                            Material

     1     correct?
     2             A.       Yeah, that's what I said
     3     earlier.
     4             Q.       And some of those accounts are
     5     identified generically as pertaining just to
     6     Al Haramain, correct?
     7             A.       That is what was on the sheet
     8     you showed me.       I don't know if there are any
     9     further identifications in the rest of the
    10     files.
    11             Q.       And again, for purposes of
    12     today's testimony, do you have any
    13     information concerning any inquiry conducted
    14     by Al Rajhi Bank to determine whether any of
    15     those 95 accounts were being operated for the
    16     benefit of the Al Haramain Netherlands
    17     branch?
    18             A.       All I can say, Mr. Carter, is
    19     that we actioned diligently all requests from
    20     SAMA, and we ordered it for the application
    21     of the same thing.
    22             Q.       Right.
    23                      And I'm trying to understand
    24     what actions you took in response.
    25             A.       Yeah.



   Golkow Litigation Services                                        Page 244
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 246 of 397
                                                            Material

     1             Q.       Other than the generalized
     2     representation that you respond diligently.
     3             A.       Yeah, with respect to that
     4     specific action, I can't make a comment
     5     because I don't know the answer.
     6             Q.       Okay.    And is that also true as
     7     to the next entry, the Ethiopia branch of Al
     8     Haramain?
     9             A.       Well, Mr. Carter, we received
    10     the instructions, and Abdullah al Rajhi wrote
    11     to the Ministry of Islamic Affairs to ask if
    12     the bank should be taking any action on the
    13     Al Haramain accounts.
    14                      And that was 39945, is the
    15     Bates number.
    16             Q.       And so the action you're
    17     referring to is a letter from Abdullah al
    18     Rajhi to the Ministry of Islamic Affairs?
    19             A.       That's correct.
    20             Q.       And Al Rajhi was aware at that
    21     time that the Ministry of Islamic Affairs had
    22     a role in Al Haramain itself?
    23                      MR. CURRAN:     Objection as to
    24             form.
    25                      THE WITNESS:     No, it was -- it



   Golkow Litigation Services                                        Page 245
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 247 of 397
                                                            Material

     1             was the licensing authority for
     2             charities.
     3     QUESTIONS BY MR. CARTER:
     4             Q.       Well, I think we agreed earlier
     5     that Al Rajhi Bank had information in its
     6     possession that Al Rajhi Bank was
     7     operating -- or Al Haramain was operating
     8     under the supervision of the Deputy Minister
     9     of Islamic Affairs, correct?
    10             A.       Yes, that's correct.
    11             Q.       So based on that, Al Rajhi Bank
    12     had an understanding that in the period
    13     before 9/11 and before 2004, the Ministry of
    14     Islamic Affairs was involved in the
    15     supervision of Al Haramain, correct?
    16             A.       That's my understanding.
    17             Q.       And so Abdullah al Rajhi wrote
    18     to the entity that had been responsible for
    19     supervising Al Haramain to ask whether action
    20     should be taken as to Al Haramain?
    21                      MR. CURRAN:     Objection as to
    22             form.    Lack of foundation.
    23                      You may answer.
    24                      THE WITNESS:     Yeah, this is
    25             what we covered earlier, that clearly



   Golkow Litigation Services                                        Page 246
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 248 of 397
                                                            Material

     1             there were two roles.        And I assume
     2             that a minister -- minister of the
     3             Ministry of Islamic Affairs was able
     4             to separate those responsibilities.
     5     QUESTIONS BY MR. CARTER:
     6             Q.       And again, aside from asking
     7     about that, are you aware of any actions
     8     undertaken by Al Rajhi Bank to determine
     9     whether any of the Al Haramain entities --
    10     whether any of the Al Haramain accounts at
    11     the bank were being operated for the benefit
    12     of any of the Al Haramain entities on this
    13     list?
    14             A.       What I know is that the Al
    15     Haramain Saudi entities were local entities
    16     and that we didn't have any offshore Al
    17     Haramain entities.
    18             Q.       That's your understanding,
    19     correct?
    20             A.       That's my understanding.
    21             Q.       And the last name on this list
    22     at 14 is Aqeel Abdulaziz Al-Aqil.
    23                      Do you see that?
    24             A.       Yes, I can.
    25             Q.       And you're aware that Aqeel



   Golkow Litigation Services                                        Page 247
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 249 of 397
                                                            Material

     1     Abdulaziz Al-Aqil is identified as the person
     2     who had signatory authority over numerous of
     3     the Al Haramain accounts at Al Rajhi Bank,
     4     correct?
     5             A.       I can't tell that from reading
     6     this.
     7                      Mr. Carter, would you mind if
     8     we take a break now?
     9                      MR. CARTER:     Sure.    That's
    10             fine.
    11                      THE WITNESS:     Thank you.
    12                      VIDEOGRAPHER:      Off record.     The
    13             time is 8 o'clock.
    14              (Off the record at 8:00 p.m.)
    15                      VIDEOGRAPHER:      Back on record.
    16             Time is 8:17.
    17     QUESTIONS BY MR. CARTER:
    18             Q.       Mr. Galloway, before we took
    19     the short break, we were discussing the
    20     instruction from SAMA in 2004 concerning 14
    21     names.    And I had pointed out that the 14th
    22     name provided was Aqeel Abdulaziz Al-Aqil.
    23                      Do you see that on the document
    24     at 17380?
    25             A.       Yeah, I can see the name.



   Golkow Litigation Services                                        Page 248
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 250 of 397
                                                            Material

     1             Q.       And if we go back to the
     2     document we marked as Exhibit 8, do you
     3     recall this was the letter from the Deputy
     4     Minister of Islamic Affairs concerning the
     5     transfer of nine of accounts into the name of
     6     Al Haramain?
     7             A.       I remember that, yeah.
     8             Q.       And do you see on there that
     9     the deputy minister indicates that signatory
    10     authority for the accounts, once transferred
    11     to Al Haramain, shall be determined by Sheikh
    12     Aqil bin Abdel Aziz al Aqil?
    13             A.       I can see that.
    14             Q.       So do you agree with me that as
    15     of 1998, Al Rajhi Bank had information
    16     available to it that Sheikh Abdul Aziz -- or
    17     Sheikh Aqil bin Abdel Aziz al Aqil had
    18     responsibility for determining signatory
    19     authority over the Al Haramain accounts?
    20                      MR. CURRAN:     Objection as to
    21             form.
    22                      You may answer.
    23                      THE WITNESS:     What I
    24             can confirm is he had two roles.           He
    25             had a role as the regulator of the



   Golkow Litigation Services                                        Page 249
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 251 of 397
                                                            Material

     1             charities that he has -- he has a
     2             signature on here that -- so, sorry.
     3             Can I just recant that and say that I
     4             agree that he had signature authority
     5             on the basis of this letter?
     6     QUESTIONS BY MR. CARTER:
     7             Q.       Okay.    And then we had marked,
     8     I think, an additional version of that
     9     letter.      It's the one that was at Tab 14 that
    10     included an attachment, and I don't remember
    11     what exhibit it was.
    12                      GINA VELDMAN:      It's
    13             Exhibit 14 -- I mean, 10.          Sorry.
    14             Exhibit 10.
    15     QUESTIONS BY MR. CARTER:
    16             Q.       Exhibit 10.
    17                      And if we can turn to that --
    18     second page of that document indicates that
    19     Aqil bin Abdel Aziz al Aqil would have
    20     signatory authority over the nine accounts,
    21     correct?
    22             A.       That appears to be the case.
    23             Q.       And in response to the 2004
    24     SAMA instruction concerning the 14 entities,
    25     do you know what, if any, action Al Rajhi



   Golkow Litigation Services                                        Page 250
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 252 of 397
                                                            Material

     1     Bank took to determine --
     2             A.       Yeah, I can tell there's been a
     3     sequence of events leading up to this point
     4     that seem to be missing in the conversation
     5     we're having now.
     6                      The first was the formation of
     7     the self supervisory committee.           SAMA
     8     instructed no bank to close accounts without
     9     SAMA's express instruction, which would have
    10     been issued through the self supervisory
    11     committee.
    12                      SAMA sent instructions
    13     regarding charities, and the bank believed
    14     they're in compliance with all of those
    15     requirements.
    16                      And then the bank sent a letter
    17     to SAMA to inquire about Al Haramain, to
    18     which the SAMA didn't reply.          The bank, being
    19     so concerned about this, then took steps to
    20     contact other relevant government departments
    21     to confirm it was in compliance with all
    22     aspects of dealing with Al Haramain.
    23                      And the SAMA circular said that
    24     it needed a license from the Ministry of
    25     Labor or the Ministry of Islamic Affairs.



   Golkow Litigation Services                                        Page 251
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 253 of 397
                                                            Material

     1                      And SAMA confirmed the Ministry
     2     of Islamic Affairs was the proper licensing
     3     authority for charities.
     4                      And in April 20, 2003, SAMA
     5     instructed the banks to consolidate all Al
     6     Haramain KSA accounts under a single account
     7     number, which surely they wouldn't have done
     8     if they had concerns about them operating.
     9                      And then in April 30, 2003, Al
    10     Rajhi Bank confirms to SAMA that it's
    11     consolidated the Al Haramain accounts into
    12     one account.
    13                      And then in a January 2004
    14     letter to SAMA, the bank requested clarity in
    15     future dealings with SAMA charities,
    16     including IIRO, Al Haramain.          And in that
    17     letter, Mr. Abdullah al Rajhi notes that the
    18     Al Haramain charitable foundation is already
    19     licensed, and he cites the licensing proof
    20     that we had as a bank.
    21                      And then in --
    22             Q.       Mr. Galloway, I have limited
    23     time, and I'm going to need you to answer my
    24     questions.     This is a long speech.         And if
    25     your counsel wants to ask you questions, he



   Golkow Litigation Services                                        Page 252
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 254 of 397
                                                            Material

     1     can.
     2                      MR. CURRAN:     Excuse me,
     3             Mr. Carter.     You can't interrupt the
     4             witness like that.       Come on.
     5                      MR. CARTER:     Chris, it's a very
     6             long -- that's a very long -- it's a
     7             very long -- I let him go for a while.
     8             I let him go for a while.         If you want
     9             to ask him questions, you can.
    10                      MR. CURRAN:     No, no, no.      You
    11             asked a question, and he's giving the
    12             response.     You can't interrupt him.
    13             You know that.
    14                      MR. CARTER:     It's not
    15             responsive.     It is not responsive.
    16                      MR. CURRAN:     The witness may
    17             continue with his answer.
    18                      THE WITNESS:     Mr. Carter, I'm
    19             laying out a series of events that
    20             make it abundantly clear that Al Rajhi
    21             Bank took very detailed, numerous
    22             steps over a considerable period of
    23             time to be sure it was in compliance
    24             with its lead regulator, SAMA, and to
    25             make sure it had the appropriate



   Golkow Litigation Services                                        Page 253
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 255 of 397
                                                            Material

     1             licenses to operate the very accounts
     2             that you're inquiring about.
     3                      I'm just trying to lay that out
     4             for the record because you're busy
     5             creating other linkages, which I
     6             think, based on the evidence we have
     7             here, the bank took abundant, numerous
     8             measures over a period of time to
     9             ensure that we were compliant and we
    10             were operating safely, fairly and
    11             within the law.
    12                      MR. CURRAN:     Please continue.
    13                      MR. CARTER:     I'm going to move
    14             to strike the answer as nonresponsive.
    15     QUESTIONS BY MR. CARTER:
    16             Q.       My question concerns --
    17                      MR. CURRAN:     No, no, no.      No,
    18             you can make your motion.         We oppose
    19             the motion, but the witness is
    20             entitled to finish his prior witness.
    21                      Mr. Carter, please --
    22                      MR. CARTER:     My specific
    23             question concerns --
    24                      MR. CURRAN:     What steps were
    25             taken.



   Golkow Litigation Services                                        Page 254
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 256 of 397
                                                            Material

     1                      MR. CARTER:     -- what steps were
     2             taken in response to the SAMA inquiry
     3             to take action as to Aqil Abdel Aziz
     4             al Aqil in 2004 to ascertain which of
     5             the Al Haramain accounts he had
     6             signatory authority over.
     7                      MR. CURRAN:     And the witness is
     8             entitled to provide context for his
     9             answer.    He was doing that.
    10                      THE WITNESS:     You're talking
    11             about events in 2004 against which
    12             measures were taken since 2001 to
    13             ensure we were compliant.         I'm simply
    14             trying to put that on the record.
    15     QUESTIONS BY MR. CARTER:
    16             Q.       And I'm still trying to find
    17     out whether or not you're aware of any
    18     information concerning steps taken by the
    19     bank in response to this particular directive
    20     to identify accounts over which Aqeel Al-Aqil
    21     had signatory authority that were held in the
    22     name of Al Haramain.
    23                      MR. CURRAN:     And the witness
    24             may provide whatever context he feels
    25             is necessary for responding to that



   Golkow Litigation Services                                        Page 255
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 257 of 397
                                                            Material

     1             question.
     2                      Please continue.
     3                      THE WITNESS:     So, in
     4             February 25, 2004, there was a letter
     5             to Ministry of Islamic Affairs that
     6             requested confirmation that all Al
     7             Haramain charitable accounts founda --
     8             charitable foundation accounts have a
     9             license from the competent authority
    10             to carry out the charitable work.
    11                      And we got a letter from the
    12             Ministry of Islamic Affairs on
    13             March 13, 2004, that stated that Al
    14             Haramain is authorized to carry out
    15             charitable work.
    16                      And then on the 21st of March,
    17             2004, the Ministry of Justice wrote to
    18             the bank to state that Al Haramain and
    19             IIRO, Muslim World League, World
    20             Assembly of Muslim Youth, legally
    21             established and permitted to operate
    22             under its laws and regulations in KSA.
    23                      That, I can tell you is true.
    24     QUESTIONS BY MR. CARTER:
    25             Q.       Mr. Galloway, you just



   Golkow Litigation Services                                        Page 256
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 258 of 397
                                                            Material

     1     identified three things that happened before
     2     July of 2004.
     3                      And the instruction from SAMA
     4     that I'm asking you about was issued in July
     5     of 2004.     And I'm asking you about actions Al
     6     Rajhi Bank took in response to this directive
     7     from July 2004.
     8             A.       And I have no specific response
     9     to that question.
    10             Q.       Thank you.
    11                      (Al Rajhi Bank 30(b)(6) Exhibit
    12             ARB 20 marked for identification.)
    13     QUESTIONS BY MR. CARTER:
    14             Q.       If we can, let's mark as the
    15     next exhibit the collection of documents at
    16     Tab 6.
    17             A.       Could you direct me to the area
    18     of question these relate to, please?
    19             Q.       Yeah.    This concerns, among
    20     others, the topics under issue 12 pertaining
    21     to the Sulaiman Abdul Aziz al Rajhi
    22     Charitable Foundation --
    23             A.       Okay.    Thank you.
    24             Q.       -- and transfers for the
    25     benefit of the Da`wah organizations.



   Golkow Litigation Services                                        Page 257
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 259 of 397
                                                            Material

     1             A.       Thank you.     Please go ahead.
     2                      Would you like me to read the
     3     exhibit?
     4             Q.       Well, I think the first thing
     5     is, I'd just like you to tell me if you're
     6     familiar with these pages that were produced
     7     at 38079 through 38106.
     8             A.       Can I confirm if the black
     9     sections are redactions?
    10             Q.       They are.     That's my
    11     understanding, yes.
    12                      MR. CURRAN:     Mr. Carter, how
    13             long is this document?
    14                      MR. CARTER:     Well, it's a
    15             number of pages, Chris, and my
    16             understanding is these reflect
    17             transfers identified by the bank from
    18             the foundation for the benefit of one
    19             of the Da`wah organizations or its
    20             principals.
    21                      And this is just a collection
    22             of transfer information that the bank
    23             provided to us.
    24                      MR. CURRAN:     I see the witness
    25             scrolling through what looks like a



   Golkow Litigation Services                                        Page 258
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 260 of 397
                                                            Material

     1             document with scores of pages.
     2                      MR. CARTER:     Well, there's the
     3             Arabic behind it.       And I think part of
     4             the reason it's scores of pages is
     5             because we got snippets of individual
     6             transactions all on separate pages.
     7             So there's not a tremendous amount of
     8             information on each page.
     9                      MR. CURRAN:     Okay.
    10                      THE WITNESS:     Okay.    Thanks for
    11             your patience.      So I've read through
    12             it.
    13     QUESTIONS BY MR. CARTER:
    14             Q.       Okay.    Mr. Galloway, you're
    15     aware that the second revised notice of
    16     deposition included a number of topics
    17     relating to the Sulaiman Abdul Aziz al Rajhi
    18     Charitable Foundation under heading 12?
    19             A.       I'm aware there were questions,
    20     yes.
    21             Q.       And among those, one of the
    22     issues was concern of financial contributions
    23     provided to the Da`wah organizations and
    24     their principals by the foundation.
    25                      And that's at 12(b), correct?



   Golkow Litigation Services                                        Page 259
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 261 of 397
                                                            Material

     1             A.       Well, I'd note that the
     2     foundation has never been an a parent,
     3     subsidiary or affiliate of the bank, and the
     4     bank's never had any oversight, supervision,
     5     management or control over the foundation's
     6     operations or their activities.
     7                      MR. CARTER:     Chris, with
     8             respect, that is not responsive to any
     9             question that's been asked.          And I
    10             have limited time, so I'm going to ask
    11             the witness to answer my questions.            I
    12             didn't even have a question pending,
    13             other than whether or not he knows
    14             that this topic was on the notice.
    15                      MR. CURRAN:     Well, he was
    16             responding to your identification of
    17             the topic, but let's proceed.
    18     QUESTIONS BY MR. CARTER:
    19             Q.       You're aware that this was one
    20     of the topics, correct?
    21             A.       We are aware it's one of the
    22     topics, that is correct.
    23             Q.       And what did you do to
    24     familiarize yourself with the bank's
    25     knowledge concerning transfers that were



   Golkow Litigation Services                                         Page 260
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 262 of 397
                                                            Material

     1     carried out from accounts in the name of the
     2     foundation in favor of the Da`wah
     3     organizations or their principals?
     4             A.       The bank checked account names,
     5     accounts in the name of the charitable
     6     foundation and Mr. Sulaiman al Rajhi.
     7                      Is that what you're asking me?
     8             Q.       Yeah.    What did the -- what did
     9     you do for purposes of preparing for the
    10     deposition to determine what information the
    11     bank had concerning transfers from the
    12     foundation to the benefit of the Da`wah
    13     organizations or their principals?
    14             A.       Transfers from these
    15     charitable -- from the charitable foundation
    16     accounts to the -- to what you're referring
    17     to as the Da`wah organizations, is that
    18     you're asking?
    19             Q.       And their principals, yes.
    20                      What did you do to learn about
    21     that issue?
    22             A.       There was searches of the
    23     transaction records.
    24             Q.       Okay.    And the -- I understand
    25     the collection of transfer information that



   Golkow Litigation Services                                        Page 261
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 263 of 397
                                                            Material

     1     we've marked as the exhibit in front of you
     2     to be the result of those searches for the
     3     transfers.
     4                      Is that correct?
     5             A.       That would seem logical.
     6             Q.       I'm not familiar with the
     7     appearance and presentation of Al Rajhi
     8     Bank's internal transfer information of this
     9     nature.
    10                      Is this consistent with
    11     information extracted from the bank's core
    12     banking system relating to transaction
    13     information?
    14             A.       Yeah, I think I mentioned it
    15     some time ago.       The statements as presented
    16     would be the same as the statements seen by
    17     the customer.
    18             Q.       And looking at the page in
    19     front of you, 38079, and the upper corner,
    20     I'm trying to understand this document that
    21     was provided on this topic.
    22                      It indicates a date of December
    23     30, 1998, through December 30, 1998.
    24                      Do you see that?
    25             A.       I do see that.



   Golkow Litigation Services                                        Page 262
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 264 of 397
                                                            Material

     1             Q.       Does that mean that the
     2     transaction information that is included
     3     below all occurred on that same day,
     4     December 30, 1998?
     5             A.       I'm not sure.
     6             Q.       The document identifies
     7     Sulaiman bin Abdul Aziz al Rajhi charitable
     8     foundation.
     9                      Is that the account holder?
    10             A.       Yes, I believe it is.
    11             Q.       And it identifies an account
    12     ending in 6006.
    13                      Do you see that?
    14             A.       Yes, I can.
    15             Q.       Do you know if that is the
    16     account number for the charitable foundation?
    17             A.       Yes, I believe it is.
    18             Q.       Do you know whether there were
    19     any other accounts for the charitable
    20     foundation during the '98 through 2002 time
    21     period?
    22             A.       I'm not aware of any.
    23             Q.       And there's a reference below
    24     that masthead, opening balance, and it
    25     references a minus 5,851,743, approximately,



   Golkow Litigation Services                                        Page 263
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 265 of 397
                                                            Material

     1     riyals.
     2                      Do you see that?
     3             A.       I can see the entry.
     4             Q.       And do you know whether that is
     5     the opening balance as of December 30, 1998?
     6             A.       I don't know that definitively.
     7             Q.       And beneath that, there is an
     8     entry indicating a withdrawal by check, Al
     9     Haramain Islamic Foundation.
    10                      Do you see that?
    11             A.       Are you referring to the entry
    12     of 4.7 million riyals?
    13             Q.       Well, there's an entry --
    14             A.       Where the balance is the
    15     100,000 withdrawal, is what you'd be saying,
    16     right?
    17             Q.       I'm trying to understand the
    18     document, so hoping you can help me.
    19                      Am I correct that this reflects
    20     $100,000 withdrawal from the Al Rajhi
    21     charitable foundation account in favor of Al
    22     Haramain?
    23             A.       I'm not 100 percent sure.
    24             Q.       And across from that, there is
    25     an entry that includes -- that indicates



   Golkow Litigation Services                                        Page 264
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 266 of 397
                                                            Material

     1     negative 4,717,587, approximately, riyals.
     2                      Do you know what that is
     3     referring to?
     4             A.       Yes.   I'm not sure whether
     5     they're riyals or dollars, but I'm assuming
     6     they're riyals.
     7                      I do not -- no, I can't -- I
     8     can't tell you what the detail relates to.
     9             Q.       And at the bottom, there is --
    10     there are a number of indications.            On the
    11     left it says "Currency SR."
    12                      Do you know if that refers to
    13     the currency of Saudi riyals?
    14             A.       That seems like a conclusion
    15     you could draw.
    16             Q.       And do you know what any of the
    17     three entries across from that refer to?
    18             A.       No, Mr. Carter, I do not.
    19             Q.       And turning to the next page,
    20     38080, this indicates the same date range of
    21     December 30, '98, to December 30, '98.
    22                      Do you see that?
    23             A.       Yes, I do.
    24             Q.       And it refers to the same
    25     account, correct?



   Golkow Litigation Services                                        Page 265
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 267 of 397
                                                            Material

     1             A.       It appears to.
     2             Q.       And in the bottom box it has
     3     grand total numbers?
     4             A.       Yes, I can see that.
     5             Q.       Do you know what those grand
     6     total numbers refer to?
     7             A.       No, I do not.
     8             Q.       Do you know whether the
     9     2,408,604 number refers to the grand total of
    10     the debits from the account on December 30,
    11     1998?
    12             A.       By looking at this document in
    13     its current form, I can't say that's true.
    14             Q.       And I gather then it means you
    15     also can't tell me whether or not the
    16     8,260,347.45 number refers to the total
    17     credits to the account as of -- on
    18     December 30, 1998?
    19             A.       That's also correct.
    20             Q.       What additional information
    21     would you need to understand what those
    22     numbers mean?
    23             A.       The headings on the columns
    24     would help.
    25             Q.       And those are redacted?



   Golkow Litigation Services                                        Page 266
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 268 of 397
                                                            Material

     1             A.       I don't know what's behind the
     2     redaction.
     3             Q.       The redactions are impacting
     4     your ability to understand the document?
     5                      MR. CURRAN:     Objection.     Lack
     6             of foundation.
     7                      You may answer.
     8                      THE WITNESS:     Yeah, I'm not
     9             familiar with the document, and I
    10             haven't -- I haven't got the certainty
    11             to be able to tell you what the
    12             numbers relate to.
    13     QUESTIONS BY MR. CARTER:
    14             Q.       The reason I'm asking,
    15     Mr. Galloway, is because this is the
    16     transaction information that was provided to
    17     us in relation to transfers from the
    18     foundation for the benefit of the Da`wah
    19     organizations and their principals, which as
    20     we've discussed is one of the topics we're
    21     here today to address.         And I'm trying to get
    22     an understanding of the meaning of the
    23     documents concerning that subject.
    24                      Am I correct that you're not
    25     familiar with the documents and in a position



   Golkow Litigation Services                                        Page 267
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 269 of 397
                                                            Material

     1     to tell us what they mean?
     2                      MR. CURRAN:     Objection.
     3             Overbroad.
     4                      You may answer.
     5                      THE WITNESS:     I am aware that
     6             the foundation had accounts, but I'm
     7             not aware of the line item detail that
     8             you're asking me for in the context of
     9             preparing for 45 topics with multiple
    10             subtopics, some of which, numbered a
    11             dozen, I didn't get to the level of
    12             detail and specificity you're asking
    13             me to address to.
    14     QUESTIONS BY MR. CARTER:
    15             Q.       Mr. Galloway, you just used the
    16     word -- the plural word "accounts," and I'm
    17     just trying to check.
    18                      Are there -- were there more
    19     than one charitable foundation account that
    20     you're aware of?
    21             A.       No, I used it in the context of
    22     searching for accounts.
    23             Q.       Understood.
    24                      With regard to the transfer
    25     that we mentioned earlier on 38079,



   Golkow Litigation Services                                        Page 268
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 270 of 397
                                                            Material

     1     withdrawal by check, Al Haramain Islamic
     2     Foundation for 100,000, that seems easy
     3     enough for the bank to have identified
     4     because it refers to Al Haramain Islamic
     5     Foundation, correct?
     6             A.       Al Haramain Islamic Foundation
     7     is in the annotation, that's correct.
     8             Q.       Is that the -- is that what you
     9     understand to be the annotation field?
    10             A.       That's what I believe it is.
    11             Q.       And, you know, turning to
    12     38082, there is a transaction disclosed.
    13     Withdrawal by check, with a check number, in
    14     the amount of 145,000, I believe, riyals.
    15                      Do you see that?
    16             A.       I can.
    17             Q.       And there's no reference to any
    18     entity in the annotation field, correct?
    19             A.       That's correct.
    20             Q.       Do you know how Al Rajhi Bank
    21     went about identifying transfers from the
    22     foundation in favor of the Da`wah
    23     organizations and their principals?
    24             A.       Do you have a section that
    25     would relate to?



   Golkow Litigation Services                                        Page 269
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 271 of 397
                                                            Material

     1                      MS. BEMBRY:     Sean, can I have a
     2             standing objection to the definition
     3             of Da`wah principal that's in
     4             Exhibit 1, please?
     5                      MR. CARTER:     Sure.
     6                      THE WITNESS:     Mr. Carter, could
     7             you repeat the question in order to
     8             help me, please?
     9     QUESTIONS BY MR. CARTER:
    10             Q.       Yeah.
    11                      I was just asking whether
    12     you're familiar with the procedure that the
    13     bank used to try to identify transfers from
    14     charitable foundation accounts at the bank in
    15     favor of the Da`wah organizations and their
    16     principals?
    17             A.       Yeah, I have -- I have some
    18     note here.     If you wait one moment, I'll try
    19     to find it.
    20                      There was a search of the core
    21     banking system, and I think we established
    22     the core banking system's purpose earlier.
    23                      We used fuzzy logic search to
    24     try and find suitable alternative names.             We
    25     used further verification of the entity, and



   Golkow Litigation Services                                        Page 270
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 272 of 397
                                                            Material

     1     we narrowed it down.        We checked the account
     2     file for photo ID number, and we did that in
     3     both English and Arabic.
     4                      And then we also -- you know,
     5     this is -- this is the general approach.
     6             Q.       During discussions between the
     7     bank and the plaintiffs, there was reference
     8     to a process of referring to the general
     9     ledger to identify debits from the foundation
    10     account that matched credit into the --
    11     credit entries into the Da`wah organizations'
    12     accounts at Al Rajhi Bank on the same day.
    13                      Do you know anything about
    14     that?
    15             A.       Yeah, that was also conducted.
    16             Q.       Okay.    And that would -- that
    17     sort of process concerns transfers from the
    18     foundation account that went into Da`wah
    19     organization accounts at Al Rajhi Bank.
    20                      What was the process for
    21     determining whether there were transfers from
    22     the foundations to the Da`wah organizations'
    23     accounts other than Al Rajhi?
    24             A.       I think there was a check to
    25     ensure any beneficiaries that were set up



   Golkow Litigation Services                                        Page 271
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 273 of 397
                                                            Material

     1     were noted.
     2             Q.       And when you say "beneficiaries
     3     that were set up," what does that mean?
     4             A.       So if you establish a
     5     beneficiary for payment to another bank, it
     6     would leave a record of the beneficiary.
     7             Q.       Do you know whether Al Haramain
     8     was set up as an beneficiary by Al Rajhi Bank
     9     at any point?
    10             A.       I don't have any knowledge of
    11     that.
    12             Q.       And what about the IIRO?
    13             A.       I don't have any knowledge of
    14     that either, Mr. Carter.
    15             Q.       And to the extent the
    16     foundation wrote a check to Al Haramain and
    17     sent it to Al Haramain's office in Indonesia
    18     where it was deposited in a local bank, would
    19     that have been identified through the search
    20     protocols carried out by the bank?
    21                      MR. CURRAN:     Objection as to
    22             form.
    23                      You may answer.
    24                      THE WITNESS:     I'm not sure that
    25             it would.     I don't know the an -- I



   Golkow Litigation Services                                        Page 272
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 274 of 397
                                                            Material

     1             don't know why that it would have
     2             been.
     3     QUESTIONS BY MR. CARTER:
     4             Q.       And just with regard to these
     5     transfers, did you, as part of your
     6     preparations, manage to determine what
     7     transfers were made from the foundation in
     8     favor of Al Haramain?
     9             A.       Just give me a moment, please.
    10                      The bank's produced
    11     transactions of the possible financial
    12     contributions from the charity to Al
    13     Haramain, and the bank has found no
    14     transactions from the accounts of the
    15     foundation to IIRO, and the bank's found no
    16     transactions from accounts held at the bank
    17     by the foundation or Mr. Al Rajhi to
    18     Muwaffaq.
    19             Q.       And did the bank also identify
    20     a transfer from the foundation to Aqeel
    21     Al-Aqil?
    22             A.       I am not aware of that.
    23             Q.       And turning back to the
    24     exhibit, again, just trying to understand
    25     this -- what these documents mean, do you



   Golkow Litigation Services                                        Page 273
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 275 of 397
                                                            Material

     1     understand the grand total columns provided
     2     to reflect the total value of the
     3     transactions being carried out through the
     4     account in the specified time period?
     5             A.       I can see it says "grand
     6     total."
     7             Q.       But you can't tell other than
     8     that?
     9             A.       Well, as I said before, I can't
    10     with certainty tell you the details in the
    11     columns given the information they redacted
    12     and we have.
    13                      (Al Rajhi Bank 30(b)(6) Exhibit
    14             ARB 21 marked for identification.)
    15     QUESTIONS BY MR. CARTER:
    16             Q.       And if we can mark in -- as the
    17     next exhibit the document at Tab 7.
    18                      MR. CURRAN:     I'll alert the
    19             witness that it appears to be a
    20             multipage document.       He might want to
    21             scroll on his computer, I think.
    22                      While he's doing that, I'm
    23             going to make a broad objection to the
    24             plaintiffs' failure to provide these
    25             granular-type documents ahead of time,



   Golkow Litigation Services                                        Page 274
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 276 of 397
                                                            Material

     1             and the witness could have done
     2             targeted prep on these documents.
     3                      And instead, we got an
     4             extensive list of questions, general
     5             questions, such that the witness isn't
     6             prepared to answer questions on with
     7             granularity.
     8                      MR. CARTER:     Just in response
     9             to that, Chris, the collection of
    10             transaction information and two
    11             summary pages, one of which I've just
    12             marked, are the only documents the
    13             bank produced to us concerning
    14             transfers from the foundation accounts
    15             to the Da`wah organizations.
    16                      So these are the specific
    17             documents the bank provided pertaining
    18             to the particular category that's
    19             identified in the notice.
    20                      MR. CURRAN:     Yeah, so it sounds
    21             like it would -- sounds like it would
    22             have been easy to attach such
    23             documents to the notice, and instead
    24             we got 45 broad-ranging topics with
    25             scores of subtopics.        So --



   Golkow Litigation Services                                        Page 275
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 277 of 397
                                                            Material

     1                      MR. CARTER:     Yeah, it would be
     2             hard for me to identify the number of
     3             times we had communications with your
     4             colleagues about this issue and these
     5             particular documents being the ones
     6             that related to this topic, but we'll
     7             continue.
     8     QUESTIONS BY MR. CARTER:
     9             Q.       Mr. Galloway, are you -- am I
    10     understanding from your counsel's objection
    11     that you're not familiar as a result of your
    12     preparations with this document that was
    13     produced at 39960?
    14                      MR. CURRAN:     No, don't try to
    15             conclude it from my objection.          Ask
    16             him a fresh question.
    17     QUESTIONS BY MR. CARTER:
    18             Q.       Mr. Galloway, are you familiar
    19     with the document that we just marked as an
    20     exhibit that was produced at ARB 39960?
    21             A.       I have seen it in the thousands
    22     I reviewed, but I'm not familiar with it.
    23             Q.       And we understand that this is
    24     a run of transactions from the foundation
    25     account in favor of either Al Haramain or in



   Golkow Litigation Services                                        Page 276
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 278 of 397
                                                            Material

     1     one instance Aqeel Al-Aqil.
     2                      Do you know if that's correct
     3     or not?
     4             A.       I do not.     I also note the
     5     language is in Arabic, and as you know, I'm
     6     not an Arabic speaker, so I can't comment.
     7             Q.       And the account number ends in
     8     6006, correct?
     9             A.       It appears to.
    10             Q.       Okay.    And I think we agree
    11     that that's the ending digits of the
    12     foundation account, correct?
    13             A.       I don't have the foundation
    14     account in front of me to say that.
    15             Q.       Okay.    As part of your
    16     preparations, were you able to ascertain the
    17     total value of the funds transferred from the
    18     foundation's accounts at Al Rajhi in favor of
    19     Al Haramain during the relevant period?
    20             A.       No, I did not.
    21             Q.       But the transaction information
    22     reflects what it reflects, correct?
    23             A.       Would you repeat that, please?
    24             Q.       In other words, you understand
    25     that the transaction information provided by



   Golkow Litigation Services                                        Page 277
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 279 of 397
                                                            Material

     1     Al Rajhi Bank is an accurate reflection of
     2     what happened?
     3             A.       I understand that to be true,
     4     yes.
     5             Q.       In preparation for your
     6     deposition today as the bank's designee, did
     7     you make inquiry concerning the roles of
     8     Abdul Rahman al Rajhi, Saleh bin Sulaiman al
     9     Habdan, and Abdullah bin Ibrahim al Misfer at
    10     the charitable foundation?
    11             A.       Say --
    12                      MR. CURRAN:     Same objection as
    13             before as to Abdul Rahman al Rajhi,
    14             but you may proceed.
    15                      THE WITNESS:     Would you direct
    16             me to the question that this relates
    17             to?
    18     QUESTIONS BY MR. CARTER:
    19             Q.       It is 12(b).
    20             A.       B for Broadway?
    21             Q.       Yep.
    22                      MR. CURRAN:     Yeah.
    23                      THE WITNESS:     The bank has no
    24             knowledge of the roles and
    25             responsibilities of Abdul Rahman al



   Golkow Litigation Services                                        Page 278
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 280 of 397
                                                            Material

     1             Rajhi, Saleh bin Sulaiman al Habdan or
     2             Abdullah bin Ibrahim al Misfer, or of
     3             any foundation personnel.         None of
     4             these individuals had any role at the
     5             bank, and the foundation has never
     6             been a parent, subsidiary, or
     7             affiliate of the bank.
     8     QUESTIONS BY MR. CARTER:
     9             Q.       Do you know whether the
    10     foundation ever had offices within the same
    11     building as the bank?
    12             A.       I do not know the answer to
    13     that.
    14             Q.       And do you know whether the
    15     bank is in possession of the foundation --
    16     any of the foundation's operating files?
    17             A.       Well, as I said, the bank has
    18     no knowledge of the roles and
    19     responsibilities of these people, and the
    20     foundation has never been a parent,
    21     subsidiary or affiliate of the bank, so I
    22     would be very surprised if they held records.
    23             Q.       Over the course of preparing,
    24     did you happen to see any correspondence
    25     produced by Al Rajhi Bank that issued from



   Golkow Litigation Services                                        Page 279
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 281 of 397
                                                            Material

     1     the estate of Sulaiman al Rajhi?
     2             A.       No, I did not.
     3             Q.       I believe you indicated
     4     previously that you spoke to Abdullah al
     5     Rajhi concerning Abdul Rahman Abdul al Rajhi,
     6     correct?
     7             A.       That's correct.      Or gentlemen
     8     with similar names, of which there are at
     9     least three senior members of the al Rajhi
    10     family.
    11             Q.       And did he tell you that
    12     someone with that similar name had a role at
    13     some point at the foundation?
    14             A.       He believed he might have
    15     worked at the foundation, but he had no
    16     detail about it and had no knowledge of the
    17     activities or the term of employment or
    18     whether indeed he was employed.
    19             Q.       Okay.    And who -- do you know
    20     who founded the foundation?
    21             A.       No, I do not know that.
    22             Q.       And do you know whether
    23     Abdullah al Rajhi had any involvement in the
    24     foundation's activities?
    25             A.       He had no involvement.        He said



   Golkow Litigation Services                                        Page 280
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 282 of 397
                                                            Material

     1     as much.     This was all -- the foundation was
     2     separate to anything he was involved in.
     3             Q.       So as you understand it,
     4     Abdullah al Rajhi did not engage in any
     5     activities with respect to -- with respect to
     6     the foundation's functions?
     7             A.       That's my understanding --
     8                      MR. CURRAN:     Objection.
     9             Overbroad.
    10                      You may answer.
    11                      THE WITNESS:     That's my
    12             understanding.
    13     QUESTIONS BY MR. CARTER:
    14             Q.       And did you discuss Abdul
    15     Rahman Abdullah al Rajhi with any other Al
    16     Rajhi Bank bank employees?
    17             A.       Only the HR department to
    18     ascertain that he had no employment with the
    19     bank at any stage.
    20             Q.       Do you know where the
    21     foundation maintained its accounts at Al
    22     Rajhi?    In other words, what branch?
    23             A.       No, I do not.
    24             Q.       Do you know whether Al Rajhi
    25     had a branch that was known as the Al Rabwah,



   Golkow Litigation Services                                        Page 281
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 283 of 397
                                                            Material

     1     R-a-b-w-a-h, branch during the relevant time
     2     period '98 to 2002?
     3             A.       No, Mr. Carter, I do not.
     4             Q.       Do you know whether it has one
     5     now called the Al Rabwah branch?
     6             A.       No, Mr. Carter.      No, I did not
     7     prepare for that level of detail, sir.
     8                      MR. CURRAN:     Yeah, objection.
     9             Outside the scope.
    10     QUESTIONS BY MR. CARTER:
    11             Q.       And were you able to ascertain
    12     any information concerning any roles Saleh
    13     bin Sulaiman al Habdan with the foundation?
    14             A.       No.   The bank's got -- as I
    15     said before, the bank has no knowledge of the
    16     roles or responsibilities of Abdul Rahman al
    17     Rajhi, Saleh bin Sulaiman al Habdan or
    18     Abdullah bin Ibrahim al Misfer or any other
    19     foundation personnel.        I think I answered
    20     that earlier.
    21             Q.       And did you request that the
    22     bank conduct any searches of its core banking
    23     system to determine whether any of those
    24     three individuals either held accounts at Al
    25     Rajhi Bank or were signatories on the



   Golkow Litigation Services                                        Page 282
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 284 of 397
                                                            Material

     1     foundation account?
     2             A.       I don't believe so.       I was not
     3     asked to.     I've not seen anything directly
     4     relating to that.
     5                      (Al Rajhi Bank 30(b)(6) Exhibit
     6             ARB 22 marked for identification.)
     7     QUESTIONS BY MR. CARTER:
     8             Q.       Can we mark as the next exhibit
     9     the documents at Tab 9?
    10                      Mr. Galloway, did you have
    11     occasion to look at the set of documents we
    12     just marked as an exhibit in preparation for
    13     your deposition?
    14             A.       Yeah, I'm sorry for the delay.
    15     We're still downloading on this side.             It
    16     seems terribly slow.        Apologies.
    17                      It's still loading, I'm afraid.
    18                      MR. CURRAN:     So, Mr. Carter,
    19             while we're waiting for this, can you
    20             tell me what area of inquiry in your
    21             notice this relates to?
    22                      MR. CARTER:     Well, it would
    23             relate, first of all, to the use of
    24             e-mail.    And --
    25                      THE WITNESS:     Can you go to



   Golkow Litigation Services                                        Page 283
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 285 of 397
                                                            Material

     1             Section 1, please?
     2                      MR. CARTER:     Which is 37.      And
     3             it would also relate to foundation
     4             transfers to Al Haramain.
     5                      MR. CURRAN:     We object to this
     6             apparent line of inquiry as unrelated
     7             to the foundation.       So I'll make
     8             objections to specific questions as
     9             they arise.
    10                      THE WITNESS:     Apologies.      It's
    11             still loading here.       I'm not sure why
    12             it's so slow, but thank you for your
    13             patience.
    14                      Now we have it now.       If you
    15             just give me a moment.        I'm sorry.
    16             Still coming.
    17                      MR. CURRAN:     Mr. Carter, if you
    18             have any questions dealing
    19             specifically with the page on the
    20             screen, feel free to go ahead while
    21             we're waiting for the full document to
    22             load.
    23                      MR. CARTER:     Sure.
    24     QUESTIONS BY MR. CARTER:
    25             Q.       Hang on one second.



   Golkow Litigation Services                                        Page 284
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 286 of 397
                                                            Material

     1                      Mr. Galloway, this is a
     2     document that -- or a collection of documents
     3     that plaintiffs have filed as part of a
     4     motion to compel further discovery relating
     5     to the foundation.        And among other things,
     6     we've asserted that these documents relate to
     7     foundation transfers and activities.
     8                      Did you, in your preparation
     9     for today's deposition, have occasion to
    10     speak with Abdullah Sulaiman al Rajhi about
    11     this communication and the associated
    12     documents to determine if they related to the
    13     foundation's activities?
    14             A.       I did.
    15             Q.       And what did he tell you?
    16             A.       Well, the first is that it was
    17     signed by the secretary, not himself, and
    18     that -- the fact that it wasn't containing
    19     anything related to the charity.           It was only
    20     just -- it was clearly that he was separating
    21     anything he did from the charity.            All the
    22     e-mail was trying to do was alert to the
    23     separate individual sending a fax document.
    24                      And the secretary for him had
    25     access to e-mail when Mr. Sulaiman al Rajhi,



   Golkow Litigation Services                                        Page 285
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 287 of 397
                                                            Material

     1     being an elderly gentleman, never used
     2     e-mail.
     3                      So I think all it's simply
     4     doing is just using that as a way of telling
     5     somebody that a fax is arriving, but the
     6     parties were all completely unrelated.
     7             Q.       Okay.    So based on the
     8     discussion you had, do you understand that
     9     the first page is an e-mail just alerting
    10     that a fax is being isn't by Sheikh Sulaiman?
    11             A.       That's correct.      That's my
    12     understanding.       Or his office.
    13             Q.       And --
    14             A.       It'll be a fax signed by
    15     Sulaiman al Rajhi, I believe, and the
    16     signature there needed to be on the fax.
    17             Q.       And when you refer to Sheikh
    18     Sulaiman, you're referring to Sheikh Sulaiman
    19     al Rajhi?
    20             A.       Yeah, Mr. Sulaiman al Rajhi,
    21     that's correct.
    22             Q.       And then turning to the next
    23     page of this document?
    24             A.       I can't -- I can't do that,
    25     Mr. Carter, because the document still hasn't



   Golkow Litigation Services                                        Page 286
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 288 of 397
                                                            Material

     1     loaded here.      I can -- I can see what you
     2     have here.
     3                      MR. CURRAN:     I now raise my
     4             question -- my objection again because
     5             I believe these documents have nothing
     6             to do with the foundation, and
     7             instead, they deal with different
     8             charitable vehicles.
     9                      But -- so I have an objection
    10             to the whole line of questioning, but
    11             please proceed, Mr. Carter, if you
    12             wish.
    13                      THE WITNESS:     I would also --
    14             this is not a document that I had any
    15             discussion with Mr. Abdullah al Rajhi
    16             about.
    17     QUESTIONS BY MR. CARTER:
    18             Q.       Okay.    So you didn't have
    19     occasion to ask him whether or not this
    20     document concerned activities of the
    21     foundation?
    22             A.       No, I did not.
    23             Q.       And then the next two -- three
    24     pages of this -- I don't know if they'll come
    25     up; start with this one -- refers to a series



   Golkow Litigation Services                                        Page 287
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 289 of 397
                                                            Material

     1     of foreign and domestic aid for the year
     2     1999.
     3                      Did you have occasion to ask
     4     Abdullah al Rajhi whether or not the
     5     transactions listed on this were transactions
     6     by the foundation in favor of the
     7     beneficiaries listed?
     8             A.       I've neither seen this document
     9     before or had any discussion with anyone at
    10     all about this.
    11             Q.       And on the page at 15045, there
    12     is a particular transaction.          There's a 75
    13     number in the box to the left, and then it
    14     refers to a transfer by telex, and the
    15     beneficiary is listed as Al Haramain
    16     Foundation in Indonesia.
    17                      Do you see that?
    18             A.       Yeah.    I don't recognize an Al
    19     Rajhi identifier on the bottom of the page
    20     you're showing me, so I'm not sure I can
    21     comment on this.
    22                      MR. CURRAN:     Objection.     Beyond
    23             the scope.
    24     QUESTIONS BY MR. CARTER:
    25             Q.       Okay.    So, Mr. Galloway,



   Golkow Litigation Services                                        Page 288
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 290 of 397
                                                            Material

     1     plaintiffs have expressed their view in
     2     filings with the Court that this is a
     3     transfer by the foundation in favor of Al
     4     Haramain Foundation in Indonesia.
     5                      Did you have occasion to
     6     conduct inquiry to determine whether that is
     7     accurate?
     8             A.       No.
     9                      MR. CURRAN:     Objection.
    10             Objection.     Beyond the scope of this
    11             30(b)(6) deposition.        This witness is
    12             not authorized to address this
    13             document on behalf of the bank.
    14                      MR. CARTER:     Okay.    Chris, I'm
    15             asking whether or not he conducted an
    16             inquiry to determine whether or not
    17             there was a transfer from an Al Rajhi
    18             Bank account held by the foundation
    19             that corresponds to this entry.
    20                      THE WITNESS:     Mr. Carter, as I
    21             said before, I've never seen this
    22             document before, and I haven't made an
    23             inquiry of the nature that you're
    24             describing.
    25




   Golkow Litigation Services                                        Page 289
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 291 of 397
                                                            Material

     1     QUESTIONS BY MR. CARTER:
     2             Q.       Based on your inquiry, do you
     3     know whether any individuals employed by the
     4     bank during the period 1998 through 2002 also
     5     had roles with regard to the foundation?
     6             A.       I do not know that.       I --
     7     there -- as I said before, there's no
     8     relationship between the bank and the
     9     foundation, sir.
    10                      It's not something that I've
    11     searched for the personnel.          We don't have
    12     any relationship.       It's not an entity of the
    13     bank.
    14                      I believe it's out of the
    15     scope.    It wasn't something that was included
    16     in the inquiries.
    17             Q.       Well, the inquiry included
    18     questions about the bank's role in any
    19     oversight, supervision or management,
    20     including Sulaiman al Rajhi's oversight of
    21     the foundation.
    22                      Do you happen to know whether
    23     Sulaiman al Rajhi had a role with the
    24     foundation during the 1998 through 2002 time
    25     period?



   Golkow Litigation Services                                        Page 290
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 292 of 397
                                                            Material

     1             A.       With the Sulaiman al Rajhi
     2     foundation, you're referring to?
     3             Q.       Correct.
     4             A.       I don't know the nature of his
     5     role, sir.     I don't know -- I don't know any
     6     of the dealings of the charitable foundation.
     7     I don't understand how it works.           I couldn't
     8     make any comment.
     9             Q.       I'm asking because Topic 12A on
    10     the notice concerns "Sulaiman al Rajhi's
    11     oversight, supervision, management or control
    12     over the foundation's operations and
    13     activities."
    14             A.       If you'll bear with me, just
    15     see if I have any notes.         But I don't.
    16                      Yeah, the bank understands that
    17     Mr. Sulaiman al Rajhi had oversight and
    18     control of the foundation, that is true.
    19             Q.       And during that 1998
    20     through 2002 time period, did Sulaiman al
    21     Rajhi also have a role at the bank?
    22             A.       I'd have to refer to the date
    23     in which he left the bank.          One moment.
    24                      We have a question on this one.
    25     If you can direct me, I'll be able to go



   Golkow Litigation Services                                        Page 291
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 293 of 397
                                                            Material

     1     faster.
     2             Q.       My understanding is that he
     3     formally left the bank in 2007, but I don't
     4     want to --
     5             A.       No, you have a question.         If
     6     you could direct me to that spot, I can refer
     7     to my note.
     8             Q.       Sure.    It is Topic 15.
     9             A.       Yeah, I can confirm he retired
    10     from the bank in 2014.
    11             Q.       Yes.    Did you say that Sulaiman
    12     al Rajhi retired from the bank in 2014?
    13             A.       That's what I've been told.
    14             Q.       And immediately prior to his
    15     retirement, do you know what position he
    16     held?
    17             A.       I believe he was the chairman
    18     at the time, but he was at an advanced age,
    19     sir.    He was 86 years old, and I believe he
    20     had relatively little involvement in the bank
    21     at that time.
    22             Q.       From that answer, do I
    23     understand that he was, as you understand it,
    24     employed with the bank in the '98
    25     through 2002 time period?



   Golkow Litigation Services                                        Page 292
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 294 of 397
                                                            Material

     1             A.       Well, he was the chairman, sir.
     2     I don't believe that's an employee of the
     3     bank.
     4             Q.       You believe he was the chairman
     5     during that period?
     6             A.       I believe so.
     7             Q.       Okay.    I want to turn our
     8     attention to Topic 13.
     9                      And, Mr. Galloway, are you
    10     prepared to discuss the topics under Item
    11     Number 13?
    12             A.       Yes.
    13                      MR. CURRAN:     I object to this
    14             line of questioning as beyond the
    15             proper scope of the limited
    16             jurisdiction of discovery.
    17                      The witness may answer.
    18                      THE WITNESS:     I have done some
    19             preparation on Topic 13.
    20     QUESTIONS BY MR. CARTER:
    21             Q.       And are you aware as part of
    22     that preparation that plaintiffs have issued
    23     a subpoena seeking records pertaining to a
    24     particular account at Chase Manhattan Bank,
    25     which is presently now JPMorgan Chase?



   Golkow Litigation Services                                        Page 293
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 295 of 397
                                                            Material

     1             A.       If you're referring to the
     2     correspondent banking account that Al Rajhi
     3     Bank has?
     4             Q.       Correct.
     5             A.       I am not aware of the legal
     6     proceedings, but I'm aware that the bank had
     7     a correspondent banking relationship with
     8     Chase Manhattan Bank in the relevant period.
     9             Q.       And in connection with that
    10     correspondent banking relationship, did Al
    11     Rajhi maintain a single account with Chase
    12     Manhattan or were there multiple
    13     correspondent accounts?
    14             A.       I believe there was only one.
    15             Q.       And what was the purpose of
    16     that correspondent bank account?
    17             A.       There was a --
    18                      MR. CURRAN:     Same objection.
    19                      You may answer.
    20                      THE WITNESS:     It was a sole use
    21             account, only for correspondent
    22             banking business use.
    23     QUESTIONS BY MR. CARTER:
    24             Q.       And was use of that restricted
    25     to any specific Al Rajhi Bank account



   Golkow Litigation Services                                        Page 294
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 296 of 397
                                                            Material

     1     holders?
     2             A.       That's not how the account
     3     works, sir.      It's a correspondent banking
     4     relationship.      So swift messages get sent
     5     from one bank to another, and they can only
     6     be sent and received if their swift card is
     7     matching.     So it's not like an individual can
     8     sign off movements or transactions on the
     9     account.
    10             Q.       Do you know whether or not that
    11     correspondent account was used for Al Rajhi
    12     account holders generally, or was it, in
    13     fact, used solely for particular account
    14     holders?
    15                      MR. CURRAN:     Objection.     Beyond
    16             the scope.
    17                      You may answer.
    18                      THE WITNESS:     Yeah, I haven't
    19             prepared for that, but it was used for
    20             correspondent banking for Al Rajhi
    21             customers who qualified.
    22     QUESTIONS BY MR. CARTER:
    23             Q.       Was the foundation one of the
    24     customers that qualified?
    25                      MR. CURRAN:     Objection.     Beyond



   Golkow Litigation Services                                        Page 295
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 297 of 397
                                                            Material

     1             the scope.
     2                      You may answer.
     3                      THE WITNESS:     I have no direct
     4             knowledge of whether they did or they
     5             did not.
     6     QUESTIONS BY MR. CARTER:
     7             Q.       And do you happen to know
     8     whether Sulaiman al Rajhi made transfers
     9     through that correspondent bank account into
    10     the United States?
    11                      MR. CURRAN:     Same objection.
    12                      You may answer.
    13                      THE WITNESS:     I do not know
    14             that.
    15     QUESTIONS BY MR. CARTER:
    16             Q.       And the same question, do you
    17     know whether Abdul Rahman Abdullah al Rajhi
    18     used that account to transfer funds into the
    19     United States?
    20                      MR. CURRAN:     Objection.     Beyond
    21             the scope of limited jurisdictional
    22             discovery.
    23                      You may answer.
    24                      THE WITNESS:     Yeah, I do not
    25             know the answer to that question.



   Golkow Litigation Services                                        Page 296
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 298 of 397
                                                            Material

     1                      (Al Rajhi Bank 30(b)(6) Exhibit
     2             ARB 23 marked for identification.)
     3     QUESTIONS BY MR. CARTER:
     4             Q.       Can we mark as the next exhibit
     5     the document at Tab 22?
     6                      Is that loaded on your end,
     7     Mr. Galloway?
     8             A.       No, not yet, Mr. Carter.
     9                      MR. CURRAN:     We see -- we see a
    10             page on the screen, though.
    11                      MR. CARTER:     That's the page.
    12             We can go based on the screen.
    13                      MR. CURRAN:     Yeah, I just don't
    14             know if it's a one-page document or
    15             multiple page.
    16                      MR. CARTER:     It's a one-page.
    17                      THE WITNESS:     I don't see an Al
    18             Rajhi reference on the page that
    19             you're showing me.
    20     QUESTIONS BY MR. CARTER:
    21             Q.       Mr. Galloway, is the -- is the
    22     document on the scream in front of -- on the
    23     screen in front of you?
    24             A.       It's on the screen that I'm
    25     looking at you on, but it's not loaded on the



   Golkow Litigation Services                                        Page 297
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 299 of 397
                                                            Material

     1     laptop.
     2                      And as I mentioned, I don't see
     3     a reference to the Al Rajhi coding on the
     4     bottom of that document.
     5                      MR. CURRAN:     Oh, to the Bates
     6             number; is that what you mean?
     7                      THE WITNESS:     Yeah, yeah.
     8     QUESTIONS BY MR. CARTER:
     9             Q.       Oh, okay.     It was not.     It was
    10     received from another party in discovery.
    11                      Mr. Galloway, are you able to
    12     tell me whether or not this is a transaction
    13     that was carried out through Al Rajhi Bank's
    14     correspondent account at Chase Manhattan?
    15                      MR. CURRAN:     Objection.     Beyond
    16             the scope of limited jurisdictional
    17             discovery.
    18                      You may answer.
    19                      THE WITNESS:     It's not a
    20             document that I believe was provided
    21             from Al Rajhi Bank, and I've never
    22             seen it before, and I have no basis to
    23             comment.
    24     QUESTIONS BY MR. CARTER:
    25             Q.       Okay.    Were you able to



   Golkow Litigation Services                                        Page 298
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 300 of 397
                                                            Material

     1     ascertain the account number of the
     2     correspondent account at Chase Manhattan
     3     Bank?
     4                      MR. CURRAN:     Same objection.
     5                      You may answer.
     6                      THE WITNESS:     Yeah, I don't
     7             have that detail here.
     8     QUESTIONS BY MR. CARTER:
     9             Q.       Okay.    And so you're not able
    10     to determine whether or not the account
    11     number on this document matches the account
    12     number for Al Rajhi's correspondent account
    13     at Chase Manhattan?
    14                      MR. CURRAN:     Same objection.
    15                      You may answer.
    16                      THE WITNESS:     No, it's a level
    17             of detail that I did not prepare for,
    18             given the broad scope and the number
    19             of questions that I've been asked.
    20     QUESTIONS BY MR. CARTER:
    21             Q.       And the beneficiary listed on
    22     this document is an individual named Khaled
    23     bin Ibrahim Al-Swailem.
    24                      Do you see that?
    25                      MR. CURRAN:     Objection.     Beyond



   Golkow Litigation Services                                        Page 299
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 301 of 397
                                                            Material

     1             the scope.
     2                      You may answer.
     3                      THE WITNESS:     As I said, I've
     4             not seen this document before, but I
     5             can read a name on there that
     6             corresponds to what you've just said.
     7     QUESTIONS BY MR. CARTER:
     8             Q.       And Topic 2(b) concerns
     9     financial contributions provided by Sulaiman
    10     al Rajhi, Abdul Rahman, we now know Abdullah
    11     al Rajhi and others, to Khaled al-Swailem.
    12                      Do you see that topic?
    13             A.       I see 2(b) and the topic, yeah.
    14             Q.       Okay.    And as part of your
    15     preparations, were you able to determine
    16     whether or not the bank has information
    17     concerning financial contributions made from
    18     Al Rajhi accounts for either the foundation
    19     Sulaiman or Abdul Rahman al Rajhi in favor of
    20     Khaled bin Ibrahim Al-Swailem?
    21                      MR. CURRAN:     Objection.     Beyond
    22             the scope.
    23                      You may answer.
    24                      THE WITNESS:     The bank's not
    25             found any financial contributions from



   Golkow Litigation Services                                        Page 300
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 302 of 397
                                                            Material

     1             the bank to either Khaled Al-Swailem
     2             or the Da`wah office in America, which
     3             is in your document also known as
     4             Propagation Office in America, which
     5             you claim is operating out of the
     6             Saudi embassy.
     7                      And with respect to the person
     8             you referred to as Abdul Rahman al
     9             Rajhi, person has never had any role
    10             with the bank.
    11     QUESTIONS BY MR. CARTER:
    12             Q.       Did the bank determine whether
    13     or not there was any transfers from its
    14     account -- accounts during the relevant time
    15     period in favor of Khaled bin Ibrahim
    16     Al-Swailem?
    17                      And when I say accounts, I mean
    18     accounts for the foundation, Sulaiman al
    19     Rajhi or Abdullah Rahman al Rajhi.
    20                      MR. CURRAN:     Objection.     Beyond
    21             the scope.     Especially as to the
    22             foundation.
    23                      You may answer.
    24                      THE WITNESS:     No.    To the
    25             extent to which you're asking about



   Golkow Litigation Services                                        Page 301
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 303 of 397
                                                            Material

     1             the bank, the bank has not found any
     2             financial contribution from the bank
     3             to Khaled al-Swailem.
     4     QUESTIONS BY MR. CARTER:
     5             Q.       Yeah, no, I'm asking about the
     6     other individuals that are listed in the
     7     topic.    The topic concerns not only the
     8     bank's possible contributions but also any by
     9     Sulaiman al Rajhi, Abdullah Rahman al Rajhi.
    10                      Are you -- were you able to
    11     ascertain whether any such transactions
    12     occurred?
    13             A.       I have no details --
    14                      MR. CURRAN:     Same objections.
    15                      THE WITNESS:     Yeah, I have no
    16             detail on those questions, Mr. Carter.
    17     QUESTIONS BY MR. CARTER:
    18             Q.       And are -- the document that
    19     we've marked as an exhibit includes an Al
    20     Rajhi Banking & Investment Corp heading.
    21                      Do you see that?
    22                      MR. CURRAN:     Same objection.
    23                      You may answer.
    24                      THE WITNESS:     Yeah, as I've
    25             said, I've not seen this document



   Golkow Litigation Services                                        Page 302
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 304 of 397
                                                            Material

     1             before, but I can see those words on
     2             the screen.
     3     QUESTIONS BY MR. CARTER:
     4             Q.       Are you familiar with a
     5     document of this nature that was used by Al
     6     Rajhi Banking & Investment for purposes of
     7     transactions through the correspondent
     8     account at Chase Manhattan?
     9                      MR. CURRAN:     Same objection.
    10                      You may answer.
    11                      THE WITNESS:     I'm not familiar
    12             with that, no, sir.
    13     QUESTIONS BY MR. CARTER:
    14             Q.       So am I correct that sitting
    15     here today, you're not sure one way or
    16     another whether or not there were transfers
    17     from accounts held in the Sulaiman al Rajhi
    18     or Abdullah al Rajhi in favor of Khaled
    19     al-Swailem during the relevant time period?
    20                      MR. CURRAN:     Same objection.
    21                      You may answer.
    22                      THE WITNESS:     That's correct,
    23             I'm not aware.
    24     QUESTIONS BY MR. CARTER:
    25             Q.       And were you able to identify



   Golkow Litigation Services                                        Page 303
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 305 of 397
                                                            Material

     1     the account number for any Chase Manhattan
     2     Bank correspondent accounts that were used by
     3     Sulaiman al Rajhi or Abdul Rahman al Rajhi to
     4     send transfers to beneficiaries in the United
     5     States?
     6                      MR. CURRAN:     Same objection.
     7                      You may answer it.
     8                      THE WITNESS:     I'm sorry,
     9             Mr. Carter.      Just give me a moment,
    10             please.
    11                      MR. CURRAN:     Back to 13.
    12                      THE WITNESS:     13.
    13                      Yes.    Bank searches of
    14             Mr. Sulaiman al Rajhi's charity
    15             account revealed transactions only to
    16             Al Haramain in KSA.
    17                      And the bank's unaware of
    18             whether Mr. -- either Mr. Abdul
    19             Rahman al Rajhi or Mr. Sulaiman al
    20             Rajhi had any accounts in a personal
    21             capacity with Chase Manhattan.
    22     QUESTIONS BY MR. CARTER:
    23             Q.       Okay.    And did the -- does the
    24     bank have the capacity through its systems to
    25     determine whether or not there were transfers



   Golkow Litigation Services                                        Page 304
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 306 of 397
                                                            Material

     1     made on behalf of Sulaiman al Rajhi or Abdul
     2     Rahman al Rajhi using the correspondent
     3     account at Chase during the relevant time
     4     period?
     5                      MR. CURRAN:     Same objection.
     6             You may answer.
     7                      THE WITNESS:     I don't have
     8             direct knowledge whether that search
     9             is possible.
    10     QUESTIONS BY MR. CARTER:
    11             Q.       Do you know whether the
    12     correspondent account at Chase Manhattan Bank
    13     was operational throughout the 1998
    14     through 2004 time period?
    15                      MR. CURRAN:     Same objection.
    16                      You may answer.
    17                      THE WITNESS:     Yeah, I believe
    18             it was.
    19     QUESTIONS BY MR. CARTER:
    20             Q.       Do you know whether that same
    21     account was still open in 2015?
    22                      MR. CURRAN:     Same objection.
    23                      You may answer it.
    24                      THE WITNESS:     If you give me a
    25             moment.



   Golkow Litigation Services                                        Page 305
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 307 of 397
                                                            Material

     1                      MR. CURRAN:     And beyond the
     2             time period as well.
     3                      THE WITNESS:     The bank had a
     4             correspondent banking relationship
     5             with Chase between 1994 and 2004.           The
     6             periods either side of that, I can't
     7             comment on.
     8     QUESTIONS BY MR. CARTER:
     9             Q.       Turning to Topic Number 14, and
    10     focusing on the foundation initially.
    11                      Did you make inquiry to
    12     determine whether or not the foundation's
    13     accounts at Al Rajhi Bank were used to make
    14     transfers to any of the entities listed in A
    15     through J of inquiry number 14?
    16                      MR. CURRAN:     Objection.     Beyond
    17             the scope of limited jurisdictional
    18             discovery.
    19                      You may answer.
    20                      THE WITNESS:     The bank made
    21             searches for any contributions from
    22             the bank, not from the foundation, to
    23             the named entities on your list.
    24     QUESTIONS BY MR. CARTER:
    25             Q.       Okay.    Why did the bank conduct



   Golkow Litigation Services                                        Page 306
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 308 of 397
                                                            Material

     1     searches for contributions by the bank but
     2     not for the foundation?
     3                      MR. CURRAN:     Same objection.
     4                      You may answer.
     5                      THE WITNESS:     I don't have the
     6             basis to give you an answer to that.
     7     QUESTIONS BY MR. CARTER:
     8             Q.       Based on what you told me, it
     9     was feasible then for the bank to conduct
    10     searches to determine whether the bank made
    11     any contributions to those listed entities?
    12             A.       The bank --
    13                      MR. CURRAN:     Same objection.
    14                      You may answer.
    15                      THE WITNESS:     The bank has done
    16             searches and found no entries for
    17             those beneficiaries.
    18     QUESTIONS BY MR. CARTER:
    19             Q.       And from that, do I understand
    20     that it would be feasible for the bank to
    21     conduct similar searches to determine if the
    22     foundation made transfers from its Al Rajhi
    23     Bank accounts to those entities?
    24                      MR. CURRAN:     Same objection.
    25                      THE WITNESS:     Yeah, I have no



   Golkow Litigation Services                                        Page 307
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 309 of 397
                                                            Material

     1             detailed knowledge, but the bank has
     2             done the searches as I mentioned.
     3     QUESTIONS BY MR. CARTER:
     4             Q.       Well, the bank has done the
     5     searches to determine whether the bank itself
     6     sent funds to those entities.
     7                      What I'm asking is, would it be
     8     feasible for the bank to conduct the same
     9     searches for the foundation?
    10             A.       I can't --
    11                      MR. CURRAN:     Same objection.
    12                      You may answer.
    13                      THE WITNESS:     I can't
    14             definitively answer your question, but
    15             I can tell you the bank has done
    16             searches from the bank's accounts and
    17             found no entries.
    18     QUESTIONS BY MR. CARTER:
    19             Q.       Okay.    I want to be clear about
    20     this.
    21                      Did the bank conduct searches
    22     of the foundation's accounts at Al Rajhi Bank
    23     to determine if there were transfers to any
    24     of these entities?
    25                      MR. CURRAN:     Same objection.



   Golkow Litigation Services                                        Page 308
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 310 of 397
                                                            Material

     1                      You may answer.
     2                      THE WITNESS:     I don't believe
     3             they did.     I have no -- if they did, I
     4             have no knowledge of it.
     5     QUESTIONS BY MR. CARTER:
     6             Q.       Okay.    That's one of the
     7     specific topics listed in this inquiry.
     8                      Do you know why the bank did
     9     not conduct those searches but did do them
    10     for the bank itself?
    11                      MR. CURRAN:     Same objection.
    12                      You may answer.
    13                      THE WITNESS:     No, I do not.
    14     QUESTIONS BY MR. CARTER:
    15             Q.       And the same question.        Do you
    16     know whether the bank conducted searches of
    17     any accounts for Abdul Rahman Abdullah al
    18     Rajhi to determine if transfers were made
    19     from those accounts to the entities listed in
    20     14(a) through J?
    21                      MR. CURRAN:     Same objection.
    22                      You may answer.
    23                      THE WITNESS:     No, I do not.      I
    24             believe the searches were restricted
    25             to the bank's accounts.



   Golkow Litigation Services                                        Page 309
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 311 of 397
                                                            Material

     1     QUESTIONS BY MR. CARTER:
     2             Q.       And when you say "the bank's
     3     accounts," you're talking about the bank's
     4     own accounts?
     5             A.       Correct.
     6             Q.       And so I take it from that
     7     answer that searches were not conducted of
     8     accounts held in the name of Sulaiman al
     9     Rajhi to determine whether there were
    10     transfers to the entities identified in 14(a)
    11     through J?
    12                      MR. CURRAN:     Same objection.
    13                      You may answer.
    14                      THE WITNESS:     No, I have no
    15             knowledge of that.
    16                      (Al Rajhi Bank 30(b)(6) Exhibit
    17             ARB 24 marked for identification.)
    18     QUESTIONS BY MR. CARTER:
    19             Q.       Can we mark as the next exhibit
    20     the documents at Tab 13?
    21                      Mr. Galloway, is it still
    22     loading on your end?
    23             A.       Yeah, I'm afraid so.        Seems to
    24     be almost there.       Thanks for your patience.
    25                      I just got the banking document



   Golkow Litigation Services                                        Page 310
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 312 of 397
                                                            Material

     1     you were trying to send.         It just came
     2     through.     I'm not quite sure what's going on.
     3                      Excuse me for a moment.
     4                      Sorry, Mr. Carter, it's still
     5     work in progress at this end.           Apologies.
     6                      MR. CURRAN:     Mr. Carter, it
     7             looks like this will relate to
     8             category 1(b)?
     9                      MR. CARTER:     I think it would
    10             probably be 1(b), C, D.
    11     QUESTIONS BY MR. CARTER:
    12             Q.       Do we have it yet?
    13             A.       No, I'm sorry, it's still
    14     loading.
    15                      MR. CURRAN:     We have the first
    16             page on the screen, if that helps.
    17                      MR. CARTER:     Can we give
    18             this -- can we take a maybe three or
    19             four-minute break while we try to get
    20             this to load?      I could use a quick
    21             break.
    22                      THE WITNESS:     Okay.    Sure.
    23                      VIDEOGRAPHER:      Off record.     The
    24             time is 9:46.
    25              (Off the record at 9:46 p.m.)



   Golkow Litigation Services                                        Page 311
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 313 of 397
                                                            Material

     1                      VIDEOGRAPHER:      Back on record.
     2             Time is 10:02.
     3     QUESTIONS BY MR. CARTER:
     4             Q.       Mr. Galloway, before we went
     5     off the record for a break, we had marked as
     6     an exhibit a grouping of correspondence Al
     7     Rajhi Bank produced at 39593 through 39604.
     8                      And I --
     9             A.       If you could please refer me to
    10     the area in the questioning, that would be
    11     helpful.
    12             Q.       Sure.
    13                      The area in the questioning is
    14     under heading 1, and I think it would pertain
    15     to topics C and D.
    16             A.       Yeah, okay.     Thank you very
    17     much.
    18             Q.       Did you have an opportunity to
    19     review these communications in preparation
    20     for appearing today?
    21             A.       Yes, I have briefly.        If you
    22     give me a moment, I'll reread it.
    23                      Yeah, thank you.
    24             Q.       And, Mr. Galloway, the header
    25     on these documents indicate that they issue



   Golkow Litigation Services                                        Page 312
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 314 of 397
                                                            Material

     1     from the estate office of Sulaiman Abdul Aziz
     2     Al Rajhi.
     3                      Do you see that?
     4             A.       I see that.
     5             Q.       Is the estate office of
     6     Sulaiman Abdul Aziz Al Rajhi part of Al Rajhi
     7     Bank?
     8             A.       I don't believe so.       I've never
     9     heard that term before.
    10             Q.       Okay.    So based on that, is it
    11     your understanding that these are not
    12     business records of Al Rajhi Bank?
    13             A.       I don't believe they are, no,
    14     but I --
    15             Q.       They --
    16             A.       They're not on Al Rajhi
    17     letterhead, and they're on a letterhead
    18     that's unknown to me.
    19             Q.       And given that, it would be
    20     your understanding that these were not
    21     created by Al Rajhi Bank in the ordinary
    22     course of its business?
    23                      MR. CURRAN:     Objection as to
    24             form.
    25                      THE WITNESS:     Yeah, I can see



   Golkow Litigation Services                                        Page 313
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 315 of 397
                                                            Material

     1             they've got an Al Rajhi reference
     2             number on the bottom of them.          I don't
     3             know the provenance of the documents.
     4     QUESTIONS BY MR. CARTER:
     5             Q.       And do you have any
     6     understanding how documents relating to the
     7     estate office of Sulaiman Abdul Aziz Al Rajhi
     8     came to be in the possession of Al Rajhi
     9     Bank?
    10             A.       No, I don't have direct
    11     knowledge of that.
    12             Q.       Do you know whether Sulaiman al
    13     Rajhi was conducting activities of his estate
    14     office from within his office at the bank?
    15             A.       I don't know the answer to
    16     that.
    17             Q.       And do you know whether the
    18     estate office of Sulaiman Abdul Aziz Al Rajhi
    19     has any relationship to the Sulaiman Abdul
    20     Aziz Al Rajhi foundation?
    21             A.       I don't know the answer to that
    22     either.
    23             Q.       But it's your understanding
    24     that these, as we've discussed earlier, would
    25     be -- would not be record -- business records



   Golkow Litigation Services                                        Page 314
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 316 of 397
                                                            Material

     1     of Al Rajhi Bank, correct?
     2                      MR. CURRAN:     Objection as to
     3             form.
     4                      You may answer.
     5                      THE WITNESS:     I would be
     6             speculating, so -- they don't have any
     7             Al Rajhi logos on them.         I don't know
     8             the provenance of them.
     9     QUESTIONS BY MR. CARTER:
    10             Q.       And again, you're not aware of
    11     any estate office of Sulaiman Abdul Aziz Al
    12     Rajhi that is a formal part of Al Rajhi Bank,
    13     correct?
    14                      MR. CURRAN:     Objection.     Beyond
    15             the scope of the 30(b)(6) notice.
    16                      You may answer.
    17                      THE WITNESS:     Yeah, I didn't
    18             prepare to answer that question, sir.
    19                      (Al Rajhi Bank 30(b)(6) Exhibit
    20             ARB 25 marked for identification.)
    21     QUESTIONS BY MR. CARTER:
    22             Q.       Okay.    Can we mark as the next
    23     exhibit the FBI document at Tab 60?
    24                      And for your reference,
    25     Mr. Galloway, this concerns Topic 35.



   Golkow Litigation Services                                        Page 315
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 317 of 397
                                                            Material

     1             A.       Thank you.
     2             Q.       And, Mr. Galloway, did you
     3     undertake efforts to prepare yourself to
     4     testify concerning the topics listed in Item
     5     Number 35?
     6             A.       Yes, I did.
     7             Q.       Okay.    And generally speaking,
     8     what did you do to prepare yourself to
     9     testify as to the bank's knowledge on those
    10     topics?
    11             A.       I checked HR records in
    12     relation to this matter and checked
    13     correspondence in HR files and so forth to
    14     understand this matter.
    15             Q.       And when you say you checked
    16     those files, did you search for them yourself
    17     or do you have the assistance of someone in
    18     HR to retrieve these documents?
    19             A.       Yeah, I had assistance from
    20     people in HR to do that.
    21             Q.       And do you recall who in HR
    22     helped you with that effort?
    23             A.       Yeah.    If you give me one
    24     moment, I'll give you the names.
    25                      It would have been the senior



   Golkow Litigation Services                                        Page 316
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 318 of 397
                                                            Material

     1     director of HR admin Abdullah Al-Subail and
     2     the senior director of HR, Dhaher Al-Enazi.
     3             Q.       And based on the inquiry they
     4     assisted you in conducting, were you able to
     5     determine whether Towayan Abdallah Al-Towayan
     6     was employed by Al Rajhi Bank during the
     7     period between 1998 and 2002?
     8             A.       He was employed.       His start
     9     date was 26 September '96.          His end date was
    10     9 August 2002, for the record.
    11             Q.       And were you able to ascertain
    12     what his job titles were during that
    13     approximately six-year period?
    14             A.       Yeah, his final job title was
    15     team leader in Sharia control.           He started in
    16     a more junior role and then had a title for
    17     that.    But at the time of departure, his
    18     title was team leader in Sharia control.
    19             Q.       What does Sharia control do, if
    20     you know?
    21             A.       Yeah, so Sharia group has two
    22     divisions:     One is related to product design
    23     and process design, and the other is related
    24     to -- to the auditing of the compliance with
    25     the Sharia products.



   Golkow Litigation Services                                        Page 317
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 319 of 397
                                                            Material

     1                      And Mr. Towayan was in the
     2     audit part that was related to the Sharia
     3     compliance of the products.
     4             Q.       And so do I understand that
     5     that department had responsibility for
     6     ensuring that financial products offered by
     7     Al Rajhi Bank are Sharia-compliant?
     8             A.       Auditing the application of the
     9     products.     The design was on the other
    10     division.     So this was an audit function,
    11     specific audit function.
    12             Q.       So it had -- its role was to
    13     audit the actual application of the products
    14     in use to make sure that the application
    15     complied with Islamic law?
    16             A.       That's my understanding.
    17             Q.       And based on the HR records you
    18     had available to you, do you have any
    19     understanding what his qualifications were
    20     for that role?
    21             A.       Yeah, I don't have them in
    22     front of me, but he had suitable academic
    23     qualifications to work in that area.
    24             Q.       And do you know what the
    25     suitable qualifications for working in that



   Golkow Litigation Services                                        Page 318
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 320 of 397
                                                            Material

     1     area are?
     2             A.       From memory, it was a degree,
     3     and it was related to Islamic studies.             So he
     4     had -- he had the appropriate qualification.
     5             Q.       And do you recall where he got
     6     his degree in Islamic studies?
     7             A.       I don't have that in front of
     8     me, sir, no, but it was, I believe, in a
     9     Saudi university.
    10             Q.       And were you able to ascertain
    11     whether or not Towayan Abdullah Al-Towayan
    12     was a resident in the United States at any
    13     point while employed with Al Rajhi Bank?
    14             A.       He had no reason with the bank
    15     to travel to the United States, and the bank
    16     has no record of him traveling to the United
    17     States.
    18             Q.       Was he continuously employed by
    19     Al Rajhi Bank between 1996 and 2002?
    20             A.       It's my understanding.
    21             Q.       And is it your understanding
    22     that he was receiving compensation from the
    23     bank during that period of time?
    24             A.       Yeah, he was an employee.
    25             Q.       And do you know whether or not



   Golkow Litigation Services                                         Page 319
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 321 of 397
                                                            Material

     1     he was an employee receiving compensation
     2     between April of 2001 and August of 2001?
     3             A.       I only have his start and end
     4     date of his employment record in the '96 to
     5     2002 date.
     6             Q.       But based on the information
     7     you have, he was continuously receiving
     8     compensation throughout that period?
     9             A.       That's my understanding.
    10             Q.       And the FBI document that we've
    11     marked as an exhibit indicates that
    12     Mr. Al-Towayan was employed by Al Rajhi in
    13     the compliance section where he reviews
    14     contracts for their compliance with company
    15     rules as well as Islamic laws in the 2000,
    16     2001 time period.
    17                      Is that consistent with what's
    18     reflected in the employment records?
    19             A.       It's -- yeah, it's similar to.
    20             Q.       And the document indicates that
    21     Al-Towayan was in the US to study English at
    22     the behest of Al Rajhi, and that Al Rajhi was
    23     paying for all of his related costs.
    24                      Were you able to inquire about
    25     that?



   Golkow Litigation Services                                        Page 320
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 322 of 397
                                                            Material

     1             A.       I have, and it's -- we have
     2     established that that's categorically not the
     3     case.
     4             Q.       I'm sorry, can you repeat your
     5     answer?
     6             A.       I said, I did inquire about
     7     that, and we've established that that was
     8     categorically not the case.          He was not in
     9     the US to study English at the behest of or
    10     with the support of or with the knowledge of
    11     Al Rajhi Bank.
    12             Q.       And is there any indication
    13     that Mr. Towayan was on leave from his
    14     employment at the bank during any period in
    15     2001?
    16                      MR. CURRAN:     Objection.     Vague.
    17                      You may answer.
    18                      THE WITNESS:     He had accrued
    19             annual leave amassed, and he took a
    20             period of leave from June 23, 2001,
    21             until mid September 2001.
    22     QUESTIONS BY MR. CARTER:
    23             Q.       And what about the period from
    24     early April into June of 2001?
    25             A.       I have no record of that.



   Golkow Litigation Services                                        Page 321
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 323 of 397
                                                            Material

     1             Q.       And would Mr. Towayan have been
     2     able to fulfill his job responsibilities at
     3     Al Rajhi Bank between April of 2001 and June
     4     of 2001 when the records indicate he took
     5     leave while in the United States?
     6                      MR. CURRAN:     Objection as to
     7             form.
     8                      You may answer.
     9                      THE WITNESS:     Yeah, I said the
    10             dates of the leave were 23 June until
    11             mid-September 2001.
    12     QUESTIONS BY MR. CARTER:
    13             Q.       Yeah.    And what I'm asking is
    14     that the document here indicates that he
    15     moved into an apartment in the United States
    16     in April of 2001.
    17                      And what I'm asking is, you
    18     know, whether or not it would have been
    19     possible -- or does Al Rajhi Bank have any
    20     record as to what he was doing from April to
    21     June, and was he employed?
    22             A.       The bank has no record of him
    23     being in the United States, and his
    24     employment record showed that he was employed
    25     by the bank at that time.



   Golkow Litigation Services                                        Page 322
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 324 of 397
                                                            Material

     1             Q.       And if an employee up and left
     2     and went to the United States for the better
     3     part of three months in this time period of
     4     2001, would you expect that there would be
     5     some indication in the bank's records about
     6     why?
     7                      MR. CURRAN:     Objection as to
     8             form.
     9                      You may answer.
    10                      THE WITNESS:     If an employee
    11             doesn't turn up to work for an
    12             extended period, there's a process
    13             around job abandonment to terminate
    14             the employment.      That's a standard
    15             process, not something specific for an
    16             individual.
    17     QUESTIONS BY MR. CARTER:
    18             Q.       And were there any records
    19     relating to that process having been
    20     implemented with regard to Mr. Al-Towayan
    21     with respect to the period of April 2001
    22     through June 23rd of 2001?
    23             A.       No.
    24             Q.       Were you able to identify
    25     anyone at the bank who worked with



   Golkow Litigation Services                                        Page 323
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 325 of 397
                                                            Material

     1     Mr. Al-Towayan during this time period and
     2     was familiar with his activities in the
     3     summer of 2000 -- or in April to September
     4     of 2001 time period?
     5             A.       No.   I asked the Sharia group,
     6     and nobody remembers him, or nobody was here
     7     at the same time.
     8             Q.       And were you able to identify
     9     who his immediate supervisor was during that
    10     time period?
    11             A.       I don't have that information.
    12             Q.       And was any effort made to try
    13     and locate and contact Mr. Al-Towayan to
    14     discuss these issues?
    15             A.       I would be guessing.        I haven't
    16     got a record of that.
    17             Q.       And do you happen to know
    18     whether or not his employment file indicated
    19     last known address and contact information?
    20             A.       I do not know that.       I assume
    21     his HR file would have had his address, but I
    22     haven't sighted that.
    23             Q.       And do you know -- is there any
    24     indication in the documents you reviewed why
    25     he left Al Rajhi Bank in 2002?



   Golkow Litigation Services                                        Page 324
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 326 of 397
                                                            Material

     1             A.       Yeah, I believe once he
     2     returned -- once he returned from leave, at
     3     some period he did abandon the job, and he
     4     was terminated on that basis.
     5             Q.       And so his leave concluded, as
     6     I understand it, sometime in September
     7     of 2001?
     8             A.       That's correct.      Sometime
     9     mid-September, I understand.
    10             Q.       And he was terminated at some
    11     point in 2002?
    12             A.       Yeah, that's correct.        9th of
    13     August was his last official date.
    14             Q.       Did he return to the bank and
    15     resume his duties for at least some period of
    16     time after his leave concluded?
    17             A.       I believe he did.
    18             Q.       And do you have any information
    19     available concerning when he was determined
    20     to have abandoned his job responsibilities?
    21             A.       I don't have those dates.
    22             Q.       Do you know whether the bank
    23     has conducted any investigation beyond the
    24     review of the employment files to determine
    25     whether or not he was, in fact, in the United



   Golkow Litigation Services                                        Page 325
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 327 of 397
                                                            Material

     1     States from April of 2001 through when his
     2     leave began in June of 2001?
     3             A.       I'm not sure what you mean by
     4     "investigation."
     5             Q.       Well, do you know whether the
     6     bank, in light of this information in an FBI
     7     report relating to the events of 9/11,
     8     attempted to conduct an inquiry by contacting
     9     people to determine whether or not the
    10     information conveyed in here was accurate?
    11             A.       Well --
    12             Q.       About his -- about his presence
    13     in the United States.
    14             A.       What we've done is gone back to
    15     the HR records to understand his role, his
    16     time at the bank, and also whether there
    17     would be any reason the bank would have asked
    18     him to travel or whether he would have
    19     traveled on any bank-related business.
    20                      We found no records of any of
    21     those things.
    22             Q.       And was -- I assume the bank
    23     has details concerning how he was being paid
    24     during the 2001 time period?
    25             A.       I'm sorry.     Could you say that



   Golkow Litigation Services                                        Page 326
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 328 of 397
                                                            Material

     1     again?
     2             Q.       In other words, I assume the
     3     bank has available to it information
     4     concerning the mechanism through which his
     5     compensation was sent to him during the 2001
     6     time period?
     7             A.       I don't know specifically, but
     8     I assume he would have been receiving salary
     9     into his normal Al Rajhi account, just as
    10     other employees do.        But I don't have
    11     familiarity with the payroll practices
    12     some -- that period ago.
    13             Q.       And I gather from that that you
    14     don't know whether or not there was any
    15     change during 2001 with regard to the account
    16     nominated to receive salary and compensation?
    17             A.       I don't have that detail, no.
    18             Q.       And I think you may have
    19     mentioned this, but do you know the identity
    20     of the individual he would have been
    21     responsible to report to during the period of
    22     April 2001 until he took leave in June
    23     of 2001?
    24             A.       You did ask me that, and I said
    25     I didn't know.



   Golkow Litigation Services                                        Page 327
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 329 of 397
                                                            Material

     1             Q.       Mr. Galloway, are you aware
     2     that Al Rajhi Bank was first named in a
     3     lawsuit in the United States in relation to
     4     the events of 9/11 back in the 2002 time
     5     frame?
     6             A.       Could I ask the section of the
     7     question sheet you're referring to, please?
     8             Q.       Sure.    It's primarily 45.
     9             A.       Thank you.     Thank you for that.
    10                      MR. CARTER:     And, Carrie, can
    11             you repeat -- can you read back the
    12             question for us?
    13                      (Court Reporter read back
    14             question.)
    15                      THE WITNESS:     I have some
    16             understanding of that.
    17     QUESTIONS BY MR. CARTER:
    18             Q.       And are you also aware that the
    19     claims first filed in the 2002, 2003 time
    20     period remained pending for a number of years
    21     thereafter?
    22             A.       I don't have detailed
    23     understanding of the legal process, sir, I'm
    24     afraid.
    25             Q.       Do you know whether or not, in



   Golkow Litigation Services                                        Page 328
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 330 of 397
                                                            Material

     1     light of the claims that were brought against
     2     Al Rajhi Bank in those early years after the
     3     September 11th attacks, any litigation hold
     4     was put in place to preserve documents
     5     relevant to those claims?
     6                      MR. CURRAN:     You can answer
     7             that yes or no.
     8                      THE WITNESS:     Yes.
     9     QUESTIONS BY MR. CARTER:
    10             Q.       And do you know when that was
    11     put in place?
    12                      MR. CURRAN:     You can give a
    13             date or an approximation.
    14                      THE WITNESS:     I believe it was
    15             at the time of the suit in 2002.
    16     QUESTIONS BY MR. CARTER:
    17             Q.       And do you know what records
    18     that litigation hold specified needed to be
    19     preserved?
    20                      MR. CURRAN:     As to that
    21             question, I'm going to assert the
    22             attorney-client -- or attorney-client
    23             privilege and work product doctrine
    24             and instruct the witness not to
    25             answer.



   Golkow Litigation Services                                        Page 329
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 331 of 397
                                                            Material

     1                      MR. CARTER:     And, Chris,
     2             just --
     3                      MR. CURRAN:     Yeah.
     4                      MR. CARTER:     We -- we've
     5             obviously exchanged -- sorry.          We've
     6             exchanged briefs on this, and we
     7             obviously think the circumstances
     8             allow this to be discovered.
     9                      That's an issue pending for the
    10             Court, so I think we'll reserve some
    11             time to get into that.
    12     QUESTIONS BY MR. CARTER:
    13             Q.       Do you know whether or not the
    14     litigation hold that was put in place around
    15     the time in the 2002 suit was lifted at some
    16     point?
    17                      MR. CURRAN:     You can answer
    18             that yes or no.
    19                      THE WITNESS:     I don't have
    20             direct knowledge of the workings of
    21             the litigation hold.
    22     QUESTIONS BY MR. CARTER:
    23             Q.       And do you know whether the
    24     litigation hold that was put in place in 2002
    25     extended to documents relating to the bank's



   Golkow Litigation Services                                        Page 330
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 332 of 397
                                                            Material

     1     relationships with the Da`wah organizations?
     2                      MR. CURRAN:     I'm going to
     3             instruct the witness not to answer on
     4             the basis of attorney-client privilege
     5             and work product doctrine.
     6     QUESTIONS BY MR. CARTER:
     7             Q.       Do you know whether any
     8     documents were collected and placed in a
     9     designated location pursuant to the
    10     litigation hold?
    11                      MR. CURRAN:     You can answer
    12             that yes or no.
    13                      THE WITNESS:     Any litigation
    14             hold doesn't change the bank's overall
    15             practice not to destroy documents, and
    16             our archival process is to retain the
    17             documents in their existing safe
    18             repository.
    19     QUESTIONS BY MR. CARTER:
    20             Q.       And do you happen to know
    21     whether or not the litigation hold directed
    22     that documents should not be sent to the
    23     bank's paper archives?
    24                      MR. CURRAN:     Again, that one's
    25             getting to the content of the



   Golkow Litigation Services                                        Page 331
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 333 of 397
                                                            Material

     1             litigation hold, so I'll instruct the
     2             witness not to answer on the basis of
     3             attorney-client privilege and work
     4             product doctrine.
     5     QUESTIONS BY MR. CARTER:
     6             Q.       Mr. Galloway, are you aware
     7     that when the plaintiffs served discovery
     8     requests in this litigation, Al Rajhi Bank
     9     offered information concerning the manner in
    10     which its paper records from the relevant
    11     time period were stored and some of the
    12     challenges it would face in trying to
    13     identify the full range of responsive
    14     records?
    15                      MR. CURRAN:     You may answer
    16             that yes or no.
    17                      THE WITNESS:     I've got no
    18             specific familiarity with that.           I
    19             know the document storage procedures,
    20             but I'm not aware of the issue that
    21             you pointed.
    22     QUESTIONS BY MR. CARTER:
    23             Q.       Do you know whether any of the
    24     responsive documents on the topics we've been
    25     discussing were sent to Al Rajhi Bank's



   Golkow Litigation Services                                        Page 332
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 334 of 397
                                                            Material

     1     archive after the litigation hold was put in
     2     place?
     3                      MR. CURRAN:     You may answer
     4             that yes or no.
     5                      THE WITNESS:     I'm not aware.
     6     QUESTIONS BY MR. CARTER:
     7             Q.       Do you know whether the bank
     8     continued to send documents that were subject
     9     to its litigation hold to its archive between
    10     2002 and 2014?
    11                      MR. CURRAN:     You can answer
    12             that yes or no.
    13                      THE WITNESS:     Could you repeat
    14             the question one more time?          I'm
    15             sorry.
    16     QUESTIONS BY MR. CARTER:
    17             Q.       Yeah.
    18                      Do you know whether Al Rajhi
    19     Bank sent documents that were subject to the
    20     litigation hold off to the archives at any
    21     point between 2002, when the litigation hold
    22     went in place, and 2014?
    23             A.       What I can say is that any
    24     litigation hold doesn't change the bank's
    25     overall practice to not destroy documents,



   Golkow Litigation Services                                        Page 333
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 335 of 397
                                                            Material

     1     and we store the documents in situ in the
     2     normal archive locations.
     3             Q.       And so the -- am I correct in
     4     understanding that the litigation hold that
     5     was in place would not have affected Al Rajhi
     6     Bank's archiving practices?
     7                      MR. CURRAN:     You can answer
     8             that yes or no.
     9                      THE WITNESS:     It's my
    10             understanding.
    11                      MR. CURRAN:     Mr. Carter, I'm
    12             being told that your time is up, so
    13             please wrap it up.
    14                      MR. CARTER:     Yeah, I mean,
    15             there's been some dialogue and some
    16             pauses, and the custom has been to be
    17             accommodating of those issues.
    18                      And so what I'll do is I'll
    19             reserve any remaining time based on
    20             review of the video and any
    21             appropriate time to claw back for
    22             follow-up, including as to any issues
    23             that are subject to the current
    24             motions to compel.
    25                      MR. CURRAN:     Let me ask the



   Golkow Litigation Services                                        Page 334
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 336 of 397
                                                            Material

     1             videographer for the time count now,
     2             if I may.
     3                      VIDEOGRAPHER:      Yes, seven hours
     4             and five minutes on the record.
     5                      MR. CURRAN:     All right.     Thank
     6             you, Mr. Carter.
     7                      VIDEOGRAPHER:      Okay.    Off
     8             record.    Time is 10:30 --
     9                      MR. CURRAN:     No.
    10                      VIDEOGRAPHER:      Sorry.
    11                      MR. CURRAN:     Yeah, I see no
    12             reason to go off the record.
    13                      I've got some questions for the
    14             witness.     I'd like to proceed right
    15             away, if that's all right.
    16                      MR. CARTER:     Sure.
    17                      VIDEOGRAPHER:      Yes.    On record.
    18                      CROSS-EXAMINATION
    19     QUESTIONS BY MR. CURRAN:
    20             Q.       All right.     So, Mr. Galloway,
    21     can you summarize briefly for me, again, in
    22     general terms what you did to prepare for
    23     this deposition?
    24             A.       Yeah, I -- excuse me for one
    25     second.



   Golkow Litigation Services                                        Page 335
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 337 of 397
                                                            Material

     1                      In the two weeks that I've been
     2     notified I was the -- to provide the
     3     deposition on behalf of the bank, I've worked
     4     on this full-time, more than 100 to 120 hours
     5     of preparation, seven days, and read the
     6     provided documents, met with some 28-plus
     7     people, several of them on numerous
     8     occasions; prepared responses to all of the
     9     questions posed by the plaintiffs, including
    10     the 45 questions and all the subsections; and
    11     applied myself as diligently as possible to
    12     ensure that we could speak to their very
    13     broad range of topics that were proposed for
    14     the conversation.
    15             Q.       So Mr. Carter showed you a
    16     series of documents throughout his
    17     examination.
    18                      Would it have been helpful to
    19     you to have those documents ahead of time
    20     before testifying today?
    21             A.       Absolutely.
    22             Q.       Why is that?
    23             A.       Because they were documents
    24     that I wasn't familiar with, and/or they were
    25     working at a level of detail which I think



   Golkow Litigation Services                                        Page 336
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 338 of 397
                                                            Material

     1     was not what I had read as the spirit of what
     2     I was being asked to respond to.
     3             Q.       I'll call your attention to a
     4     couple of the areas of inquiry, if I may,
     5     starting with area 1.        Okay?
     6                      And specifically with respect
     7     to area of inquiry 1(a), "The bank's accounts
     8     established or held in the name of, on behalf
     9     of, and/or for the benefit of Al Haramain,
    10     IIRO and Muwaffaq" --
    11             A.       Yes.
    12             Q.       -- "and their principals."
    13                      What did you determine to be
    14     the bank's knowledge as to that subject?
    15             A.       And for Al Haramain KSA and
    16     IIRO KSA, the bank held accounts during the
    17     relevant period, but for not Muwaffaq.
    18                      And for the principals, ten
    19     individuals were searched.
    20                      And then for Al Haramain and
    21     IIRO, two were searched.
    22             Q.       All right.     And what were the
    23     findings?
    24             A.       We found ten Al Haramain and
    25     two IIRO accounts.



   Golkow Litigation Services                                        Page 337
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 339 of 397
                                                            Material

     1             Q.       And with respect to the bank's
     2     own records -- I'm sorry.         Yeah.    With
     3     respect to accounts at the bank --
     4             A.       Yeah.
     5             Q.       Oh, I'm sorry.      You already
     6     said that Al Haramain and IIRO had accounts,
     7     and Muwaffaq did not?
     8             A.       That's correct.
     9             Q.       Okay.    In --
    10             A.       Al Haramain KSA and IIRO KSA,
    11     just for the record.
    12             Q.       Got it.    Thank you.
    13                      So was Prince Turki bin Fahad
    14     bin Jalawi Al Saud among the IIRO officials
    15     that you did search for?
    16             A.       He was searched and found not
    17     to be a customer.
    18             Q.       Okay.    Did you err or misspeak
    19     in responding to a question by Mr. Carter on
    20     that point?
    21             A.       I believe -- I believe I may
    22     have.
    23             Q.       But to be clear, that was
    24     searched for, and there was no account in the
    25     name of Prince Turki?



   Golkow Litigation Services                                        Page 338
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 340 of 397
                                                            Material

     1             A.       That's my understanding, yes.
     2             Q.       That's your conclusion based on
     3     your --
     4             A.       Correct.
     5             Q.       -- assessment of the bank's
     6     knowledge?
     7             A.       Correct.
     8             Q.       Okay.    And you -- I think you
     9     testified earlier that there were a number of
    10     accounts for both Al Haramain and IIRO at the
    11     bank.
    12             A.       That's correct.
    13             Q.       Over a period of years.
    14     Correct?
    15             A.       That's correct.
    16             Q.       And I think you testified at
    17     one point there was a consolidation of those
    18     accounts for each of those charities.
    19                      Is that right?
    20             A.       That's correct.
    21             Q.       And I think you testified that
    22     that was in or around 2003.
    23                      Does that sound right?
    24             A.       Yes, that sounds right.
    25             Q.       So if there was a consolidation



   Golkow Litigation Services                                        Page 339
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 341 of 397
                                                            Material

     1     of those accounts at that point, does that
     2     indicate that the accounts were separate
     3     before then, at least to some extent?
     4             A.       Yes, it does.
     5             Q.       Okay.    And what -- so does that
     6     mean there were various accounts opened at
     7     various times over the years?
     8             A.       Yes.    As I told Mr. Carter,
     9     they were opened for different projects over
    10     a period of time.
    11             Q.       Okay.    And when those
    12     unconsolidated accounts were being opened,
    13     did the bank have onboarding processes that
    14     it followed?
    15             A.       Yes, it did.
    16             Q.       Okay.    Can you describe in
    17     general terms what those onboarding processes
    18     were?
    19             A.       Yeah.    Onboarding processes at
    20     the KYC, processes described in the branch
    21     manual, include identification, individual
    22     collection of their ID cards, photographs, et
    23     cetera.
    24             Q.       Okay.    So if I'm understanding
    25     this correctly, there was repeated onboarding



   Golkow Litigation Services                                        Page 340
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 342 of 397
                                                            Material

     1     or KYC processes done with respect to IIRO
     2     KSA and Al Haramain KSA over the years.
     3             A.       Yeah.    All of the onboarding
     4     processes were followed, and the order of
     5     processes were then ensuring that that would
     6     happen.
     7             Q.       I want to turn your attention
     8     to Subsection 1(b), which deals with
     9     financial contributions provided to Al
    10     Haramain, IIRO or Muwaffaq by the bank and
    11     Sheikh Sulaiman.
    12                      What did you determine to be
    13     the bank's knowledge on that subject?
    14             A.       Yeah.    With respect to the bank
    15     during that period, the bank hasn't made any
    16     financial contributions to any of the three
    17     organizations of Al Haramain KSA, IIRO KSA or
    18     Muwaffaq, and that's as validated in the core
    19     banking records search.
    20                      With respect to Mr. Sulaiman al
    21     Rajhi, the bank's identified and produced
    22     transactions during the relevant period on
    23     the accounts of both Mr. Sulaiman al Rajhi
    24     and the Sulaiman bin Abdulaziz al Rajhi
    25     charitable foundation.



   Golkow Litigation Services                                        Page 341
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 343 of 397
                                                            Material

     1             Q.       And to what organizations did
     2     Sulaiman al Rajhi and the Sulaiman al Rajhi
     3     foundation contribute to?
     4             A.       He did not contribute to IIRO.
     5     He contributed to Al Haramain KSA.
     6             Q.       Okay.    And how about Muwaffaq?
     7             A.       He did not contribute to
     8     Muwaffaq, as far as I know.
     9             Q.       Okay.    I'd like to turn your
    10     attention to area of inquiry 1(d).            And this
    11     relates to Sulaiman al Rajhi's membership or
    12     service on IIRO boards, councils, committees
    13     or governing committee.
    14                      What did you conclude to be the
    15     bank's knowledge on that subject?
    16             A.       The bank is not aware of any
    17     role by Sulaiman al Rajhi on IIRO boards, on
    18     their councils, their committees or their
    19     governing bodies during the period in
    20     question.
    21                      The bank is also aware that
    22     Sulaiman al Rajhi resigned from the IIRO
    23     board by a letter on June 20, 1992.            And the
    24     bank produced a letter dated October 1998
    25     which attaches ten earlier letters from



   Golkow Litigation Services                                        Page 342
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 344 of 397
                                                            Material

     1     Mr. Sulaiman al Rajhi or his office advising
     2     his 1992 resignation and asking to be removed
     3     from any and all IIRO correspondence lists.
     4                      So he made numerous and
     5     repeated attempts, totaling ten, as we've
     6     understood.
     7             Q.       Do I recall correctly that
     8     Mr. Carter showed you that October 4, 1998
     9     letter with all of its attachments?
    10             A.       Yes, he did.
    11             Q.       And I think we established --
    12     or you established during your testimony
    13     under the questioning of Mr. Carter that that
    14     letter came from the files at Al Rajhi Bank?
    15             A.       I believe so, yes.
    16             Q.       Now, it bore the letterhead of
    17     Sheikh -- of Sulaiman al Rajhi's estate, I
    18     believe, but it was found in the files of the
    19     bank, correct?
    20             A.       That's correct.
    21             Q.       And in 1998, Sulaiman al Rajhi
    22     was a high-level official at the bank,
    23     correct?
    24             A.       That's correct.
    25             Q.       Do you see anything



   Golkow Litigation Services                                        Page 343
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 345 of 397
                                                            Material

     1     particularly unusual about his board
     2     membership documents being stored at the bank
     3     if he was a high officer?
     4             A.       No, I do not.
     5             Q.       Do you have any question to
     6     doubt the authenticity or the bona fides of
     7     that document that Mr. Carter showed you?
     8             A.       No, I do not.
     9                      MR. CARTER:     Objection.
    10             Foundation.
    11     QUESTIONS BY MR. CURRAN:
    12             Q.       I'd now like to turn your
    13     attention to a different subject, to area of
    14     inquiry number 3, and in particular 3(a),
    15     which relates to "SAMA's general role in
    16     overseeing, regulating and supervising Al
    17     Rajhi Bank's banking operations, practices
    18     and procedures."
    19                      Sir, what did you conclude was
    20     the bank's knowledge as to that subject?
    21             A.       SAMA is the primary supervising
    22     entity for the bank.        They're our key
    23     regulator, and they issue all the regulations
    24     and directives related to advising The
    25     Kingdom, including the bank, the licensing,



   Golkow Litigation Services                                        Page 344
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 346 of 397
                                                            Material

     1     the operating, the supervision and audit.
     2     And the bank must comply with SAMA directives
     3     and regulations.
     4             Q.       And to the best of your
     5     knowledge, has the bank complied with SAMA's
     6     regulation in the relevant period?
     7             A.       To the best of my knowledge,
     8     they have.
     9                      MR. CARTER:     Objection.     Form.
    10     QUESTIONS BY MR. CURRAN:
    11             Q.       All right.     I'd like to turn
    12     your attention to 3(b), and that relates to
    13     "SAMA's post-9/11 inquiries, investigations
    14     and audits of Al Rajhi bank accounts, banking
    15     transactions and customers, including
    16     communications regarding same."
    17                      Sir, what did you conclude to
    18     be the bank's knowledge as to that subject?
    19             A.       After 9/11, the bank continued
    20     with all the existing internal and external
    21     audits and controls, but in addition, the
    22     SAMA self -- bank self supervisory committee
    23     was created.
    24                      SAMA agreed with all the banks
    25     to create the committee, which we spoke of



   Golkow Litigation Services                                        Page 345
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 347 of 397
                                                            Material

     1     earlier.     It comprised senior representatives
     2     from all the banks.        And that was designed to
     3     fully cooperate with the US executive order
     4     of the Office of Foreign Asset Control, OFAC,
     5     and SAMA's related request for information
     6     and productions.
     7                      The bank complied in full with
     8     all of that in the regular -- in regular
     9     communication with SAMA, and SAMA visited
    10     with all the banks, including Al Rajhi.             And
    11     this was the primary venue for managing the
    12     events post-9/11.
    13             Q.       Sir, turn to area of
    14     inquiry 3(c).      And this deals with "the roles
    15     and responsibilities of Al Rajhi Bank's legal
    16     affairs division and internal auditing
    17     division in responding to SAMA's post-9/11
    18     inquiries, investigations and audits relating
    19     to terrorism or terrorism financing,
    20     including communications regarding same."
    21                      And, sir, what did you conclude
    22     to be the bank's knowledge on that subject?
    23             A.       So I --
    24                      MR. CARTER:     Objection.     Form.
    25                      THE WITNESS:     I represented the



   Golkow Litigation Services                                        Page 346
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 348 of 397
                                                            Material

     1             bank's legal department, was nominated
     2             as the representative on the SAMA
     3             bank's self supervisory committee, the
     4             source of that being the self
     5             supervisory committee minutes.
     6                      Typically the bank's legal
     7             department passed on the bank's
     8             internal audit all of the instructions
     9             from SAMA.
    10                      Internal audit then compiled
    11             the information requests -- requested
    12             by SAMA, and they sent it to SAMA with
    13             a copy to the legal department.
    14     QUESTIONS BY MR. CURRAN:
    15             Q.       I'd like to turn your attention
    16     to 3(f).     That deals with "the treatment of
    17     accounts for Al Haramain and IIRO in the wake
    18     of the designations of offices of those
    19     organizations after 9/11."
    20                      What did you conclude to be the
    21     bank's knowledge with respect to that
    22     subject?
    23             A.       On the 7th of March 2002, SAMA
    24     instructed all banks to block accounts of
    25     foreign entities of Al Haramain Bosnia, Al



   Golkow Litigation Services                                        Page 347
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 349 of 397
                                                            Material

     1     Haramain Somalia, and any other accounts of
     2     IIRO in Albania.
     3                      On the 11th of March 2002, OFAC
     4     designated the same for two foreign Al
     5     Haramain entities in Bosnia and Albania that
     6     SAMA had already notified as being designated
     7     on the 7th of March 2002.
     8                      It's important to note that Al
     9     Haramain's Saudi offices were not designated,
    10     and the US designation notice excluded the
    11     KSA entity.
    12                      ARB only, or Al Rajhi Bank
    13     only, had accounts with the local KSA entity
    14     of Al Haramain and IIRO, and SAMA did not
    15     instruct Al Rajhi Bank to block IIRO KSA or
    16     Al Haramain KSA entity accounts.
    17                      Abdullah al Rajhi wrote to the
    18     Ministry of Islamic Affairs to ask if the
    19     bank should be taking any action on Al
    20     Haramain, and on March 13th, the Ministry of
    21     Islamic Affairs responded to the bank to
    22     confirm that Al Haramain was authorized to
    23     operate in the KSA.
    24                      On the 19th of July 2004, SAMA
    25     required all banks to block any accounts on



   Golkow Litigation Services                                        Page 348
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 350 of 397
                                                            Material

     1     other foreign Al Haramain entities, those
     2     being in the Netherlands, Ethiopia, Albania,
     3     Afghanistan, et cetera.
     4                      And it's confirmed that Al
     5     Rajhi Bank did not have any accounts with any
     6     of these Al Haramain entities.
     7                      SAMA did not require Al
     8     Haramain accounts in the KSA entity to be
     9     blocked, and it supported the view that Al
    10     Rajhi Bank should not alter their treatment
    11     of Al Haramain KSA.
    12                      There was a SAMA letter to the
    13     general manager of ARB in the circular that
    14     all banks to retain Al Haramain under a
    15     single account.       That was 30th of April 2003.
    16                      And the bank has also found
    17     that US Trustee Secretary O'Neill made a
    18     clear distinction between the Saudi entity,
    19     which was not designated, and other foreign
    20     operations which were designated.            The source
    21     is Secretary O'Neill's remarks in 2002.             We
    22     have a hyperlink.
    23                      SAMA had instructed the banks
    24     not to take any unilateral action to block
    25     accounts unless they're instructed by SAMA.



   Golkow Litigation Services                                        Page 349
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 351 of 397
                                                            Material

     1     And that was part of the directive at the
     2     beginning of the self supervisory committee.
     3     The banks were not to act unilaterally to
     4     block accounts without SAMA direction.
     5             Q.       I'd like to direct your
     6     attention to area of inquiry 3(b), which
     7     deals with SAMA's post-9/11 investigations of
     8     accounts and banking transactions associated
     9     with Al Haramain and IIRO branch offices.
    10                      Sir, what do you conclude to be
    11     the bank's knowledge with respect to that
    12     subject?
    13             A.       To the extent to the term
    14     "branch offices" refers to Al Haramain and
    15     IIRO outside -- offices outside of KSA, Al
    16     Rajhi Bank had no accounts with such offices.
    17                      And SAMA made two requests --
    18     they made requests of Al Haramain in May 2004
    19     requesting information on certain
    20     transactions.
    21                      And then the -- and IIRO
    22     requests, which were received for action on
    23     IIRO entities outside KSA.
    24                      The bank maintains, however,
    25     that it held no accounts for Al Haramain



   Golkow Litigation Services                                        Page 350
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 352 of 397
                                                            Material

     1     offices outside of KSA.
     2             Q.       Sir, I want to direct your
     3     attention to area of inquiry 3(h), and that
     4     deals with "communications between SAMA and
     5     any Al Rajhi Bank concerning inquiries from
     6     Al Rajhi Bank officials, including Abdullah
     7     Sulaiman al Rajhi, regarding the continued
     8     provision of banking services to Al Haramain,
     9     IIRO and other charities post-9/11."
    10                      What do you conclude to be the
    11     bank's knowledge with respect to that
    12     subject?
    13             A.       So after 9/11, as I mentioned,
    14     the bank's self supervisory committee at SAMA
    15     instructed all banks not to close accounts
    16     with the explicit -- without the explicit
    17     direction of SAMA.
    18                      SAMA later sent instructions
    19     regarding charities, and the bank believed at
    20     all times it was in compliance with all the
    21     SAMA requirements.
    22                      To be prudent, however, the
    23     bank sent a letter to SAMA to inquire about
    24     Al Haramain, and SAMA did not reply to this
    25     letter.      So the bank then proactively took



   Golkow Litigation Services                                        Page 351
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 353 of 397
                                                            Material

     1     steps to contact other relevant government
     2     departments to confirm it was in compliance
     3     with respect to Al Haramain.
     4                      The SAMA circular stated that a
     5     license from the Ministry of Labor or the
     6     Ministry of Islamic Affairs is required for
     7     practicing activity for the account's
     8     purpose, and SAMA confirmed that the Ministry
     9     of Islamic Affairs is a proper licensing
    10     authority for charities.
    11                      On the 20th of April 2003, SAMA
    12     then instructed banks to consolidate all Al
    13     Haramain KSA accounts under a single account
    14     number.
    15                      And on April 30, 2003, ARB
    16     confirmed with SAMA that the bank had
    17     consolidated all of the Al Haramain accounts
    18     into one account.
    19                      In January 2004, on the 4th of
    20     January, a letter to SAMA was sent to request
    21     clarity on future dealings with some
    22     charities -- excuse me for a moment.
    23                      A letter was sent to SAMA to
    24     request clarity on future dealings with some
    25     charities, and this included IIRO and Al



   Golkow Litigation Services                                        Page 352
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 354 of 397
                                                            Material

     1     Haramain.     And in this letter, Mr. Abdullah
     2     al Rajhi notes that Al Haramain charitable
     3     foundation is already licensed.
     4                      And then by letter to the
     5     Ministry of Interior, which corresponds to
     6     the date of 7 February 1996, the bank
     7     enclosed a copy of the Al Haramain license.
     8                      Mr. Al Rajhi also noted that
     9     the IIRO KSA has a license number and
    10     direction of Supreme guidance number
    11     K/M/494/200, in addition to the certificate
    12     that was issued by the relevant KSA
    13     government authority.
    14                      On January 26, 2004, there was
    15     a letter to SAMA referencing ARB 14545 that
    16     sought explicit guidance on dealing with Al
    17     Haramain.
    18                      And on February 25, 2004, there
    19     was a letter to The Ministry of Islamic
    20     Affairs requesting confirmation that Al
    21     Haramain charitable foundation has a license
    22     to operate from the competent authority to
    23     carry out charitable work.
    24                      On the 13th of March 2004, a
    25     letter from the Ministry of Islamic Affairs



   Golkow Litigation Services                                        Page 353
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 355 of 397
                                                            Material

     1     stated that Al Haramain is authorized to
     2     carry out charitable work.
     3                      And on the 10th -- sorry.         On
     4     March 21, 2004, the Ministry of Justice then
     5     wrote to state that Al Haramain and IIRO,
     6     Muslim World League, The World Assembly of
     7     Muslim Youth, are all, quote, legally
     8     established, end quote, and, quote, permitted
     9     to operate under its laws and regulations,
    10     end quote, being in KSA.
    11             Q.       Now, Mr. --
    12                      MR. CARTER:     Chris, I'm going
    13             to interject an objection.
    14                      The witness is apparently
    15             reading from a document, and testimony
    16             is supposed to be conducted as though
    17             in a courtroom.      And there's not a
    18             court in the world that would let a
    19             witness testify in this manner,
    20             reading from a document.
    21                      So I'm just going to state my
    22             objection.
    23                      MR. CURRAN:     Yeah, well, okay.
    24             There's not a court in the world that
    25             would let somebody identify 45 topics



   Golkow Litigation Services                                        Page 354
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 356 of 397
                                                            Material

     1             for a witness that's been designated
     2             as a corporate representative.
     3     QUESTIONS BY MR. CURRAN:
     4             Q.       But, Mr. Galloway, you would
     5     appear to be reviewing notes while you were
     6     testifying a moment ago.
     7                      Is that correct?
     8             A.       That's correct.      And I prepared
     9     all those notes myself.
    10             Q.       They appear to be typed.
    11                      Who typed them?
    12             A.       I typed every single word on
    13     the pages.
    14             Q.       What was the source of
    15     information that you had to -- that enabled
    16     you to type notes with such depth and detail?
    17             A.       The interviews and information
    18     I gathered as part of the preparation for
    19     this.
    20             Q.       Now, Mr. Carter asked you a
    21     series of questions earlier about charitable
    22     projects that Al Haramain KSA and IIRO KSA
    23     conducted apparently outside The Kingdom of
    24     Saudi Arabia.
    25                      Do you remember that testimony?



   Golkow Litigation Services                                        Page 355
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 357 of 397
                                                            Material

     1             A.       Yes.
     2             Q.       Do you remember he showed you
     3     some documents --
     4             A.       Yes.
     5             Q.       -- that seem to reflect those
     6     activities?
     7                      Sir, are you aware, based on
     8     your investigation for this deposition, as to
     9     whether SAMA prohibited Saudi charities from
    10     making donations for overseas beneficiaries?
    11             A.       They did not.
    12                      MR. CARTER:     Objection.
    13             Foundation.
    14     QUESTIONS BY MR. CURRAN:
    15             Q.       How do you know that, sir?
    16             A.       Because they were -- SAMA only,
    17     until after 2001 -- 2011, required no
    18     overseas payments to charities.           It was not
    19     prohibited by our lead regulator SAMA.
    20             Q.       So it was after the relevant
    21     period for this deposition --
    22             A.       Yes.
    23             Q.       -- that SAMA prohibited such
    24     overseas activities?
    25             A.       That's my understanding.



   Golkow Litigation Services                                        Page 356
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 358 of 397
                                                            Material

     1             Q.       Sir, under questioning by
     2     Mr. Carter earlier, you also testified about
     3     having met, I think you said two days ago,
     4     with Abdullah Sulaiman al Rajhi, correct?
     5             A.       That's correct.
     6             Q.       And to reestablish the facts,
     7     he's the current chairman of Al Rajhi Bank?
     8             A.       That's correct.
     9             Q.       And I think you testified that
    10     you spent two-plus hours with chairman Al
    11     Rajhi?
    12             A.       That is correct.
    13             Q.       And in that period, what
    14     subjects did you discuss?
    15             A.       We went through systematically
    16     each of the questions on the guide that we
    17     had been given for the discussion today.
    18             Q.       And Mr. Carter had the
    19     opportunity during this deposition today to
    20     ask you to recount anything and everything
    21     that Abdullah Sulaiman al Rajhi conveyed to
    22     you, correct?
    23             A.       That's correct, he did.
    24             Q.       Sir, during that discussion
    25     that you had with Abdullah Sulaiman al Rajhi,



   Golkow Litigation Services                                        Page 357
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 359 of 397
                                                            Material

     1     did you and he discuss the recent suggestion
     2     that Mr. Carter and his colleagues made that
     3     Abdullah Sulaiman al Rajhi must have known
     4     Osama bin Laden because they overlapped at
     5     university together?
     6             A.       We did discuss that.
     7             Q.       And what did -- what did
     8     Abdullah Sulaiman al Rajhi tell you?
     9             A.       He said he's never met Osama
    10     bin Laden.     He's had no association with him
    11     in any kind.      He doesn't remember him from
    12     university, and they had no common friends.
    13             Q.       Did he say whether he knew
    14     whether his father knew Osama bin Laden?
    15             A.       He said that his father did not
    16     know Osama bin Laden.
    17                      MR. CURRAN:     That concludes my
    18             questioning.      Thank you all for your
    19             time and patience.
    20                      This deposition is concluded.
    21                      MR. CARTER:     Chris, just for
    22             the record, again, we believe there's
    23             time that's appropriately clawed back,
    24             and we're reserving that time for
    25             purposes of follow-up questioning,



   Golkow Litigation Services                                        Page 358
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 360 of 397
                                                            Material

     1             including as to matters that are
     2             subject to the current motion
     3             practice.
     4                      MR. CURRAN:     All right.     And we
     5             dispute that.      We'll oppose that.
     6                      And our view is that your
     7             conduct of this 30(b)(6) deposition
     8             was abusive with respect to the
     9             extensive topics that you identified,
    10             and caused the witness and the company
    11             to prepare on, and then you didn't
    12             even get to the subjects.
    13                      MR. CARTER:     Yeah.    And, Chris,
    14             I'm going to respond to that in two
    15             ways.
    16                      The first is that the parties
    17             had disputes about the propriety of
    18             the notice.     Plaintiffs made clear
    19             with regard to the deposition protocol
    20             that we believed it would be
    21             appropriate for the parties to extend
    22             the discovery deadline to allow any
    23             objections relating to depositions to
    24             be resolved in advance before the
    25             deposition were to be conducted.



   Golkow Litigation Services                                        Page 359
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 361 of 397
                                                            Material

     1                      Al Rajhi Bank said it was
     2             unwilling to do so.
     3                      We also proposed, just in the
     4             last day, deferring this deposition to
     5             allow the Court to rule on these
     6             matters.
     7                      And so in multiple respects,
     8             we've attempted to provide an
     9             opportunity for the Court to address
    10             your objections to the notice in
    11             advance of the deposition.         That was
    12             our preference, that's what we asked
    13             to have happen, and you said you
    14             wouldn't allow it.
    15                      MR. CURRAN:     You're the ones
    16             who drafted this abusive 30(b)(6)
    17             notice, and I think that speaks for
    18             itself.
    19                      But anyway, everyone have a
    20             nice rest of the day.        And I
    21             appreciate the work of the court
    22             reporter and the videographer.
    23                      Thank you all, Counsel.
    24                      MR. CARTER:     Yeah, I'm just
    25             going to object for the record the



   Golkow Litigation Services                                        Page 360
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 362 of 397
                                                            Material

     1             characterization of counsel's conduct
     2             as abusive.
     3                      MR. CURRAN:     Thank you all.
     4                      VIDEOGRAPHER:      Okay.    Off
     5             record.    The time is 11:01.
     6          (Deposition concluded at 11:01 p.m.)
     7                        – – – – – – –
     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25




   Golkow Litigation Services                                        Page 361
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 363 of 397
                                                            Material

     1                      CERTIFICATE
     2                I, CARRIE A. CAMPBELL, Registered
           Diplomate Reporter, Certified Realtime
     3     Reporter and Certified Shorthand Reporter, do
           hereby certify that prior to the commencement
     4     of the examination, James Galloway, was duly
           sworn by me to testify to the truth, the
     5     whole truth and nothing but the truth.
     6                I DO FURTHER CERTIFY that the
           foregoing is a verbatim transcript of the
     7     testimony as taken stenographically by and
           before me at the time, place and on the date
     8     hereinbefore set forth, to the best of my
           ability.
     9
                      I DO FURTHER CERTIFY that I am
    10     neither a relative nor employee nor attorney
           nor counsel of any of the parties to this
    11     action, and that I am neither a relative nor
           employee of such attorney or counsel, and
    12     that I am not financially interested in the
           action.
    13
    14
                   ____________________________
    16             CARRIE A. CAMPBELL,
                   NCRA Registered Diplomate Reporter
    17             Certified Realtime Reporter
                   California Certified Shorthand
    18             Reporter #13921
                   Missouri Certified Court Reporter #859
    19             Illinois Certified Shorthand Reporter
                   #084-004229
    20             Texas Certified Shorthand Reporter #9328
                   Kansas Certified Court Reporter #1715
    21             New Jersey Certified Court Reporter
                   #30XI00242600
    22             Louisiana Certified Court Reporter
                   #2021012
    23             Notary Public
                   Dated: May 28, 2023
    24
    25



   Golkow Litigation Services                                        Page 362
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 364 of 397
                                                            Material

     1                   INSTRUCTIONS TO WITNESS
     2

     3                   Please read your deposition over
     4     carefully and make any necessary corrections.
     5     You should state the reason in the
     6     appropriate space on the errata sheet for any
     7     corrections that are made.
     8                   After doing so, please sign the
     9     errata sheet and date it.         You are signing
    10     same subject to the changes you have noted on
    11     the errata sheet, which will be attached to
    12     your deposition.
    13                   It is imperative that you return
    14     the original errata sheet to the deposing
    15     attorney within thirty (30) days of receipt
    16     of the deposition transcript by you.            If you
    17     fail to do so, the deposition transcript may
    18     be deemed to be accurate and may be used in
    19     court.
    20

    21

    22

    23

    24

    25




   Golkow Litigation Services                                        Page 363
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 365 of 397
                                                            Material

     1                 ACKNOWLEDGMENT OF DEPONENT
     2
     3
     4                      I,______________________, do
           hereby certify that I have read the foregoing
     5     pages and that the same is a correct
           transcription of the answers given by me to
     6     the questions therein propounded, except for
           the corrections or changes in form or
     7     substance, if any, noted in the attached
           Errata Sheet.
     8
     9
    10
    11
    12     ________________________________________
           James Galloway                          DATE
    13
    14
    15     Subscribed and sworn to before me this
    16     _______ day of _______________, 20 _____.
    17     My commission expires: _______________
    18
    19     Notary Public
    20
    21
    22
    23
    24
    25




   Golkow Litigation Services                                        Page 364
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 366 of 397
                                                            Material

     1                          – – – – – – –
                                     ERRATA
     2                          – – – – – – –
     3      PAGE     LINE    CHANGE
     4      ____     ____    _____________________________
     5      ____     ____    _____________________________
     6      ____     ____    _____________________________
     7      ____     ____    _____________________________
     8      ____     ____    _____________________________
     9      ____     ____    _____________________________
    10      ____     ____    _____________________________
    11      ____     ____    _____________________________
    12      ____     ____    _____________________________
    13      ____     ____    _____________________________
    14      ____     ____    _____________________________
    15      ____     ____    _____________________________
    16      ____     ____    _____________________________
    17      ____     ____    _____________________________
    18      ____     ____    _____________________________
    19      ____     ____    _____________________________
    20      ____     ____    _____________________________
    21      ____     ____    _____________________________
    22      ____     ____    _____________________________
    23      ____     ____    _____________________________
    24      ____     ____    _____________________________
    25




   Golkow Litigation Services                                        Page 365
Case 1:03-md-01570-GBD-SN Document
            This Transcript        10594-3 Confidential
                              Contains       Filed 12/09/24 Page 367 of 397
                                                            Material

     1                          – – – – – – –
                                LAWYER'S NOTES
     2                          – – – – – – –
     3      PAGE     LINE
     4      ____     ____    _____________________________
     5      ____     ____    _____________________________
     6      ____     ____    _____________________________
     7      ____     ____    _____________________________
     8      ____     ____    _____________________________
     9      ____     ____    _____________________________
    10      ____     ____    _____________________________
    11      ____     ____    _____________________________
    12      ____     ____    _____________________________
    13      ____     ____    _____________________________
    14      ____     ____    _____________________________
    15      ____     ____    _____________________________
    16      ____     ____    _____________________________
    17      ____     ____    _____________________________
    18      ____     ____    _____________________________
    19      ____     ____    _____________________________
    20      ____     ____    _____________________________
    21      ____     ____    _____________________________
    22      ____     ____    _____________________________
    23      ____     ____    _____________________________
    24      ____     ____    _____________________________
    25




   Golkow Litigation Services                                        Page 366
Case 1:03-md-01570-GBD-SN             Document 10594-3            Filed 12/09/24       Page 368 of 397
                   THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


                                           ERRATA
                                 GOLKOW LITIGATION SERVICES
                                      ONE LIBERTY PLACE
                                1650 MARKET STREET, SUITE 5150
                                    PHILADELPHIA, PA 19103
                                         877-370-3377


NAME OF CASE: In Re: Terrorist Attacks On September 11, 2001, No. 03-md-1570 (S.D.N.Y.)
DATE OF DEPOSITION: May 11, 2023
NAME OF DEPONENT: Rule 30(b)(6) Al Rajhi Bank Designee James Galloway


 Page    Line(s)     Change                                                      Reason
 29      4           Insert “in” before “a group”                                Transcription error
 31      25          Replace “30th” with “16th”                                  Clarification
 32      10          Insert “Since the 30th of April” before “I’ve”              Clarification
 37      20          Replace “ARB00000164” with “ARB0000016”                     Transcription error or
                                                                                 clarification
 39      4           Replace “two” with “four”                                   Clarification
 43      12          Insert “In” before “the”                                    Transcription error or
                                                                                 clarification
 43      12          Insert comma after “department”                             Transcription error or
                                                                                 clarification
 43      12          Insert “there” after “department,”                          Transcription error or
                                                                                 clarification
 44      23          Insert “of” after “manager”                                 Transcription error
 44      25          After “Al-Behairy,” insert “. In Shared Services IT Transcription error or
                     Operations, Marius Badanau.”                                clarification
 45      20          Replace “spoke to” with “directed questions to and received Clarification
                     answers from”
 46      8           Remove “and”, and replace “responsibilities” with Clarification
                     “responsibility”
 46      24          Remove “to”                                                 Transcription error
 47      11          Replace “spoke to” with “directed questions to and received Clarification
                     answers from”
 47      18-20       Delete “Abdul Rahman al Rajhi. Is that right? That can't be Clarification
                     right. No, that’s”
 47      24-25       Delete “Abdul Rahman al Rajhi, not working in the office. Clarification
                     I’m sorry,”
 49      1           Delete “Sorry. For some reason I’ve got an error on my Clarification
                     sheet, so apologies for that.”
 49      5-8         Replace “I … structure” with “No.”                          Clarification
 49      18          Replace “No, I do not” with “There was no charity relations Clarification
                     department or anyone specifically responsible for charity
                     relations during the 1998 through 2001 time period.”



         CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
         in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                    1
Case 1:03-md-01570-GBD-SN            Document 10594-3             Filed 12/09/24         Page 369 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                            Reason
 50     16-25       Replace “I … time” with “Naif Al Dahmashi currently with          Clarification
                    Strategy, was a Customer Care Representative during the
                    1998-2001 period. Abdullah Al-Subail, currently with HR,
                    was a payroll officer with HR during the 1998-2001 period.
                    Turki M. Al-Dalilah, currently with Shared Services IT
                    Operations, was an IT officer during the 1998-2001 period.
                    Khalifey Tajammul, currently with IT Core Infrastructure
                    Compute & Platform Support, was a help desk officer
                    during the 1998-2001 period. Ibraheem A. Alzuair,
                    currently with Internal Audit, was a field auditor and then a
                    branch auditor during the 1998-2001 period. Amin Osman
                    Awad, currently with Board Secretariat, was an office
                    manager of IT’s executive manager office during the 1998-
                    2001 period. The Bank’s Chairman, Abdullah Al Rajhi,
                    was the Bank’s General Manager during the 1998-2001
                    period.”
 53     1           Delete “,” after Islamic                                          Transcription error
 55     13          Replace “I” with “He”                                             Clarification
 56     15-17       Replace “I … that.” with “He did not.”                            Clarification
 57     13-14       Replace “I do not know the answer to that” with “He did           Clarification
                    not.”
 59     8           Replace “Abdul” with “Abdullah”                                   Transcription error
 59     19          Replace “Abdul” with “Abdullah”                                   Clarification
 64     10          Replace “I” with “The Bank”                                       Clarification
 64     24          Replace “That’s” with “The Bank did, that’s”                      Clarification
 68     18          Replace “cited” with “sighted”                                    Transcription error
 69     4           Replace “product” with “customer transactional”                   Clarification
 69     19-21       Replace “I … notes” with “The core banking system, called         Clarification
                    SIB 2000, was rolled out in 2001. Data going back to 1998
                    was migrated into the new system.”
 70     13          Replace “I … information.” with “Branch number, account           Clarification
                    number, value date, transaction date, branch teller’s
                    approval of the transaction (if available, for transactions
                    after the migration), head teller’s approval of the transaction
                    (if available, for transactions after the migration), issuing
                    branch, and SAR amount for foreign currency transactions.”
 71     2           Before “applied” insert “the Bank”                                Clarification
 71     4           Replace “know” with “known”                                       Transcription error
 71     5           Replace “middle names and family names” with “names               Clarification
                    (including, for individuals, their middle names and family
                    names)
 71     6           After “of” insert “letters in the”                                Clarification
 71     7           Replace “individual” with “your other requests regarding          Clarification
                    individuals’ ”
 71     15          Replace “person and” with “requested persons’ ”                   Clarification
 71     16          Replace “and things” with “with things”                           Clarification

        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                   2
Case 1:03-md-01570-GBD-SN             Document 10594-3            Filed 12/09/24       Page 370 of 397
                   THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page    Line(s)     Change                                                         Reason
 71      19          Replace “which then” with “, in which” and replace             Clarification
                     “probable” with “possible”
 71      20          Replace “met” with “matched”                                   Clarification
 71      22          After “file,” insert “to match”                                Clarification
 71      23          Delete “, national ID number”                                  Clarification
 72      10          After “Yeah,” insert “all”                                     Clarification
 72      11          After “credited” insert “to Al Haramain Islamic Foundation     Clarification
                     and IIRO accounts at the Bank”

 72      12          After “system” insert “by searching the accounts linked to Clarification
                     their customer identification codes”
 72      12-14       Delete “It just depends on whether the annotation on the Clarification
                     credit is clear or complete.”

 73-74   73:16-      Replace “It’s … individual documents” with “The FileNet        Clarification
         74:2        system stores soft copy scans of original hardcopy archive
                     documents.”
 77      17          Delete “, or Muwaffaq”                                         Clarification
 78      20-22       Replace “I … audit” with “No”                                  Clarification
 82      2           After “that” insert “many of”                                  Clarification
 82      11          Replace “by” with “in responses to”                            Clarification
 82      12-16       Delete “I … specifically.”                                     Clarification
 83      1           Replace “the --” with “that” and insert “likely” before “is”   Clarification
 83      3           After “projects” insert “, or possibly different charity       Clarification
                     branches or committees”
 83      13          After “that” insert “came up”                                  Clarification
 83      23          Replace “Abulrhman” with “Abdulrhman”                          Transcription error
 83      24          Replace “Abulrhman” with “Abdulrhman”                          Transcription error
 84      11          Replace “No, I do not.” with “This understanding is based      Clarification
                     on a survey of account-opening documents. Separate
                     accounts could also have been created for different charity
                     branches or committees.”
 84      24-25       Replace “I … no” with “Additional information relating to      Clarification
                     a particular account would be in the Customer Information
                     File for that account.”
 85      13-15       Replace “I can’t find … statement” with “The statements of     Clarification
                     account that were produced are generated directly from core
                     banking system data for the relevant period.”
 86      19-20       Replace “I … that” with “The Bank has not found any            Clarification
                     indication that the number of accounts held by Al Haramain
                     prompted — or should have prompted — any money
                     laundering or terrorism financing concerns through 2002. It
                     was not until April 20, 2003 that SAMA instructed all banks
                     in Saudi Arabia to consolidate all accounts for a charitable
                     foundation or organization under a single account with sub-
                     accounts”
 89      2           Insert “likely” before “were”                                  Clarification

         CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
         in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                    3
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24        Page 371 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                          Reason
 89     3           After “period.” insert “Separate accounts also could have       Clarification
                    been opened for different charity branches or committees.”
 89     9           Replace “Abulrhman” with “Abdulrhman”                           Transcription error
 89     13          Replace “No, I do not” with “This understanding is based        Clarification
                    on a survey of account-opening documents”
 89     22-23       Replace “No … that” with “He reached that conclusion            Clarification
                    based on his review of the account-opening documents.”
 90     20          Replace “No … not.” with “Although for some accounts the        Clarification
                    account purpose may be evident from the account name,
                    there is no requirement that the purpose of the account be
                    indicated in the account name.”
 92     22          After “that.” insert “I did not focus on reviewing all of the   Clarification
                    account names, because this was not an area of inquiry in
                    the notice on which I prepared for this deposition.”
 93     5           Replace “seeing” with “noting”                                  Clarification
 93     12          Replace “do not” with “also do not recall noting that every     Clarification
                    account had a distinct name designation. I did not focus on
                    reviewing all of the account names, because this was not an
                    area of inquiry in the notice on which I prepared for this
                    deposition”
 94     2           After “not.” insert “I did not focus on reviewing all of the    Clarification
                    account names, because this was not an area of inquiry in
                    the notice on which I prepared for this deposition.”
 94     6           After “not.” insert “This was not an area of inquiry in the     Clarification
                    notice on which I prepared for this deposition.”
 94     21          Replace “go down to” with “assess” and replace “, look”         Clarification
                    with “volume of funds”
 94     22          Before “through” insert “moved” and after “the” insert “Al      Clarification
                    Haramain” and replace “to the” with “through”
 97     2           Replace “would” with “could”                                    Clarification
 97     6-7         Replace “In … reason.” with “An annotation can be input         Clarification
                    for every payment but is not a mandatory field in the core
                    banking system.”
 97     16-18       Replace “There … field --” with “In the Notes field.”           Clarification
 97     20          Replace “-- that would be --” with “The Notes field would”      Clarification
 97     21          Replace “detail … transaction” with “annotation on the          Clarification
                    payment”
 98     11-15       Replace “For … not” with “Not”                                  Clarification
 98     25          Replace “There was review to say” with “The Bank did,           Clarification
                    however, review transaction annotations to determine”
 99     1           After “accounts” insert “of the IIRO, Al Haramain, or           Clarification
                    Muwaffaq charities”
 99     2           After “the bank” insert “or others”                             Clarification
 99     4           Replace “question” with “questions” and after “questions”       Clarification
                    insert “to the Bank”
 100    1           Replace “The” with “As of 1998 the”                             Clarification

        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                   4
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24       Page 372 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                         Reason
 100    2           Replace “has” with “required”                                  Clarification
 100    5           Replace “following the” with “providing information            Clarification
                    required by the standard”
 100    10          Replace “need” with “needed”                                   Clarification
 102    16          Replace “on foot” with “open at some point’                    Clarification
 102    19          Replace “onboarding” with “opening”                            Clarification
 104    24          Replace “at least” with “starting”                             Clarification
 105    3           Replace “sort” with “set”                                      Transcription error
 105    6           Replace “earn” with “loan”                                     Transcription error
 105    8           Replace “orders” with “auditors”                               Transcription error
 105    15          Replace “in relation” with “correlated”                        Clarification
 105    16          Replace “annual” with “AML”                                    Transcription error
 106    6           Replace “That’s correct” with “The 1998 policy I referred      Clarification
                    to was separate from the branch manual”
 106    7           After “policy” insert “that” and replace “with” with “as”      Clarification
 106    8           After “procedures” insert “for an AML Unit”                    Clarification
 107    8           Replace “registration” with “license”                          Clarification
 107    9           Replace “controls” with “supervises” and after “charity”       Clarification
                    insert “, such as the Ministry of Interior or Ministry of
                    Social Affairs”
 107    10          Replace “control” with “may supervise”                         Clarification
 107    16          Replace “-- make a check” with “maker-checker --”              Transcription error
 108    16          After “question.” insert “During the relevant period, the      Clarification
                    branch audit team normally audited each branch annually.
                    The auditors checked the account-opening documentation
                    for a sample of accounts every year, and required all
                    identified deficiencies to be rectified by the branch. This
                    requirement applied to sampled accounts opened before
                    1997.”
 109    18          Replace “they are” with “the documents and information         Clarification
                    collected for accounts opened prior to 1997 were
                    insufficient or”
 109    21          Replace “we” with “branches” and after “would” insert          Clarification
                    “normally”
 109    22          Replace “it’s” with “the branches’ compliance was”             Clarification
 110    4           Replace “the adherence” with “any non-adherence by             Clarification
                    branches”
 111    16          Replace “It” with “Audit findings”                             Clarification
 111    17          After “report” insert “in the Internal Audit files”            Clarification
 111    18          Delete “, I assume,” and delete “back”                         Clarification
 111    22          Before “have” insert “currently”                               Clarification
 111    23          After “branches,” insert “but during the relevant period the   Clarification
                    Bank had between about 350 to 375 branches,” and after
                    “initially” insert “audited”
 111    25          Replace “it” with “branch auditing”                            Clarification
 112    4           Delete “A,”                                                    Transcription error

        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                   5
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24       Page 373 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                         Reason
 112    5           After “as well.” insert “SAMA’s periodic thematic audits       Clarification
                    included surprise and short-notice audits that also checked
                    for compliance with onboarding requirements. And the
                    Bank’s external auditor further checked for compliance
                    with SAMA regulations.”
 113    1-9         Replace “I … asking” with “The Internal Audit department       Clarification
                    undertook to audit all branches, which would include
                    branches where accounts for Al Haramain or IIRO had been
                    opened. To determine whether any Al Haramain or IIRO
                    accounts were audited, however, the Bank would have to
                    collect all of the audit reports to find the audits of those
                    particular branches, and those audits would have to be
                    reviewed to determine which accounts were covered.”
 114    10          Replace “I do not know that” with “In our review of the        Clarification
                    audit files and customer information files, we did not see
                    any indication of any SAMA thematic audits of charitable
                    organizations.”
 115    14-16       Replace “I believe … But” with “Yes.”                          Clarification
 115    24          Replace “that” with “evidence of a charity’s authorization     Clarification
                    to operate”
 115    25          Replace “the” with “charity”                                   Clarification
 116    8           After “it should be true” insert “for accounts opened after
                    issuance of the 1997 branch manual”
 116    18-20       Replace “may not have been” with “was not,” and replace        Clarification
                    “there would have been accounts under that” with “the
                    control to check for a license is a part of the account-
                    opening process related to onboarding a customer and
                    assigning the customer a Customer Identification Code
                    (CIC); once the customer is on-boarded, that control covers
                    subaccounts for the same customer under that CIC.”
 117    14          Replace “with” with “, and the Bank will cluster those         Clarification
                    accounts under the customer’s ”
 117    19          Replace “a” with “the”                                         Clarification
 118    5-6         Replace “I … pre-9/11.” with “No, they were not all            Clarification
                    clustered around a single CIC. The CIC structure was
                    introduced as part of the SIB 2000 core banking system.”
 118    13-23       Replace “I … verify that.” with “Opening new accounts          Clarification
                    would require the same account-opening procedures. When
                    the CIC structure was rolled out, related accounts would be
                    clustered under a single CIC.”
 119    15          After “April” insert “2003” and replace “with” with            Clarification
                    “from”
 119    16          After “branch” insert “addressed”                              Clarification
 119    17          Replace “deputy government” with “Deputy Governor”             Transcription error
 119    18          After “confirm” insert “that”                                  Clarification
 119    20          Replace “SAMA” with “SAMA’s”                                   Transcription error
 120    1           Replace “was” with “were”                                      Transcription error
        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                   6
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24        Page 374 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                          Reason
 120    7           After “that.” insert “SAMA issued more detailed guidelines      Clarification
                    applicable to all charities on the 23rd of May 2003.”
 120    13          After “These” insert “guidelines for bank services to           Clarification
                    charities”
 120    15          Change “bank’s” to “banks’”                                     Transcription error
 120    25          After “the” insert “major” and after “banks” insert             Clarification
                    “operating in Saudi Arabia.”
 121    4           Replace “constrict” with “restrict or monitor” and after        Clarification
                    “people” insert “or entities”
 121    4-5         Replace “are now known” with “SAMA was reviewing                Clarification
                    after 9/11 in case they turned out” and after “actors” insert
                    “,”
 121    7           Replace “SAMA” with “SAMA’s new”                                Clarification
 123    12          Replace “Abulrhman” with “Abdulrhman”                           Transcription error
 123    19-20       Replace “I … no” with “No, they were not all opened under       Clarification
                    a single CIC. The CIC structure was introduced as part of
                    the SIB 2000 core banking system.”
 124    15-16       Replace “I … that.” with “No, they were not all opened          Clarification
                    under a single CIC. The CIC structure was introduced as
                    part of the SIB 2000 core banking system.”
 129    20          Replace “This -- yeah, the -- on” with “On”                     Clarification
 129    21          After “4th,” insert “2004,” and replace “by” with “from”        Clarification
 129    23          Replace “charity” with “charities”                              Clarification
 129    24-25       Replace “But predating this” with “This January 4, 2004         Clarification
                    letter predates the”
 130    1           After “notes” insert “in this letter, which has the bates       Clarification
                    number ARB-00014545,”
 130    3           After “licensed.” insert “Specifically, Abdullah Al Rajhi       Clarification
                    writes to SAMA with the Bank’s understanding that Al
                    Haramain Charitable Foundation had been ‘licensed by
                    letter of the Minister of the Interior No. Sh3/2195/29 and
                    dated 9/18/1416H,’ which corresponds to February 7,
                    1996.”
 130    24          Delete “all”                                                    Clarification
 130    25          Replace “charitable foundations” with “Charitable               Transcription error
                    Foundations”
 131    7           After “work.” insert “The Bates number for that letter is       Clarification
                    ARB-00039505.”
 131    8-9         Replace “10 March 2021 -- sorry,” with “letter dated”           Clarification
 131    10          Before “the” insert “from” and replace “stated” with            Clarification
                    “stating”




        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                   7
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24         Page 375 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                           Reason
 131    14          After “KSA.” insert “The Bates number for that letter is         Clarification
                    ARB-00039410. The Bank has also produced, from the
                    Customer Information Files for several Al Haramain
                    accounts, a letter from the Deputy Minister of Islamic
                    Affairs dated October 17, 1997. The Bates numbers for
                    those copies of the letter are ARB-00038201 (for account
                    opened May 8, 2001), ARB-00038253 (for account opened
                    July 20, 2000), ARB-00038612 (for account opened
                    December 5, 1999), and ARB-00038586 (for account
                    opened August 15, 1995). In that letter, the Deputy Minister
                    states, ‘We would like to inform you that Al Haramain
                    Charitable Foundation operates under our supervision.’”
 131    21          Delete “, the 2004”                                              Clarification
 131    22          After “March 21” insert “, 2004” and after “letter.” insert      Clarification
                    “But the Bank’s diligence did not begin in 2004. One
                    example is the October 17, 1997 letter from the Deputy
                    Minister of Islamic Affairs, Bates number ARB-00038612,
                    found in the Customer Information Files with the account-
                    opening documents. In that letter, the Deputy Minister
                    states, ‘We would like to inform you that Al Haramain
                    Charitable Foundation operates under our supervision.’”
 131    25          After “letter” insert “[Exhibit 4, dated February 25, 2004]”     Clarification
 132    12          Replace “This” with “At the time of this February 25, 2004       Clarification
                    letter, the Bank possessed earlier satisfactory authorizations
                    to open accounts for Al Haramain. The Bank has produced,
                    for example, the letter from the Deputy Minister of Islamic
                    Affairs dated October 17, 1997. In that letter, the Deputy
                    Minister states, ‘We would like to inform you that Al
                    Haramain Charitable Foundation operates under our
                    supervision. The 2004 letter’”
 132    13          After “post-9/11/2011” insert “, however,” and replace           Clarification
                    “was a” with “were new”
 132    14          Replace “instruction.” with “instructions.          First, in    Clarification
                    November 2001, SAMA instructed” and after “that” insert
                    “the”




        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                   8
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24         Page 376 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                           Reason
 132    15          Replace “close” with “even freeze” and after “after” insert      Clarification
                    “the 9/11Attacks unless instructed by SAMA. That
                    instruction can be found at Bates number ARB-00039842.
                    But also, in 2002, SAMA had instructed the banks in Saudi
                    Arabia to block any accounts of certain foreign entities,
                    including Al Haramain Bosnia and Al Haramain Somalia.
                    The Bank only held accounts of Al Haramain Saudi Arabia,
                    and SAMA did not instruct the Bank to block any accounts
                    of Al Haramain Saudi Arabia. To be prudent, however, the
                    Bank inquired with SAMA about continuing to provide
                    services to Al Haramain Saudi Arabia. Those inquiries have
                    been produced with Bates numbers ARB-00014545 and
                    ARB-00014546. SAMA did not respond. So in early 2004
                    the Bank contacted other government agencies for
                    confirmation, in light of SAMA’s post-9/11 requirements
                    for dealing with charities, that the Bank was permitted to
                    deal with Al Haramain Saudi Arabia even after the
                    designation of certain foreign Al Haramain entities.”
 132    16          After “this” insert “2004” and after “letter” insert “(Exhibit   Clarification
                    4)”
 132    19          After “get” insert “confirmation that Al Haramain in Saudi       Clarification
                    Arabia had”, after “license” insert “after the designation of
                    some foreign Al Haramain entities”
 132    21          Replace “were” with “was”                                        Clarification
 133    8           After “true” insert “, in isolation,”                            Clarification
 133    9           Replace “found out” with “confirmed” and replace “it” with       Clarification
                    “Al Haramain”
 133    13          After “described.” insert “And in the letter dated January 4,    Clarification
                    2004, ARB-00014545, which predated this correspondence,
                    the Abdullah Al Rajhi stated the Bank’s understanding that
                    Al Haramain had been licensed by letter of the Minister of
                    the Interior on February 7, 1996.”
 134    5           Replace “To me” with “In the context of the surrounding          Clarification
                    correspondence, particularly the Bank’s inquiry to SAMA
                    referenced at ARB-00014546,”
 134    7           After “was -- it was” insert “still considered”                  Clarification
 134    8           After “licensed” insert “after the designation of some           Clarification
                    foreign Al Haramain entities
 134    15          Replace “it” with “Al Haramain” and after “was” insert           Clarification
                    “still considered licensed”
 135    1           Before “I” insert “Assuming this letter can be read in           Clarification
                    isolation, which I don’t necessarily agree with,”




        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                   9
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24         Page 377 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                           Reason
 135    2           After “true.” insert “Based on the Bank’s review of the          Clarification
                    Customer Information Files for Al Haramain’s accounts,
                    the Bank has produced, for example, the letter from the
                    Deputy Minister of Islamic Affairs dated October 17, 1997.
                    In that letter, the Deputy Minister states, ‘We would like to
                    inform you that Al Haramain Charitable Foundation
                    operates under our supervision.’”
 135    19-20       After “Affairs” insert “is”, after “required” insert “for        Clarification
                    religious or social organizations”, after “practice” insert
                    “the”, and replace “the account.” With “which the account
                    is opened. This confirmed that the Ministry of Islamic
                    Affairs was a proper licensing authority.”
 135    21-25       Delete “And … question.”                                         Clarification
 136    11          Replace “permanent” with “permit”                                Transcription error
 137    5           After “were” insert “still”                                      Clarification
 137    6           After “compliance.” insert “As for accounts that had             Clarification
                    previously been opened, the Customer Information Files for
                    Al Haramain’s accounts include, for example, the letter
                    from the Deputy Minister of Islamic Affairs dated October
                    17, 1997 stating that ‘Al Haramain Charitable Foundation
                    operates under our supervision.’”
 137    15          After “I think” insert “in the context of the Bank’s inquiries   Clarification
                    to SAMA,”
 137    16          After “was” insert “still considered”                            Clarification
 138    19-20       Replace “To … weren’t” with “I do not know”                      Clarification
 140    11-12       Replace “No … knowledge” with “I do not know”                    Clarification
 140    23-24       Replace “To the … we” with “The Bank”                            Clarification
 140    25          Replace “work” with “entities” and after “overseas.” insert      Clarification
                    “But no, under the Bank’s procedures, and under SAMA
                    regulations, it would not have been relevant from 1998
                    through 2002 to ascertain whether an account was being
                    opened for purposes of charitable activities carried out
                    outside the Kingdom. On May 23, 2003, SAMA issued a
                    circular to all banks in Saudi Arabia regarding Charity
                    Accounts. The Bates number for that circular is ARB-
                    00014531. That circular added new requirements for the
                    accounts of charitable institutions at banks operating in the
                    Kingdom, including a new requirement that no transfers
                    from the accounts of charitable institutions and associations
                    would be permitted to beneficiaries outside the Kingdom.
                    That requirement was not in effect from 1998 through
                    2002.”
 142    18          Replace “Well, the” with “No. The”                               Clarification
 143    2           After “account.” insert “I am not aware of any limitation        Clarification
                    prior to May 23, 2003, on the use of charity accounts at
                    banks in Saudi Arabia to support charitable activities
                    outside the Kingdom.”
        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                  10
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24         Page 378 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                           Reason
 144    23          Replace “That was my understanding.” with “To clarify, the       Clarification
                    accounts that Al Rajhi Bank opened for Al Haramain were
                    solely for the Al Haramain entity in Saudi Arabia, and not
                    for any foreign entities. The requirement that charity
                    accounts at banks in Saudi Arabia be used to support
                    charitable activities only inside the Kingdom was not in
                    effect before May 23, 2003.”
 145    5-7         Replace “It’s .. sure.” with “To clarify, the accounts that Al   Clarification
                    Rajhi Bank opened for Al Haramain were solely for the
                    KSA branches of Al Haramain, and not for any foreign
                    entities. The requirement that charity accounts at banks in
                    Saudi Arabia be used to support charitable activities only
                    inside the Kingdom was not in effect before May 23, 2003.”
 147    15          After “no.” insert “But the document does not refer to a         Clarification
                    procedure in which Al Rajhi Bank would fax a deposit
                    notice and a purpose of the donation to Al Haramain. This
                    letter is under Al Haramain letterhead and appears to be
                    soliciting donations from potential donors. It is not
                    addressed to the Bank. The letter appears to direct donors,
                    not the Bank, to send a record of their donation to Al
                    Haramain’s fax number.”
 148    15          After “no.” insert “But the letter does not appear to be         Clarification
                    requesting that Al Rajhi Bank send Al Haramain the deposit
                    notice and purpose of the donation. The letter appears to be
                    addressed to potential donors and is requesting donors to
                    send Al Haramain a record of their donation.”
 150    9           After “that” insert “paragraph, although the meaning of it is    Clarification
                    unclear”
 150    16          After “not” insert “, because this was not an area of inquiry    Clarification
                    in the notice on which I prepared for this deposition”
 151    18          After “not” insert “, because this was not one of the areas of   Clarification
                    inquiry in the notice that I was asked to prepare to discuss”
 152    1           After “not.” insert “And I note again that this was not an       Clarification
                    area of inquiry in the notice on which I prepared for this
                    deposition.”
 152    14          After “response.” insert “This was not one of the 45 topics      Clarification
                    with subtopics that Plaintiffs asked me to prepare to
                    discuss.”
 153    9           After “no.” insert “Whether Al Haramain’s accounts were          Clarification
                    used to send money outside the Kingdom from 1998-2002
                    was not among the 45 topics with subtopics in the Plaintiffs’
                    notice that I was asked to be prepared to discuss. But before
                    May 23, 2003, there were no restrictions under Saudi law or
                    under the Bank’s policies on using charitable accounts at
                    banks in Saudi Arabia for charitable activities outside the
                    Kingdom.”


        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                  11
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24        Page 379 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                          Reason
 153    17          After “that.” insert “However, to the best of my knowledge,     Clarification
                    before May 23, 2003, there were no restrictions under Saudi
                    law or under the Bank’s policies on using charitable
                    accounts at banks in Saudi Arabia for charitable activities
                    outside the Kingdom.”
 154    1           After “not.” insert “As with the Al Haramain accounts,          Clarification
                    whether IIRO’s accounts were used to send money outside
                    the Kingdom from 1998-2002 was not among the 45 topics
                    with subtopics in Plaintiffs’ notice that I was asked to be
                    prepared to discuss.”
 154    7           Replace “have” with “make”                                      Clarification
 154    9           After “specifically.” insert “But, to my knowledge, before      Clarification
                    May 23, 2003, there were no restrictions under Saudi law or
                    under the Bank’s policies on using charitable accounts at
                    banks in Saudi Arabia for charitable activities outside the
                    Kingdom.”
 155    16-17       Delete “The” and delete “16th of June, it says.”                Clarification
 157    5           Replace “wouldn’t” with “would”                                 Transcription error
 158    1           Replace “their” with “they’re”                                  Transcription error
 160    11-12       Replace “was sought in order to verify” with “verifies”         Clarification

 160    18-20       Replace “Now . . . that.” with “To clarify, this letter was     Clarification
                    maintained in a Customer Information File for Al
                    Haramain, is dated October 17, 1997, and shows that, as of
                    at least that date, Al Haramain Islamic Foundation was
                    working under the supervision of the Ministry of Islamic
                    Affairs. The document speaks for itself.”
 161    19          After “words” insert “in the translation you are showing        Clarification
                    me”
 161    20          Replace “Foundation’s” with “Foundation is”                     Transcription error
 164    8           After “including” insert “by”                                   Clarification
 164    14          Replace “--” with “government officials” and after “Saudi”      Clarification
                    insert “Arabia”
 164    16          After “unusual” insert “or” and after “of” insert “the norm     Clarification
                    in this”
 164    23          Delete “and he did”                                             Clarification
 164    25          Replace “he” with “this person”                                 Clarification
 165    1           Replace “he” with “the Chairman”                                Clarification
 165    5           After “it’s” insert “also”                                      Clarification
 165    16          After “that” insert “they dealt with each other”, after         Clarification
                    “directly” insert “; the Chairman did not indicate this when
                    I asked him about Mr. Al Sheikh”, replace “he” with “the
                    Chairman” and “him” with “Mr. Al Sheikh”
 165    17          Replace “he” with “Mr. Al Sheikh”                               Clarification
 166    23          After “be.” insert “To clarify, Abdullah Al Rajhi was at that   Clarification
                    time the General Manager of the Bank.”


        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                  12
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24       Page 380 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                         Reason
 167    23          Replace “No, I don’t.” with “In 1998, Abdullah Al Rajhi        Clarification
                    was the General Manager of the Bank.”
 168    2           Replace “I … me.” with “In 1998, Abdullah Al Rajhi was         Clarification
                    the General Manager of the Bank.”
 168    7           Replace “Yes … says.” with, “According to the translation      Clarification
                    you have shown me, the letter states, ‘we want to transfer
                    the accounts of Al-Haramain Islamic Foundation, attached
                    to the statement – which are 9 accounts – in the name of Al-
                    Haramain Islamic Foundation.’”
 168    20          Replace “Yes … says.” with, “According to the translation      Clarification
                    you have shown me, the letter states, ‘we want to transfer
                    the accounts of Al-Haramain Islamic Foundation, attached
                    to the statement – which are 9 accounts – in the name of Al-
                    Haramain Islamic Foundation.’”
 169    1           Delete “, they provided a list of them”                        Clarification
 169    23          Replace “naturally” with “unilaterally”, replace “If” with     Clarification
                    “Even if”, and replace “writing” with “requesting”
 170    8           Delete “, I believe so”                                        Clarification
 174    15-20       Replace “I do not … individual accounts.” with “Account        Clarification
                    “555” was established in the name of Al Haramain. Account
                    “889” was jointly held by Aqeel al Aqeel and Mansour al
                    Kadi. Account “909” was held by Mansour al Kadi.
                    Account “600” was jointly held by Mansour al Kadi and
                    Aqeel al Aqeel. Account “880” was jointly held by Aqeel al
                    Aqel and Muhammad Al Tuwaijry. It appears the reference
                    to account “898” may have been a typo; the Bank has no
                    record of this account. Account “292” was held by Abdul
                    Rahman al Aqeel. Account “333” was held by Aqeel al
                    Aqeel. Account “147” was held by Muhammad Al-
                    Tuwaijry.”
 175    3-6         Replace “These were …charity.” with “In some cases.”           Clarification

 175    10          Delete “No.”                                                   Clarification
 175    13-16       Replace “I … understanding” with “Yes”                         Clarification
 175    20          Replace “I would need to check that.” with “Yes.”              Clarification
 176    19          After “done.” insert “This letter shows that the Bank was      Clarification
                    following its policies under the 1997 Branch Manual. Any
                    transfer of an existing personal account number to a new
                    business, entity, or charity name would require a higher
                    level of approval.”
 177    6           Replace “I … that” with “No”                                   Clarification
 177    14-15       Replace “I … title” with “He headed the Banking Group,         Clarification
                    which at that time managed both retail and corporate
                    banking.”



        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                  13
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24       Page 381 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                         Reason
 177    19          Replace “I … that” with “Yes, he would have reported to        Clarification
                    the General Manager of the Bank, who at that time was
                    Abdullah Al Rajhi”
 177    25          After “controls” insert “that were followed” and replace       Clarification
                    “were -- this is” with “was”
 178    1           After “the” insert “accounts in” and replace “individual”      Clarification
                    with “individuals’”
 178    2           After “the” insert “name of”                                   Clarification
 178    3           Replace “account names, but” with “, and”                      Clarification
 178    9           Replace “but” with “and” and replace “was” with “required      Clarification
                    following”
 178    15          Before “They” insert “These additional requirements and        Clarification
                    safeguards were in place to ensure that both the customers
                    and the Bank were protected.” and replace “They were
                    trying” with “The Bank’s controls were meant”
 178    16          Replace “obviously” with “in fact”                             Clarification
 178    17          Replace “opened” with “ultimately held”                        Clarification

 178    17-18       Replace “charity, but that -- when you're moving, normally” Clarification
                    with “charity. Normally,”
 178    22          Replace “they” with “the Bank”                                 Clarification

 178    24          After “on” insert “the account as owner and the old party Clarification
                    removed”

 178    25          Delete “and things”                                            Clarification

 179    1           After “recovered” insert “,”                                   Clarification

 179    2           After “agreed” insert “by both the former and new Clarification
                    accountholders. This protects both customers, who are
                    assured of the amount that will be transferred from the
                    former accountholder to the new accountholder; the Bank is
                    protected from any claims by the former and new
                    accountholders as to the value of the account; and the new
                    accountholder is protected against fraudulent use of checks
                    held by the former accountholder.”
 179    6           Replace “and then there was” with “as well as”                 Clarification

 179-   179:19-     Replace “Yeah …was to be” with “There was an account- Clarification
 80     180:2       conversion process, as I described, which is also laid out in
                    other internal letters such as at ARB-00038996. And that
                    process and policy was to be”




        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                   14
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24        Page 382 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                          Reason
 180    5-10        Replace “the manual” with “the branch manual” and replace       Clarification
                    “And these … for that.” with “The branch manual lists
                    additional controls for opening a charity account. The
                    additional controls include requiring a higher-level signoff
                    to open the account. And in the letter you are showing me
                    now, authorization to move the account into the name of Al
                    Haramain is being given by the Deputy Director General for
                    the Banking Group, consistent with the branch manual.”
 180    23          Replace “personal” with “the personal-account”                  Clarification
 180    24          After “onboarding” insert “procedure”                           Clarification
 181    1-2         Replace “I … what’s” with “would have been subject to the       Clarification
                    charity-account onboarding procedure. What’s”
 181    5-8         Replace “Yeah, … activities?” with “Could individuals           Clarification
                    have used their personal accounts for charitable activities?”
 184    14-19       Replace “Well … clarify--” with “The question was not           Clarification
                    clear to me.”
 185    16          Replace “it” with “the change in accountholder”                 Clarification
 185    17          After “to” insert “a higher level signoff and collecting”       Clarification
 185    18          Replace “account” to “accountholder”                            Clarification
 185    25          Before “It” insert “I did not mean to suggest that converting   Clarification
                    an individual account to a charity account would raise
                    concerns.” and delete “It - - ”
 186    1           Replace “they” with “the charity”                               Clarification
 186    10-11       Replace “I … no.” with “This internal Bank letter states that   Clarification
                    it encloses Al Haramain Charitable Foundation’s “original
                    letter” dated September 6, 1999, which the Bank has
                    produced under Bates number ARB-00038888. In that
                    “original letter,” Al Haramain requests the account-name
                    change.”
 187    21          After “awareness” insert “on the part of Al Haramain”           Clarification
 187    23          Replace “scrutiny” with “controls” and replace “it” with        Clarification
                    “the account”
 188    12          After “issue” delete “that”                                     Transcription error
 189    19-22       Delete “Yeah, … second.”                                        Clarification
 191    17          Replace “this issue” with “your question, because this          Clarification
                    scenario is missing a lot of facts”
 192    4           Replace “that’s cor --” with “that”                             Transcription error
 194    3-7         Delete “The letter … right?”                                    Clarification
 194    25          Replace “I … that.” with “The letter shows that the Branch      Clarification
                    director is enclosing letters from Al-Haramain Islamic
                    Foundation and the individual accountholders expressing
                    their wish to change the account to be in the name of Al
                    Haramain. So the request came from the Bank’s customers.
                    The Branch director is asking for guidance on how possibly
                    to accomplish this.”.


        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                  15
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24       Page 383 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                         Reason
 195    2-3         Delete “But whether it was Al Haramain or the bank,” and       Clarification
                    replace “either” with “this letter shows that”
 195    4           Replace “either party is” with “the individuals jointly        Clarification
                    holding the account and Al Haramain are”, and after “this”
                    insert “account”, and after “order” insert “and under proper
                    controls because it is being used to receive donations. The
                    Bank acknowledges this, and the Bank’s Branch manager is
                    asking for guidance to facilitate the change to a charity
                    account”
 195    5           Replace “and” with “to” and replace “they’re” with “the        Clarification
                    account is”
 195    6           After “as” insert “a”, replace “accounts” with “account”,      Clarification
                    and replace “they’re” with “that the account is”
 195    7           After “to” insert “the” and replace “control” with             Clarification
                    “controls,” and after “licensing” insert “requirement”
 195    9           Replace “of” with “to”                                         Clarification
 195    15          After “comment” insert “on”                                    Clarification
 195    16          Replace “they’re” with “this account was”                      Clarification
 195    18          Replace “their” with “the” and replace “accounts are” with     Clarification
                    “account is”
 195    19          Replace “they’re” with “it’s”                                  Clarification
 195    22          Replace “these accounts” with “this account,” and replace      Clarification
                    “they were” with “it was”
 195    23          Replace “they were” with “it was”                              Clarification
 195    24          After “as” insert “an”                                         Clarification
 195    25          Replace “accounts” with “account” and after “account”          Clarification
                    insert “to be used for depositing donations”
 200    2           Replace “they’re” with “donors” and after “directly” insert    Clarification
                    “to the account”
 201    6           After “now.” insert “The topics you have been asking me to     Clarification
                    speculate about -- whether certain individual
                    accountholders intended to use their account to collect
                    donations, and the timing of when donations started to be
                    made into the account -- were not areas of inquiry in the
                    notice that I was asked to prepared on for this deposition.”
 205    8           After “bank.” insert “As mentioned, these requirements         Clarification
                    protect the customers, who are assured of the amount that
                    will be transferred from the former accountholders to the
                    new accountholder; the Bank is protected from any claims
                    by the former and new accountholders as to the value of the
                    account; and the new accountholder is protected against
                    fraudulent use of checks held by the former
                    accountholders.”




        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                  16
Case 1:03-md-01570-GBD-SN            Document 10594-3             Filed 12/09/24         Page 384 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                            Reason
 208    7           After “correct.” insert “This redaction appears to be an          Clarification
                    anomaly, however, because all of the other documents you
                    have shown me were matchable on the redacted account
                    number. And I understand that the Bank subsequently
                    produced this document with a corrected redaction.”
 209    13          Replace “That” with “From what you are showing me, that”          Clarification
 209    19-20       Replace “what” with “the noticed topics” and after “I” insert     Clarification
                    “was asked to” and replace “prepared” with “prepare”
 209    22          After “uncover,” insert “and” and after “for” insert “because     Clarification
                    it was not in the notice”
 210    13-14       Replace “I … him” with “No, he does not”                          Clarification
 210    21          Replace “Then” with “And” and after “assume” insert “this         Clarification
                    request is”
 210    23          Replace “everybody else” with “Al Haramain” and “here”            Clarification
                    with “with other accounts”
 210    23          Replace “them” with “individual accounts”                         Clarification
 211    9           After “true” insert “, in that there were four requests to        Clarification
                    change account names in the four years 1998 through 2001.
                    But to the extent you mean anything more than that I don’t
                    accept your characterization of such requests as “ongoing””
 211    17          After “Yes” insert “, again, only to the extent that the four     Clarification
                    requests to change account names that you have shown me
                    took place over the four years 1998 to 2001. To the extent
                    that by “at least,” you mean something more than that, I’m
                    not prepared to accept that characterization.”
 211    21          After “correct” insert “, if by “multiple” you are referring to   Clarification
                    four requests”
 212    13          After “did.” insert “Nor would there be any basis that I am       Clarification
                    aware of to raise red flags about any of these requests
                    individually or about the four requests over four years.”
 221    2           Replace “?” with “.”                                              Clarification
 221    12          Replace “bank” with “banks”                                       Transcription error
 223    1           Delete “there’s”                                                  Clarification
 223    3           After “three” insert “organizations” and replace “lists” with     Clarification
                    “listed”
 223    4           After “than” insert “making an assumption based on”               Clarification
 225    8           Replace “instruction.” with “instructions, although I note        Clarification
                    that the names of the entities in the document you have
                    shown me are in Arabic. And, while you have referred to
                    these entities as “branches,” the Bank takes no position on
                    the nature of the relationship between Al Haramain KSA
                    and the entities in Bosnia and Somalia, with which the Bank
                    had no relationship, or between IIRO KSA and the entity in
                    Albania, with which the Bank also had no relationship”
 225    24          Replace “about” with “of”                                         Transcription error
 225    25          Replace “someone” with “SAMA”                                     Transcription error

        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                  17
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24         Page 385 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                           Reason
 226    2-4         Delete “—sorry … entity”                                         Clarification
 228    18          After “directed” insert “inquires to SAMA and”                   Clarification
 228    23          Replace “all of them were” with “Al Haramain was”                Clarification
 229    15          After “case” insert “, subject to my earlier point that, while   Transcription error
                    you have referred to these entities as “branches,” the Bank
                    takes no position on the nature of the relationship between
                    Al Haramain KSA and the entities in Bosnia and Somalia,
                    with which the Bank had no relationship, or between IIRO
                    KSA and the entity in Albania, with which the Bank had no
                    relationship.”
 226    21           Replace “I don’t have that in front of me, but” with “The       Clarification
                    Bank searched for these accounts and found none.”
 226    25          Delete “that”                                                 Clarification
 230    3-4         Replace “I … that.” with “I reject the premise of your Clarification
                    question. The Bank took all appropriate steps to confirm it
                    did not have any accounts responsive to the blocking orders
                    from SAMA. Al Rajhi Bank in fact did not have accounts
                    for Al Haramain Bosnia. The Bank only had accounts for
                    Al Haramain KSA, which was not sanctioned, was licensed
                    to operate, and about which SAMA had not given any
                    contrary instruction. I understand that the United States
                    government itself distinguished between Al Haramain
                    KSA, which was not designated, and other foreign
                    operations that had been designated. And in November
                    2001, SAMA had specifically instructed the banks not to
                    take unilateral action to block accounts unless instructed by
                    SAMA. The Bates number for that instruction is ARB-
                    00039842. The Bank did block transactions with restricted
                    parties, including the entities in this notice from SAMA. To
                    my knowledge, however, in 2002, there were no restrictions
                    under Saudi law, SAMA directives, or the Bank’s policies
                    on using charitable accounts at banks in Saudi Arabia for
                    charitable activities outside the Kingdom -- including in
                    Bosnia.”




        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                  18
Case 1:03-md-01570-GBD-SN            Document 10594-3             Filed 12/09/24         Page 386 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                            Reason
 230    14-20       Replace “I … compliant.” with “Again, I reject the premise        Clarification
                    of your question. The Bank took all appropriate steps to
                    confirm it did not have any accounts responsive to the
                    blocking orders from SAMA. Al Rajhi Bank in fact did not
                    have accounts for Al Haramain Bosnia. The Bank only had
                    accounts for Al Haramain KSA, which was not sanctioned
                    and was licensed to operate.             The Bank did block
                    transactions with restricted parties, including the entities in
                    this notice from SAMA. To my knowledge, however, in
                    2002, there were no restrictions under Saudi law, SAMA
                    directives, or the Bank’s policies on using charitable
                    accounts at banks in Saudi Arabia for charitable activities
                    outside the Kingdom — including in Bosnia.”
 231    6-7         Replace “I … that.” with “The Bank took all appropriate           Clarification
                    steps to confirm it did not have any accounts responsive to
                    the blocking orders from SAMA. Al Rajhi Bank in fact did
                    not have accounts for Al Haramain Bosnia. The Bank only
                    had accounts for Al Haramain KSA, which was not
                    sanctioned and was licensed to operate. The Bank did block
                    transactions with restricted parties, including the entities in
                    this notice from SAMA. To my knowledge, however, in
                    2002, there were no restrictions under Saudi law, SAMA
                    directives, or the Bank’s policies on using charitable
                    accounts at banks in Saudi Arabia for charitable activities
                    outside the Kingdom — including in Bosnia.”
 231    18          After “that” insert “I reject the premise of your question.       Clarification
                    The Bank took all appropriate steps to confirm it did not
                    have any accounts responsive to the blocking orders from
                    SAMA. Al Rajhi Bank in fact did not have accounts for Al
                    Haramain Somalia. The Bank only had accounts for Al
                    Haramain KSA, which was not sanctioned and was licensed
                    to operate. The Bank did block transactions with restricted
                    parties, including the entities in this notice from SAMA. To
                    my knowledge, however, in 2002, there were no restrictions
                    under Saudi law, SAMA directives, or the Bank’s policies
                    on using charitable accounts at banks in Saudi Arabia for
                    charitable activities outside the Kingdom -- including in
                    Somalia. And”
 231    21-23       Delete “With respect to these particular activities, I don’t      Clarification
                    have anything at hand to answer that question.”
 232    13          Before “I’d” insert “I reject the premise of your question.”      Clarification
                    and after “offer” insert “substantially”
 232    16          After “action” insert “SAMA’s directives”                         Clarification




        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                  19
Case 1:03-md-01570-GBD-SN             Document 10594-3             Filed 12/09/24          Page 387 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                              Reason
 232    19          After “function.” insert “The Bank took all appropriate             Clarification
                    steps to confirm it did not have any accounts responsive to
                    the blocking orders from SAMA. Al Rajhi Bank in fact did
                    not have accounts for IIRO Albania. I would add that the
                    names of the entities in the document you have shown me
                    are in Arabic, and, while you have referred to this entity as
                    a “branch,” the Bank takes no position on the nature of the
                    relationship between IIRO KSA and the entity in Albania,
                    with which the Bank had no relationship. The Bank only
                    had accounts for IIRO KSA, which was not sanctioned and
                    was licensed to operate. The Bank did block transactions
                    with restricted parties, including the entities in this notice
                    from SAMA. To my knowledge, however, in 2002, there
                    were no restrictions under Saudi law, SAMA directives, or
                    the Bank’s policies on using charitable accounts at banks in
                    the Kingdom for charitable activities outside the Kingdom
                    -- including in Albania.”
 233    7-8         Replace “I … that.” with “The Bank took all appropriate             Clarification
                    steps to confirm it did not have any accounts responsive to
                    the blocking orders from SAMA. Al Rajhi Bank in fact did
                    not have accounts for IIRO Albania. The Bank only had
                    accounts for IIRO KSA, which was not sanctioned and was
                    licensed to operate. The Bank did block transactions with
                    restricted parties, which included the entities in this notice
                    from SAMA. To my knowledge, however, in 2002, there
                    were no restrictions under Saudi law, SAMA directives, or
                    the Bank’s policies on using charitable accounts at banks in
                    Saudi Arabia for charitable activities outside the Kingdom
                    -- including in Albania.”
 236    2           After “familiar” insert “with the fact that”                        Clarification
 236    3           After “time” insert “and”, and after “that” insert “SAMA”           Clarification
 236    4           After “things” insert “with respect to names on those lists”        Clarification
 237    10          After “sent” insert “, but over 2 pages”                            Clarification
 240    4           After “that” insert “one way or another”                            Clarification
 241    19          After “these” insert “foreign”                                      Clarification
 241    23          Delete “seems”                                                      Transcription error
 242    8-9         After “KSA.” insert “And I again reject the premise of your         Clarification
                    question. The Bank took all appropriate steps to confirm it
                    did not have any accounts responsive to the orders from
                    SAMA. Al Rajhi Bank in fact did not hold accounts for Al
                    Haramain Netherlands. The Bank did block transactions
                    with restricted parties, including the entities in this list from
                    SAMA. ”
 242    17          After “took” insert “steps in response to”, and replace “the        Clarification
                    SAMA” with “SAMA’s”
 242    18          Replace “he” with “the document”                                    Clarification
 242    19          After “100” insert “from SAMA”                                      Clarification
        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                   20
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24        Page 388 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                          Reason
 242    21          Replace “result of” with “a check on”                           Clarification
 243    1           After “have” delete “any KSA --”                                Clarification
 243    2           After “accounts” insert “for entities” and after “KSA.”         Clarification
                    insert “So in response to your repeated question, I repeat
                    that I reject the premise of your question. The Bank took
                    all appropriate steps to confirm it did not have any accounts
                    responsive to the orders from SAMA. Al Rajhi Bank in fact
                    did not have accounts for Al Haramain Netherlands. The
                    Bank did block transactions with restricted parties,
                    including the entities in this list from SAMA.”
 243    15          Replace “ordered” with “audited” and after “same.” insert       Transcription error and
                    “In other words, the Bank blocked any account that the          clarification
                    Bank held that was on a list from SAMA with instructions
                    to be blocked, even if the account was opened in Saudi
                    Arabia.”
 243    16          Replace “inquiry” with “inquiry-”                               Transcription error
 243    18          Replace “in” with “among”                                       Clarification
 244    7           Replace “That is” with “The name Al Haramain may be all         Clarification
                    that”
 244    8           Replace “I don’t know if there would be” with “But there        Clarification
                    would be”
 244    9           After “identifications,” insert “, such as the domicile         Clarification
                    address,” and after “of the” insert “KYC”
 244    10          After “files” insert “So no, no that is not correct. Those      Clarification
                    accounts are in the name of Al Haramain KSA. It is not
                    correct that, just because the sheet you showed me does not
                    specify “KSA” in the name, these accounts may have
                    pertained to foreign entities or foreign “branches” of Al
                    Haramain. It is also not correct that the accounts could
                    pertain to Al Haramain ‘generically,’ if by that you mean to
                    include any entities named “Al Haramain” outside Saudi
                    Arabia.”




        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                  21
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24        Page 389 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                        Reason
 244    20-21       Replace “, and we ordered it for the application of the same Clarification
                    thing” with “. And in response to your repeated question, I
                    will repeat again that I reject the premise of your question.
                    The Bank took all appropriate steps to confirm it did not
                    have any accounts responsive to the blocking orders from
                    SAMA. Al Rajhi Bank in fact did not have accounts for Al
                    Haramain Netherlands. And although you have referred to
                    this entity as a “branch,” the Bank takes no position on the
                    nature of the relationship between Al Haramain KSA and
                    the entity in The Netherlands, with which the Bank had no
                    relationship. The Bank only had accounts for Al Haramain
                    KSA, which was not sanctioned, was licensed to operate,
                    and about which SAMA had not given any contrary
                    instruction. The Bank did block transactions with restricted
                    parties, including the entities in this list from SAMA such
                    as Al Haramain Netherlands.”
 245    3-5         Replace “Yeah … answer.” with “I can repeat that the Bank       Clarification
                    took all appropriate steps to confirm it did not have any
                    accounts responsive to the blocking orders from SAMA,
                    such as the entities in this notice, including Al Haramain
                    Netherlands. And the Bank did block transactions with
                    restricted parties, including Al Haramain Netherlands and
                    the entities in this notice from SAMA.”
 245    9           Replace “Well” with “Yes. And”, after “Carter,” insert          Clarification
                    “when”, after “we” insert “had previously”
 245    10          Replace “the instructions, and ” with “instructions about       Clarification
                    foreign Al Haramain entities,”
 245    11          Replace “ask” with “determine”                                  Clarification
 245    19          Before “correct” insert “one action the Bank took,” and after   Clarification
                    “correct.” insert “The Bank had also asked SAMA for
                    guidance, including in the letters at ARB-00014545 and
                    ARB-00014546. And the Bank had also confirmed that the
                    Ministry of Justice approved of the Bank continuing to deal
                    with Al Haramain Charitable Foundation.                 That
                    confirmation was produced at ARB-00039505.”
 247    14          Before “What” insert “Again, I reject the premise of your       Clarification
                    question.” and after “that” insert “the Bank confirmed that”
 247    17          After “entities” insert “as customers. The Bank also            Clarification
                    blocked transactions with restricted parties, including the
                    entities on this list from SAMA.”
 249-   249:23-     Delete “What … that”                                            Clarification
 250    250:3
 250    5           Before “on” insert “over certain Al Haramain accounts” and Clarification
                    replace “?” with “.”
 251    8           Replace “no bank” with “all banks not”                     Clarification
 251    14          Replace “they’re” with “it was in”                         Clarification

        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                  22
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24        Page 390 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                          Reason
 251    16          Replace “a letter” with “letters”                               Clarification
 251    23          Replace “And” with “To flesh this out,”                         Clarification
 251    24          Replace “it” with “Al Haramain”                                 Clarification
 252    1           Replace “And” with “So”                                         Clarification
 252    4           Replace “in” with “on”                                          Clarification
 252    7           Replace “they” with “SAMA”                                      Clarification
 252    8           Replace “them” with “Al Haramain” and after “operating”         Clarification
                    insert “and holding accounts at Saudi banks”
 252    13          Delete “a”                                                      Clarification
 252    14          Replace “letter” with “letters”                                 Clarification
 252    16          Before “Al” insert “and”                                        Clarification
 252    18          Replace “charitable foundation” with “Charitable                Clarification
                    Foundation”
 254    5           After “other” insert “supposed” and replace “which” with        Clarification
                    “while”
 256    3           Replace “in” with “on”                                          Clarification
 256    7           Delete “charitable accounts founda --                           Clarification

 256    20          After “Youth,” insert “were”                                    Clarification
 257    8-9         Replace “And I have no specific response to that question.”     Clarification
                    with “In response to this SAMA directive, the Bank blocked
                    the CIC for M. Al Aqeel. This blocked his accounts, and
                    also prevented him from receiving any services from the
                    Bank regarding accounts on which he was a signatory.
                    Again by way of context that is relevant to your question, in
                    November 2001, SAMA had specifically instructed the
                    banks not to take unilateral action to block any accounts
                    unless instructed by SAMA.”
 261    22-23       Replace “There … records.” with “First, I confirmed that        Clarification
                    the charitable foundation has never been a parent,
                    subsidiary, or affiliate of the Bank, and the Bank has never
                    had oversight, supervision, management, or control over the
                    Foundation’s operations or activities. Second, to prepare
                    for Topic 12, and particularly 12(e), I inquired as to the
                    steps that the Bank took to search for transactions from the
                    accounts of Sulaiman al Rajhi and the Charitable
                    Foundation to charities in question.”
 263    5           Replace “I’m not sure” with “Yes”                               Clarification
 263    22          Replace “I’m not aware of any” with “Yes, there were            Clarification
                    additional accounts, but there were no responsive
                    transactions from those accounts to Al Haramain or IIRO”
 264    6           Replace “I … definitively.” with “Yes.”                         Clarification
 264    23          Replace “I’m … sure” with “yes”                                 Clarification
 265    4-8         Delete “I’m … to.”                                              Clarification
 265    14-15       Replace “That … draw” with “Yes”                                Clarification



        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                  23
Case 1:03-md-01570-GBD-SN             Document 10594-3             Filed 12/09/24         Page 391 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                             Reason
 265    18          Replace “No … not.” with “The figure 847,604.00 is the             Clarification
                    total debits at the end of this page of the statement; the
                    figure 8,260,347.45 is the total credits at the end of the page;
                    and the figure 1,561,000.00 is the balance at the end of this
                    page of the statement.”
 266    12-13       Replace “By … true.” with “The figure 2,408,604 refers to          Clarification
                    the grand total of the debits from the account on Dec. 30,
                    1998.”
 266    19          Replace “That’s … correct.” with “The figure 8,260,347.45          Clarification
                    refers to the total credits to the account on Dec. 30, 1998.”
 267    1-2         Replace “I … redaction” with “No, because the redactions           Clarification
                    are covering non-responsive transactions and banking
                    information, and are not covering column headers.”
 267    8-12        Replace “Yeah … to” with “No.”                                     Clarification
 268    6           After “accounts,” insert “I learned that there were                Clarification
                    transactions from the Foundation to Al Haramain KSA,”
                    and I’m aware that these transactions were produced in the
                    form of account statements like these;”
 268    10          Delete “,” after “which”                                           Transcription error

 268    11          Replace “,” with “.”                                               Transcription error
 268    13          Delete “to”                                                        Clarification
 268    21-22       Delete “No,” and after “accounts.” insert “There were              Clarification
                    additional accounts, but there were no responsive
                    transactions from those accounts to Al Haramain or IIRO or
                    Muwaffaq.”
 271    4-5         Replace “And … approach.” with “The Bank identified the            Clarification
                    Al Haramain and IIRO accounts, and also identified the
                    accounts of the potential donors, including the Charity
                    Foundation and Sulaiman Al Rajhi. To identify possible
                    transactions from the potential donors to those charities, the
                    Bank ran a keyword search for ‘Rajhi,’ in English and
                    Arabic, in all of the charities’ accounts, and identified any
                    credits that matched debit amounts from the potential
                    donors’ accounts on the same transaction date. The Bank
                    also searched for transfers to any of the charities’ accounts
                    outside the Bank. It did this by checking to see whether the
                    three named charities were set up as beneficiaries in the
                    Core Banking System. The Bank confirmed they were not
                    set up as beneficiaries by any of the potential donors.”




        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                   24
Case 1:03-md-01570-GBD-SN             Document 10594-3             Filed 12/09/24          Page 392 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                              Reason
 271    15          Replace “Yeah, that was also conducted.” with “I think you          Clarification
                    misunderstood. The Bank searched its General Ledger for
                    potential donations from the Bank itself to the charities.
                    And the Bank did not identify any responsive transactions.
                    The Bank would not have searched its General Ledger for
                    transactions from the Charity Foundation, because the
                    Charity Foundation has never been a parent, subsidiary, or
                    affiliate of the Bank.”
 272    10-11       Replace “I … that.” with “I think you are mixing up the             Clarification
                    Charity Foundation and the Bank. The Charity Foundation
                    has never been a parent, subsidiary, or affiliate of the Bank.
                    In any event, no, Al Haramain was not set up as a
                    beneficiary by Al Rajhi Bank. If you are asking whether Al
                    Haramain was ever set up as a beneficiary by the Charity
                    Foundation, then no, it was not.”
 272    13-14       Replace “I … Carter.” with “Again, I think you are mixing           Clarification
                    up the Charity Foundation and the Bank. The Charity
                    Foundation has never been a parent, subsidiary, or affiliate
                    of the Bank. In any event, no, IIRO was not set up as a
                    beneficiary by Al Rajhi Bank. If you are asking whether
                    IIRO was ever set up as a beneficiary by the Charity
                    Foundation, then no, it was not.”
 272-   272:24-     Replace “I’m … would have been.” with “Yes, the Bank’s              Clarification
 73     273:2       process did search for checks to the charities deposited at
                    other banks. The Bank did this by reviewing the Notes field
                    in the core banking system for checks written from the
                    potential donors’ accounts.”
 274    9-12        Replace “Well … have” with “The three figures represent             Clarification
                    the total debits, total credits, and the final balance reflecting
                    transactions on that page”
 276    21          After “it” insert “or documents like it”                            Clarification
 279    12-13       Replace “I do not know the answer to that.” with “I can tell        Clarification
                    you that the Bank and the Foundation did not share office
                    space, if that is what you are asking.”
 279    17          Replace “Well” with “The Bank is not in possession of the           Clarification
                    Charity Foundation’s operating files. And”
 280    2           After “not.” insert “In fact I did review a document that           Clarification
                    appears to be from the Estate Office of Sulaiman Al Rajhi”
 281    1           Replace “This was all --” with “The”                                Clarification
 282    14          Replace “No. The bank’s got --” with “As”                           Clarification
 282    19          Before “foundation” insert “supposed”                               Clarification
 285    17          After “secretary” insert “Bushra Ahmed” and after “not”             Clarification
                    insert “Abdullah Al Rajhi”
 285    18          Replace “that” with “Mr. Ahmed had access to use Mr.                Clarification
                    Abdullah Al Rajhi’s email” and replace “it” with “the
                    email”
 285    19          After “charity” insert “foundation”                                 Clarification
        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                   25
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24         Page 393 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                           Reason
 285    20          Replace “it” with “by sending the letter separately as an        Clarification
                    attachment and signing the email himself, Mr. Ahmed” and
                    delete “that he was”
 285    21          Replace “he” with “Abdullah Al Rajhi” and after “charity”        Clarification
                    insert “foundation”
 285    23          Replace “sending” with “to expect receipt of”                    Clarification
 285    24          Replace “him” with “Abdullah Al Rajhi”                           Clarification
 290    6-7         After “that” insert “,, but have no reason to believe there      Clarification
                    would be”, replace “I -- there – as” with “As” and after
                    “that,” insert “but have no reason to believe there would be”
 290    10          Delete “It’s not something that”, and after “I’ve” insert        Clarification
                    “not”
 290    11          Replace “. We” with “because we”                                 Clarification
 290    12          Replace “It’s” with “The Foundation is”                          Clarification
 291    4           After “the” insert “precise”                                     Clarification
 291    5           After “I don’t know” delete “ -- I don’t know”                   Clarification
 291    14-15       Delete “If you’ll bear with me, just see if I have any notes.    Clarification
                    But I don’t.”
 295    6           Replace “card” with “code.”                                      Transcription error
 295    18-21       Replace “Yeah … qualified” with “The correspondent               Clarification
                    account was for the sole use of the Bank to conduct
                    correspondent banking, including on behalf of Bank
                    customers.”
 296    3-5         Replace “I … not.” with “The correspondent account was           Clarification
                    for the sole use of the Bank to conduct correspondent
                    banking on behalf of any Bank customers, possibly
                    including the Charity Foundation.”
 301    9           Before “person” insert “that”                                    Transcription error
 307    6           Replace “I… that.” with “In fact the Bank’s position is that     Clarification
                    it is not required to conduct any search related to these
                    entities, because they are outside the scope of jurisdictional
                    discovery.”
 309    13          Replace “No… not.” with “The Bank’s position is that it is       Clarification
                    not required to conduct any search related to these entities,
                    because they are outside the scope of jurisdictional
                    discovery.”
 309    25          After “accounts.” insert “That individual has never had any      Clarification
                    role at the Bank.”
 313    8           Replace “I don’t believe so” with “No, it is not”                Clarification
 313    9           After “before” insert “in connection with the Bank”              Clarification
 314    11          After “that” insert “, but I understand this document was        Clarification
                    found in the legal department’s archives”
 315    6           Replace “so” with “but” and after “but” insert “I don’t          Clarification
                    believe they are”
 315    7-8         After “Al Rajhi” insert “Bank” and delete “I … them.”            Clarification


        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                  26
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24       Page 394 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                         Reason
 315    17-18       Replace “Yeah … sir.” with “No, it is not a part of Al Rajhi   Clarification
                    Bank.”
 317    9           Replace “’96” with “1996”                                      Clarification
 317    10          Replace “9 August” with “2 October”                            Clarification
 317    22          Replace “product” with “providing Sharia law advice on the     Clarification
                    proposed”
 317    22          After “design” insert “of Bank products,”                      Clarification
 317    23          Delete “and process design,”                                   Clarification
 318    9           Replace “The” with “Providing Sharia advice on the             Clarification
                    product’s”
 318    16          After “understanding.” insert “To be clear, the other          Clarification
                    division of the Sharia group provided Sharia advice on the
                    proposed design of Bank products; the control division
                    function was to make sure that the products were
                    implemented in accordance with the Sharia-compliant
                    design.”
 319    3           Replace “From memory …qualification.” with “He had             Clarification
                    suitable qualifications, namely, a Bachelor’s degree in
                    Administrative Science and Accounting.”

 319    9           Replace “I … university” with “Imam Mohammad Ibn Saud Clarification
                    Islamic University”

 319    20          Replace “It’s” with “That is”                                  Clarification

 320    5           After “date” insert “range”                                    Clarification

 320    19          Replace “It’s …to.” with “There may be some confusion          Clarification
                    here. Mr. Al-Towayan did not work in the Compliance
                    department; he worked in the Sharia Control group within
                    the Sharia Department.       The Bank has a separate
                    Compliance department, and this individual did not work
                    there. His job involved conducting audits to make sure that
                    the decisions of the Sharia Board with respect to Sharia-
                    compliant product design and delivery were properly
                    implemented. At no point in his tenure at the Bank did he
                    work in the Compliance department.”
 321    1           Delete “it’s --”                                               Clarification
 321    9           After “of” insert “,”                                          Clarification
 321    10          After “of” insert “,”                                          Clarification
 321    19          Delete “amassed”                                               Clarification
 324    11          Replace “I … information.” with “Mohammad Al Osaimy            Clarification
                    was the Head of Sharia Control at that time.”
 325    13          After “August” insert “ 2002 was the last time he appeared     Clarification
                    at work. The Bank followed its processes for terminating
                    an employee’s contract for job abandonment. 2nd of
                    October 2002 was”, and after “date” insert “of
                    employment”
        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                  27
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24         Page 395 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                           Reason
 325    21          Replace “I … dates.” with “The Bank determined that he           Clarification
                    stopped coming to work after 9 August 2002.”
 326    21          After “things.” insert “We also spoke with people in the         Clarification
                    Sharia Control group, to see if anyone recalled working with
                    him or recalled him traveling to the United States, but no
                    one did.”
 327    7-8         Replace “I … been” with “He was”                                 Clarification
 327    12          Delete “some –” and replace “period” with “long”                 Clarification
 327    17          Replace “I … no” with “No, there was no change in 2001 to        Clarification
                    the account where he received compensation from the
                    Bank”
 327    24-25       Replace “You … know” with “Mohammad Al Osaimy was                Clarification
                    the Head of Sharia Control at that time”
 332    21          Add “to” after “pointed”                                         Transcription error
 336    1           Replace “two weeks that” with “four weeks since”                 Clarification
 336    5           After “preparation” insert “over the last two weeks” and         Clarification
                    after “days” insert “a week”
 337    15          Replace “And for” with “As for”                                  Clarification
 337    18          After “the” insert “alleged”, after “principals” insert “of Al   Clarification
                    Haramain”, and after “Haramain,” insert “accounts for”
 337    19          Replace “searched” with “identified”                             Clarification
 337    20-21       Delete “Al Haramain and”, after “IIRO,” insert “accounts         Clarification
                    for”, after “two” insert “alleged principals”, and replace
                    “searched” with “identified”
 340    19          Replace “at” with “start with”                                   Clarification
 340    20          Delete “,”                                                       Clarification
 340    21          Replace “include” with “including”, after “identification,”      Clarification
                    insert “and for” and replace “individual” with “individuals,”
 341    4           Replace “order” with “audit” and after “of” insert “the”         Transcription error /
                                                                                     clarification
 341    18          Replace “in” with “by”                                           Clarification
 342    8           Delete “, as far as I know”                                      Clarification
 343    2           Before “his” insert “of”                                         Clarification
 343    4           Replace “made” with “gave”                                       Clarification
 343    5           Replace “attempts” with “reminders of his resignation”           Clarification
 344    24          Replace “advising” with “FIs, or financial institutions, in”     Clarification
 345    22          After “SAMA” delete “self --”                                    Clarification
 346    4           Replace “of” with “and”                                          Clarification
 346    5           Replace “request” with “requests”                                Clarification
 346    8           Delete “in the regular --”                                       Clarification
 346    11          After “this” insert “banks self supervisory committee”           Clarification
 346    22          Replace “bank`s” with “bank’s”                                   Transcription error
 346    25          Replace “I represented” with “A representative of”               Transcription error
 347    2           After “the” insert “Bank’s”                                      Clarification
 347    3           Replace “bank’s” with “banks”                                    Transcription error
 347    7           After “on” insert “to”                                           Clarification

        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                  28
Case 1:03-md-01570-GBD-SN            Document 10594-3            Filed 12/09/24       Page 396 of 397
                  THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page   Line(s)     Change                                                         Reason
 347    8           After “audit” insert “department”                              Clarification
 347    12          Replace “it” with “the Bank’s responses”                       Clarification
 348    12          Delete “ARB only, or”                                          Clarification
 348    13          Replace “only, had” with “only held”, replace “with” with      Clarification
                    “of”
 348    20          After “13th” insert “, 2004”                                   Clarification
 349    13          Replace “in” with “regarding”                                  Clarification
 349    14          Before “all” insert “directed”                                 Clarification
 349    15          Replace “30th” with “20th”                                     Clarification
 349    17          Replace “Trustee” with “Treasury”                              Transcription error
 349    22          After “hyperlink” insert “, which is                           Clarification
                    https://home.treasury.gov/news/press-releases/po1086”
 349    25          Delete “they’re” and after “instructed” insert “to do so”      Clarification
 350    1           Replace “the” with “SAMA’s”                                    Clarification
 350    2           Replace “beginning” with “inception”                           Clarification
 350    4           Replace “SAMA” with “SAMA’s”                                   Clarification
 350    16          After “offices.” insert “And the Bank takes no position on     Clarification
                    those offices’ relationships with Al Haramain or IIRO.”
 350    17-18       Replace “And SAMA requests to Al Rajhi Bank -- they”           Clarification
                    with “SAMA” and replace “made requests of Al Haramain”
                    with “made a request of the Bank regarding Al Haramain”
 350    21-22       Replace “then … which” with “For IIRO, no requests” and        Clarification
                    after “received” insert “from SAMA”
 350    23          After “IIRO” insert “, including”                              Clarification
 350    24          Replace “bank” with “Bank”                                     Transcription error
 350    25          After “for” insert “foreign”                                   Clarification
 351    1           Replace “offices” with “or IIRO entities”                      Clarification
 351    14          Before “the” insert “through” and replace “at” with “,”        Clarification
 351    16          Delete “with the explicit --”                                  Clarification
 352    7           After “practicing” insert “the”                                Clarification
 353    4           Replace “then by letter” with “the bank enclosed a copy of     Clarification
                    a letter from”
 353    6           Delete “the bank”                                              Clarification
 353    7           Replace “enclosed a copy of” with “confirming” and after       Clarification
                    “license” insert “to operate”
 353    9           Replace “and” with “from the”                                  Clarification
 353    10          Replace “direction of Supreme guidance” with “Direction        Clarification
                    of Supreme Guidance,”
 353    15          Replace “a … 14545” with “a Bank letter, at ARB 14546,
                    to follow up with SAMA, and referencing the Bank’s earlier
                    letter, at ARB 14545. That follow-up letter”
 353    16          After “dealing” insert “specifically”                          Clarification
 353    21          Replace “charitable foundation” with “Charitable               Transcription error
                    Foundation”
 353    22          After “authority” insert “and”                                 Clarification
 353    25          After “Affairs” insert “, at ARB-00039505,”                    Clarification

        CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
        in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                  29
Case 1:03-md-01570-GBD-SN               Document 10594-3           Filed 12/09/24       Page 397 of 397
                    THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL


 Page     Line(s)      Change                                                        Reason
 354      2            After “work” insert “and hold an account at the Bank”         Clarification
 354      3            Delete “And on the 10th -- sorry.”                            Clarification
 354      5            After “wrote” insert “, at ARB-00039409,”                     Clarification
 356      16-18        Replace “they … It” with “SAMA did not restrict transfers     Clarification
                       from charity accounts to overseas beneficiaries until SAMA
                       issued its circular numbered 6465 in May 2003. Until then,
                       it”
 358      11           Replace “in” with “of”                                        Clarification
 358      15           Replace “He” with “Abdullah al Rajhi”                         Clarification


ACKNOWLEDGEMENT OF DEPONENT

I, James Galloway, as Al Rajhi Bank’s designated deponent under Rule 30(b)(6) of the Federal Rules of
Civil Procedure, do hereby certify that I have read the pages in the transcript of my deposition on
May 11, 2023 in the matter In Re: Terrorist Attacks On September 11, 2001, No. 03-md-1570 (S.D.N.Y.),
and that the transcript is a correct transcription of the answers given by me to the questions therein
propounded, subject to the corrections and changes in form or substance noted in this Errata.
I declare under penalty of perjury under the laws of the United States of America that the foregoing is true
and correct.


                        Executed on        July 17, 2023




                                           James Galloway




          CONFIDENTIAL: This document is subject to a Protective Order regarding confidential information
          in 03 MDL 1570 (GBD) (SN), United States District Court for the Southern District of New York.
                                                    30
